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                 IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA


THE CITY OF HUNTINGTON,
     Plaintiff,

v.
                                   CIVIL ACTION NO. 3:17-01362
AMERISOURCEBERGEN DRUG
CORPORATION, et al.,
      Defendants.
________________________________

CABELL COUNTY COMMISSION,
    Plaintiff,

v.
                                   CIVIL ACTION NO. 3:17-01665
AMERISOURCEBERGEN DRUG
CORPORATION, et al.,
    Defendants.



     PLAINTIFFS’ PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW
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       Between May 3, 2021, and July 12, 2021, the Court conducted a bench trial in the above-

captioned matter. Closing arguments were held on July 27 and July 28, 2021.

       Plaintiffs the City of Huntington and Cabell County, a West Virginia city and a West

Virginia county (“Plaintiffs” or “Cabell and Huntington”), proceeded in this case on a single cause

of action against Defendants AmerisourceBergen Drug Corporation (“ABDC”), Cardinal Health,

Inc. (“Cardinal”), and McKesson Corporation (“McKesson”), three prescription drug distribution

companies (collectively “Defendants”). That cause of action was public nuisance, for which

Plaintiffs sought relief in the form of abatement of the nuisance. The Defendants asserted multiple

theories of defense under common law. Set forth herein are the Court's findings of fact and

conclusions of law pursuant to Fed. R. Civ. P. 52.

                                      FINDINGS OF FACT

       Because this case was tried before the Court as a bench trial, the Court's findings are

presumed to be based on admissible evidence. Fishing Fleet, Inc. v. Trident Ins. Co., Ltd., 598

F.2d 925, 929 (5th Cir.1979); see also Chicago Title Ins. Co. v. IMG Exeter Associates Ltd.

P'ship, 985 F.2d 553, 1993 WL 27392 at *4 (4th Cir.1993) (unpublished); see also Harris v.

Rivera, 454 U.S. 339, 346 (1981) (“In bench trials, judges routinely hear inadmissible evidence

that they are presumed to ignore when making decisions.”). Accordingly, the Court finds it

unnecessary to rule on each separate objection raised by the parties. The Court has considered

those objections relating to the evidence supporting the findings contained herein and, to the extent

such objections relate to evidence the Court cites in support of its findings, such objections are

hereby overruled.

       To the extent any evidence in the record conflicts with one of the facts found below, the

Court has weighed the competing evidence and found that the greater weight of the evidence
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weighs in favor of the facts as set forth. The Court, having heard testimony of the witnesses sworn

and examined in open court, having observed their demeanor and credibility, having read sworn

testimony by designation, having reviewed the exhibits admitted into evidence, and being fully

advised in the premises, finds as follows:

I.        There is an Opioid Epidemic in Cabell and Huntington.

          1.      The Court finds that there is an opioid epidemic in Cabell and Huntington, West

Virginia, and that this epidemic constitutes an unreasonable, significant, long-lasting, and

continuing interference with the public health, public safety, public peace, public comfort, and

public convenience of the communities of Cabell and Huntington.

          2.      Prescription opioids are a “Schedule II” drug, pursuant to U.S. Drug Enforcement

Administration regulation, which means that they have a recognized medical use, but they also

have a high potential for addiction.1

          3.      At least 165,000 Americans died of opioid-related causes in the current epidemic

between the years 2000 and 2014” to “Since 2000, well over 300,000 Americans have lost their

lives to an opioid overdose.”2

          4.      West Virginia likewise “has been experiencing a public health epidemic of drug

overdose deaths for more than a decade.”3

          5.      Former West Virginia Bureau of Public Health Commissioner, Dr. Rahul Gupta,

described West Virginia as “ground zero” for the national opioid epidemic, the hardest-hit state in

the country.4


1
    5/4/21 Trial Tr. (Waller) at 37.
2
    DEF-WV-01597 (Sept. 2019 OIG Rpt), 00002.
3
    P-41213_00003 (WV DHHR 2001-2015 Historical Overview).
4
    5/5/21 Trial Tr. (Gupta) at 74, 77; 5/6/21 Trial Tr. (Gupta) at 96.

                                                    2
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          6.     By 2016, West Virginia had the highest rate of opioid-related overdose deaths—

43.4 deaths per 100,000 people—in the United States, with the majority of those deaths attributed

to synthetic opioid medications, such as oxycodone and hydrocodone, and illicit synthetic opioids,

such as heroin.5

          7.     As stated by Dr. Gupta, whenever any condition is causing West Virginians to die

year after year by double percentage increases, that issue becomes a public health matter, as was

the case with people using opioids, becoming addicted, and dying from overdosing on opioids.6

The opioid epidemic has become such a public health crisis that the State of West Virginia Board

of Medicine issued a statement declaring that the use of opioid analgesics poses a significant threat

to the health and safety of individuals and public health.7

          8.     Cabell and Huntington are among the West Virginia communities hardest hit by the

opioid epidemic.

          9.     According to United States Census Bureau figures, the population of Cabell and

Huntington is 99,946.8

          10.    From 2001 to 2018, there were 1,151 overdose deaths in Cabell County, of which

1,002 (roughly 87% of the total) were opioid-related. From 2001 to 2017, the fatal overdose rate

in Cabell County increased from 16.6 to 213.9 per 100,000.9




5
    DEF-WV-01597 (Sept. 2019 OIG Rpt.).
6
    5/5/21 Trial Tr. (Gupta) at 59-60.
7
 DEF-WV-01935.00004 (State of West Virginia Board of Medicine Policy on the Use of Opioid
Analgesics in the Treatment of Chronic Pain).
8
    5/11/21 Trial Tr. (McCann) at 125.
9
    6/10/21 Trial Tr. (Smith) at 134-135, 139-40.

                                                    3
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          11.    In 2015, Huntington's drug overdose death rate was 116 deaths per 100,000

population, the highest of any community in the nation. Cabell County’s opioid overdose rate is

higher than that of West Virginia, which itself is above the national average.10

          12.    From 2015 to 2020, Cabell County experienced 6,494 overdoses, a staggering and

transformational number in a community of fewer than 100,000 people.11 This means that the

average number of overdoses per year during the past five years has been greater than one percent

of the County’s population.

          13.    Since 2010, approximately 2,500 newborns in Cabell County have been born with

neonatal abstinence syndrome (“NAS”).12

          14.    The opioid epidemic thus has had a devastating impact on public health and public

safety.13 As former Huntington Police Chief, Skip Holbrook, testified: “I saw my town being

decimated by addiction.”14

          15.    The costs of the opioid epidemic in Cabell and Huntington are enormous, running

into the billions. Plaintiffs’ health economics expert, Dr. Thomas McGuire, estimated the costs—

including loss of human life from overdoses, morbidity from OUD and related disease, loss of




10
     6/11/21 Trial Tr. (Keyes) at 201.
11
   5/6/21 Trial Tr. (Priddy) at 197-198; P-44281 (Drug Overdose Statistics Cabell County
Emergency Medical Services 2015); P-41060 (Cabell County EMS OD Call 2015-2018
Quarterly); MC-WV-02100 (Drug Overdose Statistics Cabell County EMS 2018-2020). EMS
overdose calls peaked in 2017 with 1,831, and Connie Priddy noted that about 95 percent of EMS
calls were opioid related. 5/6/21 Trial Tr. (Priddy) at 224-225; P-41060 (Cabell County EMS OD
Call 2015-2018 Quarterly).
12
     5/21/21 Trial Tr. (Werthammer) at 18.
13
  See: 5/12/21 Trial Tr. (Zimmerman) at 173; 5/21/21 Trial Tr. (Werthammer) at 19-20; 7/2 Trial
Tr. (Gilligan) at 180.
14
     6/17/21 Trial Tr. (Holbrook) at 220.

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property values, and crime—to be $3.2 billion between 2006 and 2018.15 Indeed, the costs

estimated by Dr. McGuire are greater than the cost of Plaintiffs’ Abatement Plan, which is roughly

$2.5 billion.16 Deaths from opioid overdoses not only mean lost lives, but also the loss of

companionship, family, and parental support.17

          16.     The opioid epidemic has increased crime rates, decreased property values, and

adversely affected neighborhoods throughout Cabell and Huntington.18 The Huntington area has

sustained high costs related to healthcare, criminal justice, and other public services due to the

epidemic.19 The burden of the opioid epidemic is borne by the community as a whole—including

law enforcement, first responders, healthcare workers, the courts, employers, teachers, and

families—and by local governments like Plaintiffs which are responsible for serving their

citizens.20 The epidemic implicates all parts of Huntington’s budget.21




15
  6/17/21 Trial Tr. (McGuire) at 28-32. The Council of Economic Advisors has placed a value of
a statistical life (“VSL”) of $9.3 million dollars (in 2014 dollars) per life lost to the opioid
epidemic. Dr. McGuire testified that the adjusted VSL for lives lost in Cabell and Huntington due
to prescription opioids is $2.8 billion. The total excess healthcare costs for prescription-caused
OUD in Cabell Huntington, 2006 to 2018, are $494 million. Id.
16
     6/29/21 Trial Tr. (Barrett) at 106, 109.
17
     6/16/21 Trial Tr. (Yingling) at 158, 162.
18
   5/27/21 Trial Tr. (Zerkle) at 97 (opioid epidemic has turned the Community into a recovery
center), 119-220 (addiction is draining Cabell County’s workforce, reducing the population and
tax base; Huntington owns 350-plus abandoned homes); 5/21/21 Trial Tr. (Lemley) at 119 (drug
and property crime spiked in 2013-14).
19
   6/11/21 Trial Tr. (Keyes) at 205 (opioid hospitalizations in West Virginia have increased since
2009); 5/27/21 Trial Tr. (Zerkle) at 98 (jail costs while Cabell was running deficits), 106-07
(Cabell has had to expand School Resource Officers from one to five; new 24-hour communication
line from police to schools re kids with affected parents).
20
     5/28/21 Trial Tr. (O’Connell) at 18, 27; 6/30/21 Trial Tr. (Williams) at 62.
21
     6/30/21 Trial Tr. (Williams) at 142-143, 5/27/21 Trial Tr. (Zerkle) at 99-100.

                                                   5
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          17.     The opioid epidemic has broadly affected the people of Cabell and Huntington.

As stated by Huntington’s City of Solutions report: “The opioid epidemic is a non-discriminating

disease. It does not consider economic status, race, ethnicity, gender, religious affiliation, or

political persuasion. It affects rural and metropolitan regions. It has attacked villages, towns, and

cities. Huntington, West Virginia, has been drastically affected.”22 Fire Chief Jan Rader testified

of the opioid epidemic that: “Nobody is immune from it” and “There’s no boundaries here.”23

          18.    In 2004, only a small area of Huntington had drug offenses, but by 2014, drug

offenses had become prevalent throughout the city and by 2016 engulfed every neighborhood.24

An MODCP investigation showed that by 2016, overdoses were occurring all over Huntington.25

          19.    In light of the foregoing, Defendants and their employees have conceded that an

opioid epidemic exists in the United States and in Cabell and Huntington.26

          20.    The Court agrees and sets forth below its findings with respect to the many and

interrelated public health and safety harms of the opioid epidemic in Cabell and Huntington.




22
     DEF-WV-02653.00005 (The City of Solutions: Huntington, WV).
23
   5/7/21 Trial Tr. (Rader) at 31-32; see also 5/6/21 Trial Tr. (Priddy) at 215 (There is no typical
overdose victim, it cuts across every, gender, race, and socioeconomic line. Cabell County EMS
has been called to overdoses scenes from apartments with dirt floors to multimillion-dollar
homes.); 6/17/21 Trial Tr. 29 (Holbrook) at 198 (The opioid epidemic went from one end of the
city to the other, affecting people from all walks of life. It didn’t matter where you lived, what
race you were, or how much money you had. People from all backgrounds became addicted to
opioids and fueled the epidemic.), 224-25 (Every person in Huntington had some connection to
the opioid epidemic.).
24
  5/21/21 Trial Tr. (Lemley) at 173-174; P-41850_00010 – 2017 MODCP Strategic Plan (showing
“heat maps” of spreading drug-offense crimes in Huntington).
25
     5/21/21 Trial Tr. (Lemley) at 153.
26
  See, e.g., 5/19/21 Trial Tr. (Perry) at 200; 5/12/21 Trial Tr. (Zimmerman) at 173; Hartle, 7/31/18
30(b)(6) Dep. at 365-66; Hartle, 8/1/18 Dep. at 35-36; Boggs, 1/17/19 Dep. at 34:19-35:7.

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          A.     Prevalence of Prescription Opioids and Diversion in Cabell and
                 Huntington

          21.    Between 2006 and 2014 alone, when opioid diversion and addiction already were

widespread, Defendants distributed 81,239,625 dosage units of oxycodone and hydrocodone to

retail pharmacies in Cabell and Huntington,27 with combined population of fewer than 100,000

people.

          22.    Historically, the Appalachia region did not have much of an illicit opioid trade.

Around the year 2000, however, it started to become an epicenter for prescription opioid diversion,

abuse, and addiction.28

          23.    The opioid crisis during the first decade of this century was one primarily of

prescription opioid addiction.29

          24.    By 2006, prescription opioids had become the most abused form of prescription

drugs in the Appalachia region.30

          25.    By 2010, diversion and abuse of prescription drugs was an epidemic in the region,

exacting a significant cost in life, health, property, and well-being from Appalachia communities.31




27
     5/10/21 Trial Tr. (McCann) at 92.
28
     See 6/10/21 Trial Tr. (Smith) at 216.
29
  P-41508_00030 (2002 AHIDTA Threat Assessment); 6/10/21 Trial Tr. (Smith) at 216; 6/28
Trial Tr. (Alexander) at 26-27.
30
  DEF-WV-00043.00002 (2006 AHIDTA Annual Report); see also 6/10/21 Trial Tr. (Smith) at
143-46 (describing Journal of American Medical Association 2008 study of overdose death
certificates in West Virginia in 2006, finding that over 60% of the deaths were associated with
prescription drug diversion).
31
     P-44068_00002, 00009 (2010 AHIDTA Annual Report).

                                                 7
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          26.    In 2011, the Huntington Police Department identified the illegal diversion of

powerful pain medications such as oxycodone and oxymorphone as the most prevalent emerging

threat to the community.32

          27.    In 2011, the Huntington Police Department also seized large quantities of diverted

prescription opioids, typically OxyContin, Opana, and Roxy 30s, while also seeing a noticeable

increase in drug offenses.33

          28.    The Huntington Police Department found that people could obtain prescription

opioids through various means, often starting with a doctor’s visit, the development of

dependency, and the emergence of an appetite for opioids that led people to obtain them by other

means.34

          29.    By 2012, abuse of diverted prescription drugs was an epidemic in the City of

Huntington, exacting tragic costs from the community, overburdening law enforcement, crowding

the City’s jails and treatment facilities, undermining the employability of the workforce, and

devastating families, so that by 2014, the Huntington Police Department identified diversion and

abuse of prescription drugs along with the pervasive drug culture and associated crime as the

greatest threats to ever face the community.35

          30.    Trafficking and abuse of diverted prescription opioids were the driving forces

behind public health harms and drug-related crime during the 2000s.36




32
     P-41230_00019, 00021 (2011 HPD Annual Report).
33
     5/21/21 Trial Tr. (Lemley) at 134-35, 148.
34
     6/17/21 Trial Tr. (Holbrook) at 198-99.
35
   P-41374_0002 (2012 HPD Threat Assessment); P-41527_00001 (2014 HPD Threat
Assessment).
36
     P-41510_00034 (2005 AHIDTA Threat Assessment).

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          31.    During this time, law enforcement and first responders observed large numbers of

people in possession of prescription opioids, pill bottles on the streets, and other evidence of

widespread prescription opioid diversion and abuse in Cabell and Huntington’s communities.37

          32.    The West Virginia Overdose Fatality Analysis, which examined death records for

881 individuals who died from an overdose in West Virginia during 2016, found that 81% of

decedents had interacted with at least one health system before their death; 33% had tested positive

for a controlled substance, but had no record of a prescription at the time of death, indicating

diversion of a prescribed controlled substance; and that 91% of all decedents had a documented

history within the State’s Controlled Substances Monitoring Program.38

          B.     Prevalence of Opioid Use Disorder (OUD) in Cabell and Huntington

          33.     As of 2017, more than 10% of the population of Cabell County, the City of

Huntington, and Wayne County were addicted to opioids.39

          34.    In 2018, the prevalence of OUD in Cabell and Huntington was 8.9%, which

represents approximately 8,252 people. Plaintiffs’ epidemiology and OUD expert, Dr. Katherine

Keyes, estimated that approximately 7,109 of these OUD cases in Cabell and Huntington were

directly or indirectly attributable to prescription opioids.40

          35.    Over 600 pregnant women in Cabell and Huntington have been admitted to

treatment with OUD.41




37
     6/17/21 Trial Tr. (Holbrook) at 194; 5/7/21 Trial Tr. (Rader) at 31-32, 59.
38
     P-44211_00007 (2016 West Virginia Overdose Fatality Analysis).
39
  P-41850_00007 (Mayor’s Office of Drug Control Policy, Strategy Plan 2017); DEF-WV-02653,
00080 (City of Solutions; Huntington, WV); 5/21/21 Trial Tr. (Werthammer) at 20:9-20.
40
     6/11/21 Trial Tr. (Keyes) at 212; 6/14/21 Trial Tr. (Keyes) at 160, 175.
41
     6/16/21 Trial Tr. (Young) at 34.

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          36.    Opioid Use Disorder has become so pervasive in the community that church pastors

in Huntington have had to develop skills necessary to help families of addicted persons.42

          C.     Growth of Heroin and Illicit Fentanyl Use in Cabell and Huntington

          37.    Prescription opioid drugs and heroin have the same molecular structure and interact

identically with and are received by the human brain as indistinguishable from one another.43

          38.    The new population of people in the region addicted to prescription opioids thus

were primed for dependence on heroin and illicit fentanyl if and when their access to prescription

opioids was disrupted, as occurred in and after 2011.44

          39.    As the Huntington Police Department observed, the costs associated with supply

and demand for prescription drugs increased between 2011 and 2014 so that addicted persons

began seeking out cheaper alternatives like heroin.45

          40.    Heroin and illicit fentanyl abuse in Cabell and Huntington started increasing in or

around 2012, when the Huntington Police Department identified the growing use of heroin as one

of the two biggest threats to the city, along with continued diversion and abuse of prescription

opioids.46

          41.    In 2012, the Huntington Police Department determined that people who developed

opiate addiction due to abuse of prescription medications would turn to heroin due to its lower

price and availability. By 2013, heroin distribution in Huntington had grown significantly, which



42
     6/30/21 Trial Tr. (Williams) at 64.
43
     See 5/4/21 Trial Tr. (Waller) at 71-72.
44
  See 5/4/21 Trial Tr. (Waller) at 204; MC-WV-02079, 00006 (pg. 135) (Compton and Jones, The
Epidemiology of the U.S. Opioid Crisis: The Importance of the Vector).
45
  6/17/21 Trial Tr. (Holbrook) at 219-20, 241-42; P-41527_00008, 00011 (2014 HPD Threat
Assessment).
46
     P-41347_00017, 00033 (2012 HPD Annual Report).

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the Police Department found was directly linked to the predominant use of prescription opioids in

the Appalachia region.47

          42.     Over the next few years, heroin and fentanyl abuse grew from being approximately

10% to being a substantial majority (60-70%) of drug abuse cases.48

          43.     By 2014, the Huntington Police Department considered heroin use to be the number

one threat to public health and safety in the City, contributing to a significant rise in the number

of overdose cases.49

          D.      Sharp Increase in Opioid-Related Mortality in Cabell and Huntington

          44.     Before the opioid epidemic, it was rare for police officers and firefighters in Cabell

and Huntington to see a dead body. But with the sharp increase in opioid abuse came a rise in first

responders being called to scenes of overdose deaths, sometimes seeing multiple overdose

fatalities in a single day.50

          45.     Plaintiffs’ epidemiology and drug overdose expert, Dr. Gordon Smith, testified that

from 2001 to 2018, there were 1,002 opioid-related deaths in Cabell County, which represents

almost 90% of all drug-poisoning deaths in the County during that period.51

          46.     In 2015, Huntington’s drug overdose rate was 116 deaths per 100,000 population,

which was the highest in the nation.52




47
  See P-41347_00003, 00006 (2012 HPD Threat Assessment); 6/17/21 Trial Tr. (Holbrook) at
221-222; P-41527_00012 (2014 HPD Threat Assessment).
48
     5/27/21 Trial Tr. (Zerkle) at 92:13-93:21.
49
     P-41220_00018 (2014 HPD Annual Report).
50
     5/27/21 Trial Tr. (Zerkle) at 94; 5/ Trial Tr. (Rader) at 31-32, 54.
51
     6/10/21 Trial Tr. (Smith) at 134.
52
     6/11/21 Trial Tr. (Keyes) at 201.

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          47.    From 2001 through 2011, prescription opioid deaths significantly exceeded heroin

deaths in Cabell County.53

          48.    After 2011, prescription opioid deaths leveled off at a historically high level, while

deaths from illicit opioids like heroin and fentanyl dramatically increased.54

          49.    In Cabell, Raleigh, and Kanawha Counties, there were 631 heroin-related deaths

from 2011 to 2015, which represented a 78% increase over the previous ten years.55

          50.    Mortality from overdoses of illicit fentanyl, fentanyl analogues, and other illicit

synthetic opioids in the drug supply rose over 20% in West Virginia between 2012 and 2017.56

          51.    The county-level distribution of fentanyl-related overdose deaths showed greater

concentration in the southern West Virginia counties, as also has been the pattern with overdose

deaths in West Virginia. Both frequency and rates per 100,000 for fentanyl-related deaths were

concentrated in the southern counties, with 69% of fentanyl-related deaths from 2001 to 2015

being reported from Cabell and Kanawha Counties. In 2015, Cabell County accounted for 41%

of fentanyl-related deaths in West Virginia.57

          52.    Prescription opioids remain to this day an ongoing and significant cause of drug

overdose deaths in Cabell and Huntington, with preliminary data showing sharp increases in

opioid-related deaths throughout West Virginia in 2019 and 2020.58




53
     6/10/21 Trial Tr. (Smith) at 138.
54
     6/10/21 Trial Tr. (Smith) at 136-139.
55
     P-41213_00011 (2001-2015 West Virginia Drug Overdose Deaths, Historical Overview).
56
     6/10/21 Trial Tr. (Smith) at 138-39.
57
     P-41213_00015 (2001-2015 West Virginia Drug Overdose Deaths, Historical Overview).
58
     6/10/21 Trial Tr. (Smith) at 141, 153-54.

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          E.     Neonatal Abstinence Syndrome in Cabell and Huntington

          53.    The opioid epidemic public health morbidities (non-fatal harms) in Cabell and

Huntington include babies being born with neonatal abstinence syndrome (“NAS”).59

          54.    Babies born with NAS need treatment for at least 20 to 30 days, and sometimes up

to 100 days, and continue thereafter to suffer from diminished capacity and require special

services.60

          55.    Even infants exposed to opioids who are not diagnosed with NAS have been found

to suffer adverse developmental effects. Published literature shows that prenatal exposure to

opioids increases distress, causes developmental delays, lowers IQ and educational and attainment

scores, and results in the need for neuropsychiatric treatment and special education services.61

          56.    Pregnant mothers suffering from OUD give rise to a new series of harms related to

addiction. Mothers have to address their own OUD through pregnancy and deliver a child who

will likely suffer from NAS and require extensive neonatal care and later interventions.62

          57.    In 2012, one-third of Cabell and Huntington Hospital NICU patients were babies

withdrawing from opioids.63

          58.    The rate of babies being born with NAS at Cabell and Huntington Hospital has been

as high as 10%.64




59
     6/16/21 Trial Tr. (Yingling) at 157.
60
     5/21/21 Trial Tr. (Werthammer) at 16-18.
61
     6/16/21 Trial Tr. (Young) at 58-59, 62.
62
     6/16/21 Trial Tr. (Yingling) at 162.
63
     5/21/21 Trial Tr. (Werthammer) at 14.
64
     5/21/21 Trial Tr. (Werthammer) at 16-18.

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          59.    Approximately 2,500 babies born in Cabell and Huntington have been diagnosed

with NAS.65

          60.    The incidence of NAS in Cabell County, 62.3 per 1,000 hospital births, is almost

nine times higher than that in the United States as a whole (7 per 1,000).66

          F.     Impact on Children and Family Services in Cabell and Huntington

          61.    The opioid epidemic’s harms include disruption and separation of families and

children.

          62.    The number of children in West Virginia placed into foster care doubled over a ten-

year period during the opioid epidemic, with 80% of placements involving substance abuse

issues.67

          63.    In Cabell County, overdose deaths and foster care entries exceeded the national

averages, resulting in demand for child placements not being met and increased placements outside

of extended family, which has adverse effects on the child’s intellectual, social, and emotional

development.68

          64.    Childhood trauma resulting from placement into the foster care system requires

special services to address the effect of displacement and for the child not to be defined by their

parents’ addiction.69




65
     5/21/21 Trial Tr. (Werthammer) at 16-18.
66
     6/11/21 Trial Tr. (Keyes) at 202-03; 5/21/21 Trial Tr. (Werthammer) at 18.
67
     6/16/21 Trial Tr. (Young) at 42-43.
68
     6/16/21 Trial Tr. (Young) at 19-22, 33, 41-46, 58-59.
69
     6/16/21 Trial Tr. (Young) at 22-23.

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          65.     Cabell County has had to expand its number of School Resource Officers from one

to five and develop a new 24-hour communication line from police to schools for children whose

parents are affected by substance abuse issues.70

          66.     Childhood trauma associated with loss of family of origin due to substance abuse

will impact generations of families.71

          67.     This impact can include the intergenerational transmission of addiction, as having

a parent or household member with substance abuse disorder is a significant risk factor for a child

to develop addiction.72

          68.     Huntington Fire Department Chief Jan Rader testified about the family harms from

addiction and overdose that she has seen up close in her work as Fire Chief:

          Comforting a mother, or a father, or a brother, or a sister, or a child, you know, we
          don’t have the training for that, but there’s a lot of carnage left behind from an
          overdose.

          There’s a ripple effect. Your first responders are affected. Your family’s affected.
          Some kids lose a parent to jail, maybe they die, they go into the foster care system.
          You have grandparents raising children of their children and maybe even a great.

          So it’s just –it’s widespread. You know, the school system, teachers deal with
          children that are being raised in environments where they are struggling, they’re
          not able to eat regularly, things like that. It just goes on and on and on. A lot of
          carnage.73




70
     5/27/21 Trial Tr. (Zerkle) at 106-107.
71
     6/16/21 Trial Tr. (Yingling) at 162-64.
72
     6/28/21 Trial Tr. (Alexander) at 49-50.
73
     5/7/21 Trial Tr. (Rader) at 42.

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          G.      Infectious Diseases in Cabell and Huntington

          69.     The opioid epidemic’s harms in Cabell and Huntington include sharply increased

rates of infectious disease, including HIV, Hepatitis B and C, and complications due to

Endocarditis.74

          70.     Injection drug use introduces foreign organisms into the bloodstream, causing

blood-borne infections that have high mortality and morbidity and are a substantial part of the

public health crisis of the opioid epidemic.75

          71.     For people who inject drugs, there is a 1 in 160 chance of acquiring HIV with each

injection, and an increasing risk with every additional injection.76

          72.     This makes injection drug use the second most common way that HIV is

contracted.77

          73.     In 2019, there were 69 new cases of HIV in Cabell County, of which 90% were

among people who inject drugs.78

          74.     HIV can be treated and managed by medication, which the patient must take daily

for the rest of their life.79




74
     6/16/21 Trial Tr. (Yingling) at 156-158.
75
     6/17/21 Trial Tr. (Feinberg) at 109, 112.
76
     6/17/21 Trial Tr. (Feinberg) at 115.
77
     6/17/21 Trial Tr. (Feinberg) at 115.
78
     6/17/21 Trial Tr. (Feinberg) at 117.
79
     6/17/21 Trial Tr. (Feinberg) at 119.

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          75.    Hepatitis C is even more contagious than HIV among injection drug users, with

approximately 40% of injection drug users contracting Hepatitis C in their first year of us and 90%

eventually contracting it.80

          76.    As a result, West Virginia has for the past two decades been among the top two or

three states for rate of Hepatatis C infection, while the rate in Cabell County is far higher still,

reaching a rate of 10.3 cases per 100,000 people, which is more than double West Virginia’s

already-high statewide rate of 5.1 cases per 100,000 people.81

          77.    Hepatitis B, too, is highly associated with injection drug use and, as a result, West

Virginia has had the highest Hepatitis B rates in the United States for over a decade.82

          78.    At present, the incidence of Hepatitis B in West Virginia is 14 times the national

average,83 while Cabell County has among the highest rates of Hepatitis B infections among

West Virginia’s counties, measuring 17 cases per 100,000 people in 2016.84

          79.    Endocarditis is most commonly caused by the injection of bacteria through the

skin.85 Although Endocarditis is not actively surveilled, a recent study across four West Virginia

hospitals that included two in Cabell and Huntington showed that a significant proportion of the

762 Endocarditis cases observed is concentrated among people living in or near Cabell and

Huntington.86




80
     6/17/21 Trial Tr. (Feinberg) at 128-29, 133.
81
     6/17/21 Trial Tr. (Feinberg) at 129-30.
82
     6/17/21 Trial Tr. (Feinberg) at 135-36.
83
     6/17/21 Trial Tr. (Feinberg) at 136.
84
     6/17/21 Trial Tr. (Feinberg) at 136.
85
     6/17/21 Trial Tr. (Feinberg) at 140.
86
     6/17/21 Trial Tr. (Feinberg) at 144.

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          H.      The Opioid Epidemic’s Toll on Cabell and Huntington’s Communities

                  1.     Demands on Government and Communities

          80.     Cabell County’s budget and government services have been severely impacted by

the opioid epidemic. The County Sheriff’s Office had to address a sharp increase in the number

of people incarcerated for addiction-related crimes, while the County as a whole faced a $3.3

million deficit and had to cut expenditures by ten percent in 2017.87

          81.     The City of Huntington’s budget, too, has been directly impacted by the opioid

epidemic. The City has used and continues to use human power, resources, and time to fight the

opioid epidemic, which adversely affects both the City’s budget and its ability to address other

matters.88

          82.     The Huntington Police Department in 2011 identified lethal diversion of pain

medications as the most prevalent threat to the community, 89 and by 2016 found that drug offenses

and overdoses were occurring all over the City,90 and in all types of places, from restaurants to

doctor’s offices to parks to abandoned homes.91

          83.     This was in sharp contrast to just ten years earlier, when only a small part of the

City experienced drug offenses.92




87
     5/27/21 Trial Tr. (Zerkle) at 98-99.
88
     6/30/21 Trial Tr. (Williams) at 140-43, 183-84.
89
     5/21/21 Trial Tr. (Lemley) at 127.
90
     5/21/21 Trial Tr. (Lemley) at 147, 153-54.
91
     5/7/21 Trial Tr. (Rader) at 58.
92
     5/21/21 Trial Tr. (Lemley) at 173-74.

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          84.     As a result of this spread in drug-related crime, many residents live in fear as they

see the impact of the opioid epidemic sweep through and bring down their neighborhoods.93 Entire

neighborhoods have been devastated with homes burnt out and abandoned.94 The daily presence

of people suffering from OUD in the community results in residents avoiding Huntington

businesses because of fear of encountering homeless addicts.95

          85.     The epidemic has also decimated the workforce in Cabell and Huntington because

of a shortage of workers who can pass a drug test.96 The presence of an addicted workforce and

the communities’ reputation as the epicenter of the opioid epidemic has negatively impacted

economic development efforts and diminished the tax community tax base.97

          86.     Huntington’s Fire Department Chief likewise observed overdoses skyrocket in and

after 2012, to the point that her department responded to more calls about overdoses in 2017 than

it did to total rescue calls in 2010.98

          87.     The increased need to respond to overdose emergencies also means that first

responders are less able to address other needs in the community.99




93
     6/30/31 Trial Tr. (Williams) at 44.
94
     5/27/21 Trial Tr. (Zerkle) at 119-20.
95
     5/27/21 Trial Tr. (Zerkle) at 120.
96
     5/27/21 Trial Tr. (Zerkle) at 119.
97
     5/27/21 Trial Tr. (Zerkle) at 119.
98
     5/7/21 Trial Tr. (Rader) at 31-33.
99
     5/27/21 Trial Tr. (Zerkle) at 107, 111, 116-17.

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                 2.      Law Enforcement—Crime and Public Safety

          88.    The Huntington Police Department has seen the City being decimated by addiction,

an explosion of opioid seizures, and a dramatic increase in property crime like break-ins tied to

addiction, leading the Department to identify addiction as the greatest threat to the community.100

          89.    Cabell County also saw a surge in prostitution, breaking and entering, petit larceny,

and shoplifting, as well as burglary, theft, disorderly conduct, and driving under the influence.101

          90.    The increases in drug abuse, drug crime, and property crime all stemmed from

addiction in the community, of which opioid addiction was the driving force.102

          91.    Between 2007 and 2014, Huntington became known as a hub for illegal drug

distribution, with the emergence of drug-trafficking operations in the City showing the widespread

extent of addiction and demanding increased police attention.103

          92.    As a result, the Huntington Police Department has engaged in significantly

increased numbers of drug seizures, occurring both in planned raids on pill mills and in increasing

numbers of traffic stops.104

                 3.      Compassion Fatigue

          93.    The opioid epidemic is taking a toll on police officers and other first responders

who have had to address the effects of a community filled with addiction, making them feel




100
      6/17/21 Trial Tr. (Holbrook) at 198-99, 220.
101
      5/27/21 Trial Tr. (Zerkle) at 99-100, 184-85.
102
   6/17/21 Trial Tr. (Holbrook) at 220; id. at 192, 197 (robberies), 199 (break-ins); see also Brown,
5/17/20 30(b)(6) Dep. at 271-72 (HIDTA survey of law enforcement, linking prescription drugs to
violent crime and property crime).
103
      6/17/21 Trial Tr. (Holbrook) at 230, 242.
104
    5/21/21 Trial Tr. (Lemley) at 135; 6/17 Trial Tr. (Holbrook) at 195, 220; 5/27 Trial. Tr. (Zerkle)
at 85, 89.

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helpless as they respond to overdose call after call, sometimes involving the same people, whom

the first responders see deteriorating over time.105

          94.     Overdose scenes are chaotic and mentally challenging for first responders, who

often have to help the victim and console the victim’s loved ones, such as a child who is watching

as their parent is revived.106

          95.     Huntington firefighters have suffered from post-traumatic stress disorder and

compassion fatigue from being called to these scenes, which often involve friends, classmates, and

other acquaintances from the community.107

          96.     Due to the level of overdoses in the community, all first responders now carry

naloxone.108 The Cabell County Health Department provides weekly training on Naloxone and

the CCSAPP focuses on providing information to school age children about Naloxone.109

          97.     Law enforcement and first responders have been exposed to trauma above and

beyond the usual experience of their already-demanding jobs, including by facing the risk of

personal airborne exposure to fentanyl.110

          98.     Repeated exposure to traumatic experiences, such as multiple overdoses and

overdose-related deaths among young people, impact emergency responders emotionally,




105
      P-41221_00001 (2015 HPD Annual Report); 5/7/21 Trial Tr. (Rader) at 54.
106
      5/7/21 Trial Tr. (Rader) at 35.
107
      5/7/21 Trial Tr. (Rader) at 41-42.
108
      5/7/21 Trial Tr. (Rader) at 35.
109
      DEF-WV-0002653 (City of Solutions), 00056.
110
      5/2721 Trial Tr. (Zerkle) at 95-96; 97-98; 125-27.

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behaviorally, interpersonally, and physically, resulting in increased personnel turnover and

decreased personal empathy.111

                  4.     Costs of the Opioid Epidemic in Cabell and Huntington

          99.     The opioid epidemic’s mortalities include lives lost, lost companionship, lost

family, and lost parental support.112

          100.    In West Virginia, the highest number of opioid overdose deaths occur between ages

35 and 54 years old, i.e. to “average working age West Virginians in the prime of their life.”113

          101.    The White House Council of Economic Advisors has placed a value of a statistical

life (“VSL”) of $9.3 million (in 2014 dollars) per life lost to the opioid epidemic. Plaintiffs’ health

economics expert, Dr. Thomas McGuire, testified that the adjusted VSL for lives lost in Cabell

and Huntington due to prescription opioids is $2.8 billion.114

          102.    The total excess healthcare cost for prescription-related OUD in Cabell and

Huntington from 2006 to 2018 is $494 million.115

          103.    The total mortality and morbidity harms-related cost due to prescription opioids in

Cabell and Huntington is in excess of $3.2 billion.116

          104.    The Court therefore finds that the opioid epidemic in Cabell and Huntington

constitutes an unreasonable, significant, long-lasting, and continuing interference with the public




111
   5/6/21 Trial Tr. (Priddy) at 198-201; 5/7/21 Trial Tr. (Rader) at 41-42, 54-55; 5/21 Trial Tr.
(Lemley) at 133-34; 5/27/21 Trial Tr. (O’Connell) at 211-12.
112
      6/16/21 Trial Tr. (Yingling) at 158, 162.
113
      5/5/21 Trial Tr. (Gupta) at 79-80.
114
      6/17/21 Trial Tr. (McGuire) at 28-32.
115
      6/17/21 Trial Tr. (McGuire) at 28-32.
116
      6/17/21 Trial Tr. (McGuire) at 31-32.

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health, public safety, public peace, public comfort, and public convenience of the County and

City’s communities.

II.      Defendants Acted Unreasonably in Contributing to an Immense Oversupply of
         Prescription Opioids in Cabell and Huntington.

         105.    The Court further finds based on the conduct set forth below that each Defendant—

ABDC, Cardinal, and McKesson—acted unreasonably in failing to maintain adequate or effective

controls against diversion of the prescription opioids they distributed, which contributed to the

oversupply and diversion of tens of millions of highly addictive opioid pills into Cabell and

Huntington as these communities struggled with the horrific opioid epidemic harms set forth

above.

         106.    Defendants’ actions thwarted the Controlled Substances Act’s purpose to create a

self-policed closed system of controlled substances distribution to protect against diversion. The

closed distribution system cannot work without accountability of all members within the closed

system, in which Defendants and other distributors play a central part.117

         107.    The 2008 Industry Compliance Guidelines developed by Defendants and their trade

association, the Healthcare Distribution Alliance (“HDA”), makes clear Defendants’ role in the

closed system:

         At the center of a sophisticated supply chain, distributors are uniquely situated to
         perform due diligence in order to help support security of controlled substances

117
     Hartle, 7/31/2018 30(b)(6) (McKesson) Dep. at 294:15-295:5 (discussing P-00003
(Prescription Drug Abuse: The National Perspective – McKesson Powerpoint Presentation), Q.
Page 8, the Controlled Substances Act, the very last provision says, "Creates checks and balances
between registrants to protect the public health and safety." Again, this is again a reaffirmation
from Gary Boggs, who is now one of your senior regulatory affairs management, acknowledging
that the registrants and the DEA have a duty to protect the public health and safety, agreed? A.
Agreed.); Norris, 8/7/18 30(b)(6) (Cardinal) Dep. at 77:9-15 (“The rules, as I understand them, are
to ensure that the participants in the distribution system understand their obligations and operate
within that distribution -- that closed distribution system, maintaining the security of the
pharmaceuticals we distribute, the scheduled substances we distribute.”)

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          they deliver to their customers. Due Diligence can provide a greater level of
          assurance that those who purchase CS from distributors intend to dispense them for
          legally acceptable purposes. Such due diligence can reduce the possibility that
          controlled substances within the supply chain will reach locations they are not
          intended to reach.118

Thus, by 2008, it was well-established and widely-recognized that the CSA required Defendants

to control the supply chain by carefully conducting due diligence to prevent diversion of the opioid

and other controlled substances orders they shipped.119

          108.   Defendants have sophisticated market schemes that they have used as part of their

efforts to corner the controlled substances distribution market.120 McKesson, Cardinal, and ABDC

are long-time members of the HDA and are known in the industry as the “Big 3.”121 Collectively,

Defendants distributed close to 90% of the prescription opioids in the United States by 2014.122

          109.   In 2016, the National Association of Drug Diversion Investigators acknowledged

that, while there are around 800 wholesale distributors in the United States, “McKesson, Cardinal

and AmerisourceBergen have a combined market share in excess of 90%.”123




118
     P-00629 (admitted for purpose of showing notice) (ABDCMDL00295006, Healthcare
Distribution Management Association (HDMA) Industry Compliance Guidelines: Reporting
Suspicious Orders and Preventing Diversion); see also P-00014_00019-22 (Sept. 2017 Controlled
Substance Monitoring – Discount Drug Mart – McKesson Powerpoint Presentation) (describing
the regulatory responsibility of the opioid supply chain).
119
   Id.; see also, Prevoznik, 5/17/19 30(b)(6) Dep. at 900:22-901:8 (Q. Okay. And if you look at
the first page, the third paragraph: "At the center of a sophisticated supply chain, distributors are
uniquely situated to perform due diligence in order to help support the security of the controlled
substances they deliver to their customers." Do you see what I've just read? A. Yes. Q. And does
the DEA agree with that statement? A. Yes.) (agreeing with ICG statement in P-00629 supra).
120
      6/11/2021 Trial Tr. (Dr. Mohr) at 75:16-76:6.
121
      Gray, 7/30/20 Dep. Tr. at 21:22-19.
122
      Gray, 7/30/20 Dep. Tr. at 23:9-19.
123
      P-00898 (ABDCMDL00159071, Naddi Slides PPT).

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         110.   Pursuant to their duties to maintain effective controls against diversion under the

Controlled Substances Act (“CSA”) and Drug Enforcement Administration (“DEA”) regulations,

each of the Defendants formally had Suspicious Order Monitoring (“SOMs”) programs in place.

But they failed in practice to follow the CSA’s and DEA’s requirements, or even those of their

own programs.

         111.   Defendants committed these failures in the face of rising concerns over the abuse

of diverted prescription opioid pills in West Virginia and greater Appalachia. Following Purdue

Pharma’s development and release of OxyContin in the 1990s, it quickly became the most

prescribed brand-name narcotic in the country.124

         112.   In 2001, the U.S. Department of Justice (“DOJ”) issued a warning about widespread

diversion of OxyContin, which is referenced in a 2003 report of the U.S. Government

Accountability Office (“GAO”) on the same subject—Prescription Drugs: OxyContin Abuse and

Diversion and Efforts to Address the Problem.125

         113.   The GAO found that “media reports of OxyContin abuse and diversion began to

surface in 2000[,]” as did reports about West Virginia specifically “being devastated by the abuse

and diversion of OxyContin.”126 Such reports included the fact that, in 2000, as many as one-half

of patients admitted to a drug treatment clinic in West Virginia were being treated for OxyContin

addiction.127

         114.   Defendants have asserted that the volume of all prescriptions, opioid and non-

opioid alike, dispensed in West Virginia is higher than other areas of the country. This factor,


124
      MC-WV-01764.00002.
125
      MC-WV-01764.
126
      MC-WV-01764.00014.
127
      MC-WV-01764.00015.

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Defendants claim, contributes to and explains the disproportionately large volume of opioids

distributed to West Virginia pharmacies. Certainly, these factors will impact the distribution

volume coming into West Virginia, including Cabell Count and Huntington specifically.

       115.    But these factors alone cannot account for how West Virginia received more

oxycodone pills than the entire state of Texas year after year over a nine-year period.128 West

Virginia received almost double the pills with a population one-thirteenth that of Texas.

Combining this enormous volume of shipments with a lack of due diligence, a lack of reported

suspicious orders, and failures to follow their own policies, Defendants’ conduct cannot be

explained solely or even primarily by the fact that West Virginia pharmacies may dispense higher

numbers of prescriptions in general.

       116.    Instead, what happened is that Defendants seized upon the chance to increase sales,

whether from legitimate or illegal prescriptions, and ignored all warning signs that they were

fueling an opioid epidemic and oversupplying a region where diverted prescription pills severely

impacted the health and safety of communities, including those of Plaintiffs herein.

       117.    Plaintiffs’ evidence overwhelmingly demonstrates that Defendants behaved

unreasonably in its distribution of dangerously addictive prescription opioids, thus providing the

predicate culpable conduct for a finding of public nuisance. Given the dangerous and addictive

nature of these drugs, it was necessary for Defendants to control their distribution and to take steps

to prevent diversion for illegitimate purposes. Defendants created national policies that purported

to provide tools to prevent diversion, through the identification of so-called “suspicious orders,”

those with indicia of diversion. But these tools were not, in fact, effective in preventing diversion



128
   P-44318_00001-00002 (U.S. Census Bureau, Population Distribution and Change: 2000 to
2010, March 2011).

                                                 26
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and Defendants did not, in any event, seriously implement them. Its failure to control the supply

chain for the dangerous drugs it was distributing was unreasonable and created a public nuisance,

when inevitably and predictably, the drugs were diverted.

          A.      Defendants have long been on notice of their CSA duties.

          118.    As part of their duties to maintain effective controls against diversion under the

CSA and DEA regulations, each Defendant has formally maintained Suspicious Order Monitoring

programs (“SOMs”). In practice, however, Defendants knowingly failed to comply with either

what the law required or even what their own programs required.

          119.    During 2006 and 2007, due in part to Defendants’ continued failure to comply with

their regulatory obligations, DEA sent three letters by its Deputy Assistant Administrator for the

Office of Diversion Control, Joseph Rannazzisi, to Defendants and other registrants across the

country. The Rannazzisi letters outlined Defendants’ legal obligations to conduct due diligence,

report suspicious orders, and avoid filling suspicious orders.129

          120.    The September 27, 2006 letter was sent to all distributors and manufacturers after

DEA had held a series of Distributor Initiative Meetings with Defendants.130 The letter “reinforces

both what was in the distributor initiative, and it provides information concerning obligations

under the Controlled Substances Act131 relating to suspicious order monitoring.”132 The letter

advised that a distributor could not rely on a customer’s registration as a substitute for performing

due diligence.133 The letter was not a new interpretation of the CSA and was consistent with prior



129
      P-00032 (June 2012 Dear Registrant Letter) ; see also 6/8/21 Trial Tr. (Rannazzisi) at 115-16.
130
      See 6/8/21 Trial Tr. (Rannazzisi) at 60.
131
      21 U.S.C. §§ 801 et seq.
132
      6/8/21 Trial Tr. (Rannazzisi) at 116.
133
      P-00032_00010 (June 2012 Dear Registrant Letter) .

                                                  27
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DEA guidance.134

          121.   The 2006 letter provided specific guidance on the characteristics often displayed

by pharmacies engaged in dispensing controlled substances for other than a legitimate medical

purpose and provided a list of questions a distributor investigating a suspicious order might ask.

Specifically, the DEA identified the following characteristics:

          1. Ordering excessive quantities of a limited variety of controlled substances (e.g.,
             ordering only phentermine, hydrocodone, and alprazolam) while ordering few,
             if any, other drugs

          2. Ordering a limited variety of controlled substances in quantities
             disproportionate to the quantity of non-controlled medications ordered

          3. Ordering excessive quantities of a limited variety of controlled substances in
             combination with excessive quantities of lifestyle drugs

          4. Ordering the same controlled substances from multiple distributors.135

          122.   The DEA further offered lines of inquiry a distributor seeking to determine whether

a suspicious order is indicative of diversion may wish to inquire about from the ordering pharmacy,

including, inter alia, (1) percentage of controlled substance business; (2) compliance with laws of

every state in which it is dispensing controlled substances; (3) is the pharmacy soliciting buyers of

controlled substances via the internet or associated with an internet site; (4) does the pharmacy or

affiliated internet cite offer to facilitate the acquisition of a prescription for a controlled substance


134
    6/8/21 Trial Tr. (Rannazzisi) at 121; see also P-00032_00009 (June 2012 Dear Registrant
Letter); see also Hartle 7/31/18 Dep. at 160-64 (Sept. 2006 Rannazzisi letter “was mostly a
confirmation or a reiteration of the regulations, which McKesson knew…. So not significant
changes that I’m aware of.”; accurate on law); see also Prevoznik, 4/18/19 Depo at 761 (nothing
in September 2006 Joe Rannazzisi letter is new), 661-65 (NWDA guidelines, 1990’s, report
suspicious order immediately; after-the-fact monthly printout insufficient), 695-96 (1996 DEA
DIM, registrants who fill reported suspicious orders are jeopardizing public health and safety), see
also Prevoznik, 5/17/19 Depo at 810-11 (DEA 1984 Gitchel ltr.—monthly report of after-the-fact
sales not satisfy reporting duty; reporting “orders” means prior to shipment), 933-34 (Rannazzisi
letters did not change the obligations of registrants); 6/8/21 Trial Tr. (Rannazzisi) at 121.
135
      P-00032_00011 (June 2012 Dear Registrant Letter).

                                                   28
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form a practitioner with whom the buyer has no pre-existing relationship; (5) does the pharmacy

fill prescriptions issued by practitioners based solely on an on-line questionnaire without a medical

examination or a bona-fide doctor-patient relationship; (6) are the prescribing physicians licensed

to practice medicine in the jurisdictions to which the controlled substances are being shipped; (7)

are one or more practitioners writing a disproportionate share of the prescriptions being filled by

the pharmacy; (8) does the pharmacy offer to sell controlled substances without a prescription; (9)

does the pharmacy charge reasonable prices for controlled substances; (10) does the pharmacy

accept insurance payment for purchases of controlled substances made via the internet.136 The

DEA specifically noted “these questions are not all-inclusive; nor will the answer to any of these

questions necessarily determine whether a suspicious order is indicative of diversion to other than

legitimate medical channels. Distributors should consider the totality of the circumstances when

evaluating an order for controlled substances.”137

            123.   The 2006 letter further advised:

            DEA recognizes that the overwhelming majority of registered distributors act
            lawfully and take appropriate measures to prevent diversion. Moreover, all
            registrants, manufacturers, distributors, pharmacies, and practitioners, share
            responsibility for maintaining appropriate safeguards against diversion.
            Nonetheless, given the extent of prescription drug abuse in the United States, along
            with the dangerous and potentially lethal consequences of such abuse, even just
            one distributor that uses its DEA registration to facilitate diversion can cause
            enormous harm. Accordingly, DEA will use its authority to revoke and suspend
            registrations in appropriate cases.
            …

            Thus, in addition to reporting all suspicious orders, a distributor has a statutory
            responsibility to exercise due diligence to avoid filling suspicious orders that might
            be diverted into other than legitimate medical, scientific, and industrial channels.
            Failure to exercise such due diligence could, as circumstances warrant, provide a
            statutory basis for revocation or suspension of a distributor’s registration.

136
      Id.
137
      Id.

                                                      29
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          …

          In a similar vein, given the requirement under Section 823(e) that a distributor
          maintain effective controls against diversion, a distributor may not simply rely on
          the fact that the person placing the suspicious order is a DEA registrant and turn
          a blind eye to the suspicious circumstances.
          …

          Again, to maintain effective controls against diversion as Section 823(e) requires,
          the distributor should exercise due care in confirming the legitimacy of all orders
          prior to filling.138
          124.   The DEA’s February 7, 2007 and December 27, 2007 letters by Mr. Rannazzisi

again reminded distributors that in addition to reporting all suspicious orders, a distributor has a

statutory responsibility to exercise due diligence to avoid filling suspicious orders that might be

diverted into other than legitimate medical, scientific, and industrial channels.139 The December

2007 letter further noted: “[f]iling a monthly report of completed transactions (e.g., “excessive

purchase report” or “high unit purchases”) does not meet the regulatory requirement to report

suspicious orders.140 The DEA also told ABDC in letters and briefings that “Excessive Order

Reports” (which all three Defendants were sending to the DEA) were not equivalent to suspicious

order reports.141

          125.   The DEA’s December 2007 letter also emphasized:

          Registrants that rely on rigid formulas to define whether an order is suspicious may
          be failing to detect suspicious orders. For example, a system that identifies orders
          as suspicious only if the total amount of a controlled substance ordered during one

138
   6/8/21 Trial Tr. (Rannazzisi) at 117-19 (reading from P-00032, June 2012 Dear Registrant
Letter).
139
   Among other guidance, the DEA’s December 27, 2007, letter also instructed registrants to
review the final order issued by the DEA in the matter of Southwood Pharmaceuticals, Inc., 72
FR 36487 (2007), regarding their legal obligations to report suspicious orders. See P-02027 (Dec.
2007 DEA Dear Registrant Letter); see also 6/8/21 Trial Tr. at 151-52 (DEA’s 2007 Southwood
decision, know-your-customer duty, red flags of diversion; no-ship duty).
140
      P-00032 (June 2012 Dear Registrant Letter); 5/13/21 Trial Tr. (Zimmerman) at 39-40.
141
      6/7/21 Trial Tr. (Rannazzisi) at 228, 229-30, 231, and 233.

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          month exceeds the amount ordered the previous month by a certain percentage or
          more is insufficient. This system fails to identify orders placed by a pharmacy if
          the pharmacy placed unusually large orders from the beginning of its relationship
          with the distributors. Also, this system would not identify orders as suspicious if
          the order were solely for one highly abused controlled substance if the orders never
          grew substantially. Nevertheless, ordering one highly abused controlled substance
          and little or nothing else deviated from the normal pattern of what pharmacies
          generally order.142
          126.   The DEA further advised that “registrants that routinely report suspicious orders,

yet fill these orders without first determining that order is not being diverted into other than

legitimate medical, scientific, and industrial channels, may be failing to maintain effective controls

against diversion.”143

          127.   The December 2007 letter reiterated that the DEA did not approve or otherwise

endorse any specific system of reporting suspicious orders.144 It also specifically provided notice

that any prior implicit or explicit suggestions that the DEA had approved systems in the past were

revoked.145

          128.   Defendant ABDC has admitted that the December 2007 letter to Defendants and all

registrants provided guidance that when looking for suspicious orders, a distributor should look

for ordering patterns from a particular customer and should also compare the ordering patterns of

a particular customer throughout the relevant segment of the regulated industry.146

          129.   In separate written agreements with the DEA, AmerisourceBergen (2007) and

Cardinal and McKesson (2008) agreed “to maintain a compliance program designed to detect and



142
   P-02027 (Dec. 2007 DEA Dear Registrant Letter) ; 6/8Trial Tr. (Rannazzisi) at 145 (formula-
based SOM may miss suspicious orders)
143
      P-00032 (June 2012 Dear Registrant Letter); 5/13/21 Trial Tr (Zimmerman) at 44-45.
144
      Id. at 3; 5/13/21 Trial Tr (Zimmerman) at 38.
145
      Id. at 3; 5/13/21 Trial Tr (Zimmerman) at 38-39.
146
      5/12/21 Trial Tr. (Zimmerman) at 41, 44.

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prevent diversion of controlled substances” as required under the CSA and applicable DEA

regulations.147

          130.    Defendants, however, systematically failed to comply with these duties, as is set

forth below with respect to each individual Defendant.

           B.     ABDC
                  1.     ABDC’s Order Monitoring Program and Anti-Diversion Policies

                         a.     ABDC’s Pre-2007 Policies

          131.    ABDC has a nationwide distribution model and nationwide policies governing

compliance with the CSA, and those policies were to be implemented uniformly across the

country. 148

          132.    During the 1990’s, ABDC order-fillers (who worked in the vault at its distribution

centers) had the responsibility for “knowing the orders that they fill and, if they have any suspicion

. . . depending upon what they feel, they have an obligation to report it, which resulted in 12,000

phone calls” a year.149 These employees had no background in compliance nor guidance on how

to identify potentially suspicious orders and were not equipped to prevent diversion, particularly

based on naked observation or instinct.150

          133.    ABDC set customer “thresholds,” solely size-based triggers for suspicion or

investigation, by calculating an average volume of sales for different categories of customers and




147
  See P-23733 (2008 DEA-McKesson Settlement and Release Agreement and Administrative
Memo of Agreement).
148
      5/12/21 Trial Tr. (Zimmerman) at 189.
149
      5/13/21 Trial Tr. (Zimmerman) at 47-48 (emphasis added).
150
   5/13/21 Trial Tr. (Zimmerman) at 51-52 (order-fillers were cited the “Code of Federal
Regulations” as to whether an order is suspicious).

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then applying a multiplier of three,151 so that the threshold would not be reached unless an order

was at least three-times over average. Until 1998, ABDC was comparing all pharmacies together

in one category, taking an average and identifying anything over the average as suspicious, which

resulted in large customers getting reported frequently and smaller customers never getting

reported, even if the pattern, volume, or frequency of their orders changed dramatically.152

          134.   In 1998, ABDC began comparing the customer to itself, rather than to all other

pharmacies.153 But it set the threshold to flag an order so high that it was unable to detect gradual

increases in diversion. For example, if a customer’s previous three-month average was 1,000 pills,

a pharmacy could order 3,000 pills the next month before ABDC’s system would even flag it as

suspicious.154 ABDC’s system did not consider the frequency or pattern of orders that should have

allowed it to make informed decisions to investigate and cancel certain shipments to its pharmacy

customers that the governing regulations defined as suspicious.155

          135.   Prior to 2007, any order that exceeded ABDC’s threshold calculation was deemed

excessive and simply reported to the DEA as an Excessive Order Report.156 During this time,

ABDC’s policy was to ship all orders, regardless of whether they were reported to the DEA as

excessive.157 ABDC’s pre-2007 SOMs policies were so inadequate that, in 2007, DEA issued an




151
    P-00082 at 2 (1999 Bergen Brunswig Regulatory Compliance and Security Services Policy and
Procedures document – “monthly average times factor for ARCOS items is presently set by DEA
at three times the monthly average”); 5/13/21 Trial Tr (Zimmerman) at 54, 60-61.
152
      5/13/21 Trial Tr. (Zimmerman) at 54.
153
      5/13/21 Trial Tr. (Zimmerman) at 54.
154
      5/13/21 Trial Tr. (Zimmerman) at 55, 58.
155
      21 CFR 1301.74(b).
156
      5/13/21 Trial Tr (Zimmerman) at 54, 60-61.
157
      5/13/21 Trial Tr. (Zimmerman) at 45 (pre-2007, ABDC shipped suspicious orders).

                                                   33
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Immediate Suspension Order against ABDC, which stopped it from distributing controlled

substances pending an administrative hearing,158 for its systematic failure to maintain effective

controls against diversion. DEA required ABDC to substantially improve its suspicious order

monitoring Program but the new program – known as the Order Monitoring Program, or OMP –

remained inadequate to detect and identify suspicious orders.159

                                 b.        ABDC’s Post-2007 Policies

          136.    As result of its 2007 Immediate Suspension Order and resulting settlement with the

DEA,160 ABDC revised certain components of its threshold system. Specifically, its revised

threshold system grouped customers by DEA classification (i.e. hospital, retail pharmacy,

practitioner, or distributor) and subclasses (small, medium, large) based on the total dollar value

of prescription sales.161 ABDC used a national average of each customer group’s purchases and,

as before, multiplied that average by three to develop a threshold.162 From 2007 to 2014, ABDC’s

suspicious order threshold was based on a national average of customers.163 During that same time

period, ABDC’s program did not consider a pharmacy’s local population, local total sales volume,

or other local circumstances,164 such as the presence and extent of diversion and addiction.




158
      6/8/21 Trial Tr. (Rannazzisi) at 29.
159
      5/12/21 Trial Tr. (Zimmerman) at 228; P-00877.
160
      Findings of Fact (“FOF”), infra, ¶¶ 164-65.
161
   5/13/21 Trial Tr. (Zimmerman) at 54, 223-226; 5/17/21 Trial Tr. (Mays) at 203-04; P-00432
(01/19/2009 memo from Hazewski, Krueztner and Tomkiewicz to Zimmerman re. RVP Talking
Points);
162
   5/18/21 Trial Tr. (Mays) at 133 (threshold system 2007-14 was simply three times the national
average).
163
      5/18/21 Trial Tr. (Mays) at 34-35.
164
      5/17/21 Trial Tr. (Mays) at 203-05.

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          137.   In 2007, ABDC finally adopted a policy to block suspicious orders.165 ABDC’s

new policy was to hold orders that exceeded a customer’s threshold and not ship them, pending

review by its national Corporate Security and Regulatory Affairs (“CSRA”) investigatory group –

CSRA Review.166 The distribution center could release an order if it felt comfortable releasing

based on the knowledge of the customer; if the distribution center did not clear the order, it was

sent to corporate for review.167 Those orders were supposedly not to be shipped unless the

suspicion was resolved.168 The process did not get triggered unless the computer flagged the

order.169 Held orders went into a queue via a messaging system to be reviewed.170

          138.   In 2009, ABDC’s monthly default thresholds for small accounts (“total monthly

dollar volume <$100K”) were set for oxycodone at 12,366 and hydrocodone at 18,480.171 For

medium accounts (“total monthly dollar volume $100 K-$249,999”) the threshold for oxycodone




165
    5/13/21 Trial Tr. (Zimmerman) at 71; P-26293 (Dec. 1, 20065 ABDC Possible
Excessive/Suspicious Order Review Policies and Procedures) .
166
   5/13/21 Trial Tr. (Zimmerman) at 76 (ABDC OMP, Oct. 2008, if order flagged as suspicious,
customer cut off until resolved); 79-82, 222 (ABDC memo, June 2007, customer exceed monthly
threshold, reject further sale of like items until customer cleared)
167
      5/17/21 Trial Tr. (Mays) at 215.
168
   5/17/21 Trial Tr. (Mays) at 215; Ed Hazewski, 10/25/18 Depo at 60 (to thoroughly investigate
suspicious orders it was necessary to determine whether or not there was a reasonable explanation
for a flag).
169
      5/17/21 Trial Tr. (Mays) at 216.
170
      5/18/21 Trial Tr. (Mays) at 74-76.
171
  P- P-00432 (01/19/2009 memo from Hazewski, Krueztner and Tomkiewicz to Zimmerman re.
RVP Talking Points) ; 5/13 Trial Tr. (Zimmerman) at 223-224.

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was 24,732 and hydrocodone was 39,960.172 For large accounts (“total monthly dollar volume

>$250K”) the threshold for oxycodone was 37,098 and hydrocodone was 55,440.173

             139.   Under the 2009 default thresholds, a small pharmacy could order 350,000 dosage

units of hydrocodone and oxycodone a year without triggering the thresholds and ABDC’s order

monitoring process.174          A medium-sized pharmacy could order 760,000 dosage units of

hydrocodone and oxycodone a year without triggering the thresholds and ABDC’s order

monitoring process.175 A large pharmacy could order over a million dosage units of hydrocodone

and oxycodone a year without triggering the thresholds and ABDC’s order monitoring process.176

ABDC also warned its pharmacy customers when they were approaching their monthly

thresholds.177 This strongly suggests that ABDC intended for these thresholds to create the

appearance that it had a meaningful Suspicious Order Monitoring System, while the system in

practice did very little to detect or prevent shipment of orders of unusual size, pattern, or frequency.

                           c.     ABDC’s Due Diligence Programs

             140.   As part of its OMP, and as a result of the DEA’s 2007 Immediate Suspension

Order,178 ABDC implemented a “Know Your Customer” due diligence program.179 ABDC

implemented its Know Your Customer due diligence program using its Form 590, which was used


172
      Id.
173
      Id.
174
   5/13/21 Trial Tr. (Zimmerman) at 225; see also P-00432 (01/19/2009 memo from Hazewski,
Krueztner and Tomkiewicz to Zimmerman re. RVP Talking Points) .
175
      Id..
176
   5/13/21 Trial Tr. (Zimmerman) at 226; see also P-00432(01/19/2009 memo from Hazewski,
Krueztner and Tomkiewicz to Zimmerman re. RVP Talking Points) .
177
      Hazewski, 10/25/18 Depo at 123-125.
178
      FOF, infra, ¶¶ 164-65.
179
      5/18/21 Trial Tr. (May) at 44-48.

                                                  36
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to collect and track information on pharmacy customers.180 ABDC had not been collecting due

diligence data prior to 2007 and did not go back and conduct due diligence on existing

customers.181 In July 2016, ABDC launched a formal “CSRA Form 590 Validation Project” to

obtain due diligence documentation for every customer authorized to purchase controlled

substances.182 The first phase of this project involved conducting “a full review of every ABDC

customer authorized to purchase controlled substances and identify any with deficiencies.”183

After this review was conducted, “a substantial number of customers were identified who will be

required to have their 590 documentation updated.”184 However, even though a substantial number

of customers needed their due diligence documentation updated, ABDC’s sales force’s priority

was “still the financial performance of your assignment.”185

            141.   ABDC’s sales team was responsible for performing on-site investigations for due

diligence, was the “eyes and ears” of Regulatory Affairs, and collected information regarding

potential red flags.186 At the same time, ABDC offered sales representatives bonuses based on

sales, and sales representatives could lose bonus amounts if a customer left ABDC.187 In 2011,

ABDC’s Business Development Manager pushed back on cutting off a customer which had a



180
      5/18/21 Trial Tr. (May) at 44-48.
181
      5/14/21 Trial Tr. (May) at 48.
182
   P-41623 (1/16/2017 email from Ernsberger to Perry, McKinnon, Dowling, and others re: Action
Item – 590 validation Project) .
183
      Id.
184
      Id.
185
      Id.; See also 5/19/21 Trial Tr. (Perry) at 166.
186
      5/18/21 Trial Tr. (Mays) at 38; see also 5/19/21 Trial Tr. (Perry) at 91, 94, 103.
187
   Elkins, 11/14/18 Depo at 123-25, 131 (ABDC offered sales representatives bonuses based on
sales numbers; the higher the number, the more you make) 160-61, 213 (sales representative could
lose bonus amounts if customer leaves ABDC; total sales goal figure not adjusted)

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100% increase in their oxycodone purchases between August and September with no

corresponding rationale for the spike, recommending to “re-consider such harsh action.”188 Other

personnel added that if ABDC followed through with cutting them off they would lose “a million

dollars a month-12 million per year. My numbers can’t handle that loss and I don’t think ABC

would want that type of loss either . . . We stand to lose these 2 customers and send a terrible

message to the retail community in the entire region . . .”189

             142.   ABDC’s local sales executive, Mike Perry, testified regarding an email from

Nathan Elkins, describing a summer review of “all accounts with less than $50,000/month in

volume” and “for any such accounts that were purchasing a high percentage of controlled

substances in relation to their overall TRV [total sales], you were directed to have frank

conversations reiterating the importance of diversion control and that any red flags caused by their

purchasing patterns put them at risk of having controlled substance purchases suspended or limited

by ABC.”190 Mr. Perry admitted that ABDC did not have these same frank conversations about

diversion control with his pharmacy customers over $50,000 in Cabell and Huntington.191

                                  i.     Due Diligence Programs for Chain Pharmacies

             143.   ABDC imposed different, less rigorous rules on its chain pharmacy customers in

its Know Your Customer program. Specifically, ABDC did not apply that program’s due diligence

requirements to chain pharmacies.192 Instead of collecting due diligence information from each




188
      P-02504 (12/1/2011 email from Snyder to Miller, Hazewski, Franklin re: TN Customers).
189
      Id at 2.
190
   5/19/21 Trial Tr (Perry) at 148-149; P-41622 (12/23/2013 email from Elkins to DeLong, Halls,
Perry, Pitts, and Schrott re: Controlled Drug Monitoring Follow Up).
191
      Id..
192
      5/19/21 Trial Tr. (Mays) at 38

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pharmacy location of a retail chain, ABDC merely created a chain-wide spreadsheet.193

          144.    For example, ABDC permitted Walgreens to submit a single 590 spreadsheet for

all of its stores, rather than requiring each store to provide the required information.194

          145.    ABDC also helped Walgreens to evade detection of suspicious orders by providing

it with the store-specific thresholds ABDC set for its pharmacy locations.195

          146.    ABDC also offered pharmacy chains volume-based discount pricing, thus

rewarding them for placing excessive orders rather than preventing this.196

                                 ii.       Due Diligence Programs for Local Pharmacies

          147.    ABDC currently maintains 27 distribution centers in the U.S.197 Its distribution

center in Lockbourne, Ohio (Columbus) is the primary distribution center for West Virginia.198

          148.    Safescript #6 is a retail pharmacy located in Huntington, West Virginia, and a prior

customer of ABDC.199 As detailed below, ABDC increased SafeScript’s oxycodone thresholds to

more than four times their initial level — from 10,600 dosage units per month before September

2007 to 45,000 dosage units per month in June 2009 — without meaningful due diligence.200




193
      5/17/21 Trial Tr. (May) at 174.
194
      6/15/21 Trial Tr. (Keller) at 142.
195
    Hazewski, 10/25/18 Dep at 124-25. Hazewski testified that Mays was “trying to think of
everything we can do to prevent having a bunch of [WAG] orders reported to DEA and held” Id.
at 138.
196
      Elkins, 11/14/18 Depo at 77-80.
197
      5/8/21 Trial Tr. (Zimmerman) at 149; see also 5/10/21 Trial Tr. (Mays) at 25.
198
      5/8/21 Trial Tr. (Zimmerman) at 149-50; 5/9/21 Trial Tr. (Zimmerman) at 171.
199
      P-16639 (at row 40).
200
      P-16639; see also 5/18/21 Trial Tr. (Mays) at 78-87.

                                                    39
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ABDC did not produce due diligence documents to justify any of these threshold increases.201

         149.    Flagged orders from July 2007 show that ABDC set SafeScript’s oxycodone

threshold at 10,600 doses per month. 202 However, in June 2007, ABDC shipped SafeScript 53,900

dosage units of oxycodone. 203 During its entire relationship with SafeScript, ABDC shipped the

pharmacy less than three times the 10,600 threshold just once — in the pharmacy’s first month

with ABDC, when it purchased 28,700 doses of oxycodone.204

         150.    By September 2007, ABDC had increased SafeScript’s threshold for Oxycodone

Solid pills from 10,600 to 30,000 dosage units per month.205 By July 2009, ABDC increased the

monthly threshold to 45,000 dosage units of Oxycodone Solids.206          According to ABDC’s

transactional data, these threshold increases resulted in SafeScript Pharmacy #6 receiving an

average of 35,551 dosage units of oxycodone per month for over six years from January 2006 to

February 2012.207

         151.    In 2009, Mr. Perry replied to an inquiry regarding SafeScript by the Lockbourne

Manager of Regulatory Compliance, advising, “this account has always purchased a high volume




201
    P-16639 (illustrates SafeScripts’ threshold increases). ABDC’s discovery responses were
entered into evidence and only consisted of several pages, none of which included justification for
the increases in threshold which SafeScript received; P-23655 (ABDC’s 4th Supp. Objections and
Responses to Plaintiffs’ 1st Comb. Discovery Requests.
202
      P-16639.
203
      P-16639.
204
      P-16639.
205
      P-44766 (2007-2011 ABDC Reported Orders to DEA from WV at Row 470).
206
      P-44766 (2007-2011 ABDC Reported Orders to DEA from WV at Row 1647).
207
    P-43225 (2006-2014 ABDC, Cardinal, and McKesson Oxycodone and Hydrocodone
Shipments to Cabell County).

                                                40
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of Controls to total sales. We have made adjustments to the Thresholds in the past due to this

being the primary business at this account.”208

          152.     In June 2011, ABDC’s Order Monitoring Program flagged 24 SafeScript orders of

oxycodone for exceeding its threshold.209 On July 29, 2011, Mr. Perry requested an oxycodone

threshold increase.210       Although the threshold review form specifies that “exceeding the

established threshold does not in itself justify a threshold increase in all cases,” the justification

for increasing the threshold was that the customer “has had issues with them exceeding the
                 211
thresholds.”           Mr. Perry admitted that there was no reason stated for the increase to the

threshold.212

          153.     Despite this fact, the request for the threshold increase was approved.213 Ed

Hazewski responded, “The customer has been adjusted and is now set at the maximum they can

receive of this product. Their CS ratio is 86% of their overall purchases.”214 For context, ABDC

noted in January 2009 that the “average retail customer in our customer base has a CS ratio of

about 12%.”215 The increase of SafeScript’s threshold to an 86% CS ratio, without additional

justification, indicates ABDC was not following its policy that “thresholds will remain firm for

the appropriate customer size. No orders surpassing the threshold will be released and no


208
      P-16655; 5/19 Trial Tr (Perry) at 124-125, 127-128.
209
      P-16639.
210
      P-16651 (7/29/2011 email from Perry to Hazewski re: Threshold Limits at Safescript Rx).
211
      Id.; see also 5/19 Trial Tr (Perry) at 129-131.
212
      5/19 Trial Tr. (Perry) at 140-141.
213
      P-16642; 5/19 Trial Tr (Perry) at 142.
214
    P-16642; 5/19 Trial Tr (Perry) at 142; 5/19 Trial Tr (Perry) at 77-78 (A controlled substance
ratio (“CS ratio”) is the total sales amount of controlled substances over the total sales amount).
215
  P-00432 (01/19/2009 memo from Hazewski, Krueztner and Tomkiewicz to Zimmerman re.
RVP Talking Points) .

                                                   41
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thresholds will be changed unless there is a change in the customer’s ratio of CS.”216

             154.   Mr. Perry had been trained that a high controlled substance ratio could be a concern

and was a question on the 590 form.217 Mr. Perry admitted that at the time the threshold was

adjusted, Regulatory Affairs knew the controlled substance ratio was high, that more than one

distributor was being used, and that the pharmacy was filling prescriptions for pain clinics.218

             155.   When Mr. Perry forwarded via email the Request for Threshold Review, he also

forwarded an email from SafeScript, which noted “Troublesome Drugs” – oxycodone and

oxycontin and identified three prescribers including doctors Deleno Webb and Philip Fisher.219

Mr. Perry testified that he had no knowledge regarding any issues with Dr. Webb.220 He testified

that he provided the names because they had asked for the information but he had no idea what

Regulatory Affairs did with the names.221 He did not know that Dr. Webb was a psychiatrist.222




216
      Id..
217
      5/19/21 Trial Tr (Perry) at 98.
218
      5/19/21 Trial Tr. (Perry) at 140-145.
219
    P-16651 (7/29/2011 email from Perry to Hazewski re: Threshold Limits at Safescript Rx);
5/19/21 Trial Tr. (Perry) at 131. In 2005, Dr. Webb was banned by the West Virginia Worker’s
Compensation Commission from receiving payment for treating injured workers and surrendered
his medical license in 2017. 6/15/21 Trial Tr. (Keller) at 181-182. Dr. Fisher’s license to practice
osteopathic medicine was suspended in 2011 and was the subject of a number of board actions
pertaining to his prescribing practices as relating to the deaths of at least seven patients. 6/15/21
Trial Tr. (Keller) at 134.
220
      5/19/21 Trial Tr. (Perry) at 131.
221
      5/19/21 Trial Tr. (Perry) at 133.
222
  5/19/21 Trial Tr. (Perry) at 142; 6/15/21 Trial Tr. (Keller) at 133 (Dr. Webb was also a pain
management doctor).

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          156.    SafeScript was raided by the police and closed in February 2012, approximately six

months after ABDC increased its threshold levels to the maximum.223 Mr. Perry was unaware of

anyone from Regulatory Affairs ever visiting SafeScript from 2004 until its closure in 2012.224

          157.    In total, from July 2007 until July 2011, ABDC’s Order Monitoring Program

(“OMP”) lagged at least 1,171 SafeScript orders for exceeding thresholds, including 775 orders of
           225
opioids.         However, ABDC only reported 41 SafeScript orders to the DEA as suspicious,

including just 16 opioid orders.226 Although ABDC internally flagged 617 SafeScript orders of

oxycodone as suspicious, it only reported 13 orders to the DEA, on just 3 days: March 28, 2008,

December 31, 2009, and January 30, 2010.227

          158.    SafeScript was not the only local pharmacy for which ABDC failed to conduct due

diligence. In 2015, the DEA conducted an audit of the ABDC Lockbourne distribution center that

serves Cabell and Huntington.228 During the audit, the DEA diversion investigator requested

copies of the due diligence files for several customers, including McCloud and Drug Emporium.229

ABDC could not locate the files as the McCloud “Lawtrac matter is empty” and “requesting hard

file from Iron Mountain – file not found.”230 Similarly, ABDC found that the Drug Emporium


223
      5/19/21 Trial Tr. (Perry) at 145.
224
      5/19/21 Trial Tr. (Perry) at 129-130.
225
      P-16639a (2008-2011 ABDC Reported Orders to DEA from WV).
226
      P-44766 (2007-2011 ABDC Reported Orders to DEA from WV).
227
      P-16639a (2008-2011 ABDC Reported Orders to DEA from WV)..
228
   P-17140 (9/29/2015 email from Cherveny to May re: Columbus DEA Audit Update (9/29/15));
5/17/21 Trial Tr. (May) at 167:1-169:10.
229
      Id.; see also 5/17/21 Trial Tr. (May) at 169:11-19.
230
   Id.; see also 5/17/21 Trial Tr. (May) at 170:14-19. Lawtrac was ABDC’s electronic databased
which contained its customer’s due diligence information prior to its current iteration known as
Archer. 5/17/21 Trial Tr. (May) at 166. Iron Mountain is where ABDC stores its hard copy
documents. 5/17/21 Trial Tr. (May) at 174-175.

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“Lawtrac matter is empty.”231 This strongly suggests that there were no files to be found.

                  2.     ABDC’s Notice of its OMP and Anti-Diversion Program
                         Deficiencies

                         a.      The DEA did not Approve ABDC’s Diversion Control
                                 Program.

          159.    The DEA does not approve or endorse SOM systems.232             Former Deputy

Administrator for DEA’s Office of Diversion Control, Mr. Rannazzisi,233 testified that a DEA

inspection does not enable DEA to determine a SOM system’s effectiveness.234 He further testified

that the DEA did not have a SOM approval process and, in fact, communicated the fact that it did

not approve SOM programs for registrants.235 Mr. Rannazzisi explained that the reason it is the

registrant’s obligation to design and operate a system (rather than the DEA) is because:

          only the registrant knows or can develop a system that conforms to their business
          plan, to their customer base. DEA can’t do that. DEA doesn’t know what their
          customer base is. Doesn’t know what their business plan is. Doesn’t know how they
          process orders. Only the registrant could do that.236
          160.    Further, in 2007, the DEA advised counsel for ABDC that the Settlement and

Release Agreement relating to the OSC/ISO237 did “not approve or endorse a particular system to

identify and disclose suspicious orders.”238


231
   P-17140 (9/29/2015 email from Cherveny to May re: Columbus DEA Audit Update (9/29/15));
5/17/21 Trial Tr. (May) at 171:6-8.
232
      Prevoznik, 4/18/19 Depo at 752.
233
      6/7/21 Trial Tr. (Rannazzisi) at 162, 165.
234
      6/8/21 Trial Tr. (Rannazzisi) at 178-79.
235
   6/8/21 Trial Tr. (Rannazzisi) at 182; see also 6/9/21 Trial Tr. (Rannazzisi) at 76 (has seen no
document that would lead defendants to believe DEA approved their SOM systems before 2005);
220 (DEA did not approve SOM programs during or before tenure); 238 (told in 2005 that DEA
not approve SOMs).
236
      6/10/21 Trial Tr. (Rannazzisi) at 73.
237
      FOF, infra, ¶¶ 164-65.
238
      P-00521; 5/13/21 Trial Tr. (Zimmerman) at 217-218.

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                         b.      The 2000 Memorandum of Understanding

          161.    As far back as 2000, ABDC received direct communications from the DEA that

indicated ABDC’s SOM system did not adequately provide effective controls to prevent diversion.

Specifically, in 2000, the DEA and ABDC entered into a Memorandum of Understanding, which

alleged ABDC’s failure to “provide effective controls and procedures to guard against theft and

diversion of controlled substances required by 21 CFR 1301.71(a)” at the Columbus Lockbourne

facility which services Cabell and Huntington.239

                         c.      The 2005 Distributor Initiative Meeting

          162.    On August 10, 2005, the DEA held a “Distributor Initiative Meeting” with

ABDC.240 During this meeting, the DEA communicated to ABDC that it had a duty to report

suspicious orders when discovered.241 The DEA also advised ABDC that “reporting a suspicious

order to DEA does not relieve a distribution [sic] of the responsibility to maintain effective

controls.”242 The DEA wanted to make sure that ABDC understood what their obligations were

and to make appropriate corrections to the system ABDC was operating.243 Mr. Rannazzisi

testified:

          The reason for the distributor initiative meetings was because we weren’t getting
          suspicious orders. We weren’t getting the suspicious orders that basically
          pinpointed or was a pointer system to potential diverters. What we were getting was
          excessive purchase reports and, and the like of the excessive purchase reports which
          are not suspicious orders.244

239
      P-00324_00001; Cherveny, 11/9/18 Depo. at 262-67.
240
      6/8/21 Trial Tr. (Rannazzisi) at 60.
241
  P-09112 at 9 (08/16/2005 Memo from Mapes to Walker re: Internet Presentation with
AmerisourceBergen on August 10, 2005); 5/12/21 Trial Tr. (Zimmerman) at 199-200.
242
  P-09112 at 9 (08/16/2005 Memo from Mapes to Walker re: Internet Presentation with
AmerisourceBergen on August 10, 2005); 5/12/21 Trial Tr. (Zimmerman) at 202.
243
      6/8/21 Trial Tr. (Rannazzisi) at 63.
244
      6/8/21 Trial Tr. (Rannazzisi) at 103.

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          163.   Mr. Rannazzisi’s testimony is bolstered by Michael Mapes, former DEA Section

Chief for E-commerce, who also testified that the DEA was “looking for reports that the

wholesalers had reviewed, not just with a raw number of drugs that were ordered but reviewed it

and determined that it was suspicious.”245 Mr. Mapes further testified that he did not recall the

DEA making a distinction between retail chain pharmacies and independent pharmacies during

the distributor briefings.246 He also testified that he “was expecting that over time they would use

the same procedures for all the pharmacies that they were dealing with to be certain that there

wasn’t a problem that they wouldn’t see without the extra due diligence.”247 He testified that the

distributors were to be looking for “an internet pharmacy or any pharmacy that was selling drugs

for other than legitimate purpose” such as a pill mill.248 During the meeting, the DEA provided

Steve Mays a binder full of written materials, which included a PowerPoint presentation, and case

law regarding a distributor’s general obligations to maintain effective controls to prevent

diversion.249

                        d.     The 2007 Order to Show Cause and Immediate
                               Suspension Order

          164.   The DEA filed an Order to Show Cause and Immediate Suspension Order

(“OSC/ISO”) against ABDC on April 19, 2007.250 The OSC/ISO immediately stripped ABDC’s



245
      Mapes, 7/11/2019 Depo. at 202-203.
246
      Mapes, 7/11/2019 Depo. at 217.
247
      Mapes, 7/11/2019 Depo. at 217.
248
      Mapes, 7/11/2019 Depo. at 217.
249
  5/17/21 Trial Tr. (May) at 179-181; see also P-08813 (08/10/2005 Internet Pharmacy Data
Meeting with ABDC).
250
  6/8/21 Trial Tr. (Rannazzisi) at 58-59; P-00049 (Apr. 2007 DEA Order to Show Cause and
Immediate Suspension of Registration to ABDC).

                                                46
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Orlando, Florida facility of its license to distribute controlled substances.251 The OSC/ISO

identified the conduct that the DEA believed violated the CSA to include “notwithstanding the

information provided to respondent after the August 10, 2005 meeting . . . Respondent sold over

5.2 million dosage units of hydrocodone to pharmacies that bore the characteristics that DEA

described in the August 10th meeting.” 252 In 2005 and 2006, ABDC continued to distribute

massive volumes of hydrocodone to internet pharmacies in Florida, despite the warnings provided

to it by the DEA via the distributor’s initiative meetings and the September 2006 “Dear Registrant”

letter.253

          165.    Mr. Rannazzisi testified that the failures of ABDC’s systems that lead to the OSC

and ISO were a total breakdown throughout ABDC’s national SOMs program.254 The conduct at

issue included allowing the diversion of hundreds of thousands of dosage units into the illicit

market.255 The pills ordered from the internet pharmacies went all over the country and were not

geographically limited.256 By their nature, internet pharmacies, which shipped opioids to any

location, would have provided opioids across the United States, including West Virginia.257




251
  P-00049 (Apr. 2007 DEA Order to Show Cause and Immediate Suspension of Registration to
ABDC).
252
  6/8/21 Trial Tr. (Rannazzisi) at 60-61; P-00049 at 3 (Apr. 2007 DEA Order to Show Cause and
Immediate Suspension of Registration to ABDC).
253
  P-00049 (Apr. 2007 DEA Order to Show Cause and Immediate Suspension of Registration to
ABDC)..
254
      6/8/21 Trial Tr. (Rannazzisi) at 67.
255
      6/8/21 Trial Tr. (Rannazzisi) at 70-72.
256
      6/7/21 Trial Tr. (Rannazzisi) at 191-92.
257
   6/7/21 Trial Tr. (Rannazzisi) at 169 (internet trafficking was taking over a lot of the
pharmaceutical issues and diversion that was happening in the United States across the country).

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          166.    The DEA and ABDC entered into a Settlement and Release Agreement on June 22,

2007 (“Settlement Agreement”) in relation to the conduct alleged in the OSC/ISO.258 The

“covered conduct” in the Settlement included:

                  The alleged failure of AmerisourceBergen to maintain adequate
                  controls against diversion of controlled substances, on or prior to
                  May 22nd 2007, at the Orlando facility and all other distribution
                  facilities controlled by AmerisourceBergen, with respect to all sales
                  of Automation of Reports and Consolidated Orders System
                  reportable controlled substances, benzodiazepines and phentermine;
                  and, three, the alleged failure to detect and report suspicious orders
                  of sales of the controlled substances set forth in Subsection I(3)(ii)
                  of this agreement as required by 21, C.F.R., 1301.74(b).259

          167.    The controlled substances mentioned in the settlement included opioids.260 The

Settlement Agreement covered all distribution centers including the Lockbourne, Ohio location

that shipped opioids to Cabell and Huntington.261 As a result, ABDC finally agreed to maintain a

compliance program to detect and prevent diversion of controlled substances.262 Mr. Rannazzisi

further testified that while the DEA did not initiate additional enforcement actions against ABDC,

that “doesn’t mean they were compliant.”263

                         e.      The FTI Consulting, Inc. Report
          168.    In 2014, seven years into the OMP, ABDC retained FTI Consulting, Inc. (“FTI”)

to assist the company with an assessment of its CSRA department in identifying critical gaps or




258
      6/8/21 Trial Tr. (Rannazzisi) at 68; P-00009 (June 2007 DEA-ABDC Settlement Agreement).
259
   6/8/21 Trial Tr. (Rannazzisi) at 68-69; P-00009 at 2 (emphasis added) (June 2007 DEA-ABDC
Settlement Agreement).
260
      6/8/21 Trial Tr. (Rannazzisi) at 69.
261
      5/12/21 Trial Tr. (Zimmerman) at 226-227.
262
      5/12/21 Trial Tr. (Zimmerman) at 227-28.
263
      6/8/21 Trial Tr. (Rannazzisi) at 72.

                                                   48
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areas for improvement.264 FTI’s investigation found numerous systemic issues with the staffing,

roles, training, and direction provided for its compliance efforts.265

          169.       The systemic issues FTI found included inter alia, “ill-defined” roles which

resulted in CSRA team members performing activities outside their purview, inadequate training

and insufficient staffing with necessary resources or expertise, personnel overwhelmed by the

volume of activities and demands of their position and lack of direction; compliance activities not

occurring because responsibilities are unclear, perpetual state of reacting impeding ability to

implement and sustain organization improvements; and the lack of a policy regarding which

associate(s) at the distribution center are responsible for reviewing orders.266 FTI also found

ABDC failed to provide guidance or “visibility to the process and rationale for adjudicating orders

held for review” and noted there is no standard set of defined reasons to support those decisions”

regarding holding orders.267

                           f.     Notice Among ABDC’s Anti-Diversion Team
          170.       The members of ABDC’s diversion control team have been aware for decades of

the risk of opioid addiction, the emerging opioid epidemic, and the relationship between pain pills

and heroin. ABDC has admitted to long-held knowledge of the following:

      •   Based on information from the DEA, oxycontin “was a high risk for potential
          diversion” and necessitated closer scrutiny; 268



264
   5/14/21 Trial Tr. (May) at 53:18-64:14, 67:20-25; P-00093 at 7 (FTI Consulting ABDC CSRA
Process Review – Phase 1 Narrative Report).
265
      P-00093 (FTI Consulting ABDC CSRA Process Review – Phase 1 Narrative Report). .
266
      Id. at 7-14.
267
   P-00472 (9/2/2015 email from Duncan to Gundy, Mays, May, Zimmerman, and Ross re: Matter
Management: Final Review of Phase 1 FTI Findings & Recommendations, updated with team
feedback).
268
      Hazewski, 10/25/18 Depo at 61-62.

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      •   “The public health dangers associated with the diversion and abuse of controlled
          prescription drugs[,]” which “have been well-recognized over the years by
          Congress, DEA, HDMA, its members, and public health authorities.”;269

      •   Oxycontin and hydrocodone have been viewed as high-risk drugs based in part
          upon ABDC’s monitoring of drug abuse trends (“We also, of course, monitor to the
          extent that we can abuse trends, drug abuse trends.”) from information in public
          sources and obtained from federal and state regulators;270

      •   Interstate diversion occurring from Florida, the Blue Highway and the Oxy
          Express,271 including through mail parodies regarding “Pillbillies” and
          “Oxycontinville,”272 which suggest a well-established and widespread recognition
          of diversion and abuse of prescription opioids in West Virginia, Appalachia, and
          elsewhere;

      •   Huge quantities of hydrocodone being purchased from illegal online pharmacies in
          Appalachia region;273

      •   Opioids being diverted and sold on the black market;274 and that

      •   There is an opioid epidemic in this country and in Cabell and Huntington.275

          171.   In 2007, ABDC’s Senior Vice President of Corporate Security & Regulatory

Affairs, Chris Zimmerman, forwarded an article regarding rogue online pharmacies that were


269
      5/13/21 Trial Tr. (Zimmerman) at 135.
270
      5/14/21 Trial Tr. (May) at 57-58.
271
    Hazewski, 10/25/18 Depo at 71-72 (Pill migration from Florida to West Virginia, Ohio and
other states was “generally discussed information in the industry” and a red flag for diversion
because a person with legitimate medical need would not travel out of state); see also 5/13/21 Trial
Tr. (Zimmerman) at 84-90, 96-99 (ABDC Pillbillies emails; knowledge of heroin connection,
knowledge of interstate diversion from Florida); see also Mash, 7/28/20 Depo at 81-82, 118
(discussed OxyExpress, diversion from Fla. through WV, during training to be ABDC VP of Sales
in WV; cluster of out-of-state license plates at pharmacy store was red flag for sales people).
272
   P-00212 (4/22/2011 email from Eddy to Zimmerman re: Saw This and Had to Share it…..); P-
00217 (4/22/2011 email from Eddy to Zimmerman re: Saw This and Had to Share it…..); 5/13/21
Trial Tr. (Zimmerman) at 84-90, 96-99.
273
      5/13/21 Trial Tr. (Zimmerman) at 93.
274
   P-17051 (8/23/2007 email from Zimmerman to Bray, Shook, Ross, Hazewski, Kirsch, and
others re: FYI – Article on Rogue Pharmacies).
275
      5/13/21 Trial Tr. (Zimmerman) at 214; 5/19/21 Trial Tr. (Perry) at 200.

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illegally dispensing hydrocodone and other prescription drugs, and acknowledged the issues of

opioid abuse and diversion in Appalachia, writing, “Not only is this part of the country purchasing

the majority of the hydrocodone from legitimate pharmacies, but they also buy a huge quantity

from illegal on line [sic] pharmacies. There is a whole lot of pain in the Appalachia area.”276

          172.   Mr. Zimmerman admitted that the Beverly Hillbillies parody that he forwarded in

2011 included an implicit recognition that there was pill migration from Florida up into

Mountaineer land.277 He was aware of the term “pillbillies” being used to describe “people that

go down and pick up the drugs and then resell them.”278 In fact, he used the term himself when

forwarding an email about Florida enacting opioid reforms stating, “Watch out Georgia and

Alabama. There will be a mass exodus of pillbillies heading north.”279

                 3.     ABDC’S Opioid Distribution into Cabell and Huntington

          173.   The evidence also demonstrates that ABDC has shipped vast quantities of opioid

dosage units to Cabell County and Huntington pharmacies that are far in excess of its per capita

shipments both nationally and even elsewhere in West Virginia, where ABDC’s per capita opioid

shipments also have been far above its national shipments.

          174.   Between June 2002 and December 2018, ABDC distributed 36 million dosage units

of hydrocodone and oxycodone to retail pharmacies in Cabell and Huntington, a community of




276
   P-17051 (8/23/2007 email from Zimmerman to Bray, Shook, Ross, Hazewski, Kirsch, and
others re: FYI – Article on Rogue Pharmacies).; 5/13/21 Trial Tr. (Zimmerman) at 93.
277
      5/13/21 Trial Tr. (Zimmerman) at 86- 90; P-17046.
278
      5/13/21 Trial Tr (Zimmerman) at 90.
279
   P-00282 (5/6/2011 email from Zimmerman to Eddy, Norton, Mays, Ross, Reid Brecko, and
Short re: Agreement for FL pill mill reached and will pass (HB 7095)); 5/13/21 Trial Tr
(Zimmerman) at 95-96.

                                                51
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100,000 people.280 Between 2006 and 2014, ABDC’s monthly average shipments of oxycodone

to Cabell and Huntington pharmacies was 10,743 dosage units compared to its national average of

5,036 units.281 In January 2006, ABDC’s hydrocodone shipments to West Virginia doubled the

national per pharmacy average.282 From 2005 to 2016, ABDC shipped 248.16 million dosage units

of oxycontin and hydrocodone to West Virginia.283 From 2007 through 2018, there were 77,398

transactions by ABDC with pharmacies in Huntington-Cabell County, West Virginia.284

            175.   In January 2006, the national average shipments from ABDC of oxycodone to retail

pharmacies was 3,424; to West Virginia it was 4,764; and to Cabell and Huntington it was 7,569

– 220% of the national average.285 In January 2010, the national average shipments of ABDC of

oxycodone to retail pharmacies was 4,683 units; to West Virginia was 6,849 units; and to Cabell

and Huntington it was 15,186 units – 3.5 times the national average.286

            176.   During January 2006, the national average sales of oxycodone were 3,424 a

month.287 During that same month, ABDC shipped 38,100 dosage units to SafeScript #6.288 The

national average in November 2006 was 3,649 and the amount shipped to SafeScript #6 was


280
  P-44711_00021 (2006-2018 Opioid Shipments to Cabell County); see also 5/18/21 Trial Tr.
(Mays) at 115-117.
281
    P-43225 (2006-2014 ABDC, Cardinal, and McKesson Oxycodone and Hydrocodone
Shipments to Cabell County); 5/10/21 Trial Tr. (McCann) at 115-116.
282
      5/18/21 Trial Tr. (Mays) at 117-118.
283
      Prevoznik, 5/17/19 30(b)(6) Dep. (DEA) at 967-68.
284
      5/26/21 Trial Tr. (Rafalski) at 103.
285
    P-43225 (2006-2014 ABDC, Cardinal, and McKesson Oxycodone and Hydrocodone
Shipments to Cabell County); 5/10/21 Trial Tr. (McCann) at 117-118.
286
    P-43225 (2006-2014 ABDC, Cardinal, and McKesson Oxycodone and Hydrocodone
Shipments to Cabell County). ; 5/10/21 Trial Tr. (McCann) at 116-117, 118.
287
   P-43225 (2006-2014 ABDC, Cardinal, and McKesson Oxycodone and Hydrocodone Shipments
to Cabell County); 5/18/21 Trial Tr. (Mays) at 121.
288
      Id.

                                                  52
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56,700.289 Steve Mays admitted that the amounts shipped to SafeScript were clearly in excess of

the national average.290

            177.     The average shipment of oxycodone to SafeScript by ABDC from 2006 to 2012

was 35,551 – 600% more than the national average.291 This would amount to 426,000 dosage units

of oxycodone a year to SafeScript from ABDC compared to ABDC’s national average of

60,000.292         Between January 2006 and February 2012, ABDC sold and shipped 2,630,740

oxycodone dosage units to SafeScript in Cabell and Huntington.293

            178.     Between January 2006 and December 2014, the average oxycodone shipment from

ABDC to McCloud Family Pharmacy was 18,028 – 260% higher than the national average.294 The

shipments of oxycodone from ABDC to McCloud Family Pharmacy steadily increased from 4,300

in January 2006 to 24,500 in January 2010.295 In March of 2011, the shipments from ABDC to

McCloud Family Pharmacy reached 39,900.296 Between January 2006 and December 2014,

ABDC sold and shipped 1,946,980 oxycodone dosage units to McCloud Family Pharmacy in

Cabell and Huntington.297




289
      Id.
290
      Id.; see also 5/18/21 Trial Tr. (Mays) at 122.
291
      Id.; see also 5/10/21 Trial Tr. (McCann) at 119.
292
      Id.; see also 5/10/21 Trial Tr. (McCann) at 119-120.
293
      Id.
294
      Id.; see also 5/10/21 Trial Tr. (McCann) at 120.
295
      Id.
296
      Id.
297
      Id.

                                                   53
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            179.   Drug Emporium #1 is located in Barboursville in Cabell County. Barboursville had

a 2010 population of 3,964.298 Between January 2006 and December 2014, the average oxycodone

shipment from ABDC to Drug Emporium was 13,505 dosage units.299                 The shipments of

oxycodone from ABDC to Drug Emporium increased from 7,100 in January 2006 to 17,100 in

January 2010.300 In March 2010, the shipments from ABDC to Drug Emporium reached 24,500.301

Between January 2006 and December 2014, ABDC sold and shipped 1,458,500 oxycodone dosage

units to Drug Emporium in Cabell and Huntington.302 By December 2009, ABDC had set Drug

Emporium #1’s thresholds for both drugs at about double the order volumes that had raised

suspicions in 2007:         55,440 per month for hydrocodone and 40,000 per month for

benzodiazepine.303

            180.   Between January 2006 and May 2012, the average oxycodone shipment from

ABDC to Medical Park Pharmacy was 14,807 dosage units.304 The shipments of oxycodone from

ABDC to Medical Park Pharmacy increased from 2,000 in January 2006 to 19,900 in January

2010.305 In March 2010, the shipments from ABDC to Medical Park Pharmacy reached 25,700.306



298
      ECF No. 1433-7.
299
    P-43225 (2006-2014 ABDC, Cardinal, and McKesson Oxycodone and Hydrocodone
Shipments to Cabell County); 5/10/21 Trial Tr. (McCann) at 121.
300
    P-43225 (2006-2014 ABDC, Cardinal, and McKesson Oxycodone and Hydrocodone
Shipments to Cabell County) .
301
      Id.
302
      Id.
303
      P-44766 (2007-2011 ABDC Reported Orders to DEA from WV).
304
    P-43225 (2006-2014 ABDC, Cardinal, and McKesson Oxycodone and Hydrocodone
Shipments to Cabell County) ; 5/10/21 Trial Tr. (McCann) at 121.
305
    P-43225 (2006-2014 ABDC, Cardinal, and McKesson Oxycodone and Hydrocodone
Shipments to Cabell County) .
306
      Id.

                                                  54
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Between January 2006 and May 2012, ABDC sold and shipped 1,140,160 oxycodone dosage units

to Medical Park Pharmacy in Cabell and Huntington.307

            181.   Between January 2006 and December 2009, the average oxycodone shipment from

ABDC to Fruth Pharmacy #5 was 11,525 dosage units.308 The shipments of oxycodone from

ABDC to Fruth # 5 increased from 8,600 in January 2006 to 10,200 in December 2006.309 In

December 2008, the shipments from ABDC to Fruth #5 reached 17,400.310 Between January 2006

and December 2009, ABDC sold and shipped 553,200 oxycodone dosage units to Fruth #5 in

Cabell and Huntington.311

            182.   Between January 2006 and December 2014, the average oxycodone shipment from

ABDC to Fruth #12 was 10,363 dosage units.312 The shipments of oxycodone from ABDC to

Fruth #12 increased from 10,400 in January 2006 to 12,300 in December 2009.313 In April 2008,

the shipments from ABDC to Fruth #12 reached 16,400.314 Between January 2006 and December

2009, ABDC sold and shipped 497,400 oxycodone dosage units to Fruth #12 in Cabell and

Huntington.315




307
      Id.
308
      P- Id.; see also 5/10/21 Trial Tr. (McCann) at 121.
309
    P-43225 (2006-2014 ABDC, Cardinal, and McKesson Oxycodone and Hydrocodone
Shipments to Cabell County).
310
      Id.
311
      Id.
312
      Id.; see also 5/10/21 Trial Tr. (McCann) at 121.
313
    P-43225 (2006-2014 ABDC, Cardinal, and McKesson Oxycodone and Hydrocodone
Shipments to Cabell County) .
314
      Id.
315
      Id.

                                                  55
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            183.   Between January 2006 and December 2014, the average oxycodone shipment from

ABDC to Fruth #2 was 7,256 dosage units.316 The shipments of oxycodone from ABDC to Fruth

#2 increased from 4,700 in January 2006 to 12,200 in December 2009.317 Between January 2006

and December 2009, ABDC sold and shipped 348,300 oxycodone dosage units to Fruth #2 in

Cabell and Huntington.318

            184.   Between January 2006 and December 2014, the average oxycodone shipment from

ABDC to Fruth #11 was 4,915 dosage units.319 Between January 2006 and December 2009,

ABDC sold and shipped 235,900 oxycodone dosage units to Fruth #11 in Cabell and

Huntington.320

            185.   Between April 2013 and December 2014, the average oxycodone shipment from

ABDC to Walgreens #11977 was 11,205 dosage units.321 The shipments of oxycodone from

ABDC to Walgreens #11977 increased from 4,100 in April 2013 to 15,300 in December 2014.322

During that same time period, ABDC sold and shipped 235,300 oxycodone dosage units to

Walgreens # 11977.323




316
      Id.; see also 5/10/21 Trial Tr. (McCann) at 121.
317
    P-43225 (2006-2014 ABDC, Cardinal, and McKesson Oxycodone and Hydrocodone
Shipments to Cabell County) .
318
      Id.
319
      Id.; see also 5/10/21 Trial Tr. (McCann) at 121.
320
    P-43225 (2006-2014 ABDC, Cardinal, and McKesson Oxycodone and Hydrocodone
Shipments to Cabell County) .
321
      Id; see also 5/10/21 Trial Tr. (McCann) at 121.
322
    P-43225 (2006-2014 ABDC, Cardinal, and McKesson Oxycodone and Hydrocodone
Shipments to Cabell County) .
323
      Id.

                                                  56
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             186.   The average monthly oxycodone purchases from ABDC by its customers

SafeScript, McCloud Family Pharmacy, Drug Emporium, Medical Park Pharmacy, the four Fruth

Pharmacies, and Walgreens, is in excess of 100,000 oxycodone pills every month in Cabell-

Huntington pharmacies.324 The numbers for ABDC’s sales of hydrocodone to the local Cabell and

Huntington pharmacies follow a similar magnitude both in gross numbers and compared to the

national average.325

             187.   Based on the forgoing, the Court finds that ABDC failed to maintain adequate or

effective controls to prevent diversion of prescription opioids into the illicit market in Cabell and

Huntington. ABDC failed to design and operate an effective system to identify, block, and report

suspicious orders of opioids from pharmacies in Cabell and Huntington. ABDC did not conduct

sufficient due diligence in general and specifically as it relates to investigations of the orders

ABDC itself flagged as suspicious. ABDC’s failures were systemic and were a substantial factor

in the diversion of prescription opioids into the illicit market in Cabell and Huntington.

             C.     Cardinal

             188.   Cardinal Health has a nationwide distribution model and nationwide policies

governing compliance with the CSA, and those policies were to be implemented uniformly across

the country. 326

             189.   Cardinal Health is a wholesale distributor of pharmaceutical medications, including

prescription opioids. Known as one of the “Big 3” distributors in the United States along with

AmerisourceBergen and McKesson, Cardinal operates around two-dozen distribution centers




324
      Id.; see also 5/18/21 Trial Tr. (Mays) at 123.
325
      Id..
326
      5/20/21 Trial Tr. (Moné) at 53.

                                                    57
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throughout the country.327 From its Wheeling, West Virginia distribution center, Cardinal

distributed more than 17,687,705 dosage units of oxycodone and 19,590,250 dosage units of

hydrocodone into Huntington/Cabell County, West Virginia from 1996 to May 2018.328

          190.    Despite growing evidence of the opioid epidemic in West Virginia, Cardinal

reported minimal suspicious orders in Cabell County. Excluding suspicious orders Cardinal

attempted to report through its Ingredient Limit Reports, which were reported only after the orders

had already shipped, from 1996 through 2011, Cardinal reported only one suspicious order out of

92,915 transactions with pharmacies in in Cabell and Huntington.329

          191.    Cardinal has admitted that the purpose of its duties under the C.S.A. was to report

and stop shipment of suspicious orders to prevent diversion.330

                  1.     Cardinal’s Suspicious Order Monitoring System

          192.    Cardinal has operated three different suspicious order monitoring systems from the

late 1990’s until the present day. The first operated from the late 1990’s to 2008, the second from

2008 to 2012, and the third from 2012 to present. While there were changes to each system over

time, the systems were generally the same in that they all utilized a monthly volume-based

threshold trigger for identifying suspicious orders. As set out in more detail below, under each

system when the number of pills ordered by a particular pharmacy exceeded a predetermined

threshold in a given month it caused a triggering event. This trigger was a type of “alarm” that

would indicate to Cardinal that a pharmacy placed an order of unusual size for that pharmacy.




327
      5/20/21 Trial Tr. (Moné) at 167; Reardon, 532:4-532:17.
328
      P-44711_00024 (2006-2018 Opioid Shipments to Cabell County).
329
      See 5/26/21 Trial Tr. (Rafalski) at 104-05.
330
      See Reardon, 11/30/18 Depo. at 420-21.

                                                    58
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                         a.     Cardinal’s SOMs late 1990’s to 2008

          193.   From the late 1990’s until 2008, Cardinal’s SOMs was based on a dual system: (1)

monthly Ingredient Limit Reports (ILRs) generated for each distribution center and (2) distribution

center employees’ daily observation of individual orders to identify suspicious orders.331 Both of

these were facially insufficient and failed in practice to comply with the CSA’s requirements.

          194.   Each of Cardinal Health’s distribution centers separately submitted ILRs in hard

copies to the DEA each month that identified Cardinal customers whose total monthly purchases

of schedules II-V drugs exceeded a predetermined limit.332 The ILRs used thresholds based on the

average amount in grams of each drug base code purchased by each class of customers (retail

pharmacies, hospitals/managed care, and other) of each respective distribution center.333 For

opioids sold to retail customers, Cardinal multiplied that average by a factor of four to arrive at the

limit for that month.334 Each Cardinal distribution center generated its own report, and the system

was the same across the country.335

          195.   Each ILR was hundreds of pages long and identified orders that Cardinal had

determined were suspicious.336 None of the orders identified in ILRs were reported to the DEA

before they were shipped to Cardinal’s customers, this system was after the fact reporting.337




331
      P-14290 (Cardinal Health DEA Compliance Manual).
332
      Id.; see also P-14288 (Cardinal Compliance Group Ingredient Limit Report).
333
   The Chemical Handlers manual is designed to identify extraordinary orders of List I chemicals
and is not applicable to controlled substances. 5/20 Trial Tr. (Moné) at 94-95.
334
      P-14288 (Cardinal Compliance Group Ingredient Limit Report) .
335
      5/20/21 Trial Tr. (Moné) at 40-41.
336
      Reardon, 11/30/2018 Depo at 426-427.
337
      Reardon, 11/30/2018 Depo at 427-427.

                                                  59
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          196.   The second part of this dual system was Cardinal’s reliance on distribution center

warehouse workers, referred to as “pickers and checkers”, to identify excessive purchases on a

daily basis. The pickers and checkers were supposed to manually flag orders that exceeded dosage

limits set for specific drug formulations (morphine tablets versus liquid, for example). According

to Cardinal’s policy, the limits for opioids were set “by calculating average sales quantities for

Knoxville’s retail customers and Boston’s hospital customers and multiplying by 3.”338 The limits

were posted in the cage or vault for pickers and checkers to compare with the orders they were

preparing for shipment.339

          197.   According to Mr. Reardon, if an order exceeded these daily limits the

pickers/checkers were to flag the order and there would be corresponding documentation related

to each of these “excessive orders” in the respective pharmacy’s due diligence file.340 There is no

evidence that Cardinal ever identified a single “excessive order” for any customer serviced by the

Wheeling, West Virginia distribution center.341

          198.   There is also no indication in Cardinal’s Standard Operating Procedures that there

was any standardized process for investigating orders that were identified in the ILR or by the

pickers and checkers.342 Nor does there appear to have been any due diligence done on customers

in response to an order flagged by distribution center pickers and checkers.343



338
      P-14290_00147 (Cardinal Health DEA Compliance Manual).
339
      Id.; see also Reardon, 11/30/18 Depo. at 492-493; Brantley, 10/1/20 Depo at 533.
340
      See Reardon, 11/30/18 Depo. at 493-96.
341
   P-23655 (ABDC’s 4th Supp. Objections and Responses to Plaintiffs’ 1st Comb. Discovery
Requests, Response to Request No. 3).
342
      P-14290_00144-00147, 00465-00470 (Cardinal Health DEA Compliance Manual) .
343
   P-23655 (ABDC’s 4th Supp. Objections and Responses to Plaintiffs’ 1st Comb. Discovery
Requests, Response to Request No. 4).

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          199.   It is clear that Cardinal’s dual system considered the volume or size of orders, but

there is no evidence that it considered the frequency or pattern of orders to its pharmacy customers

that the governing regulations defined as suspicious.344

          200.   During this period, while Mr. Reardon oversaw Cardinal’s Anti-Diversion

Department, he was not aware of Cardinal’s obligation under the CSA to maintain effective

controls to prevent diversion. He was only aware of the regulation regarding the reporting of

suspicious orders. He also acknowledged that Cardinal’s ILR system and subsequent investigation

were not sufficient to maintain effective controls against diversion.345

          201.   In 2005, Cardinal attended a meeting with the DEA in which the DEA provided

specific guidance to Cardinal on its regulatory obligations and responsibilities to maintain effective

controls against diversion.346 During this meeting, the DEA communicated to Cardinal that it had

a duty to report suspicious orders when discovered and that reporting those orders but shipping

them anyway does not relieve Cardinal of the duty to maintain effective controls to prevent

diversion.347 The DEA also conveyed to Cardinal what had been recognized by the Supreme Court

as early as 1943 – that drugs are inherently susceptible to harmful and illegal use.348

          202.   Cardinal received the DEA’s first Rannazzisi letter in September 2006, and

Cardinal, as well as its then-head of QRA Mr. Reardon, understood that the letter informed




344
   See 21 CFR 1301.74(b); 5/20 trial Tr. (Moné), at 75 (admitting Cardinal’s thresholds were
based on volume only).
345
      Reardon, 11/30/18 Depo at 416-418; 469-470; 453.
346
  See P-09114 (08/23/2005 Memo from Mapes to Rannazzisi re: Meeting with Cardinal Inc.
Concerning Internet Pharmacies); 6/7/21 Trial Tr. (Rannazzisi) at 200.
347
      6/7/21 Trial Tr. (Rannazzisi) at 213-15.
348
  P-09114_00004 (08/23/2005 Memo from Mapes to Rannazzisi re: Meeting with Cardinal Inc.
Concerning Internet Pharmacies) .

                                                  61
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Cardinal of a duty to stop shipment of suspicious orders.349 Mr. Reardon testified that he

understood the letter and would have asked DEA questions if he had not.350 This suggests Cardinal

was not surprised and already had an understanding by this time that shipping suspicious orders

was not compliant with the Controlled Substances Act.351

          203.   Prior to 2008, Cardinal Health’s QRA department operated without sufficient

resources or personnel.352 Only two to three people manually reviewed ILRs from the late 1990’s

to 2008.353 The head of the QRA department at that time, Mr. Reardon, agreed three people was

insufficient to properly investigate all of the suspicious orders that Cardinal’s ILR system

identified.354 Michael Moné testified that when he took over the role of head of anti-diversion in

December 2007, there were three people working in the department, which was insufficient.355

          204.   From August 2005 through December 2007, and in April 2008, Cardinal shipped

suspicious orders of opioids to pharmacies in Cabell County that exceeded its ILR threshold

amounts. The excess shipments from 259 invoiced orders contained 3,658.85 grams of opioids

comprising 256,200 dosage units.356 There is no evidence that Cardinal conducted due diligence

on any of these suspicious orders prior to shipment.357



349
      Reardon, 11/30/18 Depo. at 419:22-420:15; Norris, 10/2/20 Depo at 135:8-135:16.
350
      Reardon, 11/30/18 Depo. at 419:22-420:15.
351
      Norris, 10/2/20 Depo at 172:17-172:22.
352
      Lawrence, 10/1/2020 Depo at 200; 5/14/21 (Moné) Trial Tr. at 52; P-09734_0003
353
      Brantley, 10/1/2020 Depo at 150-151; 363.
354
      Reardon, 11/30/2018 Depo at 469-470.
355
      5/19/21 Trial Tr. (Moné) at 205; 5/20 Trial Tr. (Moné) at 52; P-09734_0003.
356
  P-42432 (Aug. 2005-Dec. 2007 and Apr. 2008 Cardinal Suspicious order shipments to Cabell
Co.).
357
   P-14288 (Cardinal Compliance Group Ingredient Limit Report) ; P-42432(Aug. 2005-Dec.
2007 and Apr. 2008 Cardinal Suspicious order shipments to Cabell Co.).

                                                  62
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       205.    The following chart identifies the volume of suspicious order of opioids shipped to

each pharmacy in excess of Cardinal’s own limits from August 2005 through December 2007358:

                        Pharmacy                       Opioids (Dosage Units/Pills)
          KMART Pharmacy
          5636 U.S. Route 60 E, Huntington, WV                     19,202
          DEA #AK8905018
          Med Associates Pharmacy, Inc., d/b/a
          Continuum Pharmacy,
                                                                   66,031
          78 Perry Winkle Lane, Huntington, WV
          DEA #BM6622167
          Med Associates Pharmacy, Inc., dba
          Medical Associates
                                                                   1,000
          #3 Chateau Lane, Barboursville, WV
          DEA #BM6647739
          West Virginia CVS Pharmacy, LLC
          505 Twentieth Street, Huntington, WV                     12,220
          DEA #BR4301545
          West Virginia CVS Pharmacy, LLC
          2901 Fifth Ave., Huntington, WV                          71,036
          DEA #BR4365486
          T&J Enterprises, Inc., dba The Medicine
          Shoppe                                                   86,711
          2402 Adams Ave., Huntington, WV
          DEA #BT5541760

       206.    Many of the orders exceeded the applicable ingredient limits by large margins. For

example, ten shipments to the Med Associates Pharmacy in Huntington were 1,000 to 20,000

dosage units above the relevant threshold.359

       207.    The Court agrees with Mr. Reardon’s testimony that identifying and reporting

suspicious orders after they have been shipped is not maintaining effective controls to prevent




358
  P-42432 (Aug. 2005-Dec. 2007 and Apr. 2008 Cardinal Suspicious order shipments to Cabell
Co.).
359
   P-14288 (Cardinal Compliance Group Ingredient Limit Report) ; P-42432 (Aug. 2005-Dec.
2007 and Apr. 2008 Cardinal Suspicious order shipments to Cabell Co.).

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diversion and not in compliance with the intent or the letter of the Controlled Substances Act. This

system of Cardinal’s was clearly deficient.

                          b.      Cardinal’s SOMs 2008 to 2012

            208.   After repeated discussion with the DEA related to Cardinal’s SOMs, no changes

were made until the DEA acted against Cardinal’s licenses. On November 28, 2007, December 5,

2007, and December 7, 2007, the DEA served Orders to Show Cause and Immediate Suspension

Orders on Cardinal’s distribution centers in Auburn, Washington, Lakeland, Florida, and

Swedesboro, New Jersey, respectively.360 The DEA also served an Order to show Cause on

Cardinal’s Stafford, Texas distribution center on January 30, 2008.361 The ISO’s set out

devastating facts related to the volume of pills being distributed by Cardinal out of each of these

distribution centers across the country.

            209.   For example, the DEA alleged that Cardinal failed to maintain effective controls to

prevent diversion at its Auburn distribution center after finding that Cardinal distributed more than

600,000 dosage units of hydrocodone to Horen’s Drugstore from March 2007 through September

2007.362 The DEA also alleged that from August 2005 to October 2007 Cardinal’s Lakeland

distribution center distributed more than 8,000,000 dosage units to customers it knew or should

have known were diverting opioid pills.363

            210.   As a result of the DEA’s orders to show cause and immediate suspension orders, in

September 2008, Cardinal Health agreed to pay a $34 million civil penalty and enter an



360
   P-08873_00034 (1/25/2016 email from Giacalone to Callinicos re: DEA related documents and
links).
361
      Id.
362
      Id. at 00051.
363
      Id. at 00055.

                                                   64
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Administrative Memorandum of Agreement (MOA) with the DEA for its failure to maintain

effective controls against diversion. The conduct covered by this MOA included “the alleged

failure of Cardinal to maintain adequate controls against the diversion of controlled substances, on

or prior to September 30, 2008 at all distribution facilities listed in Appendix A”, which includes

Cardinal’s Wheeling, WV distribution center that serviced Cabell and Huntington, WV.364

Cardinal Health failed to report or stop orders of large volumes of hydrocodone from certain

pharmacies across the country.365 As part of the agreement, Cardinal agreed “to maintain a

compliance program designed to detect and prevent diversion of controlled substances as required

under the CSA and applicable DEA regulations.”366

            211.   In response to these enforcement actions by the DEA, Cardinal began revamping

their SOMs at the end of 2007 and beginning of 2008.367 Cardinal’s new SOMs was developed

with the help of Michael Moné and utilized a threshold system. This system was designed to have

a monthly trigger separately assigned to each customer, but this monthly trigger was set using a

national average for the particular customer type (hospital, retail pharmacy, or long-term care

provider) and then the customer size (small, medium, or large).368 Once the national average for

type and size was determined it was multiplied by a factor of three.369 This meant that despite have

specific knowledge of the existing opioid epidemic, Cardinal used opioid epidemic level numbers



364
   P-08873_00034-00036 (1/25/2016 email from Giacalone to Callinicos re: DEA related
documents and links).
365
      6/8/21 Trial Tr. (Rannazzisi) at 77-79
366
   P-08873_00036 (1/25/2016 email from Giacalone to Callinicos re: DEA related documents and
links).
367
      5/19/21 Trial Tr. (Moné) at 207-208.
368
      5/20/21 Trial Tr. (Moné) at 59-60.
369
      Id.

                                                 65
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to set thresholds for its customers.370 Mr. Moné testified that Cardinal’s policy to multiply these

averages by a factor of three was based on the Chemical Handlers Manual, but admitted that the

Manual was not intended for use with controlled substances unless they contain list one chemicals,

which oxycodone and hydrocodone formulations generally do not.371 Mr. Moné also agreed that

the Chemical Handlers Manual by its own terms provides a system to identify “extraordinary

orders” not “suspicious orders.”372

          212.   This threshold system was designed to allow the threshold to be changed to fit the

needs of each individual pharmacy customer.373 However, in order to alter the pharmacy

customer’s threshold, Cardinal required that there be a legitimate business purpose for a threshold

increase and specifically provided that the type of legitimate growth necessary would include a

customer entering into a contract with a hospice, file purchase from another pharmacy, move into

a medical center, or addition of a new cancer center.374

          213.   Cardinal’s new SOMs also required significant onboarding investigations and

continuous due diligence related to its customers, also referred to as the Know Your Customer

(KYC) process.375 This would entail the gathering of significant data from the potential pharmacy



370
    5/20/21 Trial Tr. (Moné) at 39-11; 60. Cardinal testified through its 30(b)(6) deposition
designee that it was aware of the rising abuse of prescription drugs as early as 2006 when it
received the first Rannazzisi letter. Norris, 10/2/20 Depo at 142-143. Cardinal’s former head of
QRA, Steve Reardon, also testified that he was aware of the opioid epidemic in 2007. Reardon,
11/30/18 Depo at 413-414.
371
      5/20/21 Trial Tr. (Moné), 93-95.
372
      5/20/21 Trial Tr. (Moné) at 95.
373
    P-01930_00064 (10/1/2008 email from Mone to Anderson re: Anti-Diversion CBT-
Distribution Center Employees).
374
    P-01930_00075 (10/1/2008 email from Mone to Anderson re: Anti-Diversion CBT-
Distribution Center Employees).
375
      5/20/21 Trial Tr. (Moné) at 80-81, 97-98.

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customer and then maintaining this process through due diligence during the time that Cardinal

would be servicing the customer.376 For example, Mr. Moné testified that any time there was a

triggering event related to a threshold it essentially sounded an alarm for Cardinal to take action

whether the customer exceeded the threshold, by a small amount or by a lot.377 This is referred to

as the due diligence process.378

          214.   Under this new system overseen by Mr. Moné, each pharmacy customer would

have a threshold volume of pills for each drug base code379 and if a customer exceeded that limit,

even by a relatively small amount, the system would hold the order. The order would not be

shipped until adequate due diligence was completed to dispel the suspicion of diversion

surrounding the order. If the suspicion could be cleared based on the due diligence conducted, the

order could be shipped. If the suspicion could not be cleared by conducting due diligence on the

pharmacy customer, then the order remained blocked, the suspicious order was reported to DEA,

the sales force for that customer would be notified, and the customer was to be terminated from

purchasing controlled substances or in totality.380

          215.   According to its standard operating procedures for the post-2008 timeframe,

Cardinal tasked its sales team with the responsibility to search for and identify signs of diversion

or “Anti-Diversion alert signals,” however, this policy was merely in writing and not widely




376
      5/20/21 Trial Tr. (Moné) at 80-81.
377
      5/20/21 Trial Tr. (Moné) at 61-62.
378
      5/20/21 Trial Tr. (Moné) at 82.
379
      E.g., the base code for oxycodone is 9143 and the base code for hydrocodone is 9193.
380
   P-14122_00121-122 (5/6/2008 email from Ramano to Mone re: Anti-Diversion and SOM
Training).

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adhered to among Cardinal’s salespeople.381 Cardinal’s Senior Vice President of Independent

Sales, to whom the sales force for non-chain pharmacies reported, testified that the sales force

could not serve as the “front line of defense against…anything” because they are hired “right out

of college” and their “real duty” was to sell Cardinal’s distribution and marketing services to

pharmacies, not to prevent diversion.382

          216.   Cardinal treated chain pharmacies much more favorably than it did independent

pharmacies. For instance, Cardinal did not calculate thresholds for chain pharmacies in the same

manner as other customers; it merely applied a standard threshold for the entire chain.383 That

meant that, regardless of a store’s history of opioid orders, it would not trigger scrutiny if its

volume suddenly or dramatically increased, so long as it was below the chain-wide threshold.

Cardinal also failed to conduct its own due diligence on its chain pharmacy customers, and instead,

relied on the chains to report this information. 384 Cardinal did not, however, make any effort to

evaluate chain pharmacies’ anti-diversion programs.385

          217.   From March 1, 2008, through August 31, 2009, Cardinal’s SOMs was triggered

8,465 times for all shipments around the country. Of these, Cardinal only reported to the DEA 91

suspicious orders—roughly 1% of flagged orders; the balance of the orders was shipped.386 In


381
    P-14290_00782-00785 (Cardinal Health DEA Compliance Manual); 5/21/21 Trial Tr. (Kave)
at 95.
382
      See Lawrence, 1/4/19 Depo at 35-37.
383
   P-00080_00015 (04/12/2013 Investigation Report of the Special Demand Committee – Board
of Directors of Cardinal Health).
384
   P-00080_00020 (04/12/2013 Investigation Report of the Special Demand Committee – Board
of Directors of Cardinal Health).
385
      5/20/21 Trial Tr. (Moné) at 85.
386
  P-00077 (Feb. 2009 Cardinal Health SOM Program); P-07509 (6/5/2009 email from Rausch to
Mone re: SOM Monthly Report


                                                68
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contrast, over a four-month period in 2012, Cardinal reported 113 suspicious orders for the

Huntington Medicine Shoppe alone.387

             218.   When setting thresholds, Cardinal did not take into account objective measures,

such as how a pharmacy’s controlled substance purchases from Cardinal compared to national

averages.388 Plaintiffs’ diversion investigation expert, James Rafalski, testified that there was no

evidence in the record that Cardinal monitored the overall volume of hydrocodone and/or

oxycodone each distributed into Cabell and Huntington County during the relevant time frames of

the available data.389

             219.   Due to Cardinal’s continued lack of compliance with its regulatory obligations, the

DEA once again took action against Cardinal and on February 22, 2012, issuing another Order to

Show Cause and Immediate Suspension Order on Cardinal’s Lakeland, Florida distribution center.

This ISO cited Cardinal’s failure to conduct due diligence on its top four retail pharmacy

customers, which included CVS 219 and CVS 5195 in Florida.390 The DEA found that from

January 1, 2008, through December 31, 2011, Cardinal shipped approximately 7.2 million dosage

units to these two chain pharmacies.391 Cardinal admitted that “its due diligence efforts for some

pharmacy customers and its compliance with the 2008 MOA, in certain respects, were




Attachment: Feb. 2009 Cardinal Health SOM Program); P-44267 (Aug. 2009 Cardinal Health
SOM Program).
387
      P-42071 (Cardinal Health Flagged/Suspicious Orders).
388
   P-00080_00038 (04/12/2013 Investigation Report of the Special Demand Committee – Board
of Directors of Cardinal Health).
389
      5/26/21 Trial Tr. (Rafalski) at 58-59.
390
      P-08873 (1/25/2016 email from Giacalone to Callinicos re: DEA related documents and links).
391
      Id..

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inadequate[.]”392 Additionally, Cardinal admitted that between January 1, 2009 and May 14, 2012,

Cardinal Lakeland failed to inform DEA that Certain orders for controlled substances it received

from some customers were suspicious.”393 Significantly, Cardinal’s centralized SOMs was

national in scope and ran by Mr. Moné and his team in Dublin, Ohio.394 It is clear from Mr. Moné’s

testimony that this system operated the same in Cabell County and Huntington, West Virginia as

it did from Florida all the way to Seattle. Clearly, Cardinal’s failures related to due diligence and

reporting suspicious orders were systemic in nature and plagued the system as a whole.

                          c.     Cardinal’s SOMs 2012 to Present

            220.   After the 2012 DEA enforcement action Cardinal again revamped its system. Steve

Morse, who Cardinal hired following the 2008 DEA action, was demoted for failing to timely

terminate the pharmacies that were the subject of the 2012 action, despite finding evidence that

ultimately led to the pharmacies’ termination.395 Morse was removed from his position as a

Director of Investigations to a position in regulatory management.396 Cardinal cited his

questionable judgment as part of the reason for this demotion and the fact that Morse failed to

review each pharmacy site visit report as required by Cardinal’s 2008 SOP’s.397 As a result of the

2012 ISO and DEA investigation, Moné was moved from his position as Vice President of Anti-




392
      See 6/8/21 Trial Tr. (Rannazzisi) at 94-95.
393
      P-02037_0003 (Dec. 2016 DEA-Cardinal Settlement Agreement).
394
      5/20/21 Trial Tr. at 39.
395
  P-00080_00035-00038 (04/12/2013 Investigation Report of the Special Demand Committee –
Board of Directors of Cardinal Health).
396
      Id.
397
      Id.

                                                    70
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Diversion into a position as an attorney with the company’s regulatory group for his failures to

terminate the pharmacies at issue in the ISO sooner.398

            221.   Cardinal’s additional changes centered around the way that it was setting

thresholds. Instead of using a national average multiplied by three, Cardinal began setting each

pharmacy customers’ thresholds based on prescription volume.399 The basic premise was that if a

Cardinal customer was filling more prescriptions, then that customer would have a corresponding

need for higher thresholds. The other aspects of Cardinals system regarding KYC and due

diligence remained unchanged.

            222.   Cardinal regularly permitted customers to exceed their thresholds for opioids. As

a matter of policy customers that exceeded their threshold for a particular drug could receive a

certain percentage of dosage units over the threshold once per month per drug family (e.g., an

additional 10% of oxycodone). Not surprisingly, Cardinal did not put this practice in their Standard

Operating Procedures (SOP), but in a document called “General Work instructions.”400 This

strongly suggests that Cardinal intended for these thresholds to create the appearance that it had a

meaningful Suspicious Order Monitoring System, while the system in practice did very little to

detect or prevent shipment of orders of unusual size, pattern, or frequency.




398
      Id.
399
      Id.
400
      P-14290 (Cardinal Health DEA Compliance Manual).

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                 2.      Evidence of Cardinal’s Due Diligence

          223.   Having reviewed the different systems maintained and operated by Cardinal during

the relevant timeframe, the Court believes it significant to next review in detail what appears to be

an important component of Cardinal’s SOMs from 2008 to present as well as Mr. Rafalski’s

opinions about whether adequate due diligence was conducted by Cardinal on its customers in the

onboarding process and when threshold were triggered.

          224.   Cardinal insists that it conducted adequate due diligence on all customers and in

response to these triggering events.401 The Court also recognizes that there was no written

regulation requiring a registrant to maintain due diligence files for any particular period of time.

However, Cardinal’s own policies beginning in 2008 indicate that there should be customer files

as part of the KYC program.402 Cardinal has also indicated that its internal SOPS require these

files be maintained for two years.403

          225.   Therefore, Cardinal should have complete due diligence files from on or about June

26, 2010, to present for all West Virginia customers and no later than March 9, 2015, to present

specifically for its pharmacy customers in Cabell and Huntington.

          226.   This timeframe is based on Cardinal’s representation that per the company’s

document retention policy, it maintained these files for a period of two years.404 Therefore,

Cardinal should have maintained complete due diligence files for these customers covering the

timeframe from two years before these respective cases were filed to present.




401
      5/20/21 Trial Tr. (Moné) at 62-63.
402
      5/20/21 Trial Tr. (Moné) at 172-174.
403
      5/20/21 Trial Tr. (Moné) at 93.
404
      5/20/21 Trial Tr. (Moné) at 93.

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            227.   Cardinal does not have complete due diligence files for its Cabell and Huntington

chain pharmacy customers. For example, there is no due diligence file for CVS 4419 or for CVS

10566.405 Yet, Cardinal reported CVS 10566 to the DEA in July 2016 for a suspicious order of

hydrocodone.406 Based on the filing of the instant suit the due diligence surrounding the July 2016

suspicious order should exist and there is no evidence that it does. This is a failure on behalf of

Cardinal to maintain adequate due diligence.

            228.   For CVS 3391, 4419, 4425, 3480, and 10566, CAH produced just 7 pages of due

diligence.407 There is no evidence that a due diligence file ever existed for K-Mart Pharmacy

(AK8905018)408 or ContinuumCare Pharmacy (FC1712668) in Huntington, both of which

Cardinal reported to DEA for suspicious orders multiple times.409 Cardinal reported 23 suspicious

orders for opioids placed by K-Mart from June 2016 to October 2017.410 Cardinal reported

ContinuumCare Pharmacy three time from August 2015 to May 2016.411

            229.   In 2010 Cardinal acquired the chain of Fruth Pharmacy stores account from

ABDC.412 In the first six months of 2013, Cardinal reported 8 suspicious orders of hydrocodone


405
   P-42071 (Cardinal Health Flagged/Suspicious Orders); P-23655 (ABDC’s 4th Supp.
Objections and Responses to Plaintiffs’ 1st Comb. Discovery Requests).
406
      P-42071 (Cardinal Health Flagged/Suspicious Orders) .
407
   P-23655 (ABDC’s 4th Supp. Objections and Responses to Plaintiffs’ 1st Comb. Discovery
Requests, Supp. Response to Request No. 4).
408
   While Cardinal produced documents related to its national corporate account with K-Mart, it
has not produced or identified a due diligence file for its K-Mart Pharmacy customer in Cabell and
Huntington.
409
    P-42071 (Cardinal Health Flagged/Suspicious Orders); P-23655 (ABDC’s 4th Supp.
Objections and Responses to Plaintiffs’ 1st Comb. Discovery Requests, Supp. Response to Request
No. 4).
410
      P-42071 (Cardinal Health Flagged/Suspicious Orders) .
411
      Id.
412
      5/26/21 Trial Tr. (Rafalski) at 55-57.

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placed by Fruth #5, but Fruth #5’s due diligence file does not contain a single page of

documentation from this timeframe.413 In fact, the file lacks any documentation whatsoever from

February 2010 to November 2013. There is no analysis of these suspicious orders or evidence of

what Cardinal considered in evaluating these orders. Cardinal documents show that from

December 2009 to June 2012 Cardinal raised Fruth Pharmacy #5’s threshold for hydrocodone from

10,000 dosage units per month to 133,000 per month with absolutely no documented due diligence

to justify a thirteen-fold increase in threshold .414

          230.    The Court next looks at Cardinal’s customer known as T&J Enterprises, Inc. d/b/a

Medicine Shoppe (hereafter, Medicine Shoppe) as it relates to the adequacy of due diligence

conducted. Medicine Shoppe International, Inc., is a subdivision of Cardinal that franchises and

services a network of pharmacies.415 Cardinal distributes prescription opioids to Medicine Shoppe

pharmacies, including T&J Enterprises, Inc., d/b/a The Medicine Shoppe, located in Huntington,

West Virginia. Jesse Kave, the Cardinal salesperson assigned to the territory that included Cabell

County, testified that Medicine Shoppe in Huntington was his biggest customer in the county.416

          231.    Cardinal reported no suspicious orders of opioids from Medicine Shoppe until 2010

and none for oxycodone until August 2012. Since then, Cardinal reported 66 suspicious orders of

hydrocodone and 122 suspicious orders of oxycodone for Medicine Shoppe.417




413
   P-42071 (Cardinal Health Flagged/Suspicious Orders); P-42100 (Fruth Pharmacy Anti-
Diversion Customer Profile (2010-2014).
414
      P-44275 (lines 49 and 417) (Cardinal Health Reported Orders) ; P-42102.
415
      5/20/21 Trial Tr. (Moné) at 203-204.
416
      5/21/21 Trial Tr. (Kave) at 64; 77.
417
      P-42071 (Cardinal Health Flagged/Suspicious Orders).

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          232.   From November 2012 to 2018, Cardinal reported 115 suspicious orders placed by

Medicine Shoppe, but after November 2012 Cardinal’s due diligence file for the pharmacy

contains just 5 documents consisting of 18 pages.418 From November 2010 to May 2011, Cardinal

increased Medicine Shoppe’s threshold for oxycodone repeatedly without any due diligence or

justification associated with the threshold increases.419 Cardinal repeatedly identified suspicious

orders of opioids placed by Medicine Shoppe, shipped the orders and intentionally failed to report

those orders to the DEA.420 On February 9, 2012, Cardinal held an order placed by Medicine

Shoppe for 8,000 dosage units of oxycodone because the order caused Medicine Shoppe to exceed

its monthly threshold of 31,100 dosage units for oxycodone. The order was cut because, according

to Cardinal Health, the “DATA [for Medicine Shoppe] DOES NOT SUPPORT QUANTITY

ORDERED.” The order was not reported to DEA, and QRA requested that an on-site investigation

of Medicine Shoppe be conducted to determine the pharmacy’s risk for diversion.421

          233.   In December 2011, Cardinal salesperson Jesse Kave notified QRA that he was

informed by Medicine Shoppe’s owner that he expected the pharmacy’s purchases of oxycodone

to decrease due to changes in prescribing patterns.422 Four months later, on June 12, 2012, QRA

pharmacist Doug Emma emailed senior Cardinal compliance officials Linden Barber and Gilberto




418
      P-42116 (2008-2018 Cardinal Health Due Diligence File on Medicine Shoppe).
419
   P-44275 (e.g., lines 249, 278, and 348) (Cardinal Health Reported Orders); P-42116 (2008-
2018 Cardinal Health Due Diligence File on Medicine Shoppe).
420
    P-14294 (2012-2020 Cardinal Health Suspicious Orders Cabell County Pharmacies
spreadsheet); P-42071 (Cardinal Health Flagged/Suspicious Orders) .
421
    P-14294 (2012-2020 Cardinal Health Suspicious Orders Cabell County Pharmacies
spreadsheet, lines 62-66); P-42071 (Cardinal Health Flagged/Suspicious Orders); P-42116 (2008-
2018 Cardinal Health Due Diligence File on Medicine Shoppe).
422
   P-42116_00063 (2008-2018 Cardinal Health Due Diligence File on Medicine Shoppe); 5/21
Trial Tr. (Kave) at 84-85.

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Quintero regarding “suspected ‘hot spots’, black hole cases and cases that probably need to be

revisited by LV-TAC.” In that context, Emma advised that Medicine Shoppe “has seen a

significant growth in both areas and to my knowledge a site visit has not been conducted after

submitting 6 requests to validate growth[.]”.423

          234.   In July 2012, Doug Emma noted in an email that he had “requested a site visit

multiple time on [Medicine Shoppe]” and that QRA “still need[ed] to validate the business growth

and increased utilization of pain medications. Later that month, another QRA pharmacist, Janet

Ng, informed Cardinal Health’s Michael Moné that “Doug Emma had requested multiple site visits

since January.”424

          235.   When a site visit was finally conducted for Medicine Shoppe on August 20, 2012,

six months after the initial request, the investigation found that 1) 22% of prescriptions dispensed

by the pharmacy were for controlled substances, which Cardinal considered “high”, 2) 71% of

oxycodone dispensed in the prior three months was for 15 and 30 mg formulations, a red flag

according to Mr. Kave, and 3) that Cardinal saw a “disproportionate growth” of oxycodone

purchases from Cardinal over the prior 12 months.425 Eight months earlier in December 2011,

Cardinal salesperson Jesse Kave notified QRA that he was informed by Medicine Shoppe’s owner

that he expected the pharmacy’s purchase of oxycodone to decrease due to changes in prescribing

patterns.426 The site visit in August 2012 confirmed the opposite had happened.




423
   P-28038 (6/12/2012 email from Emma to Baber and Quintero re: Follow-up to Training 6-5-
2012).
424
      P-42116 (2008-2018 Cardinal Health Due Diligence File on Medicine Shoppe).
425
      CAH-WV-000770; 5/21/21 Trial Tr. (Kave) at 89-94.
426
   P-42116_00063 (2008-2018 Cardinal Health Due Diligence File on Medicine Shoppe) ; 5/21/21
Trial Tr. (Kave) at 84-85.

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          236.   The August 2012 site visit also notes that Medicine Shoppe saw an increase in

controlled substances dispensing due to the closing of another local pharmacy, Safescript.427 The

DEA shut down Safescript in a raid and arrested the owner.428 The closing of Safescript coinciding

with Medicine Shoppe dispensing an increasing volume of controlled substances illustrates the

concept referred to by Cardinal Health as the “cockroach effect.” In her 2012 performance

evaluation, Kimberly Howenstein, who at that time was responsible for evaluating due diligence

conducted on prospective customers for Cardinal429, described this growth as the “cockroach

effect” – closing a “bad” pharmacy often results in those customers “scatter[ing] to ‘good’

pharmacies.”430 From June to August 2012 alone, while requests for site visits went unanswered,

Cardinal shipped at least 30 Medicine Shoppe orders for oxycodone or hydrocodone that it

determined were suspicious but failed to report to the DEA.431 Between 2013 and 2015, Cardinal

identified at least twenty additional Medicine Shoppe orders of oxycodone or hydrocodone that

were suspicious that it shipped and failed to report to DEA.432

          237.   Cardinal’s file for Medicine Shoppe lacks any evidence of adequate due diligence

in response to dozens of Medicine Shoppe orders Cardinal reported to DEA as suspicious orders.




427
      CAH-WV-000770.
428
   P-16643 (2/15/2012 email from Mays to Martin re: Safescript 010052670 A/R Balance 2/13
$48,124.91); 5/18/21 Trial Tr. (Mays) at 138-140, 143-144; 5/19/21 Trial Tr. (Mays) at 145, 189;
5/20/21 Trial Tr. (Moné) at 233.
429
      Howenstein Depo. at 16-17.
430
      Howenstein Depo. at 231-234; P-09882_00028.
431
    P-14294 (2012-2020 Cardinal Health Suspicious Orders Cabell County Pharmacies
spreadsheet, Column BG, lines 764, 770, 773, 777, 780, 847, 850, 853, 862, 876, 885, 929, 932,
935, 938, 941, 950, 953, 956, 959, 962, 965, 976, 987, 994, 997, 1000, 1023, 1026, and 1029); P-
42071 (Cardinal Health Flagged/Suspicious Orders).
432
      P-42116 (2008-2018 Cardinal Health Due Diligence File on Medicine Shoppe).

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In September 2012, Cardinal reported 33 suspicious orders for Medicine Shoppe to the DEA.433 A

review of Medicine Shoppe’s due diligence file reflects a dearth of information - just a single email

in September 2012 related to a single order from Medicine Shoppe with no indication the email

relates to any of the 33 orders reported in September 2012.434

             238.   As it relates to Medicine Shoppe, Cardinal is correct there is a substantial amount

of paper in the due diligence file found for this pharmacy.435 The file consists of 386 pages but

lacks any reasonable explanation to dispel this suspicion surrounding the orders in 2012 when Mr.

Emma himself labeled Medicine Shoppe as a “black hole,” noting the pharmacy had seen

significant growth and at least six requests for site visits to validate the growth had been ignored.436

To the contrary, the due diligence file and on-site investigation conducted in August of 2012

substantiate the presence of additional red flags indicating the likelihood of diversion that Cardinal

itself identified.

             239.   As set out above there is a systemic lack of due diligence around significant events

related to Cardinal’s customers in Cabell and Huntington, even for the timeframes, June 26, 2010,

forward and March 9, 2015, forward, for which Cardinal should have complete due diligence files

for its West Virginia and Cabell and Huntington customers.

             240.   There is no basis in the record for the Court to believe that Cardinal’s due diligence

files contained additional information at any other point in time, particularly considering




433
      P-42071 (Cardinal Health Flagged/Suspicious Orders).
434
      P-42116 (2008-2018 Cardinal Health Due Diligence File on Medicine Shoppe).
435
      Id..
436
   P-28038 (6/12/2012 email from Emma to Baber and Quintero re: Follow-up to Training 6-5-
2012).

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Cardinal’s admission in 2012 that its due diligence files were inadequate.437 This finding is

consistent with Mr. Rafalski’s testimony that Cardinal’s due diligence files were inadequate.438 It

is also significant that Cardinal did not provide any testimony surrounding the adequacy of their

due diligence files from any fact or expert witnesses.439

          241.    Mr. Rafalski also offered reliable testimony concerning Cardinal’s failure to

maintain effective controls against diversion in Cabell County and beyond. Mr. Rafalski testified

that Cardinal failed to maintain effective controls to prevent diversion in Huntington-Cabell.440

Mr. Rafalski further found that Cardinal failed to maintain an effective suspicious order monitoring

system in Cabell County and that this deficiency was both systemic and widespread.441

                  3.      Cardinal’s Suspicious Orders Reported

          242.    There is no dispute as to whether the Defendants, including Cardinal, had an

obligation to report suspicious orders to the DEA. However, there appear to be significant

variations in Cardinal’s practice of reporting suspicious orders over time that changed as its SOMs

changed. Additionally, according to Mr. Moné and the presentation/training he prepared for the

system he helped to implement, if there was a suspicious order that could not be cleared by

conducting due diligence on the pharmacy customer, then the order remained blocked, the

suspicious order was reported to DEA, the sales force for that customer would be notified, and the




437
   P-08873_00017 (1/25/2016 email from Giacalone to Callinicos re: DEA related documents and
links).
438
      5/26/21 Trial Tr. (Rafalski) at 102.
439
   Cardinal’s expert MacDonald testified that there was some due diligence but admitted that he
had not been provided the due diligence files and did not review the same. 7/9/21 Trial Tr.
(MacDonald) at 52-53.
440
      5/26/21 Trial Tr. (Rafalski) at 108:3-14.
441
      5/26/21 Trial Tr. (Rafalski) at 108:25-109:12.

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customer was to be terminated from purchasing controlled substances or in totality.442 Based on

Cardinal’s stated policy, the repeated examples below where suspicious orders were reported yet

Cardinal continued to service the customer demonstrates blatant violations of their own internal

policies and procedures designed to prevent diversion. This especially holds true for Cardinal’s

largest customer in Cabell and Huntington, Medicine Shoppe, for which Cardinal reported at least

197 suspicious orders of opioids.443

          243.   Cardinal’s initial system was based in part on the generation of monthly Ingredient

Limit Reports (“ILR”). Each of Cardinal’s distribution centers compiled its own ILR each month

for the customers that it serviced. This system was in place from the 1990’s until 2008, however

Cardinal has produced ILRs from the Wheeling, West Virginia distribution center from August

2005 through December 2007 and April 2008.444 During this timeframe based on the ILRs in the

record Cardinal reported to the DEA 259 suspicious orders placed by its customers in Cabell and

Huntington.445 All of these orders were shipped into the community and not reported until after

they were already shipped.

          244.   In 2008 after the DEA first took action against Cardinal, Cardinal revamped its

SOMs along with its reporting of suspicious orders. From 2008 until August 2012 Cardinal

reported just one suspicious order in Cabell and Huntington, which was an order for an opioid



442
   P-14122_000121-122 (5/6/2008 email from Ramano to Mone re: Anti-Diversion and SOM
Training).
443
      P-42071 (Cardinal Health Flagged/Suspicious Orders).
444
   P-14296 (2005-2008 Cardinal Health ILR Limiters (Oxycodone/Hydrocodone) Wheeling, WV
Distribution Center).
445
   P-42432 (Aug. 2005-Dec. 2007 and Apr. 2008 Cardinal Suspicious order shipments to Cabell
Co.). While Cardinal had a secondary system for reporting suspicious orders as discussed supra
there does not appear to be any record evidence of suspicious orders being reported out of the
Wheeling, West Virginia distribution center based on this secondary system.

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placed by Medicine Shoppe in October 2010.446 The Court is particularly mindful that this time

period is when there was significant growth in the volume of opioids coming into Cabell and

Huntington and the surrounding areas and Cardinal only report one suspicious order in over four

and a half years.447 Certainly, a four and a half-year period of reporting almost no suspicious

orders after reporting 259 in the approximately two-and-a-half years prior would not go unnoticed

by any reasonably prudent registrant/distributor. However, there is no indication in the record that

anyone at Cardinal recognized or questioned this significant decline in reported suspicious orders.

          245.   After the DEA began its second enforcement action against Cardinal, the number

of suspicious orders reported in Cabell and Huntington significantly increase. From August 2012

through May 2018,448 Cardinal reported 291 suspicious orders to the DEA from its customers in

Cabell and Huntington alone. In 2012, Cardinal reported 115 suspicious orders, in 2013 it reported

86, in 2014 it reported 5, in 2015 it reported 19, in 2016 it reported 34, and in 2017 it reported

32.449 This supports the conclusion that from 2008 until February 2012, when the DEA initiated

its second enforcement action450 against Cardinal, Cardinal was not complying with its regulatory

obligation to report suspicious orders to the DEA in a timely fashion.




446
      P-42071 (row 2) (Cardinal Health Flagged/Suspicious Orders).
447
      P-44711_00009, 00012 (2006-2018 Opioid Shipments to Cabell County).
448
   P-23655 (ABDC’s 4th Supp. Objections and Responses to Plaintiffs’ 1st Comb. Discovery
Requests, Supp. Response to Request No. 3).
449
      P-42071 (Cardinal Health Flagged/Suspicious Orders).
450
   P-08873_00016 (1/25/2016 email from Giacalone to Callinicos re: DEA related documents and
links).

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                4.     Cardinal’s Volume of Shipments into Cabell County and
                       Huntington

         246.   Between January 1996 and May 2018, Cardinal distributed over 37 million dosage

units of hydrocodone and oxycodone to pharmacies in Cabell and Huntington, a community of

100,000 people.451

         247.   Between 2006 and 2014, Cardinal’s monthly average shipments of oxycodone to

Cabell and Huntington retail pharmacies was 6,989 dosage units compared to its national average

of 4,975 dosage units.452 In January 2006, Cardinal Health’s average shipments of oxycodone to

Cabell and Huntington retail pharmacies was 5,120 dosage units compared to its national average

of 3,414 – a ratio of approximately 1.5.453 By April 2010, Cardinal Health’s average shipments of

oxycodone to Cabell and Huntington had reached 8,559 dosage units compared to its national

average of 4,876 dosage units – a ratio of approximately 1.8.454

         248.   During part of this same timeframe, May 2007 to April 2008, Cardinal was using

its ILR system described supra. The ILRs used thresholds based on the average amount in grams

of each drug base code purchased by each class of customers (retail pharmacies, hospitals/managed

care, and other) of each respective distribution center.455 For retail customers, the averages were

then multiplied by four to arrive at the ingredient limit for that month for that distribution center.




451
      P-44711_00024 (2006-2018 Opioid Shipments to Cabell County).
452
   P-43225_00007 (2006-2014 ABDC, Cardinal, and McKesson Oxycodone and Hydrocodone
Shipments to Cabell County); 5/10/21 Trial Tr. (McCann) at 132.
453
   P-43225_00007 (2006-2014 ABDC, Cardinal, and McKesson Oxycodone and Hydrocodone
Shipments to Cabell County at #1); 5/10/21 Trial Tr. (McCann) at 132.
454
   P-43225_00007 (2006-2014 ABDC, Cardinal, and McKesson Oxycodone and Hydrocodone
Shipments to Cabell County at #52); 5/10/21 Trial Tr. (McCann) at 132-133.
455
   The Chemical Handlers manual is designed to identify extraordinary orders of List I chemicals
and is not applicable to controlled substances. 5/20/21 Trial Tr. (Moné) at 94-95.

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The Wheeling distribution center for this time period saw its ingredient limits for oxycodone more

than double from 105 grams to 211 grams.456 Most significantly, there is no evidence in the record

that Cardinal ever acknowledged this growth or made any determination of the legitimacy of these

increases out of the Wheeling, West Virginia distribution center.

          249.    Another set of alarming numbers related to Cardinal’s opioid distributions are

found in the significantly disproportionate amounts distributed in West Virginia as compared to

other states. When shown the numbers comparing different states Mr. Reardon conceded that the

extreme differences would justify further investigation but no one at Cardinal had ever brought

this to his attention.457 Some of the more significant numbers from the Courts perspective are set

out here:458

       Oxycodone        WV (Pop. 1.85      TX (Pop. 25.15    IL (Pop. 12.83     NE (Pop. 1.83
      (dosage units)      million)            million)          million)          million)
          2006           10,811,545          6,805,370         5,061,495         1,973,580
          2007            11,656,300         8,440,025         5,990,380           2,408,300
          2008            12,492,000         8,375,180         6,462,980           2,461,340
          2009            14,007,220         9,042,740         7,030,820           2,133,460
          2010            16,230,580         9,133,540         7,882,120           2,265,680
          2011            16,088,380         9,287,220         9,138,360           2,449,620
          2012            17,106,680         8,961,340         10,276,670          2,692,220
          2013            16,297,440         9,999,290         14,045,350          3,521,300
          2014            16,106,240         9,347,640         11,984,120          2,747,080
          Total          130,796,385        79,392,345         77,872,295         22,652,580


456
   P-14296 (2005-2008 Cardinal Health ILR Limiters (Oxycodone/Hydrocodone) Wheeling, WV
Distribution Center).
457
      Reardon 11/30/18 Depo, at 489-490.
458
   Id.; see also P-44318_00001-00004 (U.S. Census Bureau, Population Distribution and Change:
2000 to 2010, March 2011https://www.census.gov/library/publications/2011/dec/c2010br-
01.html).

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        250.   This Court considers this information in the context of the fact that Cardinal knew

or should have known as of the early 2000’s that the Appalachian area and specifically West

Virginia were significant areas for abuse and diversion of opioids.459 With the public recognition

of the abuse and non-medical use of opioids in this region Cardinal (as well as the other

distributors) should have a heightened level of awareness of the appropriateness of its distributions

of opioids into Cabell and Huntington, the State of West Virginia, and the surrounding

Appalachian region.

        251.   An even more granular look at Cardinal’s distributions into Cabell and Huntington

reveals that Cardinal’s pharmacies here were clearly outside the norm, shipping several times more

opioids than Cardinal’s national monthly average.460

                                                  Average Monthly           Cardinal's National
                         Total Oxycodone
      Pharmacy                                   Shipped (d.u.; 2006-        Monthly Average
                         2006-2014 (d.u.)
                                                       2014)                   (4,975 d.u.)
  Medicine Shoppe
                             2,013,500                   18,644                     3.7 x
    BT5541760
      CVS #03391
                             1,543,500                   14,292                     2.9 x
      BR4365486
      CVS #04419
                             1,036,000                   9,593                      1.9 x
      BR4301545
      CVS #04425
                              970,200                    8,983                      1.8 x
      BR4321787
      CVS #0348
                              780,000                    7,290                      1.5 x
      AR6055025



459
   See supra; see also 5/20/21 Trial Tr. (Moné) at 39-11, 60. Cardinal testified through its 30(b)(6)
deposition designee that it was aware of the rising abuse of prescription drugs as early as 2006
when it received the first Rannazzisi letter. Norris, 10/2/20 Depo at 142-143. Cardinal’s former
head of QRA, Steve Reardon, also testified that he was aware of the opioid epidemic in 2007.
Reardon, 11/30/18 Depo at 413-414.
460
   P-43225_00007-00011(2006-2014 ABDC, Cardinal, and McKesson Oxycodone and
Hydrocodone Shipments to Cabell County) .

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                                                                            Cardinal's National
                                                   Average Monthly
                         Total Hydrocodone                                   Monthly Average
        Pharmacy                                  Shipped 2010-2014
                         2010-2014461 (d.u.)                                 2010-2014 (3,282
                                                        (d.u.)
                                                                                   d.u.)
       Fruth #12
                              1,749,320                 29,155                     8.9 x
       BS1588168
        Fruth #5
                              1,468,470                 24,475                     7.5 x
       AF1585922
        Fruth #2
                              1,147,630                 19,127                     5.8 x
       AS7523118
       Fruth #11
                               771,970                  12,655                     3.9 x
       BF1434555

          252.   The following chart describes the highest monthly volume of oxycodone Cardinal

shipped to certain pharmacies in Cabell and Huntington from 2006 through 2014 compared to

Cardinal’s average monthly volume for customers nationwide from 2006 through 2014.

                                                                       Cardinal’s National
         Pharmacy                   Highest Month (d.u.)              Average for Pharmacy's
                                                                       Highest Month (d.u.)
      Medicine Shoppe
                                  34,600 (November 2010)                  5,074 (November 2010)
        BT5541760
       CVS #03391
                                    24,600 (March 2010)                    5,283 (March 2010)
        BR4365486
       CVS #04419
                                   16,600 (December 2013)                 6,925 (December 2013)
        BR4301545
       CVS #04425
                                  14,500 (November 2010)                  5,074 (November 2010)
        BR4321787
        CVS #0348
                                      16,700 (July 2014)                    6,827 (July 2014)
        AR6055025

          253.   Cardinal wasn’t completely blind to this volume, as in 2012 there was recognition

that Medicine Shoppe was a “black hole” related to the distribution of opioids.462 However, even




461
      Cardinal Health began servicing Fruth Pharmacies in January 2010.
462
   P-28038 (6/12/2012 email from Emma to Baber and Quintero re: Follow-up to Training 6-5-
2012).

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after discovery of significant red flags Cardinal continued to service Medicine Shoppe with large

volumes of opioids.463

          254.    Based on the forgoing, the Court finds that Cardinal Health failed to maintain

adequate or effective controls to prevent diversion of prescription opioids into the illicit market in

Cabell and Huntington. Cardinal Health failed to design and operate an effective system to

identify, block, and report suspicious orders of opioids from pharmacies in Cabell and Huntington.

Cardinal Health did not conduct sufficient due diligence in general and specifically as it relates to

investigations of the orders Cardinal itself flagged as suspicious. Cardinal Health’s failures were

systemic and were a substantial factor in the diversion of prescription opioids into the illicit market

in Cabell and Huntington.

          D.      McKesson

          255.    McKesson has a nationwide distribution model and nationwide policies governing

compliance with the CSA, and those policies were to be implemented uniformly across the

country.464

          256.    McKesson currently has approximately twenty-eight active distribution centers.465

Three McKesson distribution centers – McKesson’s Landover, MD, Washington Court House,

OH, and New Castle, PA facilities – include or have included West Virginia customers among




463
   P-43225_00007-00009 (2006-2014 ABDC, Cardinal, and McKesson Oxycodone and
Hydrocodone Shipments to Cabell County) .
464
  5/24/21 Trial Tr. (Oriente) at 40:24-41:7; Walker, 1/10/19 Dep. at 130:24-131:4, 131:23-132:2,
133:9-13, 133:16-20.
465
      See 5/25/21 Trial Tr. (Oriente) at 13:1-3.

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those they primarily service or have serviced.466 McKesson’s Washington Court House

Distribution Center has historically serviced customers from Cabell County.467

          257.    David Gustin had responsibility for CSA compliance for customers serviced by

the Washington Courthouse Distribution Center from 2007 to 2014.468 Overall, David Gustin had

responsibility for ensuring compliance for approximately 13,000 distinct McKesson pharmacy

customers across 15 states.469

                  1.     DEA Enforcement Actions Against McKesson

          258.    In 2006 and 2007, DEA issued Orders to Show Cause (“OTSC”) seeking

emergency relief against McKesson for its failure to maintain effective controls against diversion

as evidenced in its distribution of opioids from its Lakeland, Florida and Landover, Maryland

Distribution Centers. The DEA pointed to failures in compliance that fed the supply of opioids

into Appalachia and the Midwest.470 The DEA also alleged that McKesson had failed to report

suspicious orders of controlled substances as required by 21 C.F.R. 1301.74(b).

          259.    Shortly after, further DEA investigative findings put McKesson on notice that the

DEA found systemic failures in its anti-diversion controls.471 These investigations resulted in


466
      See P-13736A; 5/25/21 Trial Tr. (Oriente) at 22:18-23:2.
467
      5/24/21 Trial Tr. (Oriente) at 22:18-20.
468
      Gustin, 8/17/18 Depo at 154:18-24.
469
      Gustin, 8/17/18 Depo at 29:2-7.
470
   P-23733 (2008 DEA-McKesson Settlement and Release Agreement and Administrative Memo
of Agreement).
471
    Including, inter alia, McKesson’s distribution centers in Landover, MD (which supplied WV
customers) for its distribution of hydrocodone and failure to report suspicious orders, Conroe, TX
for selling 2.6 million dosage units of hydrocodone to two pharmacies in seven months and failure
to report as suspicious orders, Denver, CO for its sale of large quantities of hydrocodone to three
pharmacies and failure to report as suspicious orders, Salt Lake City, UT for sale of large quantities
of hydrocodone, oxycodone, fentanyl and methadone and failure to report as suspicious orders,

                                                 87
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settlement agreements (MOAs) with McKesson in which McKesson agreed “to maintain a

compliance program designed to detect and prevent diversion of controlled substances” as required

under the CSA and applicable DEA regulations.472

       260.    In November, 2014, DEA wrote to McKesson concerning its continued nationwide

failure to report suspicious orders and to maintain effective controls against diversion following

its 2008 settlement with DEA, and provided a detailed list of deficiencies it found were national

in scope, including McKesson’s failure to “maintain[] ... effective controls against diversion of

particular controlled substances,” and failure to “design and operate a system to disclose to the

registrant suspicious orders of controlled substances.”473

       261.    In January 2017, McKesson entered into a $150 million settlement agreement with

DEA for violations of the CSA associated with virtually all of its distribution centers, including

the Washington Courthouse, OH distribution center that shipped opioids to Cabell County.

McKesson agreed to a suspension of its license to distribute controlled substances from that

distribution center (and others) for two years.474

       262.    Specifically, the settlement agreement noted that the following McKesson

distribution centers, including two that serviced customers in West Virginia, failed to maintain



West Sacramento, CA for failure to report twenty-eight separate thefts or losses of controlled
substances.
472
  See P-23733 (2008 DEA-McKesson Settlement and Release Agreement and Administrative
Memo of Agreement).
473
  P-00122 (Nov. 4, 2014 DEA Letter to McKesson re: Registration Consequences for McKesson
Corporation for Violations of the Controlled Substance Act).
474
   See P-42554 (2017 DEA-McKesson Settlement Agreement); id. at 3, Section 2, Acceptance of
Responsibility, ¶ 2. (“McKesson acknowledges that, at various times during the Covered Time
Period, it did not identify or report to DEA certain orders placed by certain pharmacies, which
should have been detected by McKesson as suspicious, in a manner fully consistent with the
requirements set forth in the 2008 MOA.”).

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effective controls against diversion following the May 2008 settlement agreement: Washington

Court House, OH; Landover, MD; Aurora, CO; Aurora, IL; Delran, NJ; Lacrosse, WI; Lakeland,

FL; La Vista, NE; Livonia, MI; Metheun, MA; Santa Fe Springs, CA; and West Sacramento,

CA.475

            263.   As part of the 2017 settlement agreement, McKesson accepted responsibility for

not identifying and reporting suspicious orders as required by the CSA and the 2008 settlement

agreement with DEA.476 McKesson has admitted that the systematic failure to report thousands of

suspicious orders was “at the core” of the $150 million fine paid by McKesson in 2017.477

            264.   The 2017 settlement agreement further noted that McKesson failed to conduct

adequate due diligence and failed to maintain complete and accurate records as required by the

CSA and McKesson's Controlled Substances Monitoring Program.478

            265.   The DEA testified that it was “in fact frustrated that registrants were blatantly

violating the MOUs[/MOAs] from prior administrative actions.”479

                   2.     McKesson’s Failure to Maintain Adequate and Effective
                          Controls Against Diversion

                          a.     McKesson’s Knowledge of its CSA Duties and the
                                 Impact of Compliance with the CSA

            266.   McKesson understood that diversion can be impacted by compliance with the

CSA.480



475
      Id.
476
      Id.
477
      Hartle, 7/31/18 30(b)(6) Dep. at 307:12-309:7.
478
      P-42554 (2017 DEA-McKesson Settlement Agreement).
479
      Prevoznik, 4/18/19 30(b)(6) Dep. at 621:5 to 621:20.
480
      Hartle, 8/1/18 Dep. at 82:9-82:20.

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          267.    McKesson has admitted that it has a duty to report suspicious controlled substances

orders to DEA.481 Additionally, McKesson has admitted it has a duty once it has reported a

suspicious order to either block that order or conduct due diligence on the order and only ship once

it has determined the order is not likely to be diverted into illegal channels.482

          268.    McKesson has also admitted it has a duty to maintain effective controls against

diversion.483

          269.    McKesson at all times had ability to audit pharmacies to assess the volume of

controlled substances pharmacies were receiving from other distributors.484

          270.    Assessing red flags involving pharmacy customers is an important tool to prevent

diversion. Percentages of controls to non-control purchases, overall volume of pills given the

demographics, percentage of cash sales, conducting business with pain clinics, filling out-of-area

scripts, and receiving regular threshold increases are all red flags that should be investigated.485

                         b.      Section 55 SOMs Program

          271.    Between 1997 and present, the policies and procedures governing McKesson’s

suspicious order monitoring system have gone through several transitions. McKesson’s first SOM

policy was included within Section 55 of the McKesson Operations Manual, which dates back to

at least 1997 and continued until January 2009.486 McKesson distribution centers were to generate

a daily and monthly Controlled Substance Suspicious Order Warning Report (also referred to as a



481
      See Hartle, 7/31/18 30(b)(6) Dep. at 36:14-36:18, 36:20-36:22.
482
      See Hartle, 7/31/18 30(b)(6) Dep. at 38:5-38:19.
483
      See Hartle, 7/31/18 30(b)(6) Dep. at 52:22-53:3.
484
      Hartle 8/1 Dep. at 431:5-14.
485
      5/24/21 Trial Tr. (Oriente) at 65-68.
486
      See Hilliard, 1/10/19 Dep. at 163:20-164:1.

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DU-45).487 To qualify for placement on a DU-45 report, the order had to be three-times the rolling

12-month average for that drug at that distribution center.488

          272.   The DU-45 did not detect orders of unusual frequency or outside of a customer’s

typical pattern. McKesson has not located any DU-45 reports for the Washington Courthouse

distribution center and thus has located no suspicious order reports for any customer in Cabell

County.489 While orders appearing on the DU-45 reports were provided to the DEA, these orders

were not investigated or blocked but instead were shipped to the pharmacy customers.490

          273.   Under Section 55, McKesson has acknowledged that the DU-45 reports provided

to the DEA were excessive orders, rather than true suspicious orders.491

          274.   DEA has confirmed that these reports were not suspicious order reports that

complied with the CSA and the reports themselves were not useful to DEA.492

          275.   On September 1, 2005, members of the DEA met with employees of McKesson to

discuss DEA’s concerns surrounding the supply of controlled substances to internet pharmacies.493

          276.   DEA also provided its general expectations as to suspicious order monitoring and

due diligence that should be conducted by McKesson as to all of its customers ordering controlled

substances.494


487
      P-07649 (McKesson Drug Operations Manual).
488
      Hilliard, 1/10/19 Dep. at 89:2-12.
489
      5/26/21 Trial. Tr. (Rafalski) at 105:17-105:21.
490
      Hilliard, 1/10/19 Dep. at 97:21-98:10, 173:15-173:21, 178:20-179:11.
491
      Hilliard 1/10/19 Dep. at 176:8-22; P-08314.
492
   6/7/21 Trial Tr. (Rannazzisi) at 228:1-9; 229:15-230:12; 231:4-232:5; 6/8/21 Trial Tr.
(Rannazzisi) at 110:21-111:24; Prevoznik, 4/18/19 30(b)(6) Dep. at 673-74, 679-680.
493
  See P-12805 (Oct. 20 2005 Letter from Mapes to Rannazzisi re: Internet Presentation with
McKesson Corp. on Sept. 1, 2005).
494
      See Id.

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            277.   At a follow-up meeting with DEA in January 2006 it was revealed that in October

2005 nearly 2 million doses of hydrocodone were distributed by McKesson to six internet

pharmacies in an 11 day period.495 McKesson acknowledged in a meeting with DEA about these

purchases that they were not prevented, in part, because McKesson’s SOMs program failed to

track generic controlled substances.496 Mr. Rannazzisi testified that McKesson’s failure to track

generic products as part of its SOMs program demonstrates a “systemic failure” by McKesson.497

The DEA further described this as an epic failure by McKesson.498

                          C.     Lifestyle Drug Monitoring Program

            278.   In May 2007, as a result of an ongoing DEA investigation, McKesson launched the

Lifestyle Drug Monitoring Program (hereinafter “LDMP”).499 The LDMP was limited to four

drugs: oxycodone, hydrocodone, alprazolam and phentermine.500 For each of these four drugs, an

8,000 monthly dosage unit threshold was set for every McKesson customer nationwide.

McKesson set this universal threshold, even though, during that same time period, DEA indicated

to McKesson that 5,000 doses per month for these four drugs was average.501




495
   See P-00051 (Jan 23, 2006 Letter from Mapes to Rannazzisi re: Meeting Between Officer of
Diversion Control and McKesson Corp. Jan. 6, 2006).
496
   P-00051 (Jan 23, 2006 Letter from Mapes to Rannazzisi re: Meeting Between Officer of
Diversion Control and McKesson Corp. Jan. 6, 2006); Hilliard, 1/10/19 Dep. at 116:8-117:9,
122:20-123:7; 6/8/21 Trial Tr. (Rannazzisi) at 18:6-18:18; Walker, 10/10/19 Dep. at 88:20-89:8.
497
      6/8/21 Trial Tr. (Rannazzisi) at 20:7-12.
498
      Prevoznik, 5/17/19 30(b)(6) Dep. at 848-50.
499
      See P-12708 (Lifestyle Drugs & Internet Pharmacies – McKesson Powerpoint Presentation).
500
      Id.
501
      Id.

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            279.   Once the 8,000 dosage unit threshold was reached in a given month, a three level

review process was supposed to be triggered.502 Counsel for McKesson represented to DEA that

once the 8,000 monthly dosage limit was met, due diligence would be conducted before the

customer could order further quantities of the drug in question.503

            280.   McKesson admits that if it shipped more than 8,000 pills without conducting due

diligence or documentation it would be unlawful conduct.504 In fact, the LDMP had no mechanism

to block orders once the 8,000 unit threshold was met and while an investigation was ongoing.505

            281.   McKesson’s internal audits revealed multiple glaring deficiencies with the LDMP.

In a July 2007 audit, a McKesson auditor noted that the LDMP may not track all generic controlled

substances. The auditor also noted that a customer can use more than one distribution center or

more than one account number in order to exceed the 8,000 dosage unit monthly threshold without

detection.506

            282.   McKesson even went so far as to set up a call center in Texas called “ServiceFirst,”

where between 80 and 100 customer service employees made “proactive” calls to McKesson’s

customers to “ask if they wanted an increase.”507

            283.   In an August 2007 audit of the Washington Courthouse Distribution Center, a

McKesson auditor found that McKesson employees were unaware that the LDMP applied to retail

national accounts or hospital accounts. The auditor further noted a lack of training provided to



502
      Id.
503
      See P-23845 (MCKMDL00330924).
504
      See Hartle, 7/31/18 30(b)(6) Dep. at 211:11-212:5.
505
      See Hilliard, 1/10/19 Dep. at 63:11-13.
506
      See P-00098 (MCKMDL00591949).
507
      Gustin Depo 8/17/2008 at 330:6-339:22.

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 employees regarding the LDMP.508

           284.   Like Section 55 before it, the LDMP failed to satisfy the security, shipping, or

 reporting requirements in the CSA. McKesson has failed to produce any true suspicious orders

 that were detected or reported under the LDMP. Moreover, as noted above, the LDMP had no

 mechanism to block suspicious orders either.

                          d.     Controlled Substances Monitoring Program
           285.   In the wake of its settlement with the DEA, in April 2008, McKesson implemented

 its Controlled Substances Monitoring Program (“CSMP”). The CSMP has remained in effect in

 some form since 2008.

           286.   With the launch of the CSMP in 2008, McKesson for the first time began

 systematically blocking controlled substance orders despite being informed by the DEA that this

 should be done as early as 2005.509

           287.   McKesson did not comply with the CSA following its launch of the CSMP and

 settlement with DEA in 2008. In fact, this settlement did not deter the company’s behavior at all.

 At the time of CSMP launch, McKesson notified its pharmacy customers that the CSMP would be

 implemented, but that it would be "business as usual" from the customer's perspective.510

           288.   Thresholds have always been at the core of the CSMP at McKesson.511

           289.   Under the CSMP, thresholds were customer-specific, using the highest of the

 customer’s orders for the preceding 12 months for a given product and adding a 10% buffer beyond




 508
       See P-42672 (MCKMDL00591251).
 509
       Hilliard, 1/10/19 Dep. at 296:19-298:14.
 510
       See P-08363 (MCKMDL00543610).
 511
       Hartle, 8/1/18 Dep. at 122:15-123:1.

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 that.512 However, the 10% buffer was the lowest buffer applied to McKesson customers. Some

 customers received a 25% buffer and other customers received a buffer as high as 30%.513

           290.    Thresholds could then be adjusted thereafter through a process referred to as a

 threshold change request.514

           291.    Threshold increases were required to be well documented, customer generated,

 come with an appropriate level of due diligence, and come with a legitimate business

 justification.515

           292.      However, threshold increases were routinely granted at McKesson with either no

 due diligence or without the proper due diligence accompanying those increases.

           293.    In April 2011, David Gustin noted that threshold increases at McKesson had

 become “almost automatic”.516

           294.    In July 2012, Regulatory Affairs Director, Tom McDonald, stated that the company

 was too liberally granting threshold increases without proper documentation and often based only

 on a stated claim of business growth by the customer.517

           295.    In April 2013, a McKesson employee noted that “TCRs [threshold change requests]

 are done same day” and that “TCRs are commonplace.”518




 512
       5/24/21 Trial Tr. (Oriente) at 129:1-11.
 513
       Hartle, 8/1/18 Dep. at 197:6-198:18; 5/24/21 Trial Tr, (Oriente) at 129:12-129:20.
 514
       See P-42638 (MCKMDL00518107).
 515
       See P-07648 (MDKMDL00336532).
 516
       See e.g., P-12821; P-22937.
 517
       See P-08761 (MCKMDL00633455).
 518
       See P-00054 (MCKMDL00476776).

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          296.    David Gustin, the Director of Regulatory Affairs overseeing Cabell County, even

 undertook to increase thresholds of pharmacy customers on numerous occasions without those

 customers even requesting the increases.519

          297.    In fact, thresholds were so easily and routinely increased at McKesson that by 2013

 McKesson had to modify the CSMP to make threshold increases the exception, rather than the

 rule, which had been the case up to that point in time.520

          298.    McKesson has also traditionally set its thresholds so high that they were not an

 effective tool to detect potential diversion.

          299.    In August 2011, David Gustin internally stated "I have thought of an area that needs

 to be tightened up in CSMP and it is the number of accounts we have that have large gaps between

 the amount of Oxy and Hydro they are allowed to buy (their threshold) and the amount they really

 need. (Their current purchases) This increases the 'opportunity' for diversion by exposing more

 product for introduction into the pipeline than may be being used for legitimate purchases."'521

          300.    However, it was not until 2015 that McKesson first began systematically reducing

 opioid thresholds for its customers. For example, in February 2015, oxycodone thresholds were

 reduced for 2,624 Retail National Account (“RNA”) customers with the total reduction equaling

 17.1 million doses per month. Oxycodone thresholds were reduced for independent small medium

 chain pharmacies in May 2015 equaling more than 22 million doses per month.522




 519
       P-42626.
 520
       P-13737.
 521
       See P-08309 (MCKMDL00507799).
 522
       See P-08247 (MCKMDL00402184).

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          301.   In May 2016, McKesson reduced the hydrocodone thresholds for its Rite Aid

 customers by 24,615,775 doses per month.523 In July 2017, McKesson reduced the Rite Aid

 thresholds for hydrocodone, oxycodone, other opioids, and other controlled substances. The

 reductions for all controlled substances totaled 111,938,870 doses per month.524

          302.   McKesson also systematically worked to reduce the number of orders that were

 blocked and not shipped to customers. Specifically, in October 2006 McKesson employees

 discussed creating a threshold warning program to ensure "work could begin on justifying an

 increase in threshold prior to any lost sales."525

          303.   Beginning with the launch of the CSMP in 2008 this threshold warning program

 was implemented. Specifically, in April 2008, McKesson notified its pharmacy customers that the

 CSMP would be implemented as a result of McKesson’s settlement agreement with DEA, but that

 the CSMP would include a notification system that would "deliver communications in plenty of

 time for your pharmacy to take corrective action, helping head off any potential disruptions in

 supply."526

          304.   Threshold warning systems were designed solely to ensure that thresholds could be

 increased before any sales were lost.527 This strongly suggests that McKesson intended for these




 523
       See P-13211 (MCKMDL00340143).
 524
       See P-13212 (MCKMDL00340151).
 525
       See P-00097 (MCKMDL00543971).
 526
       See P-08363 (MCKMDL00543610).
 527
    5/25 Trial Tr. (Ashworth) at 219: (Q: Trial Tr. May 25, 2021 (Ashworth) at 219 (Q: Sir…you
 as a sales rep would not only call and warn the customer they were getting close to the threshold,
 but you would actually ask the customer if they wanted to increase their threshold. True? You
 would ask them if they wanted to increase their threshold after your warning. Is that accurate? A:
 I would, I would ask if they, they needed a threshold change. And if they did, that would start the
 whole threshold request procedure.).

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 thresholds to create the appearance that it had a meaningful Suspicious Order Monitoring System,

 while the system in practice did very little to detect or prevent shipment of orders of unusual size,

 pattern, or frequency.

           305.   It was not until late 2013 that McKesson ceased its threshold warning program. It

 finally acknowledged internally at that point that providing such warnings was not the best practice

 for it to be engaged in because doing so allowed customers to manage against a number to avoid

 detection by McKesson.528

           306.   Once orders were blocked under the CSMP, McKesson was to conduct a three-level

 review to assess whether the order was suspicious and whether further orders from the customer

 should be blocked.529 Level 1 review required contacting a customer when it exceeded its threshold

 to assess the reason. If any concerns remained about the order, the inquiry was to be escalated to

 level 2 review, which was conducted by the Director of Regulatory Affairs responsible for

 oversight. If concerns remained regarding the order, then the review was escalated to level 3, which

 was to be conducted by the Senior Vice President of Distribution Operations and Regional Senior

 Vice President.530 Orders were only reported as suspicious if the customer reached a level 3

 review.531 The overarching purpose of the three-level review was to assess whether an order was

 suspicious and whether further orders from the customer should be blocked. McKesson’s CSMP

 required that these reviews be documented.




 528
       P-13737.
 529
       5/24/21 Trial Tr. (Oriente) at 39:11-40:11; P-42657.
 530
       P-42657.
 531
       P-42657.

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           307.   Level 1 forms completed for Cabell pharmacies were not completed properly and

 didn’t contain necessary information for McKesson to properly conduct due diligence.532 There is

 also no evidence that McKesson conducted any level 2 or level 3 reviews for Cabell County

 pharmacy customers. This is further supported by the fact that zero suspicious orders were

 reported to the DEA related to Cabell County customers from the launch of the CSMP in 2008

 until mid-2013 when the level 1-3 process was abandoned.533

           308.   Internal McKesson audits revealed further violations of the CSA and CSMP by

 McKesson specifically as to the Distribution Center that serviced Cabell County customers. For

 example, a March 2011 internal McKesson audit of the Washington Courthouse Distribution

 Center demonstrated that Level 1 forms and threshold change request forms were not being

 consistently completed.534

           309.   McKesson has produced transactional data for all prescription medicines, including

 opioids, for Cabell County that spans October 1, 2004 to December 31, 2018. From May 23, 2008

 to July 31, 2013 McKesson only blocked 143 opioid orders placed by pharmacies in Cabell

 County.535

           310.   McKesson reported no suspicious orders for any pharmacies in the entire state of

 West Virginia from May 2008 to July 31, 2013.536 This is consistent with McKesson’s nationwide




 532
       5/25/21 Trial Tr. (Ashworth) at 224:24-226:21; P-28152.
 533
       P-42089.
 534
       P-00115.
 535
       See P-42089 (MCKMDL01391127).
 536
       See P-42089 (MCKMDL01391127).

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 policy not to report suspicious orders to the DEA from the launch of the CSMP in 2008 until

 August 2013.537

           311.    Plaintiff’s DEA expert testified that McKesson’s suspicious order reporting failures

 extended well before and after the 2008-2013 time frame. Mr. Rafalski testified that McKesson

 reported 0 suspicious orders to the DEA for Cabell County customers from 1996-2012 and only a

 total of 74 suspicious orders for Cabell County customers from 2013 through 2018.538

           312.    DEA specifically warned McKesson that its Distribution Center servicing Cabell

 County was not properly reporting suspicious orders. Specifically, an October 2011 DEA audit of

 the Washington Courthouse Distribution Center found that McKesson was failing to report

 suspicious orders from that distribution center in violation of the CSA.539

           313.    McKesson’s suspicious order reporting failures did not cease in 2013. Even as late

 as 2015, McKesson admitted internally that the company was continuing to underreport 1,500

 suspicious controlled substance orders per month.540

           314.    The word “suspicious” was taboo at McKesson for years after the CSMP was

 launched. The CSMP manual beginning in 2008 instructed employees to "refrain from using the

 word 'suspicious' in communications."'541 The manual further noted that "[o]nce McKesson deems

 an order and/or customer suspicious, McKesson is required to act. This means all controlled




 537
   P-00122 ((Nov. 4, 2014 DEA Letter to McKesson re: Registration Consequences for McKesson
 Corporation for Violations of the Controlled Substance Act).
 538
       5/26 Trial Tr. (Rafalski) at 105:17-106:1.
 539
       P-42814.
 540
       See P-13296 (MCKMDL02104903).
 541
       See P-00121 (MCKMDL00409224); P-42638.

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 substances sales to that customer must cease and the DEA must be notified.”542 This passage

 remained formally part of the CSMP until 2013.543

             315.   As DOJ noted in its August 13, 2014 letter to McKesson, "[l]language such as this

 confirms that McKesson understood that it has an obligation to report suspicious orders, but that

 it consciously took steps to avoid having to report."544

             316.   McKesson has agreed with the importance of suspicious order reporting as a means

 to prevent diversion.545

             317.   The Court finds that the duty to report suspicious orders is an important part of the

 Defendants’ duty to prevent diversion. McKesson’s systematic failure to report suspicious orders

 deprived DEA of the ability to investigate suspicious orders from McKesson in order to attempt to

 minimize diversion itself.546 As DEA’s former Deputy Assistant Administrator for the Office of

 Diversion Control, Mr. Rannazzisi explained, “they report the suspicious orders, and then we take

 the suspicious orders and, and do a follow-up, look at the order, look at the customer.”547

             318.   The retail national accounts (“RNAs”) are a much larger part of McKesson’s

 business than the independent small medium customers (“ISMC”).548

             319.   McKesson’s compliance systems were not applied to its RNA customers.




 542
       See P-12627 (MCKMDL00002509).
 543
       Id.
 544
       See P-00121 (MCKMDL00409224).
 545
       Hartle, 8/1/18 Dep. at 54:18-24, 76:22-77:4.
 546
       6/7/21 Trial Tr. (Rannazzisi) at 215:22-216:6; 219:14-220:5; 227:8-12.
 547
       6/7/21 Trial Tr. (Rannazzisi) at 215:24-216:2.
 548
       Hartle, 8/1/18 Dep. at 26:15-27:2.

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           320.   McKesson’s duties under the CSA are the same to RNA customers as they are with

 ISMC customers and those duties cannot properly be delegated to McKesson’s pharmacy

 customers.549

           321.   Despite possessing that knowledge, McKesson has not historically requested or

 obtained dispensing data from its RNA customers.550

           322.   This failure to request dispending data prevented McKesson from being able to

 monitor for certain red flags by depriving itself the ability to see the doctors writing the

 prescriptions being filled by the customers as well as not collecting the dispensing data to run

 controls/non-controls and other relevant percentages of prescriptions being dispensed to detect red

 flags.551

           323.   McKesson has also deferred to headquarters for each RNA customer to determine

 if threshold increases were appropriate for their specific store locations.552




 549
       Walker, 1/10/19 Dep. at 183:11-23; Boggs, 1/17/19 Dep. at 87:13-88:18.
 550
     Walker, 1/10/19 Dep. at 189:25-190:8; see P-12743 (MCKMDL00445881); see P-12836
 (MCKMDL00521372). The Court rejects Defendants’ suggestion that Distributors were not able
 to obtain dispensing information. As the head of Defendants’ trade association noted discussing
 an amicus brief field by the association: “The brief details wholesalers’ inability to gain insight
 into the practitioner prescribing and pharmacy dispensing practices du to HIPAA issues. This is
 not altogether true. We have been using dispensing information to assist us in making informed
 decisions regarding our customers. We have been able to obtain this information without patient
 identifiable information. When we have been unable to, we do not access the information. We
 have also been using a third party that signs a HIPAAA business Agreement with the pharmacy,
 extracts the information we need and then gives it to us without the patient information.“ See P-
 09099_00001 (John Grey 5/52012 email to Dale Smith re: HDMA Amicus Brief Cardinal vs.
 Holder).
 551
       Walker, 1/10/19 Dep. at 192:23-195:6.
 552
       See P-12836 (MCKMDL00521372); P-12743 (MCKMDL00445881).

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           324.   In fact, if a RNA customer requested a threshold increase there was a presumption

 within McKesson that the RNA customer had conducted the required due diligence surrounding

 the requested increase.553

           325.   McKesson also increased thresholds for illegitimate reasons for RNA customers.

 For example, McKesson relied on “Thanksgiving Holiday” as the sole reason to increase 200 RNA

 customers’ thresholds 30% across the board on a permanent basis.554

           326.   McKesson admitted that it had the duty to know its customers as well as the duty

 to know its customers’ customers.555 Yet, given the lack of information requested and the lack of

 diligence conducted McKesson has also admitted it was not able to know the customers of its RNA

 customers.556

           327.   McKesson generally did not conduct site visits for RNA customers.557 For Cabell

 County specifically no site for visits for any customer occurred before 2013 whether RNA or

 ISMC.558

           328.   When an RNA pharmacy customer exceeded its threshold, the communication was

 strictly with the RNA’s national headquarters.559 In fact, there was no store level communications

 or observations.560




 553
       P-12743.
 554
       See P-42516.
 555
       Walker, 1/10/19 Dep. at 199:2-199:11.
 556
       Walker, 1/10/19 Dep. at 200:11-19.
 557
       Walker, 1/10/19 Dep. at 201:7-14.
 558
       5/25/21 Trial Tr. (Ashworth) at 215:2-215:18.
 559
       Walker, 1/10/19 Dep. at 212:17-213:14.
 560
       Walker, 1/10/19 Dep. at 190:20-24.

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             329.   McKesson relied on the headquarters of the RNA customers to perform due

 diligence when a pharmacy exceeded its threshold.561 McKesson would further assume the RNA

 customers had conducted their own due diligence when granting them threshold increases.562

             330.   McKesson also never conducted level 1 reviews for RNA customers as required by

 its own CSMP.563 Nor did McKesson complete client questionnaires when onboarding new RNA

 pharmacy customers.564

             331.   Despite its reliance on and deference to its RNA customers McKesson was never

 made privy to the specifics of any RNA customer’s SOMs program.565

             332.   The DEA was not told by McKesson that it allowed RNA customers to monitor

 themselves under its CSMP.566

             333.   The most prominent example of deference and delegation to RNA customers in

 Cabell County involves Rite Aid. First, McKesson applied a 30% buffer to Rite Aid's threshold

 numbers rather than the usual 10% buffer provided to other customers.567

             334.   Without any due diligence or investigation, McKesson also allowed Rite Aid

 automatic threshold increases for schedule II controlled substances, including oxycodone products.

 These increases were specifically provided to three Rite Aid stores in Cabell County.568

             335.   McKesson was aware that Rite Aid self-distributed hydrocodone to its stores


 561
       Walker, 1/10/19 Dep. at 203:21-204:1.
 562
       Walker, 1/10/19 Dep. at 191:22-192:15.
 563
       See P-00116.
 564
       Id.
 565
       Walker, 1/10/19 Dep. at 225:17-226:12.
 566
       Walker, 1/10/19 Dep. at 214:6-12.
 567
       See P-12967 (MCKMDL00627168).
 568
       See P-42728a; 5/24/21 Trial Tr. (Oriente) at 169:10-17, 170:1-3.

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 including those in Cabell County. However, McKesson never requested this self-distribution data

 from Rite Aid.569 Therefore, all of the hydrocodone supplied to Rite Aid stores nationally and in

 Cabell County was done without the knowledge of whether the total of amount of hydrocodone

 being received by these Rite Aid stores was appropriate and not indicative of diversionary activity.

             336.   Rite Aid was provided threshold warning reports that assisted Rite Aid in ensuring

 its orders would not end up being blocked for exceeding thresholds.570

             337.   McKesson has produced no due diligence files for any Rite Aid customers in Cabell

 County despite Rite Aid being by far its largest non-hospital account in the County.

             338.   Plaintiffs’ diversion investigation expert, Mr. Rafalski, found that there was no

 evidence of sufficient due diligence as to Rite Aid stores in Cabell County generally or specifically

 as to McKesson’s decisions to increase opioid thresholds for those customers.571

             339.   From 2006-2014, Rite Aid stores in Cabell County obtained 2,396,440 dosage units

 of oxycodone from McKesson and obtained 843,040 dosage units of hydrocodone from

 McKesson.572 Those totals were in addition to the 5,545,020 dosage units of hydrocodone Rite

 Aid distributed to itself for those pharmacies, resulting in 8,784,500 dosage units of hydrocodone

 and oxycodone to these four stores.573

             340.   McKesson made per-pharmacy monthly oxycodone shipments averaging 4,294

 dosage units nationally, 4,559 dosage units in West Virginia, and 4,467 dosage units in Cabell and




 569
       5/24/21 Trial Tr. (Oriente) at 225:24-226:15.
 570
       5/24/21 Trial Tr. (Oriente) at 123:12-125:11.
 571
       5/26/21 Trial Tr. (Rafalski) at 106:2-11.
 572
     P-43225 (2006-2014 ABDC, Cardinal, and McKesson Oxycodone and Hydrocodone
 Shipments to Cabell County).
 573
       Id.

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 Huntington.574 Yet its shipments to the Rite Aid #968 pharmacy store in Huntington averaged

 7,552 dosage units per month.575 This is over 1.5 times McKesson’s national, West Virginia, and

 Cabell and Huntington averages. This difference between McKesson’s national shipping average

 and its Rite Aid #968 average also represents an excess of almost 40,000 dosage units of

 oxycodone per year that McKesson shipped into Cabell and Huntington.

             341.   Plaintiffs’ diversion control expert, Mr. Rafalski, testified that there was no

 evidence in the record that McKesson conducted sufficient due diligence of the Rite Aid stores in

 Cabell and Huntington and of other Cabell customers when increasing thresholds of hydrocodone

 for those stores.576 He also found no evidence that McKesson was sufficiently monitoring Rite

 Aid’s self-distribution of hydrocodone to its stores in Cabell and Huntington.577 He further found

 no evidence that McKesson had conducted an appropriate Level I or Level II review for its retail

 national account customers in Cabell and Huntington.578

             342.   McKesson also failed to meet its CSA obligations as it related to its ISMC

 customers. The best example of this failure comes from its pharmacy customer Custom Script,

 located in Barboursville in Cabell County, which had a 2010 population of 3,964.579

             343.   McKesson increased the oxycodone thresholds for Custom Script three times in

 four months in 2010 ultimately increasing the oxycodone thresholds for that customer from 8,000




 574
       See 43225_0013.
 575
       Id.
 576
       5/26/21 Trial Tr. (Rafalski) at 106:7-11.
 577
       5/26/21 Trial Tr. (Rafalski) at 106:12-107:2.
 578
       Id. at 106:23-107:2.
 579
       ECF No. 1433-7.

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 dosage units per month to 30,500 dosage units per month.580 McKesson offered no due diligence

 documentation related to any of these threshold increases outside of a single threshold change

 request form, which is discussed in detail below. In fact, the only documented diligence done on

 Custom Script didn’t even occur until 2013, which was well after the opioid ordering by Custom

 Script had significantly decreased.581

           344.   The final increase in 2010 took Custom Script’s oxycodone threshold from 23,500

 to 30,500 dosage units per month. The only reason provided for this increase by Custom Script

 was that it expected increased oxycodone sales due to marketing it was conducting targeting local

 physicians, including pain management physicians.582

           345.   Two of the pain clinic physicians Custom Script was working with (Dr. Fisher and

 Dr. Webb) had faced prior license suspensions, but there is no evidence that McKesson ever

 investigated this information.583 In fact, one of the pain management doctors faced medical

 practice restrictions for improper opioid prescribing years before Custom Script began filling his

 opioid prescriptions.584 The other engaged in excessive opioid prescribing, for which he was

 disciplined, which again was not investigated by McKesson.585




 580
       See P-13712 (MCKMDL00328705).
 581
       P-13284.
 582
       See P-13714 (MCKSTCT00137351).
 583
       5/25/21 Trial Tr. (Ashworth) at 250:14-251:6; P-13284.
 584
       6/15/21 Trial Tr. (Keller) at 122:24-123:13.
 585
       6/15/21 Trial Tr. (Keller) at 117:17-118:4, 135:23-137:6.

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           346.   Data available to McKesson further demonstrated that Dr. Webb and Dr. Fisher

 were outlier opioid prescribers who were prescribing opioids at exceedingly high levels yet there

 is no evidence that McKesson sought out this data.586

           347.   In 2011 alone, Custom Script purchased 159,720 dosage units of oxycodone from

 McKesson. Testimony offered at trial confirmed this number was above average for a McKesson

 customer.587

           348.   Transactional data also indicates that Custom Script predominantly purchased

 oxycodone at the 30mg dose, which is another red flag for potential diversion.588 There is no

 evidence that McKesson investigated this red flag.589

           349.   Further, from May 2011 to March 2012 Custom Script’s controlled substance to

 prescription ratios consistently remained at or above 90%. There is no evidence that this red flag

 was investigated by McKesson.590 This is all the more concerning given the testimony from Mr.

 Oriente that any customer with a 90% controls to purchases ratio should automatically be let go as

 a customer by McKesson.591 Mr. Ashworth further testified that any controls to overall purchase

 ratio over 50% is high and that he found out in trial preparation for the first time that Custom

 Script’s ratio was over 90% for a period of time.592




 586
       6/15/21 Trial Tr. (Keller) at 116:16-118:4, 129-133, 137:1-6.
 587
       5/25/21 Trial Tr. (Ashworth) at 251:9-252:3.
 588
       P-12643.
 589
       P-13284; 5/25/21 (Ashworth) Trial Tr. at 215:2-18.
 590
       See P-13710 (MCKMDL00326665); 5/24/21 (Oriente) Trial Tr. at 217:13-24.
 591
       5/24/21 (Oriente) Trial Tr. at 217:13-24.
 592
       5/25/21 Trial Tr. (Ashworth) at 249:11-250:13.

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             350.   McKesson also improperly interjected its sales force into the CSMP program.

 McKesson expected its sales representatives to be the eyes and ears of the company as it pertained

 to potential diversionary conduct by its customers.593

             351.   DOJ specifically found in 2014 that McKesson’s desire for increased sales and

 retaining its customers overrode its obligations to report suspicious orders.594

             352.   DOJ also found that “[w]hile a great deal of effort went into getting sales reps to

 increase sales, little or no effort was spent on training these sales reps to ensure compliance with

 the CSA.”595

             353.   The improper interjection of the sales force into the CSMP program in Cabell

 County was illustrated through the testimony of McKesson’s sales representative with

 responsibility for Cabell County customers – Tim Ashworth.

             354.   Mr. Ashworth testified that he would proactively call on his pharmacy customers

 to advise them that they were approaching their threshold and inquired whether they wanted to

 receive a threshold increase in order to continue receiving controlled substances in an

 uninterrupted fashion.596




 593
       See P-13385 (MCKSTCT00038337).
 594
       See P-00121 (MCKMDL00409224).
 595
       Id.
 596
     5/25/21 Trial Tr. (Ashworth) at 219:9-23. Regulatory Affairs Director Michael Oriente
 described in an email dated June 30, 2009, that he was “in the eye of the storm” reviewing threshold
 change requests from customers at the end of the month which was a busy time for threshold
 change reviews and determining whether or not they should be granted.596 Mr. Oriente further
 expressed concern that “sooner or later, hopefully later we will be burned by a customer who did
 not get enough due diligence. I feel it is more of when than if we have a problem rise up.” P-
 08763 at 2. Trial Tr. May 24, 2021 (Oriente) at 145-146.

                                                    109
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           355.   Evidence offered at trial demonstrated that Mr. Ashworth failed to properly conduct

 level 1 investigations.597 This is a key failure because if concerns were not escalated through the

 level 1 review process, then no further investigation would be conducted by McKesson, that

 customer’s orders would not be reported to DEA as suspicious, and McKesson would continue to

 provide opioid products to that customer.

           356.   McKesson’s excessive shipments of opioids to customers in counties surrounding

 Cabell County further contributed to the opioid epidemic in Cabell County and provide further

 evidence of widespread non-compliance with the CSA by McKesson.

           357.   For example, McKesson shipped millions of oxycodone and hydrocodone pills in

 2006 and 2007 to Sav-Rite in Kermit, WV, which had a population of 406 people.598 The DEA

 has testified that there is no scenario in which the town of Kermit had a medical need that justified

 the supply of this many opioid pills.599

           358.   McKesson shipped 5.8 million oxycodone and hydrocodone pills from 2006-2014

 to Family Discount Pharmacy in Mt. Shamrock, which had a population of 1,700 people.600

           359.   McKesson’s sales to pharmacies in nearby counties undoubtedly contributed to

 diversion in Cabell and Huntington.        As further examples, from 2006 to 2014, in nearby

 Chapmanville, W.Va., a Logan County city 55 miles away with a 2010 population of 1,256,

 McKesson distributed 823,900 dosage units of OxyContin to Chapmanville Pharmacy, a monthly

 average of 15,844.601      The distributions of hydrocodone follow the same pattern. McKesson



 597
       P-28152; 5/2/215 Trial Tr. (Ashworth) at 224:24-226:21.
 598
       Hartle, 8/1 Dep. at 450:21-453:8.
 599
       Prevoznik, 4/18/19 30(b)(6) Dep. at 606-07.
 600
       Hartle, 8/1 Dep. at 471:5-473:1.
 601
       43255_00013

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 distributed 3,306,110 dosage units of hydrocodone with a monthly average of 63,579 to

 Chapmanville Pharmacy, and 2,106,860 dosage units of hydrocodone with a monthly average of

 40,517 to Man Pharmacy.602 Logan County’s entire population was 32,019 in 2010. McKesson’s

 distributions to those three pharmacies would allow for 329 pills to every Logan County resident.

             360.   Overall, McKesson shipped 299.87 million dosage units of OC and HC to WV from

 2005 to 2016.603

             361.   On November 4, 2014, DEA provided a letter to McKesson concerning its

 "nationwide" failure to report suspicious orders and to maintain effective controls against diversion

 following its 2008 settlement with DEA.604 DEA further noted that it "remained concerned that

 McKesson fails to appreciate the serious and systemic nature of the CSA-related problems that

 DEA has observed in its several investigations into your client's operations."605

             362.   DEA further found as to McKesson’s Washington Courthouse Distribution Center

 that “McKesson’s inability to instill a culture of compliance – even within its compliance

 operations – may explain why McKesson WCH [Washington Courthouse] did not report anything

 suspicious about Community Drug of Manchester, Kentucky – a pharmacy located in a town of

 less than 1,000 adult residents – ordering 20,000 to almost 50,000 dosage units of oxycodone

 products on a monthly basis in 2011. Indeed, McKesson WCH only took action to reduce this

 pharmacy’s threshold for oxycodone products after receiving a top from the state pharmacy board

 that it was under investigation. Even after McKesson WCH was aware that this pharmacy was



 602
       43255_00013
 603
       Prevoznik, 5/17/19 30(b)(6) Dep. at 967-68.
 604
   See P-00122 (Nov. 4, 2014 DEA Letter to McKesson re: Registration Consequences for
 McKesson Corporation for Violations of the Controlled Substance Act)..
 605
       Id.

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 under investigation, it continued to supply it with controlled substances while apologizing for

 having to reduce thresholds and promising to ‘bump up’ those thresholds as soon as they could

 justify doing so. In September 2012, federal and state law enforcement officers executed a search

 warrant on Community Drug as part of an investigation that ultimately resulted in the criminal

 conviction of the lead pharmacist and his wife. Days after that search warrant was executed (and

 covered by local television news outlets), McKesson WCH contacted Community Drug telling it

 that it would be seeking a ‘pretty sizable increase’ in the oxycodone and hydrocodone thresholds

 for this store.”606

             363.   As previously noted, in January 2017, McKesson entered into a $150 million

 settlement agreement with DEA for Controlled Substance Act violations at various Distribution

 Centers.607 In order to placate and satisfy its customers’ demands, and even after admitting failures

 in the 2017 settlement, on January 30, 2017, Senior Director of Regulatory Affairs, Nate Hartle,

 noted that despite the 2017 settlement agreement it would still be "business as usual from a

 threshold perspective" at McKesson.608

             364.   As outlined in the 2017 settlement, McKesson’s Washington Court House

 Distribution Center, which serviced customers in Cabell County, failed to maintain effective

 controls against diversion, and failed to report suspicious orders from 2009-2017.609 As a result,

 of the 2017 settlement, the Washington Court House Distribution Center lost its DEA license for

 two years.610



 606
       Id.
 607
       P-42554 (2017 DEA-McKesson Settlement Agreement).
 608
       P-00026 (MCKMDL00418094).
 609
       P-42554 (2017 DEA-McKesson Settlement Agreement).
 610
       Id.

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           365.    Plaintiffs’ diversion investigation expert, Mr. Rafalski offered reliable testimony

 concerning McKesson’s failure to maintain effective controls against diversion in Cabell County

 and beyond. Mr. Rafalski testified that McKesson failed to maintain effective controls to prevent

 diversion in Huntington-Cabell.611 Mr. Rafalski further found that McKesson failed to maintain

 an effective suspicious order monitoring system in Cabell County and that this deficiency was both

 systemic and widespread.612

                   3.     McKesson’s Long-Held Knowledge of the Opioid Epidemic

           366.    McKesson has admitted that:

           •   The purpose of CSA’s closed system is to prevent diversion and, if you do not follow
               the CSA’s requirements, diversion can result;613

           •   The more pills shipped, the more potential for diversion there is;614

           •   Diversion can increase with failure to maintain effective controls;615

           •   That “one of the foreseeable harms of engaging in unlawful conduct in the distribution
               of prescription opioids is diversion”;616

           •   Illegal distribution of controlled substances has a substantial and detrimental effect on
               health and welfare of public;617

           •   That diversion migrates across state lines;618




 611
       5/26/21 Trial Tr. (Rafalski) at 108:15-24.
 612
       5/26/21 Trial Tr. (Rafalski) at 108:25-109:12.
 613
       See Hartle, 7/31/18 30(b)(6) Dep. at 57-59.
 614
    See Hartle, 7/31/18 30(b)(6) Dep. at 268 (using common sense and basic logic, can assume that
 the more pills shipped, the more potential for diversion there is); see also Hartle, 8/1/18 Dep. at
 84-85 (“pretty common sense” that diversion lessens without sustained sources of CS supply).
 615
       See Hartle, 8/1/18 Dep. at 85.
 616
       See Hartle, 7/31/18 30(b)(6) Dep. at 364.
 617
       See Hartle, 7/31/18 30(b)(6) Dep. at 41-44.
 618
       See Hartle, 8/1/8 Dep. at 319-23.

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             •   That Oxycontin, Hydrocodone and other lifestyle drugs are highly abused and found in
                 illegal internet pharmacies;619

             •   It understood there was a prescription drug epidemic in 2012 and that today there is an
                 illicit Fentanyl and heroin epidemic;620

             •   The public health dangers with diversion of controlled substances has been well-
                 recognized for years by Congress, DEA, HDMA, public health authorities;621

             •   The rate of opioid deaths has historically corresponded directly with the rate of opioid
                 sales;622

             •   The prescription opiate epidemic is a hazard to the public health and safety;623

             •   The prescription opioid epidemic has dwarfed other historical disasters;624

             •   “[E]very component of the distribution chain has been breached”;625

             •   McKesson “played a role” in fueling the epidemic;626

             •   Opioid addiction is a direct gateway to illicit heroin use;627 and that

             •   Distributors have power to stop diversion by controlling the supply of pills and
                 complying with the CSA.628


 619
       See 5/24/21 Trial Tr. (Oriente) at 33-34.
 620
       See 5/24/21 Trial Tr. (Oriente) at 63-65.
 621
       See Hartle, 7/31/18 30(b)(6) Dep. at 278.
 622
     See Hartle, 7/31/18 30(b)(6) Dep. at 293 (“The volume of opioids in the market and diversion
 is related to opioid deaths, certainly”).
 623
       See Hartle, 7/31/18 30(b)(6) Dep. at 366.
 624
       P-16210 (McKesson PowerPoint).
 625
       Id.
 626
       Hartle 7/31/18 30(b)(6) Dep. at 285:6-286:15.
 627
     Hartle, 8/1/18 Dep. at 480 (McKesson aware that once people are addicted to prescription
 opioids, their likelihood of taking heroin dramatically increases); see also P-00014 (Sept. 2017
 Controlled Substance Monitoring – Discount Drug Mart – McKesson Powerpoint Presentation).
 In fact, members of McKesson’s regulatory department went as far as to make light of this
 transition as being a good thing because it meant that McKesson no longer had to monitor those
 people as part of its CSMP. See also P-16690 (2/2/2014 email from Gustin to Mahoney,
 MacDonald, Jonas, Oriente, and Hilliard re: Google alert – hydrocodone, oxycodone).
 628
       See P-16210 ( McKesson PowerPoint).

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           367.    McKesson further understood that the opioid epidemic was having a

 disproportionate impact in West Virginia and that one of the reasons for the influx of pills and

 harm to West Virginia was the migration of opioids via the “Oxy Express” or “Blue Highway.”629

 McKesson readily, though internally, acknowledged this migration of opioids into places like West

 Virginia as well.630

           368.    Based on the forgoing, the Court finds that McKesson failed to maintain adequate

 or effective controls to prevent diversion of prescription opioids into the illicit market in Cabell

 and Huntington. McKesson failed to design and operate an effective system to identify, block, and

 report suspicious orders of opioids from pharmacies in Cabell and Huntington. McKesson did not

 conduct sufficient due diligence in general and specifically as it relates to investigations of the

 orders McKesson itself flagged as suspicious. McKesson’s failures were systemic and were a

 substantial factor in the diversion of prescription opioids into the illicit market in Cabell and

 Huntington.

           E.      Plaintiffs’ Expert Opinions on Defendants’ SOMs and Shipments

           369.    Distributors are part of a closed system of registrants authorized to handle

 controlled substances.631 Under the closed system, it is the responsibility of the registrants to detect

 the diversion of controlled substances, including prescription opioids.632




 629
    P-00003 (MCKMDL00407451); P-00003 (Prescription Drug Abuse: The National Perspective
 – McKesson Powerpoint Presentation) (MCKMDL00407451); see also Hartle, 8/1/18 Dep. at
 318:24-319:10, 319:25-320:16, 320:18-320:20.
 630
     P-00003 (Prescription Drug Abuse: The National Perspective – McKesson Powerpoint
 Presentation); Hartle, 8/1/18 Dep. at 318:24-319:10, 319:25:320:16, 320:18-320:20; 5/20/21 Trial
 Tr. (Mone) at 113.
 631
       5/26/21 Trial Tr. (Rafalski) at 17:20-18:11.
 632
       5/27/21 Trial Tr. (Rafalski) at 42:23-43:1.

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           370.    Congress enacted the CSA recognizing that the Government lacks the capacity to

 oversee every narcotic transaction and depends upon the registrants to do so. As Plaintiffs’ history

 of opiate use and abuse and drug policy expert, Dr. David Courtwright, testified: “There were half

 a million people who were registered under the Controlled Substances Act. Government did not

 have enough agents to oversee every narcotic transaction. It needed help. And that’s why the law

 is written the way it is.”633

           371.    As of 2016, the DEA had only one tactical diversion squad for the entire state of

 West Virginia, which had 10,000 DEA registrants.634 It is the responsibility of the manufacturers

 and distributors to monitor for suspicious orders placed by pharmacies.635

           372.    The “general framework” of the methodology Plaintiffs’ diversion investigation

 expert, Mr. Rafalski, used as a Diversion Investigator at the DEA was to assemble and review the

 transactional data, obtain policy and procedure documents (including Suspicious Order

 Monitoring System); conduct interviews to determine if the employees knew and followed the

 policies and procedures as well as a verbal description of the Suspicious Order Monitoring process;

 collect customer files; collect internal documents including documents, e-mails and other

 communications about the handling of controlled substances; and review reported suspicious

 orders as well as any stopped or held orders. Once he collected this data and information, he

 determined whether the registrant had effective controls to prevent the diversion of controlled

 substances, including whether the registrant had designed and operated a suspicious order

 monitoring system “that was functioning and was able to actually accomplish the mission of




 633
       5/5/21 Trial Tr. (Courtwright) at 43:11-44:1.
 634
       5/27/21 Trial Tr. (Rafalski) at 43:17-44:2.
 635
       5/27/21 Trial Tr. (Rafalski) at 44:3-12.

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 blocking a suspicious order.” Once he made his findings, the findings were memorialized in a

 report which was processed through the DEA where a decision was made by Chief Counsel about

 how or if to proceed.636

           373.    In DEA’s investigation of Harvard Pharmaceuticals, Rafalski reviewed “a couple

 dozen customer files,” which are also called due diligence files as part of his evaluation of whether

 Harvard was “maintaining effective controls for the prevention of diversion.”637

           374.    Rafalski’s role in this case was “to do the same thing I did when I was working at

 the DEA,” including examination of the “same types of records and documents” with respect to

 the named Defendants and to give his opinion whether the named Defendants “maintained

 effective controls to prevent the diversion of controlled substances.”638 In this case, depositions of

 the Defendants’ employees were substituted for the interviews he would typically have conducted

 as part of his investigations while a Diversion Investigator with the DEA.639

           375.    The documents and information Rafalski reviewed and relied upon in forming his

 opinions in this matter included: Defendants’ discovery responses; summaries of transactional

 data; each Defendant’s policies and procedures; each Defendant’s Suspicious Order Monitoring

 Systems; depositions; each customer file produced by each Defendant; Defendants’ internal

 documents; and the Defendants’ suspicious orders reported or blocked.640 He reviewed all due

 diligence files and all customer files produced by each Defendant in this case as well as the flagged




 636
       5/26/21 Trial Tr. (Rafalski) at 26:6-25 and 27:4-29:16.
 637
       5/26/21 Trial Tr. (Rafalski) at 23:14-21.
 638
       5/26/21 Trial Tr. (Rafalski) at 29:17-30:7.
 639
       5/26/21 Trial Tr. (Rafalski) at 36:8-16.
 640
       5/26/21 Trial Tr. (Rafalski) at 42:7-23.

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 orders.641 He also reviewed the actual suspicious orders reported by each Defendant to the DEA

 that were disclosed in the litigation.642

           376.    Defendants’ contentions to the contrary643 thus are incorrect.

           377.    Mr. Rafalski utilized and relied upon certain guidance materials in forming his

 opinions, including: 1) NWDA SOMs (1984)644; 2) DEA Investigator’s Manual (1996)645; 3) 1998

 Reno Report646; 4) DEA Chemical Handler Manual (2004)647; 5) DEA Linden Barber

 Memorandum (2007)648; 6) Southwood Pharmaceuticals, Inc. (2007)649; 7) HDMA Industry

 Compliance Guidelines (2008)650; 8) Cardinal Health vs. Holder (2012)651; 9) Masters

 Pharmaceutical vs. DEA (2017)652; 10) DEA Rannazzisi Letters (September 27, 2006 and

 December 27, 2007)653; 11) DEA Administrative actions against each Defendant654; and CSA and

 CFR materials.655



 641
       5/26/21 Trial Tr. (Rafalski) at 102:4-13; 115:8-12).
 642
       5/26/21 Trial Tr. (Rafalski) at 102:18-24.
 643
    See, e.g., 5/26 Trial Tr. (Rafalski) at 115:8-12; 7/27 (Closings) 131:9-12; 7/28 (Closings) 49:17-
 22, 51:15-16 and 108:9-11).
 644
       P-2094; 5/26/21 Trial Tr. (Rafalski) at 37:14-38:1.
 645
       P-8861-00008; 5/26/21 Trial Tr. (Rafalski) at 38:2-5.
 646
       P-28295; 5/26/21 Trial Tr. (Rafalski) at 38:6-14.
 647
       P-28211; 5/26/21 Trial Tr. (Rafalski) at 38:15-23.
 648
       P-8861-00013; 5/26/21 Trial Tr. (Rafalski) at 38:24-39:4.
 649
       72 Fed. Reg. 36487 (2007); 5/26/21 Trial Tr. (Rafalski), 39:5-13.
 650
       P-00629; 5/26/21 Trial Tr. (Rafalski) at 41:2-10.
 651
       846 F.Supp.2d 203(D.D.C. 2012); 5/26/21 Trial Tr. (Rafalski) at 39:5-13 and 40:23-41:1.
 652
       861 F.3d 206 (D.D.C. 2017); 5/26/21 Trial Tr. (Rafalski) at 39:5-13 and 40:23-41:1.
 653
       5/26/21 Trial Tr. (Rafalski) at 41:11-13.
 654
       5/26/21 Trial Tr. (Rafalski) at 41:14-15.
 655
       5/26/21 Trial Tr. (Rafalski) at 41:16-20.

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           378.    The transactional data available to Rafalski included: McKesson from 2004 through

 2018; AmerisourceBergen from 2002 through 2018; Cardinal from 1996 through 2018 and

 ARCOS data from 2006 through 2014.656

           379.    Rafalski’s findings with respect to the transactional data available for Cabell and

 Huntington were as follows:

       •   Cardinal - 92,915 transactions; hydrocodone pills 17,923,260 and oxycodone pills
           17,187,905;657 Sharp increase in 2010 distribution caused by acquiring Fruth
           business.658

       •   McKesson – 18,862 transactions; hydrocodone pills 3,732,930 and oxycodone pills
           3,983,350.659

       •   ABDC – not read into record;660 trend was steep incline through 2010, with drop-
           off thereafter caused by Fruth changing distributors – beginning to order from
           Cardinal.661

       •   No evidence that any Defendant monitored its distribution of hydrocodone or
           oxycodone into the City of Huntington or Cabell County, West Virginia.662

           380.    Generally, pre-2008, the Defendants each sent excessive purchase reports to the

 DEA post-shipment.663 Excessive purchase reports were based on Defendants each setting an

 average order number nationally based on a 12-month average.664




 656
       5/26/21 Trial Tr. (Rafalski) at 45:3-18.
 657
       5/26/21 Trial Tr. (Rafalski) at 49:4-10.
 658
       5/26/21 Trial Tr. (Rafalski) at 56:16-57:3.
 659
       5/26/21 Trial Tr. (Rafalski) at 49:18-24.
 660
       See 5/26/21 Trial Tr. (Rafalski) at 47:17-49:3.
 661
       5/26/21 Trial Tr. (Rafalski) at 54:23-55:8.
 662
       5/26/21 Trial Tr. (Rafalski) at 58:25-59:9.
 663
       5/26/21 Trial Tr. (Rafalski) at 61:3-10.
 664
       5/26/21 Trial Tr. (Rafalski) at 62:2-6.

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           381.    Generally, between 2007 and 2008, Defendants’ Suspicious Order Monitoring

 Systems changed to include computerized systems that set a trigger or threshold to flag orders over

 the threshold and to hold the orders prior to shipment.665 An order that hits or exceeds the pre-

 determined threshold raises the suspicion that the order could be diverted.666 The maintenance of

 effective controls to prevent diversion requires that once an order is identified by the Defendant’s

 system as suspicious, the order must be held so that a decision can be made about whether the

 order can be safely shipped.667

           382.    Due diligence is a term for the internal investigation that must take place to review

 the available information, facts, and circumstances of the order. If the suspicion that the order is

 likely to be diverted into illicit hands can be dispelled through the investigative process, the

 suspicion is dispelled, and the order can be shipped.668 If the suspicion that the order will likely be

 diverted cannot be dispelled through sufficient due diligence investigation, the order must be

 blocked, cancelled, and reported to the DEA.669

           383.    According to the Defendants’ policies and procedures, if an order is flagged or

 triggered by the system, not only the triggering order but all subsequent orders within the same

 drug family must be held or stopped unless or until the suspicion of diversion can be dispelled.670




 665
       5/26 Trial Tr. (Rafalski) at 75:8-23.
 666
       5/26/21 Trial Tr. (Rafalski) at 76:2-20.
 667
       5/26/21 Trial Tr. (Rafalski) at 76:2-20.
 668
       5/26/21 Trial Tr. (Rafalski) at 76:2-20, 103:25-104:13.
 669
       5/26/21 Trial Tr. (Rafalski) at 76:2-20.
 670
       5/26/21 Trial Tr. (Rafalski) at 77:8-14; 78:9-14; 79:10-25 and 80:2-6.

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 If a suspicious order is not blocked and the suspicion is not dispelled, more likely than not,

 diversion will occur.671

           384.    According to the applicable suspicious order monitoring regulation, registrants like

 the Defendants are required to identify orders of unusual size, deviating from a normal pattern or

 of an unusual frequency. However, Defendants’ systems only monitored the volume of controlled

 substances ordered.672 The triggering system should be designed to identify an order that is

 suspicious of being diverted because it is outside of what is usual or normal for each customer.673

           385.    Rafalski identified six flagging methodologies used by Defendants or other DEA

 registrants and/or accepted by federal courts, and had the methodologies run against the available

 data.674 Methodologies A and B are versions of the system used by Masters Pharmaceuticals, as

 set forth in the U.S. Court of Appeals’ ruling.675 Methodology C is based on a flagging system

 used by Mallinckrodt, PLC, an opioid and other prescription drug manufacturer.676 Methodology

 D was used at various times by all three Defendants.677 Methodology E is based on a policy that

 was used by Defendant McKesson.678 Methodology F is based on a policy that was used by

 Defendant Cardinal.679



 671
       5/26/21 Trial Tr. (Rafalski) at 104:7-13.
 672
       5/26/21 Trial Tr. (Rafalski) at 82:18-83:5.
 673
       5/26/21 Trial Tr. (Rafalski) at 82:18-83:5 and 84:12-19.
 674
       5/26/21 Trial Tr. (Rafalski) at 84:20-23.
 675
    5/26/21 Trial Tr. (Rafalski) at 85:3-11; Masters Pharms., Inc. v. DEA, 861 F.3d 206 (D.C. Cir.
 2017).
 676
       5/26/21 Trial Tr. (Rafalski) at 85:12-14.
 677
       5/26/21 Trial Tr. (Rafalski) at 85:15-17.
 678
       5/24/21 Trial Tr. (Oriente) at 31:23-32:3; 34:12-25.
 679
    5/26/21 Trial Tr. (Rafalski) at 57-58; P-09320 (Cardinal’s DEA Compliance Manual) at bates
 page 01383939 (describing policy).

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           386.    Methodology A – “Maximum monthly trailing six-month threshold looks back at

 six months of data and sets the threshold at the highest order amount in the prior six months.680 If

 an order exceeds the highest order amount in the prior six months, the system triggers or flags the

 order and holds the order pending review or the execution of due diligence sufficient to dispel the

 suspicion that the order is likely to be diverted.681 If no due diligence is performed all subsequent

 orders should be held and not shipped.682

       •   ABDC            Oxycodone dosage units flagged 11,610,920 – 90.6%
                           Hydrocodone dosage units flagged 20,621,360 – 91.1%683

       •   Cardinal        Oxycodone dosage units flagged 15,997,400 – 93.1%
                           Hydrocodone dosage units flagged 14,795,350 – 82.5%684

       •   McKesson        Oxycodone dosage units flagged 3,501,970– 87.9%
                           Hydrocodone dosage units flagged 3,261,250 – 87.4%685

 Stated differently – this is what should have been blocked unless or until the suspicion of diversion

 was dispelled.686 Had the Defendants applied Methodology A as their triggering system for

 suspicious orders, a substantial volume of opioid pills would never have been shipped to the City

 of Huntington or to Cabell County.687

           387.    Methodology B – Differs from A in that the trigger or cap is set in the same manner

 – a six month look back, however, rather than stop all future orders once the trigger is initiated by



 680
       5/26/21 Trial Tr. (Rafalski) at 87:14-88:11.
 681
       5/26/21 Trial Tr. (Rafalski) at 88:15-89:2.
 682
       5/26/21 Trial Tr. (Rafalski) at 89:3-9.
 683
       5/26 Trial Tr. (Rafalski) at 96:17-25.
 684
       5/26 Trial Tr. (Rafalski) at 97:1-3.
 685
       5/26 Trial Tr. (Rafalski) at 97:4-6.
 686
       5/26/21 Tr. (Rafalski) at 97:7-18.
 687
       5/26/21 Trial Tr. (Rafalski) at 97:13-18.

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 an order over the highest order in the last six months, future orders are shipped up to the cap and

 all orders over the cap or trigger are held or blocked.688

       •   ABDC            Oxycodone dosage units flagged 3,763,580 – 29.4%
                           Hydrocodone dosage units flagged 5,616,380– 24.8%689

       •   Cardinal        Oxycodone dosage units flagged 11,325,200 – 65.9%
                           Hydrocodone dosage units flagged 7,252,580 – 40.5%690

       •   McKesson        Oxycodone dosage units flagged 805,300– 20.2%
                           Hydrocodone dosage units flagged 2,390,800 – 64%691

           388.    Methodology C – Twice trailing twelve-month looks back 12 months to identify an

 average number of pills distributed in either the state of West Virginia or nationally (depending on

 what data set was available). Each month the trigger is recalculated based upon the prior 12

 months. This methodology would then calculate the trigger as double the prior twelve-month

 average.692 Stated differently – the following orders sent to Cabell and Huntington exceeded

 double each Defendant’s average order over the prior 12 months:

       •   ABDC            Oxycodone dosage units flagged 10,477,680 – 81.8%
                           Hydrocodone dosage units flagged 18,877,140 – 83.4%693

       •   Cardinal        Oxycodone dosage units flagged 14,011,880 – 81.5%
                           Hydrocodone dosage units flagged 16,593,780 – 92.6%694

       •   McKesson        Oxycodone dosage units flagged 2,405,620– 60.4%
                           Hydrocodone dosage units flagged 2,362,420 – 63.3%695


 688
       5/26/21 Trial Tr. (Rafalski) at 89:10-20.
 689
       5/26/21 Trial Tr. (Rafalski) at 98:3-6.
 690
       5/26/21 Trial Tr. (Rafalski) at 98:7-9.
 691
       5/26/21 Trial Tr. (Rafalski) at 98:10-11.
 692
       5/26/21 Trial Tr. (Rafalski) at 92:3-93:12.
 693
       5/26/21 Trial Tr. (Rafalski) at 98:16-19.
 694
       5/26/21 Trial Tr. (Rafalski) at 98:20-21.
 695
       5/26/21 Trial Tr. (Rafalski) at 98:22-24.

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           389.    Methodology D used by all three Defendants, at varying points in time, functions

 similarly to Methodology C except that rather than doubling the prior twelve-month average order

 of pills, the trigger is set at triple or three times the prior twelve-month average.696 Stated differently

 – the following orders sent to Cabell and Huntington exceeded triple each Defendant’s average

 order over the prior 12 months:

       •   ABDC           Oxycodone dosage units flagged 8,360,740 – 65.3%
                          Hydrocodone dosage units flagged 15,701,930– 69.4%697

       •   Cardinal       Oxycodone dosage units flagged 9,567,580 – 55.7%
                          Hydrocodone dosage units flagged 14,957,360 – 83.5%698

       •   McKesson       Oxycodone dosage units flagged 1,005,320– 25.2%
                          Hydrocodone dosage units flagged 1,245,640 – 33.4%699

           390.    Methodology E- Maximum 8000 dosage units monthly, used by McKesson under

 the LDMP, set the trigger at 8,000 dosage units per customer per month.700

       •   ABDC           Oxycodone dosage units flagged 10,446,280 – 81.5%
                          Hydrocodone dosage units flagged 21,679,760– 95.8%701

       •   Cardinal       Oxycodone dosage units flagged 13,274,080 – 77.2%
                          Hydrocodone dosage units flagged 16,159,150 – 90.2%702

       •   McKesson       Oxycodone dosage units flagged 2,098560– 52.7%
                          Hydrocodone dosage units flagged 2,484,640 – 66.6%703




 696
       5/26/21 Trial Tr. (Rafalski) at 85:15-17; 93:13-21.
 697
       5/26/21 Trial Tr. (Rafalski) at 99:22-100:5.
 698
       5/26/21 Trial Tr. (Rafalski) at 100:6-12.
 699
       5/26/21 Trial Tr. (Rafalski) at 100:13-16.
 700
       5/26/21 Trial Tr. (Rafalski) at 93:22-94:19.
 701
       5/26/21 Trial Tr. (Rafalski) at 100:22-24.
 702
       5/26/21 Trial Tr. (Rafalski) at 100:25-101:2.
 703
       5/26/21 Trial Tr. (Rafalski) at 98:101:3-6.

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           391.    Methodology F – Maximum daily dosage units – also called “pickers and packers”

 there is a maximum daily dosage unit order on a list in the cage or vault where the packers work

 and anything above the amount on the list in the vault is not shipped. In this case the amounts

 from the list of one of the Defendants was used for the calculations.704

       •   ABDC           Oxycodone dosage units flagged 12,459,020 – 97.3%
                          Hydrocodone dosage units flagged 22,582,020– 99.8%705

       •   Cardinal       Oxycodone dosage units flagged 16,527,880 – 96.2%
                          Hydrocodone dosage units flagged 17,688,100 – 98%706

       •   McKesson       Oxycodone dosage units flagged 3,713,000– 93.2%
                          Hydrocodone dosage units flagged 3,648,650 – 97.9%707

           392.    The foregoing demonstrates, not that 98% of any Defendant’s orders necessarily

 would be diverted and could never be shipped, but that under each of a variety of flagging

 methodologies Defendants and others in their industry used, there were flagged orders containing

 millions of opioid pills that required Defendants to perform due diligence to dispel suspicion

 before they could ship these orders.708

           393.    Thus, not every flagged order would have to be reported to the DEA as suspicious.

 Only those that after sufficient due diligence, the suspicion could not be eliminated.709

           394.    The Court finds to a reasonable certainty, and for the reasons set forth below, that

 Defendants did not perform due diligence on these orders.




 704
       5/26/21 Trial Tr. (Rafalski) at 94:20-95:21.
 705
       5/26/21 Trial Tr. (Rafalski) at 101:7-13.
 706
       5/26/21 Trial Tr. (Rafalski) at 101:14-17.
 707
       5/26/21 Trial Tr. (Rafalski) at 101:18-21.
 708
       5/26/21 Trial Tr. (Rafalski) at 76:2-20.
 709
       5/27/21 Trial Tr. (Rafalski) at 51:15-52:1.

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           395.    Rafalski testified that there was insufficient evidence from each Defendant of due

 diligence conducted for triggered orders necessary to dispel the suspicion that diversion was likely

 to occur.710

           396.    This opinion is further supported by testimony of DEA’s former Deputy Assistant

 Administrator of Diversion Control, Mr. Rannazzisi, that a distributor should consider the volume

 of opioids it sells to a customer or area relative to its population, Defendants neither weighed these

 factors, nor even totaled their shipments of opioids into a jurisdiction, in assessing whether orders

 were suspicious or diversion might be occurring.711

           397.    Rafalski also reviewed all suspicious orders each Defendant disclosed that it

 reported to the DEA as suspicious.712

           398.    AmerisourceBergen reported a total of 45 orders from Cabell County and

 Huntington to the DEA as suspicious.713 ABDC pre-shipment reporting:714

           2007 – 2
           2008 – 4
           2009 – 12
           2010 – 5
           2011 – 1
           2012 – 4
           2013 – 11

 710
       5/26/21 Trial Tr. (Rafalski) at 102:14-17.
 711
    6/8 Trial Tr. (Rannazzisi) at 186 (“what we asked them to do is look at your suspicious – your
 pharmacy population, your customer population, identify anomalies within that population,
 ordering patterns, and then do your due diligence and see why those anomalies exist”); 5/17 Trial
 Tr. (Mays) at 203, 205 (between 2007 and 2014 the diversion control program did not rely on
 populations); Prevoznik, 5/17/19 Depo at 974 (DEA had said that knowledge of a geographic
 area’s problem with controlled substance abuse is a factor that should be taken into account by
 registrants); see also See 5/26/21 Trial Tr. (Rafalski) at 112 (orders the Defendants knew or should
 have known were suspicious were likely to be diverted into the illicit market).
 712
       5/26/21 Trial Tr. (Rafalski) at 102:18-24.
 713
       5/26/21 Trial Tr. (Rafalski) at 103:3-9.
 714
       5/26/21 Trial Tr. (Rafalski) at 103:3-21.

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           2014 – 6
           2015 – 2018 – 0.

           399.    Cardinal Health suspicious order reporting for Cabell and Huntington715:


           1996 to 2009 – 0
           2010 – 1
           2011 – 0
           2012 – 15
           2013 – 86
           2014 – 5
           2015 – 19
           2016 – 34
           2017 – 32.

           400.    McKesson suspicious order reporting for Cabell and Huntington716:

           1996 to 2012 – 0
           2013 – 5
           2014 – 29
           2015 – 20
           2016 – 10
           2017 – 2
           2018 – 13

           401.    Rafalski’s opinion is that AmerisourceBergen failed to maintain effective controls

 to prevent the diversion of prescription opioids into the illicit market in the City of Huntington or

 Cabell County.717

           402.    Rafalski’s opinion is that Cardinal Health failed to maintain effective controls to

 prevent the diversion of prescription opioids into the illicit market in the City of Huntington or

 Cabell County.718




 715
       5/26/21 Trial Tr. (Rafalski) at 104:14 – 105:16.
 716
       5/26/21 Trial Tr. (Rafalski) at 105:17-106:1.
 717
       5/26/21 Trial Tr. (Rafalski) at 107:3-10 and 110:5-12.
 718
       5/26/21 Trial Tr. (Rafalski) at 108:3-14.

                                                   127
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           403.    Rafalski’s opinion is that McKesson failed to maintain effective controls to prevent

 the diversion of prescription opioids into the illicit market in the City of Huntington or Cabell

 County.719

           404.    Rafalski’s opinion is that AmerisourceBergen, Cardinal and McKesson did not

 design and operate effective systems to identify, block and report suspicious orders arising in the

 City of Huntington and Cabell County.720 And each Defendant’s failures were systemic or

 widespread.721 The systemic failures were a substantial factor in the diversion of prescription

 opioids into the illicit market in the City of Huntington and Cabell County.722 The orders

 Defendants knew or should have known were suspicious were likely to be diverted into the illicit

 market in the City of Huntington and Cabell County.723

           405.    Rafalski reviewed comments dating back as far as 1987 from the DEA indicating

 that shipping suspicious orders then reporting them to the DEA as suspicious did not factor in

 public safety.724

           406.    Maintaining records evidencing due diligence conducted is necessary for the

 maintenance of effective controls against diversion.725

           407.    This is especially so after the 2005 and 2006 Distributor Briefings and after each

 Defendant was subject to administrative action in 2007 and 2008.726


 719
       5/26/21 Trial Tr. (Rafalski) at 108:15-24.
 720
       5/26/21 Trial Tr. (Rafalski) at 108:25-109:7.
 721
       5/26/21 Trial Tr. (Rafalski) at 109:8-18.
 722
       5/26/21 Trial Tr. (Rafalski) at 111:19-112:2.
 723
       5/26/21 Trial Tr. (Rafalski) at 112:22-113:3; 214:10-12.
 724
       5/26/21 Trial Tr. (Rafalski) at 260:25-261:16.
 725
       5/26/21 Trial Tr. (Rafalski) at 270:1-12.
 726
       5/27/21 Trial Tr. (Rafalski) at 17-21.

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           408.    The Court finds that each Defendant’s conduct was unreasonable in failing to

 maintain adequate and effective controls against diversion and causing suspicious orders

 containing tens of millions of opioid dosage units to be shipped to Cabell and Huntington, with

 population of fewer than 100,000 people, and the surrounding region.

 III.      Defendants Substantially and Foreseeably Contributed to the Opioid Epidemic in
           Cabell County and the City of Huntington.

           409.    The Court finds that Defendants’ failure to maintain adequate and effective controls

 of the prescription opioid drugs they distributed was a substantial factor in bringing about the

 public nuisance harms of the opioid epidemic in Cabell and Huntington. The Court further finds

 that these harms were and are the foreseeable and foreseen result of Defendants’ unreasonable

 conduct.

           A.      Defendants Substantially Contributed to the Opioid Epidemic Harms
                   in Cabell and Huntington.


                   1.     Substantial Contribution to Diversion in Cabell and Huntington

           410.    The Court finds that Defendants’ failure to maintain adequate and effective controls

 against diversion caused the diversion of prescription opioid pills they shipped to Cabell County,

 the City of Huntington, and the surrounding region.

           411.    The core purpose of the CSA “was to prevent diversion” of controlled substances

 by creating a “closed system” of distribution in which all parties to the supply chain must be

 registered with the federal government.727




 727
       5/5/21 Trial Tr. (Courtwright) at 43.

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           412.    This “Closed System of Distribution overall is just a system of accountability to

 ensure that nothing is leaving the system and going into the illicit marketplace.”728

           413.    Mr. Rannazzisi testified that any breach of this closed system results in the

 diversion of controlled substances into the illicit market:

           If there’s a breach in the integrity of the closed system, drugs are funneled out of
           that supply chain into the illicit market. It’s a total – it’s a breakdown. A
           breakdown of the system will cause diversion. And that – it’s as simple as that. It
           doesn’t get any more simple.729

           414.    Mr. Rannazzisi further testified that Defendants’ and other distributors’

 “Suspicious Order Monitoring Program is your tool” to prevent diversion.730

           415.    The DEA viewed Defendants and other distributors as a “choke point” to stop the

 flow of diverted opioid pills from internet pharmacies.731

           416.    The DEA also recognizes that distributors’ setting of arbitrary thresholds for

 suspicious order monitoring “could actually create oversupplies[,]” and that “increases in

 availability” of controlled substances “could have the unintended consequence of increasing

 diversion and abuse.”732

           417.    The DEA also recognizes that a CSA registrant’s “failure to comply [with federal

 law] enables more diversion.”733




 728
       6/7/21 Trial Tr. (Rannazzisi) at 175.
 729
       6/7/21 Trial Tr. (Rannazzisi) at 180-81.
 730
       6/7/21 Trial Tr. (Rannazzisi) at 180.
 731
       6/7/21 Trial Tr. (Rannazzisi) at 184.
 732
       Strait, 5/31/19 30(b)(6) Dep. at 34-35, 41-42.
 733
       Prevoznik, 4/18/19 30(b)(6) Dep. at 642.

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           418.    Plaintiffs’ diversion investigation expert, Mr. Rafalski, testified in reference to

 distributors and other DEA registrants that, “[i]f you don’t dispel the suspicion of that order and

 of future orders, if you hadn’t removed that suspicion of diversion or dispelled it, more likely than

 not, that’s what would occur[.]”734

           419.    Plaintiffs’ epidemiology and Opioid Use Disorder (“OUD”) expert, Dr. Keyes,

 testified that an increased volume of prescription opioids, such as that brought about by a failure

 to maintain adequate or effective controls, “is a substantial contributing factor” to diversion into

 the illicit market.735

           420.    The primary methods of drug diversion in West Virginia and the Appalachian

 region during the first decade of this century were the “illegal sale and distribution by healthcare

 professionals,” as well as “employee theft, forged prescription, and the internet.”736

           421.    Huntington’s former Chief of Police, William Holbrook testified as to his

 department’s observation of illegal sale and distribution and diversion as follows:

           Often times, especially with diversion, an investigation would start with a call to a
           tip line, a pharmacy calling, a traffic stop and finding prescription pills in
           somebody’s possession and they not have a legitimate prescription, or they would
           have one and you would find multiple pharmacies or doctors they had been to. So
           you would see some evidence where it looked like maybe a pharmacist or a doctor
           potentially was, again, distributing, prescription drugs, opioids irresponsibly.737

           422.    Defendant McKesson Corporation states in its operation manual that “[i]t is

 extremely important that McKesson employees comply fully with the regulations and . . .




 734
       5/26/21 Trial Tr. (Rafalski) at 104.
 735
       6/15/21 Trial Tr. (Keyes) at 31-32.
 736
       6/10/21 Trial Tr. (Smith) at 221.
 737
       6/17/21 Trial Tr. (Holbrook) at 207-08.

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 guidelines” on diversion control because it recognizes that this is “extremely important” in order

 to “prevent the diversion of controlled substances.”738

           423.    McKesson also agrees that “if you don’t follow those laws” creating a closed

 system of controlled substances distribution, then “diversion into the illicit market . . . can

 happen[,]”and that, “[u]sing common sense and basic logic, you could assume the more pills that

 are out there, the more potential for diversion there could be.”739

           424.    Defendants’ pain management standard of care expert, Dr. Timothy Deer, similarly

 recognized that a physician prescribing “outside the standard of care is not diverting pills, but their

 improper prescribing could cause diversion by someone else.”740

                   2.     Diversion Occurring Across State and Local Boundaries

           425.    The Court finds that the diversion of the prescription opioid pills Defendants

 shipped to Cabell and Huntington that occurred was not geographically contained within the

 County and City’s boundaries, but rather occurred across these boundaries to and from other

 locations within and beyond the surrounding region.

           426.    Mr. Rannazzisi, testified that while he was with the DEA he understood that:

           ‘Oxy Express’ was a term given to people that go down to Florida to visit pill mills.
           They might go three, four, five at a time and then load up either by car, or by bus,
           or even by plane and take the drugs back to where they came from. But Oxy
           Express originally was the I-75 Corridor going up into – going up through Georgia,
           past Georgia, and then spreading out into the Midwest.741

           427.    Mr. Rannazzisi further testified that the Oxy Express operated as follows: “You go

 down, you visit multiple pill mills, multiple prescription mills. You get your drug from pharmacies


 738
       Hartle, 7/31/18 30(b)(6) Dep. at 108.
 739
       Hartle, 7/31/18 30(b)(6) Dep. at 58-59, 268.
 740
       7/7/21 Trial Tr. (Deer) at 161.
 741
       6/8/21 Trial Tr. (Rannazzisi) at 24.

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 in the area and you take them back to wherever you came from. Some of these people just got the

 prescriptions[,] loaded up and then headed back north to wherever they came from and had the

 prescriptions actually filled at their local pharmacies.”742

           428.    Mr. Rannazzisi specifically tied this interstate diversion of prescription opioid pills

 to Defendants’ distribution activity, describing large-scale diversion occurring through internet

 pharmacies and spreading “across the country” and “across all of the states[,]”743 and testifying

 that “Amerisource, McKesson, and Cardinal had a big role in [supplying] those internet

 pharmacies.”744

           429.    The Appalachia High Intensity Drug Trafficking Area (“HIDTA”) connected cross-

 border diversion of prescription opioid pills to the Appalachian region:

           The Appalachian region, obviously, was one of the hardest hit regions in the
           country for opioid abuse. We had a great amount of citizens traveling out of state
           to obtain prescription medication, to south Florida most specifically, and other
           states as well, because Kentucky had a very robust prescription monitoring
           program.745

           430.    Appalachia HIDTA connected cross-border diversion of prescription opioid pills

 from Florida to West Virginia and surrounding states,746 and specifically to Huntington: “Q. In

 your role at HIDTA –at HIDTA, you’ve also reported on the trend of pills from Florida being

 diverted into Huntington. Is that correct? A. That’s correct.”747




 742
       6/8/21 Trial Tr. (Rannazzisi) at 24-25.
 743
       6/7/21 Trial Tr. (Rannazzisi) at 191-92.
 744
       6/7/21 Trial Tr. (Rannazzisi) at 185.
 745
       Brown, 5/17/20 30(b)(6) Dep. at 18.
 746
       Brown, 5/17/20 30(b)(6) Dep. at 249-50
 747
       Brown, 5/17/20 30(b)(6) Dep. at 254-55.

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           431.   Defendant McKesson Corporation’s former Vice President of Regulatory Affairs

 and Compliance, Nathan Hartle, testified that he agrees that “[d]rugs don’t just – because you sell

 it to one particular pharmacy doesn’t – in one particular town doesn’t mean that drug is staying in

 that town,”748 that “I’m aware of . . . how drugs move and migrate[,]”749 and that “I agree that

 diversion migrates.”750

           432.   McKesson’s current Vice President of Regulatory Affairs, Gary Boggs, testified

 that he agrees that: “[D]rugs that find their way into the illegal distribution system in a given

 community will not remain in that community; they will – some of those drugs will migrate to

 adjacent communities and even different states.”751

           433.   Mr. Boggs also prepared a PowerPoint presentation titled “Drug Diversion

 Migration out of Florida,” which he testified was meant to depict “the criminal schemes of pill

 mills in Florida, and where those complicit in the criminal scheme . . . would take those [drugs] .

 . . out of Florida and into other locations throughout the United States.”752

           434.   ABDC Director of Diversion Control and Security, Edward Hazewski, testified that

 “it was generally discussed information in the industry” that “people would travel to places like

 Florida and bring pills back into other areas like West Virginia and Ohio.”753




 748
       Hartle, 8/1/18 Dep. at 319.
 749
       Hartle, 8/1/18 Dep. at 320.
 750
       Hartle, 8/1/18 Dep. at 323.
 751
       Boggs, 1/17/19 Dep. at 259-60.
 752
       Boggs, 1/17/19 Dep. at 261.
 753
       Hazewski, 10/25/18 Dep. at 71-72.

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           435.   Mr. Hazewski also testified that he agrees that “someone who has a legitimate

 medical need for a prescription probably wouldn’t be driving out of the area to get their

 prescription.”754

           436.   ABDC’s former Vice President of Sales for West Virginia, Lisa Mash, testified that

 she was familiar from company trainings and other sources with the term “Oxy Express” and its

 reference to pill migration from Florida and through West Virginia.755 She also testified that

 ABDC trained its employees to be aware at pharmacy customer stores of “license plates from

 various states, more than would constitute a local customer base.”756

           437.   ABDC’s Senior Vice President of Corporate Security and Regulatory Affairs, Chris

 Zimmerman, similarly testified that the “Pillbillies” song parody email he circulated among ABDC

 employees contained an implicit recognition that there was opioid diversion or pill migration

 between Florida and West Virginia: “Q. This is an implicit recognition that there was pill migration

 from Florida up into Mountaineer land? A. Somebody wrote a parody that included that, yes.”757

           438.   Mr. Zimmerman also acknowledged use of the terms “Blue Highway” and “Oxy

 Express” to refer to migration of opioid pills “up from Florida.”758




 754
       Hazewski, 10/25/18 Dep. at 72-73.
 755
       Mash, 7/28/20 Dep. at 81-82.
 756
       Mash, 7/28/20 Dep. at 118.
 757
       5/13/21 Trial Tr. (Zimmerman) at 90.
 758
       5/13/21 Trial Tr. (Zimmerman) at 90.

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                   3.     Substantial Contribution to Opioid Epidemic Harms in Cabell
                          and Huntington

           439.    The Court finds that diversion of the prescription opioid pills Defendants shipped

 to Cabell and Huntington substantially contributed to the opioid epidemic’s public health and

 safety harms afflicting the County and City.

           440.    The DEA’s former Deputy Assistant Administrator for the Office of Diversion

 Control, Mr. Rannazzisi, testified that when there is a breach of the closed system of controlled

 substances distribution that results in diversion, what occurs is:

           The market being flooded, the illicit marketplace being flooded with opioids,
           benzodiazepines, mild stimulants, people becoming addicted, people overdosing,
           police officers required, being required to carry naloxone, which is not part of their
           duties up until a few years ago when we had to start carrying it because the
           overdoses were outrageous, and of course . . . losing loved ones.759

           441.    Plaintiffs’ epidemiology and OUD expert, Dr. Keyes, testified that there is a “causal

 association between the supply of prescription opioids in Cabell and Huntington and the increase

 in opioid-related harms[,]”760 that “the opioid supply and oversupply is causally related to the

 opioid-related harms[,]”761 and that “there is a causal relationship between [opioid] volume and

 harm.”762

           442.    Dr. Keyes further testified that opioid oversupply causes opioid-related harms is

 consistent with the consensus statement of the Association for Schools of Public Health, which

 states in part that:




 759
       6/7/21 Trial Tr. (Rannazzisi) at 180-81.
 760
       6/11/21 Trial Tr. (Keyes) at 204.
 761
       6/11/21 Trial Tr. (Keyes) at 217.
 762
       6/15/21 Trial Tr. (Keyes) at 31.

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           The tremendous expansion of the supply of powerful high potency, as well as long-
           acting prescription opioids led to scaled increases in prescription opioid
           dependence.763

           443.    Plaintiffs’ epidemiology and drug overdose expert, Dr. Gordon Smith, testified that

 the numbers of drug overdose deaths per year in West Virginia were constant and “completely

 flat” between 1979 and 2000, but that after the introduction of prescription opioids around 2000,

 “then we saw the exponential growth, yes.”764

           444.    Plaintiffs’ history of opiate use and abuse and drug policy expert, Dr. Courtwright,

 testified that “supply and exposure were both critical” to past opioid epidemics, where “opiates

 were widely available not only from physicians, but in patent medicines which often contained

 opium and morphine[,]”765 as a result of which “the per capita consumption of medicinal opiates

 in the United States tripled between 1870 and 1890, which was right in the heart of that first

 epidemic.”766

           445.    McKesson’s Vice President of Regulatory Affairs and Compliance, Mr. Boggs,

 testified that “there is a correlation between diversion and – and associated problems with

 diversion[,]” and that he agrees that “the greater the amount of diversion, the greater the likelihood

 of ensuing harm, such as addiction and death.”767




 763
       6/11/21 Trial Tr. (Keyes) at 171.
 764
       6/10/21 Trial Tr. (Smith) at 216.
 765
       5/5/21 Trial Tr. (Courtwright) at 28.
 766
       5/5/21 Trial Tr. (Courtwright) at 29.
 767
       Boggs, 1/17/19 Dep. at 134-35.

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           446.    Defendants’ substance use disorder care systems expert, Stephanie W. Colston,

 testified that “oversupply of prescription opioids is not the causal factor of the opioid epidemic,

 but is only a causal factor.”768

                          a.      Opioid Epidemic Harms—Overdose Deaths

           447.    The Court finds that diversion of the prescription opioid pills Defendants shipped

 to Cabell and Huntington substantially contributed to the sharp increase in opioid overdose deaths

 in the County and City.

           448.    Plaintiffs’ epidemiology and drug overdose expert, Dr. Smith, testified that

 prescription opioid poisoning death was so rare before the year 2000 that he had to rely on West

 Virginia-wide data on drug poisonings as a whole to assess its occurrence: “[T]here were so few

 overdose deaths from opioids that I had to go to the next level of grouping what they do, which

 was all accidental overdoses of which the drug poisonings are part of.”769

           449.    Dr. Smith testified that the pre-2000 data showed that the number of drug-poisoning

 deaths in West Virginia was low and stable between 1979 and 1999, with an average of fewer than

 76 drug-poisoning deaths per year Statewide: “This broad category which I showed earlier includes

 the drug poisoning and includes specifically opioid overdoses was very relatively flat until 2000.

 And then, as you can see here, the numbers just – the rates increased very dramatically.”770

           450.    In 2001, the first year for which Dr. Smith was able to obtain drug-specific

 poisoning death data for Cabell County, this data showed that there were 16 drug-poisoning deaths

 in Cabell County alone, of which the vast majority—14 of the 16—were opioid related.771


 768
       7/12/21 Trial. Tr. (Colston) at 154.
 769
       6/10 /21Trial Tr. (Smith) at 118, 125-26.
 770
       6/10/21 Trial Tr. (Smith) at 128-30.
 771
       6/10/21 Trial Tr. (Smith) at 133.

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           451.    For the years from 2001 to 2018, there was a total of 1,002 opioid-related deaths in

 Cabell County, representing almost 90% of all drug-poisoning deaths in the county.772

           452.    While the absolute numbers of opioid-related poisoning deaths in soared in Cabell

 County, so too did the rate of fatal overdoses, which increased from 16.6 to 213.9 per 100,000

 people between 2001 and 2017.773 This represents an increase of almost 1,200%.

           453.    Dr. Smith testified that “there is an ongoing role of prescription opioids as a cause

 of drug overdose mortality in the Cabell and Huntington community” because “there is an increase

 and there is a very continue presence of illicit – of both – of opioids and prescription opioids over

 this period of time.”774

           454.    Dr. Smith also testified that a study of 295 overdose deaths in 2008 in West Virginia

 as a whole showed that pharmaceutical diversion was associated with 186 (63%) of the deaths,

 while another 63 (21.4%) showed evidence of doctor-shopping.775

           455.    Dr. Smith further testified that this study showed that opioid analgesics were taken

 by 275 of the 295 decedents (93.2%), but that less than half of those decedents (122 of 275, or

 44.4%) had ever been prescribed opioids.776

           456.    Dr. Smith thus concluded as follows:

           My conclusion from reading the literature, looking at my own reports and what I
           found, was that there was a very, very conclusive evidence that prescription drugs
           and prescription opioids in particular play – continue to play a very important role
           in the drug overdose deaths in West Virginia.777


 772
       6/10/21 Trial Tr. (Smith) at 134.
 773
       6/10/21 Trial Tr. (Smith) at 139-40.
 774
       6/10/21 Trial Tr. (Smith) at 141.
 775
       6/10/21 Trial Tr. (Smith) at 145-46.
 776
       6/10/21 Trial Tr. (Smith) at 147.
 777
       6/10/21 Trial Tr. (Smith) at 153.

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           457.    Plaintiffs’ epidemiology and OUD expert, Dr. Keyes, also testified based on her

 review of epidemiological literature that “overdose” and “death” were among the harms caused by

 exposure to supplies of prescription opioid pills in Cabell and Huntington,778 “opioid supply and

 oversupply is causally related” and is a “substantial factor” in opioid “overdoses” and “mortality”

 in Cabell and Huntington.779

           458.    West Virginia’s former Bureau of Public Health Commissioner, Dr. Gupta, testified

 by reading from a report he commissioned as Public Health Commissioner that: “The number one

 cause of drug overdose deaths was associated opiates, making West Virginia number one in the

 nation.”780

           459.    Defendant McKesson Corporation succinctly acknowledges this point:           “The

 volume of opioids in the market and diversion is related to opioid deaths, certainly.”781

                          b.      Opioid Epidemic Harms—Opioid Use Disorder

           460.    The Court finds that diversion of the prescription opioid pills Defendants shipped

 to Cabell and Huntington substantially contributed to the sharply increased incidence of Opioid

 Use Disorder in the County and City.

           461.    Plaintiffs’ epidemiology and OUD expert, Dr. Keyes, testified that the consensus

 statement of the Association for Schools of Public Health recognized that the “tremendous

 expansion of the supply of powerful high potency, as well as long acting prescription opioids led




 778
       6/11/21 Trial Tr. (Keyes) at 182.
 779
       6/11/21 Trial Tr. (Keyes) at 217-18.
 780
       5/6/21 Trial Tr. (Gupta) at 149.
 781
       Hartle, 7/31/18 30(b)(6) Dep. at 294.

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 to scaled increases in prescription opioid dependence[,]” and that “Opioid Use Disorder is caused

 by repeated exposure to opioids.”782

           462.    Dr. Keyes then testified as to her own expert opinion as follows:

           I reviewed the literature and compared them to all of the key factors that we look
           at and they all point in one direction and that is that increased exposure to the supply
           of prescription opioids caused harms in Cabell and Huntington[,]783

 and that, among these harms was “Opioid Use Disorder. I would also list diversion and non-

 medical use.”784

           463.    Dr. Keyes explained that various of the Bradford Hill factors for assessing causal

 relationships785 supported her opinion that increased exposure to the supply of prescription opioids

 caused increased incidence of OUD in Cabell and Huntington.

           464.    First, Dr. Keyes testified that there is a “dose-response” relationship between opioid

 supply and exposure on the one hand and development of OUD on the other:

           Duration can be considered a measure of dose because, as the duration goes on,
           you’re exposed to a higher dose. This has been shown repeatedly in the
           epidemiological literature with regard to Opioid Use Disorder, both among people
           who are taking a prescription and among people who are using prescription opioids
           non-medically.786

           465.    She identified a study (Edlund) showing a direct relationship between increased

 dose and duration of opioid use and higher incidence of OUD, including that people taking high-




 782
       6/11/21 Trial Tr. (Keyes) at 171.
 783
       6/11/21 Trial Tr. (Keyes) at 182.
 784
       6/11/21 Trial Tr. (Keyes) at 182.
 785
       6/11/21 Trial. Tr. (Keyes) at 163.
 786
       6/11/21 Trial Tr. (Keyes) at 185.

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 dosage opioids for over 90 days were 122 times more likely to develop OUD, which she described

 as an “extraordinarily strong” association.787

           466.   She identified another study (Ghertner) showing that each increase in the

 distribution of prescription opioids by county was associated with a 4% increase in opioid-related

 hospitalizations.788

           467.   Second, Dr. Keyes testified that the Bradford Hill factor of “temporality” supports

 her opinion that prescription opioid supply caused OUD in Cabell and Huntington: “So for

 temporal relationships what we’re really looking for is people who didn’t have a history of [OUD]

 before they were prescribed opioids, for example . . . . And we want to establish that the cause

 precedes the effect. And that’s well documented in the epidemiological literature.”789

           468.   Third, Dr. Keyes testified that the “strength of association” between prescription

 opioid supply and occurrence of OUD further supports her opinion: “And, generally, I think

 there’s consensus in my field that the strongest risk factor for [OUD] is prescription opioid

 exposure.”790

           469.   Fourth, Dr. Keyes testified that the “biological plausibility” of the causal

 relationship between prescription opioid supply and OUD is reflected in the medical literature.791

           470.   Fifth, and finally, Dr. Keyes testified that the absence of alternative explanations

 for causation of OUD supports her opinion that supply is a substantial contributing factor:

           Certainly one that’s been discussed a lot is economic conditions. . . . And what’s
           been demonstrated in well-done studies . . . [is] that economic conditions really,

 787
       6/11/21 Trial Tr. (Keyes) at 186-89.
 788
       6/11/21 Trial Tr. (Keyes) at 192.
 789
       6/11/21 Trial Tr. (Keyes) at 193.
 790
       6/11/21 Trial Tr. (Keyes) at 194.
 791
       6/11/21 Trial Tr. (Keyes) at 195.

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           when you analyze the data in a rigorous way, play a relatively small role in the
           opioid-related harms that we’ve seen in the United States over the last 15 years.792

           471.   Dr. Keyes further identified 8,252 OUD cases in Cabell and Huntington of which

 she testified that 7,109 of these cases are attributable to prescription opioids.793

           472.   Dr. Keyes thus concluded that “the opioid supply and oversupply is causally related

 to the opioid-related harms” and agreed that this includes “being a substantial factor in [OUD] in

 Huntington/Cabell County.”794

           473.   The testimony of fact witnesses in law enforcement underscores the Court’s finding

 that prescription opioid supply and oversupply caused OUD in Cabell and Huntington.

           474.   The DEA’s former Deputy Assistant Administrator for the Office of Diversion

 Control, Mr. Rannazzisi, testified that when there is a breach of the closed system of controlled

 substances distribution that results in diversion, one of the harms that results is “people becoming

 addicted, people overdosing[.]”795

           475.   Former Huntington Chief of Police, Mr. Holbrook, testified that “the prevalence of

 drugs depends on demand, supply and demand. And there was an outrageously strong appetite,

 demand for drugs in Huntington. And we had an addicted population, unfortunately.”796




 792
       6/11/21 Trial Tr. (Keyes) at 195-96.
 793
       6/14/21 Trial Tr. (Keyes) at 175.
 794
       6/11/21 Trial Tr. (Keyes) at 217-18.
 795
       6/7/21 Trial Tr. (Rannazzisi) at 180-81.
 796
       6/17/21 Trial Tr. (Holbrook) at 196.

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                           c.     Opioid Epidemic Harms—Heroin/Fentanyl Use

           476.    The Court finds that diversion of the prescription opioid pills Defendants shipped

 to Cabell and Huntington substantially contributed to the transition, starting in the early 2010s, of

 opioid-addicted persons in the County and City from using pills to also using heroin and fentanyl.

           477.    Plaintiffs’ neuroscience, addiction, and pain treatment expert, Dr. Corey Waller,

 testified that prescription opioid pills and heroin interact identically with the human brain: “Q.

 Does the brain know the difference between whether or not this is hydrocodone, oxycodone, or

 heroin? A. It has no idea.”797

           478.    This is because each of these drugs causes the brain’s mu-receptor to receive the

 same neurotransmission, so that “the brain doesn’t know what drug you just gave it. It just knows

 the action that it has.”798

           479.    Based on this identical interaction with the brain, Dr. Waller testified that the

 relationship between prescription opioid and heroin use is even stronger than that of a gateway:

           I don’t use a gateway. It’s no different. I mean, for some people it doesn’t – it’s
           no different for them because when they take oxycodone or hydrocodone, for them
           if they have that same change in the brain chemistry, they might as well have taken
           the other. It doesn’t matter. It’s an opioid that binds in the brain disproportionately
           releasing this dopamine and causing the same behavioral phenomenon with this
           need to search for dopamine.799

           480.    Dr. Waller thus concluded based on both his expertise in the science and his

 experience as a clinician that there is a “clear connection” between prescription opioid abuse and

 heroin abuse.800



 797
       5/4/21 Trial Tr. (Waller) at 71.
 798
       5/4/21 Trial Tr. (Waller) at 71-72.
 799
       5/4/21 Trial Tr. (Waller) at 71.
 800
       5/4/21 Trial Tr. (Waller) at 204.

                                                    144
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           481.   Plaintiffs’ epidemiology and OUD expert, Dr. Keyes, likewise testified that “there

 is a causal connection between prescription opioids and heroin.”801

           482.   Dr. Keyes referenced the consensus statement of the Association for Schools of

 Public Health, which states that “the tremendous expansion of the supply of powerful high

 potency, as well as long-acting prescription opioids” led to both “scaled increases in prescription

 opioid dependence” and the “transition of many to illicit opioids, including fentanyl and its analogs

 which have subsequently driven exponential increases in overdoses.”802

           483.   Dr. Keyes testified that substantial epidemiological literature supports her opinion

 that prescription opioid supply and use causes heroin use. This includes a study (Cicero) showing

 that since the expansion of opioid prescribing and distribution in the 1990s, most people (70-80%)

 who have used heroin started with a prescription opioid first.803

           484.   Dr. Keyes further described a study of Veterans Administration data following over

 3,000 U.S. military veterans between the ages of 40 and 60, and finding that those who used

 prescription opioids were more than five times as likely to use heroin.804

           485.   Dr. Keyes also testified as to how the Bradford Hill factors of biological plausibility

 (“They have similar pharmacological properties.”) and temporality (“80 percent of people used

 prescription opioids before they used heroin . . . .”) support her opinion that prescription opioid

 use causes heroin use.805




 801
       6/11/21 Trial Tr. (Keyes) at 169.
 802
       6/11/21 Trial Tr. (Keyes) at 171.
 803
       6/11/21 Trial Tr. (Keyes) at 173-74.
 804
       6/11/21 Trial Tr. (Keyes) at 176-77.
 805
       6/11/21 Trial Tr. (Keyes) at 180, 193.

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           486.    Dr. Keyes thus testified in conclusion that “an increase in the volume of

 prescription opioids causally leads to an increase in heroin use[,]”806 so that Defendants’

 distribution of 80 million prescription opioid pills into Cabell and Huntington is a substantial factor

 in the evolution of the opioid epidemic there from one of prescription use and abuse to one

 intertwined with heroin and fentanyl abuse.807

           487.    Plaintiffs’ epidemiology and drug overdose expert, Dr. Smith, testified that “up

 until 2001, heroin was not much of a problem[,]” but that after there was a “very dramatic rise in

 prescription opioids[,]” we then “really started to see the increase [in heroin] beginning in

 2011.”808

           488.    Plaintiffs’ health economist expert, Dr. Thomas McGuire, testified with reference

 to a White House Council of Economic Advisors statement that prescription opioids “have high

 potential for abuse which can lead users to substitute more lethal opioids without accepted medical

 uses such as heroin or illicitly produced fentanyl.”809

           489.    Plaintiffs’ epidemiology and opioid abatement intervention expert, Dr. Caleb

 Alexander, testified that “prescription opioids and heroin and fentanyl are two sides of the same

 coin. They have the same effects on the body. They produce the same type of physical dependency

 and the same risks of addiction.”810

           490.    Dr. Alexander thus concluded that, “while the [Cabell and Huntington] community

 in the early stages of the epidemic was predominantly flooded with prescription opioids and while



 806
       6/15/21 Trial Tr. (Keyes) at 31.
 807
       6/15/21 Trial Tr. (Keyes) at 27-29.
 808
       6/10/21 Trial Tr. (Smith) at 136.
 809
       6/17/21 Trial Tr. (McGuire) at 75.
 810
       6/28/21 Trial Tr. (Alexander) at 26-27.

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 now heroin and illicit fentanyl have taken on heightened concern, I would characterized the

 epidemic as an opioid epidemic, not one of one particular type of opioid or another.”811

           491.   West Virginia’s former Bureau of Public Health Commissioner, Dr. Gupta, testified

 that his office’s Social Autopsy Report showed overdose victims filling prescriptions 12 months

 before, but not ingesting opioid pills within 30 days of the overdose, meaning “they quit filling

 prescriptions . . . . They died of heroin and fentanyl. That is a very clear pathway from prescription

 drugs to fentanyl and heroin.”812

           492.   An HIV Epidemiologic Profile of West Virginia commissioned by Dr. Gupta

 likewise concludes that: “The abuse of prescription medication has been a serious issue in the

 State for a while. But now, users are turning to cheaper and more potent opioids – heroin and

 fentanyl. Nationwide, among hew heroin users, 75% report having abused prescription opioids

 before using heroin.”813

           493.   Scott Lemley of the City of Huntington Mayor’s Office of Drug Control Policy

 testified that his Office’s community engagement showed that people “started out on a prescription

 pill and then they moved over to heroin because that was what they could get, that’s what they

 could find, that’s what was affordable to them because eventually [pills] became more scarce.”814

           494.   Former Huntington Chief of Police, Mr. Holbrook, testified that with respect to the

 opioids, we, we knew that as prices would go up . . . that folks would not be able to pay that and




 811
       6/28/21 Trial Tr. (Alexander) at 27.
 812
       5/5/21 Trial Tr. (Gupta) at 168-69.
 813
       P-41901_00051 (HIV Epidemiologic Profile West Virginia).
 814
       5/21/21 Trial Tr. (Lemley) at 142.

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 they would turn to cheaper alternatives. And there was great risk with some of those cheaper

 alternatives, heroin being one of them.”815

           495.   The Huntington Police Department’s 2012 Threat Assessment and Drug Strategy,

 commissioned by Chief Holbrook, similarly concluded that:

           Heroin has also become an emerging threat to our community due to the availability
           and affordability of the drug. Many people who have developed opiate addictions
           due to abuse of prescription medication turn to heroin due to the lower price: $30-
           80 for a prescription pill compared to $20-25 for a dosage unit of heroin.816

           496.   Appalachia HIDTA likewise provided testimony that “availability[] is the main

 driving factor in switching to heroin. Once the availability of the opioids became less prevalent

 due to price and availability, many of those users switched over to heroin and fentanyl and other

 derivatives of synthetic opioids.”817

           497.   Defendant ABDC’s Senior Vice President of Diversion Control, David May,

 testified that when a person is cut off from prescribed opioids, he can “on his own go out into the

 streets and find a substitute for those drugs that he was taking[,]” so that “ in the realm of

 possibilities, yes, that can – that can absolutely happen.”818

           498.   ABDC’s Senior Vice President of Corporate Security and Regulatory Affairs, Mr.

 Zimmerman, testified that “I’ve heard OxyContin referred to as hillbilly heroin, yes.”819




 815
       6/17/21 Trial Tr. (Holbrook) at 219.
 816
       P-41374 (2012 HPD Threat Assessment and Drug Strategy).
 817
       Brown, 5/17/20 30(b)(6) Dep. at 273.
 818
       5/14/21 Trial Tr. (May) at 30-31.
 819
       5/13/21 Trial Tr. (Zimmerman) at 88-89.

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           499.    McKesson’s former Vice President of Regulatory Affairs and Compliance, Mr.

 Hartle, testified that he agreed that “narcotic painkiller abuse, opioid abuse, [can be] a gateway to

 heroin use.”820

           500.    Defendants’ pain management and prescription opioids risks and benefits expert,

 Dr. Christopher Gilligan, testified that he does not dispute studies finding “an overall association

 of both non-medical and medical use of opioid analgesics with transition to heroin use with

 particular concerns about early non-medical use.”821

           501.    Dr. Gilligan further testified that:

           I think if there are a large number of medications prescribed in any area, there will
           be some of them that will be diverted, misused, abused. And so, that there would
           be . . . some instances where that would lead to someone initiating heroin. I think
           that would be statistically likely in any area with a large number of opioid pain
           medications that were prescribed.822

           502.    Dr. Gilligan thus concluded that “there’s a direct relationship that includes the

 misuse and abuse of prescription opioids, along with many other predisposing factors, that then

 does relate to initiation of heroin.”823

           503.    Defendants’ health economics expert, Dr. Kevin Murphy, testified with respect to

 the relationship between non-medical use of prescription opioids and later use of heroin that “if

 you focus on abuse of prescription opioids and abuse of heroin, they’re probably closer to

 substitutes . . . like Coke or Pepsi.”824




 820
       Hartle, 8/1/18 Dep. at 37.
 821
       7/2/21 Trial Tr. (Gilligan) at 156.
 822
       7/2/21Trial Tr. (Gilligan) at 159.
 823
       7/2/21 Trial Tr. (Gilligan) at 161-62.
 824
       7/8/21 Trial Tr. (Murphy) at 147.

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           504.    The evidence thus strongly demonstrates that diversion of the prescription opioid

 pills Defendants shipped to Cabell and Huntington substantially contributed to the transition,

 starting in the early 2010s, of opioid-addicted persons in the County and City from using pills to

 also using heroin and fentanyl.

                          d.      Opioid Epidemic Harms—Infectious Diseases

           505.    The Court finds that diversion of the prescription opioid pills Defendants shipped

 to Cabell and Huntington substantially contributed to an increased rate of infectious diseases,

 including HIV, Hepatitis B and C, and Endocarditis, in the County and City.

           506.    Plaintiffs’ infectious diseases expert, Dr. Judith Feinberg, testified as to how and

 why the opioid epidemic’s increase in injection drug use has been accompanied by increases in

 infectious diseases in Cabell and Huntington and elsewhere:

           [T]he vast majority of the infections that people get who are injecting opioids are
           blood-borne infections. You are injecting material that isn’t sterile and that has
           been prepared in unsterile equipment and injected, you know, if it’s a shared syringe
           with no an unsterile syringe through skin that is typically not clean.

           So you’ve got the opportunity to directly introduce organisms into the blood. And,
           of course, then it’s easy for them to get anywhere in the body.

           . . . [T]he infections that cause the greatest morbidity and mortality are the ones
           that enter the blood.825

           507.    Dr. Feinberg testified with respect to HIV that “for people who inject drugs, every

 time you inject, there’s a 1 in 160 chance of acquiring HIV[,]” and that “the more times you inject,

 . . . that risk accumulates.”826 This makes injection drug use the second most common way to

 contract HIV.827


 825
       6/17/21 Trial Tr. (Feinberg) at 112.
 826
       6/17/21 Trial Tr. (Feinberg) at 115.
 827
       6/17/21 Trial Tr. (Feinberg) at 115.

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           508.    This causal relationship is borne out by data from Cabell County, which shows that

 there were 69 new HIV cases in 2019, of which 90% were among people who inject drugs.828

           509.    Dr. Feinberg testified that Hepatitis C is even more contagious than HIV, with

 approximately 40% of injection drug users contracting Hepatitis C in their first year of use.829

           510.    As a result, West Virginia has for the past two decades been among the top two or

 three states for rate of Hepatitis C infection,830 while the rate of Hepatitis C infection in Cabell

 County is far higher still, reaching a rate of 10.3 cases per 100,000 people, which was more than

 double the already-high Statewide rate of infection (5.1 per 100,000).831

           511.    Dr. Feinberg testified that Hepatitis B, too, is highly associated with injection drug

 use and that, as a result, West Virginia has had the highest Hepatitis B rates in the United States

 for over a decade.832

           512.    At present, the incidence of Hepatitis B in West Virginia is 14 times the national

 average,833 while here again Cabell County has among the highest rates of Hepatitis B infections

 among West Virginia’s counties, measuring 17 cases per 100,000 people in 2016.834

           513.    Dr. Feinberg testified that Endocarditis is most commonly caused by bacteria

 injected through the skin,835 and that, although it is not actively surveilled, a recent study across

 four West Virginia hospitals that included two in Cabell and Huntington showed that a significant


 828
       6/17/21 Trial Tr. (Feinberg) at 117.
 829
       6/17/21 Trial Tr. (Feinberg) at 128.
 830
       6/17/21 Trial Tr. (Feinberg) at 129.
 831
       6/17/21 Trial Tr. (Feinberg) at 130.
 832
       6/17/21 Trial Tr. (Feinberg) at 135-36.
 833
       6/17/21 Trial Tr. (Feinberg) at 136.
 834
       6/17/21 Trial Tr. (Feinberg) at 136.
 835
       6/17/21 Trial Tr. (Feinberg) at 140.

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 proportion of the 762 Endocarditis cases observed are in people in or near Cabell and

 Huntington.836

           514.    Dr. Feinberg thus concluded that “[t]here’s no question in my mind” that the public

 health crises of bloodborne disease and of opioid use in Cabell County are related.837

           515.    Plaintiffs’ epidemiology and OUD expert, Dr. Keyes, likewise concluded that

 exposure or supply of prescription opioids has a positive causal association with bloodborne

 diseases, including HIV, Hepatitis, and Endocarditis.838

                          e.      Opioid Epidemic Harms—Child and Family Disruption
                                  and Separation

           516.    The Court finds that diversion of the prescription opioid pills Defendants shipped

 to Cabell and Huntington substantially contributed to the severe disruption of family and child

 welfare, including separation of children from their families, and the intergenerational

 transmission of OUD.

           517.    Plaintiffs’ expert on the impact of opioids on children and families, Dr. Nancy

 Young, testified that the number of children placed into the child welfare system in the United

 States and West Virginia has been increasing since 2012 and that 80% of placements in West

 Virginia are related to substance abuse, the overwhelming number of which involve opioids.839

           518.    The opioid epidemic also has increased the percentage of children being placed

 with strangers rather than other family members, which is more likely to be trauma-inducing for




 836
       6/17/21 Trial Tr. (Feinberg) at 144.
 837
       6/17/21 Trial Tr. (Feinberg) at 159.
 838
       6/11/21 Trial Tr. (Keyes) at 183-84, 217-18.
 839
       6/16/21 Trial Tr. (Young) at 19-20, 33.

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 the children and to increase their own risk of developing OUD or suffering other adverse

 developmental effects.840

           519.    Dr. Young also testified that in Cabell and Huntington, data showed that at least

 612 pregnant women have been admitted for treatment with OUD for prescription opioids,841

 where prenatal exposure increases the risk of distress, developmental delays, lower IQ,

 neuropsychiatric hospitalizations, lower educational attainment and need for special education

 services.842

           520.    Plaintiffs’ epidemiology and OUD expert, Dr. Keyes, testified that the increased

 exposure to and supply of prescription opioids in the community has a positive causal association

 with child health harms, including development of Neonatal Abstinence Syndrome (“NAS”).843

           521.    Plaintiffs’ epidemiology and opioid abatement remedies expert, Dr. Alexander,

 testified that opioid addiction gets passed down “from grandparent to parent to child and so on,”

 so that the opioid epidemic has created a need to “disrupt the cycle, the intergenerational

 perpetuation cycle of addiction[.]”844

           522.    Dr. Joseph Werthammer, a neonatologist at Cabell and Huntington Hospital’s

 Neonatal Intensive Care Unit (“NICU”), testified that in 2012, approximately one-third of the

 NICU’s patients were babies withdrawing from opioids,845 and that Cabell and Huntington was




 840
       6/16 /21Trial Tr. (Young) at 22, 41.42, 46, 58-59.
 841
       6/16/21 Trial Tr. (Young) at 34.
 842
       6/16/21 Trial Tr. (Young) at 62.
 843
       6/14/21 Trial Tr. (Keyes) at 12.
 844
       6/28/21 Trial Tr. (Alexander) at 49-50.
 845
       5/21/21 Trial Tr. (Werthammer) at 14.

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 among the first hospitals to have a Neonatal Therapeutic Unit (“NTU”) because of its high number

 of NAS patients.846

           523.    Dr. Werthammer further testified that West Virginia has the highest NAS rate of

 any state (5%), nearly doubling the next highest, and that the rate in Huntington at his hospital

 (10%) is double the rate of West Virginia as a whole.847

                   4.      Defendants’ Concurrent Contribution with Then-Prevailing
                           Opioid Prescribing Standards to the Opioid Epidemic Harms in
                           Cabell and Huntington

           524.    The Court finds that Defendants shipped tens of millions of opioid pills to Cabell

 County, the City of Huntington, and the surrounding region that were not prescribed in accordance

 with the standard of care, and instead were likely to be diverted to illicit, non-medical use, and that

 Defendants’ systematic failures to maintain adequate and effective controls against diversion thus

 substantially contributed to these shipments and the resulting opioid epidemic harms in Cabell and

 Huntington.

                           a.     Defendants’ Shipments for Outlier Prescribers in Cabell
                                  and Huntington

           525.    Plaintiffs’ data analytics expert, Ms. Lacey Keller, examined “outlier” opioid

 prescribing in Cabell and Huntington, which she defined as “something outside of the norm,

 something well above average, sometimes it’s very visually – you’re able to see it visually because

 the outlier is so extreme.”848




 846
       5/21/21 Trial Tr. (Werthammer) at 15.
 847
       5/21/21 Trial Tr. (Werthammer) at 16-17.
 848
       6/15/21 Trial Tr. (Keller) at 60-61.

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           526.    Ms. Keller further testified that Defendants “had access to or had in their possession

 [pharmacy] dispensing data that would allow them to identify outlier prescribers” in Cabell and

 Huntington.849

           527.    Among these outlier prescribers Ms. Keller identified was Dr. Deleno Webb of

 Huntington.      Dr. Webb issued over 128,000 opioid prescriptions between 1997 and 2017,

 prescribing 14,431,799 opioid dosage units by himself.850

           528.    Dr. Webb was the largest opioid prescriber in Cabell County as measured both by

 opioid dosage units and morphine milligram equivalents (“MME’s”).851

           529.    Dr. Webb “was not only among the top 1 percent [of opioid prescribers] in Cabell

 County, but he was among the top .02 percent nationally.”852

           530.    Dr. Webb’s 14 million-plus prescribed opioid dosage units over this 20-year period

 would represent more than 10% of the total opioid dosage units that were shipped to Cabell County

 as a whole during the shorter ARCOS data period of 2006 to 2014 (127,902,911 opioid dosage

 units).853

           531.    In 2005, the West Virginia Workers’ Compensation Commission banned Dr. Webb

 from receiving payment for treating injured workers based on claims that he was prescribing

 OxyContin without conducting physical examinations.854




 849
       6/15/21 Trial Tr. (Keller) at 67.
 850
       6/15/21 Trial Tr. (Keller) at 117.
 851
       6/15/21 Trial Tr. (Keller) at 117.
 852
       6/15/21 Trial Tr. (Keller) at 66.
 853
       5/10/21 Trial Tr. (McCann) at 65.
 854
       6/15/21 Trial Tr. (Keller) at 123.

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           532.    Dr. Webb nonetheless was able to continue to get prescriptions filled and, by 2011,

 was prescribing 1.1 million opioid dosage units annually, which Ms. Keller testified is “the

 equivalent of prescribing more than 130 pills for every hour of every day.”855

           533.    Over 70% (or 10 million) of the prescription opioid dosage units written by Dr.

 Webb were filled at the Drug Emporium pharmacy store in Barboursville.856

           534.    Defendant ABDC was a primary distributor for Drug Emporium, supplying it with

 large quantities of oxycodone and hydrocodone.857

           535.    Other of Dr. Webb’s opioid prescriptions were filled by a Medicine Shoppe

 pharmacy store.858

           536.    For the month of February 2012, Dr. Webb was far and away the Medicine Shoppe

 store’s largest oxycodone prescriber, prescribing more than half (313 of 582) of the store’s

 oxycodone prescriptions, and more than double the number of prescriptions of the store’s next

 largest prescriber (119).859

           537.    Defendant Cardinal Health was the primary distributor for Medicine Shoppe,

 supplying it with large quantities of oxycodone and hydrocodone.860




 855
       6/15/21 Trial Tr. (Keller) at 130.
 856
       6/15/21 Trial Tr. (Keller) at 130.
 857
       5/10/21 Trial Tr. (McCann) at 121 124, 150.
 858
       6/15/21 Trial Tr. (Keller) at 76-77. 192-93.
 859
       6/15/21 Trial Tr. (Keller) at 77, 189.
 860
       5/10/21 Trial Tr. (McCann) at 133, 135, 138, 149.

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           538.    Dr. Webb’s prescribing ended in 2017, when he voluntarily surrendered his

 physician’s license following a West Virginia Board of Medicine investigation into claims that he

 commonly treated patients with excessive dosages of opioids and benzodiazepines.861

           539.    Another outlier prescriber Ms. Keller identified was Dr. Philip Fisher, who

 prescribed 10 million opioid dosage units and 268 million MME’s between 1997 and 2012.862

           540.    This made Dr. Fisher Cabell County’s second largest opioid prescriber, just behind

 Dr. Webb, and placed him in the top .03 percent of opioid prescribers nationwide.863

           541.    Dr. Fisher’s prescriptions were filled by, inter alia, SafeScript Pharmacy in

 Huntington, which was supplied by Defendant ABDC.864

           542.    Dr. Fisher’s prescribing stopped in 2012 because his license was suspended when

 he was under investigation for using pre-signed prescription forms, improperly delegating

 authorization of prescription refills, failing to document treatment, and prescribing that was related

 to at least seven patient deaths.865

           543.    This evidence based just on Dr. Webb and Dr. Fisher and the 24 million-plus opioid

 dosage units they prescribed in Cabell County before losing their licenses undercuts Defendants’

 contention that the opioid epidemic was fueled solely or overwhelmingly by good faith prescribing

 within the prevailing standard of care.




 861
       6/15/21 Trial Tr. (Keller) at 123.
 862
       6/15/21 Trial Tr. (Keller) at 117-18.
 863
       6/15/21 Trial Tr. (Keller) at 117-18; id. at 66.
 864
    5/19/21 Trial Tr. (Perry) at 131; P-16651 (7/29/2011 email from Perry to Hazewski re:
 Threshold Limits at Safescript Rx); 5/10 Trial Tr. (McCann) at 116, 119 describing ABDC’s
 oxycodone shipments to SafeScript, which were far in excess of ABDC’s national, state, and local
 average pharmacy order volumes).
 865
       6/15/21 Trial Tr. (Keller) at 117, 134-36.

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           544.    The foregoing evidence is consistent with Mr. Rannazzisi’s testimony that the DEA

 believes that:

           [E]ven just one physician who uses his/her DEA registration for criminal purposes
           can cause enormous harm. In the words of one commenter: ‘It takes only a few
           untrained or unscrupulous physicians to create a large – large pockets of addicts.866

           545.    Ms. Keller’s testimony shows that this is what happened in Cabell and Huntington,

 where available prescribing data showed that the “top 1 percent of prescribers, around 5 to 9

 [prescribers], prescribed upwards of over 40 percent of dosage units and 60 percent of MME’s in

 a given year.”867

           546.    This prescribing by just five to nine doctors per year resulted in the shipment of

 over 80 million opioid dosage units and 1.6 billion MME’s into Cabell and Huntington.868

           547.    Defendants’ role in facilitating this voluminous opioid-prescribing outside of the

 prevailing standard of care makes their conduct a substantial contributing factor to the opioid

 epidemic in Cabell and Huntington.

                           b.      Defendants’ Shipments to Outlier Pharmacies in and
                                   around Cabell and Huntington

           548.    Plaintiffs’ data processing expert, Dr. Craig McCann, performed a similar and more

 extensive analysis of Defendants’ opioid shipments to pharmacies in Cabell County, the City of

 Huntington, and the surrounding region. The data he analyzes shows much the same—that

 Defendants’ shipments do not solely or overwhelmingly reflect good faith prescribing pursuant to

 the standard of care, but rather that all three Defendants shipped quantities of oxycodone and




 866
       6/10/21 Trial Tr. (Rannazzisi) at 84-85.
 867
       6/15/21 Trial Tr. (Keller) at 61.
 868
       6/15/21 Trial Tr. (Keller) at 61.

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 hydrocodone to pharmacies in and near Cabell and Huntington that vastly exceeded their national,

 state, and local per-pharmacy shipment averages.

           549.   Defendant ABDC made per-pharmacy monthly oxycodone shipments averaging

 5,036 dosage units nationally, 8,229 dosage units in West Virginia, and 10,743 dosage units in

 Cabell and Huntington.869

           550.   Yet ABDC’s oxycodone shipments to the SafeScript pharmacy store in Huntington

 averaged 35,551 dosage units per month,870 which is over seven times ABDC’s national average,

 four times its West Virginia average, and three times its Cabell and Huntington average, and

 represents an excess of over 360,000 oxycodone dosage units per year that ABDC shipped into

 Cabell and Huntington. From January 2006 through February 2012, ABDC shipped SafeScript

 3,888,340 doses of oxycodone and hydrocodone, or nearly 80 doses per person.871

           551.   Similarly, ABDC’s oxycodone shipments to the McCloud Family Pharmacy in

 Huntington averaged 18,028 dosage units per month,872 which is over 3.5 times ABDC’s national

 average, double its West Virginia average, and almost double its Cabell and Huntington average,

 and represents an excess of over 150,000 oxycodone dosage units per year that ABDC shipped

 into Cabell and Huntington.

           552.   For three other West Virginia pharmacy stores outside Cabell County—Fritz’s

 Pharmacy and Wellness; Bypass Pharmacy; and Four Season Pharmacy—ABDC’s shipments of




 869
       5/10/21 Trial Tr. (McCann) at 116.
 870
       5/10/21 Trial Tr. (McCann) at 116.
 871
    P-44711_00044 (2006-2018 Opioid Shipments to Cabell County); P-43225_00001-6 (2006-
 2014 ABDC, Cardinal, and McKesson Oxycodone and Hydrocodone Shipments to Cabell County)
 & ECF No. 1433-7 at p. 28.
 872
       5/10/21 Trial Tr. (McCann) at 120.

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 oxycodone averaged 36,325, 41,735, and 31, 430 dosage units per month respectively,873 which

 ranges from over six to over eight times ABDC’s national average and three to four times it West

 Virginia average, and represents an excess of almost 95,000 oxycodone dosage units monthly and

 over 1,100,000 oxycodone dosage units per year that ABDC shipped into West Virginia, where

 the evidence demonstrates that diversion crosses state, county, and municipal boundaries.

           553.   ABDC also made per-pharmacy monthly hydrocodone shipments averaging 7,457

 dosage units nationally, 14,448 dosage units in West Virginia, and 16,530 dosage units in Cabell

 and Huntington.874

           554.   Yet ABDC’s hydrocodone shipments to Fruth Pharmacy #12 in Huntington

 averaged 46,285 dosage units per month,875 which is over six times ABDC’s national average,

 three times its West Virginia average, and well more than double its Cabell and Huntington average

 and represents an excess of over 460,000 hydrocodone dosage units per year that ABDC shipped

 into Cabell and Huntington.

           555.   Similarly, ABDC’s hydrocodone shipments to Fruth Pharmacy #5 in Milton

 averaged 35,218 dosage units per month,876 which is almost five times ABDC’s national average,

 and more than double both its West Virginia and its Cabell and Huntington averages and represents

 an excess of over 330,000 hydrocodone dosage units per year that ABDC shipped into a Cabell

 County town of approximately 2,000 people.

           556.   For three other West Virginia pharmacy stores outside Cabell County—Fruth #1 in

 Mason County; Chapman Pharmacy; and Larry’s Drive-In Pharmacy in Boon County—ABDC’s


 873
       5/10/21 Trial Tr. (McCann) at 122.
 874
       5/10/21 Trial Tr. (McCann) at 124.
 875
       5/10/21 Trial Tr. (McCann) at 124.
 876
       5/10/21 Trial Tr. (McCann) at 124.

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 shipments of hydrocodone averaged 70,481, 58,268, and 67,457 dosage units per month

 respectively,877 which ranges from almost eight to over nine times ABDC’s national average and

 over four to almost five times its West Virginia average, and represents an excess of over 160,000

 hydrocodone dosage units monthly and almost 2,000,000 hydrocodone dosage units per year that

 ABDC shipped into West Virginia, where the evidence demonstrates that diversion crosses state,

 county, and municipal boundaries.

           557.   Defendant Cardinal Health made per-pharmacy monthly oxycodone shipments

 averaging 4,975 dosage units nationally, 5,460 dosage units in West Virginia, and 6,989 dosage

 units in Cabell and Huntington.878

           558.   Yet Cardinal’s oxycodone shipments to the Medicine Shoppe pharmacy store in

 Huntington averaged 18,644 dosage units per month,879 which is over three times Cardinal’s

 national and West Virginia averages and well over double its Cabell and Huntington average, and

 represents an excess of over 150,000 oxycodone dosage units per year that Cardinal shipped into

 Cabell and Huntington. Between January 2006 and December 2014, Cardinal sold and shipped

 2,013,500 dosage units of oxycodone to the Medicine Shoppe in Cabell and Huntington – about

 41 doses for every man, woman, and child in the city – from a single pharmacy.880

           559.   Similarly, Cardinal’s oxycodone shipments to a CVS pharmacy store in Huntington

 averaged 14,292 dosage units per month,881 which is almost three times Cardinal’s national and




 877
       5/10/21 Trial Tr. (McCann) at 125-28.
 878
       5/10/21 Trial Tr. (McCann) at 132.
 879
       5/10/21 Trial Tr. (McCann) at 133.
 880
    P-43225_00007 (2006-2014 ABDC, Cardinal, and McKesson Oxycodone and Hydrocodone
 Shipments to Cabell County) .
 881
       5/10/21 Trial Tr. (McCann) at 134.

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 West Virginia averages and more than double its Cabell and Huntington average and represents

 an excess of over 100,000 oxycodone dosage units per year that Cardinal shipped into Cabell and

 Huntington.

           560.   For Fruth #1 Pharmacy in Mason County, Cardinal’s oxycodone shipments

 averaged 17,763 dosage units per month,882 which is over three times Cardinal’s national and West

 Virginia averages and more than double its Cabell and Huntington average and represents an

 excess of over 145,000 oxycodone dosage units per year that Cardinal shipped into the county

 neighboring Cabell and Huntington, where the evidence demonstrates that diversion crosses state,

 county, and municipal boundaries.

           561.   Cardinal also made per-pharmacy monthly hydrocodone shipments averaging

 3,014 nationally, 7,005 dosage units in West Virginia, and 6,389 dosage units in Cabell and

 Huntington.883

           562.   Yet Cardinal’s hydrocodone shipments to Fruth Pharmacy #12 in Huntington

 averaged 29,155 dosage units per month,884 which is over nine times Cardinal’s national average

 and over four times its West Virginia and Cardinal/Huntington averages and represents an excess

 of over 300,000 hydrocodone dosage units per year that Cardinal shipped into Cabell and

 Huntington.

           563.   For three other West Virginia pharmacy stores outside Cabell County—Family

 Discount; Fruth #1; and Hurley Drug—Cardinal’s shipments of hydrocodone averaged 75,447,

 55,391, and 39,092 dosage units per month respectively,885 which ranges from 13 to 25 times


 882
       5/10/21 Trial Tr. (McCann) at 136.
 883
       5/10/21 Trial Tr. (McCann) at 137.
 884
       5/10/21 Trial Tr. (McCann) at 137.
 885
       5/10/21 Trial Tr. (McCann) at 138.

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 Cardinal’s national average and five to eleven times its West Virginia and Cabell and Huntington

 averages, and represents an excess of over 160,000 hydrocodone dosage units monthly and almost

 2,000,000 hydrocodone dosage units per year that Cardinal shipped into the region surrounding

 Cabell and Huntington, where the evidence demonstrates that diversion crosses state, county, and

 municipal boundaries.

           564.   Defendant McKesson Corporation made per-pharmacy monthly oxycodone

 shipments averaging 4,294 dosage units nationally, 4,559 dosage units in West Virginia, and 4,467

 dosage units in Cabell and Huntington.886

           565.   Yet McKesson’s oxycodone shipments to the Rite Aid #968 pharmacy store in

 Huntington averaged 7,552 dosage units per month,887 which is over 1.5 times McKesson’s

 national, West Virginia, and Cabell and Huntington averages, and represents an excess of almost

 40,000 oxycodone dosage units per year that McKesson shipped into Cabell and Huntington.

           566.   For three other West Virginia pharmacy stores outside Cabell County—Crab

 Orchard Pharmacy; Colony Drug; and Meds 2 Go—McKesson’s shipments of oxycodone

 averaged 25,002, 32,600, and 22,589 dosage units per month respectively,888 which ranges from

 five to seven times McKesson’s national, West Virginia, and Cabell and Huntington averages, and

 represents an excess of over 67,000 oxycodone dosage units monthly and over 800,000 oxycodone

 dosage units per year that McKesson shipped into West Virginia, where the evidence demonstrates

 that diversion crosses state, county, and municipal boundaries.




 886
       5/10/21 Trial Tr. (McCann) at 140.
 887
       5/10/21 Trial Tr. (McCann) at 141.
 888
       5/10/21 Trial Tr. (McCann) at 141-42.

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           567.   Defendant McKesson Corporation made per-pharmacy monthly hydrocodone

 shipments averaging 4,086 dosage units nationally, 4,582 dosage units in West Virginia, and 2,102

 dosage units in Cabell and Huntington.889

           568.   Yet McKesson’s hydrocodone shipments to three West Virginia pharmacy stores

 outside Cabell County—Four Seasons; Larry’s Drive-In; and Man Pharmacy—averaged 59,246,

 43,068, and 40,517 dosage units per month respectively,890 which ranges from 8 to 28 times

 McKesson’s national, West Virginia, and Cabell and Huntington averages, and represents an

 excess of over 130,000 hydrocodone dosage units monthly and over 1,500,000 hydrocodone

 dosage units per year that McKesson shipped into West Virginia, where the evidence demonstrates

 that diversion crosses state, county, and municipal boundaries.

           569.   Two other southern West Virginia pharmacy stores to which McKesson distributed

 tell an even more shocking story.

           570.   From 2006 to 2014, McKesson shipped 5,818,020 hydrocodone and oxycodone

 pills, the vast majority of which was hydrocodone, to Family Discount Pharmacy in Mt. Shamrock,

 West Virginia, which had a population of just 1,700 people.891

           571.   McKesson’s hydrocodone shipments to Family Discount Pharmacy averaged

 197,341 dosage units per month,892 which is almost 50 times McKesson’s national average, and

 represents an excess of over 193,000 hydrocodone dosage units monthly and over 2,300,000

 hydrocodone dosage units per year that McKesson shipped into this town of just 1,700 people in




 889
       5/10/21 Trial Tr. (McCann) at 143.
 890
       5/10/21 Trial Tr. (McCann) at 144.
 891
       Hartle, 8/1/18 Dep. at 472.
 892
       5/10/21 Trial Tr. (McCann) at 144.

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 Southern West Virginia, where the evidence demonstrates that diversion crosses state, county, and

 municipal boundaries.

           572.   In 2006 and 2007, McKesson shipped 4,836,310 hydrocodone pills and 119,400

 oxycodone pills to Sav-Rite Pharmacy in Kermit, West Virginia, which had a population of just

 406 people.893

           573.   McKesson’s hydrocodone shipments to Sav-Rite Pharmacy averaged at least

 201,000 dosage units per month, which is almost 50 times McKesson’s national average, and

 represents an excess of over 197,000 hydrocodone dosage units monthly and over 2,350,00

 hydrocodone dosage units per year that McKesson shipped into this town of just 406 people in

 Southern West Virginia, where the evidence demonstrates that diversion crosses state, county, and

 municipal boundaries.

           574.   The DEA agreed with respect to these shipments that there is no conceivable

 medical need for a town of 400 people to receive almost 5,000,000 opioid pills in two years.894

           575.   The evidence thus strongly demonstrates that Defendants shipped tens of millions

 of highly addictive opioid pills to Cabell County, the City of Huntington, and the surrounding

 region that were not prescribed in accordance with the standard of care, but instead were likely to

 be diverted to illicit, non-medical use.

           576.   While Defendants have contended that most diversion of controlled substances

 takes the form of “medicine cabinet” diversion involving family or acquaintances for which

 Defendants bear no responsibility,895 the Court rejects this contention.




 893
       Hartle, 8/1/18 Dep. at 450-55.
 894
       Prevoznik, 4/18/19 30(b)(6) Dep. at 605-07.
 895
       See, e.g., ECF 1440-1 (Rule 52(c) Mtn. Memo of Law on Proximate Causation) at 24.

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           577.   DEA investigations show that commercially based diversion involves far larger

 quantities of controlled substances than does the “medicine cabinet” diversion Defendants

 describe. As Mr. Rannazzisi read into the record, “DEA investigations clearly reveal that

 individuals illicitly ordering via the internet frequently receive 100 to 120 pills at a time. Thus,

 those who receive their drugs via rogue internet pharmacies are netting more pills than they would

 from friends or the family medicine cabinets.”896

           578.    The Court further finds that where “medicine cabinet” diversion has occurred

 involving any of the millions of pills from flagged orders that Defendants shipped to Cabell and

 Huntington without performing adequate due diligence,897 Defendants do bear responsibility for

 that diversion because it would not have occurred had they complied with their duties.

           579.   The Court therefore finds that Defendants’ systematic failures to maintain adequate

 and effective controls against diversion substantially contributed to these shipments and to the

 resulting opioid epidemic harms in Cabell and Huntington.

           B.     The Opioid Epidemic Harms Were Reasonably Foreseeable to, and
                  Foreseen by, Defendants.

           580.   The Court finds that the opioid epidemic public health and safety harms afflicting

 Cabell and Huntington were reasonably foreseeable to, and foreseen by, Defendants when they

 engaged in the diversion control failure conduct found and set forth herein.

           581.   The evidence before this Court abundantly demonstrates that the addiction-related

 public health harms of the opioid epidemic were reasonably foreseeable to, and foreseen by,

 Defendants.




 896
       6/8/21 Trial Tr. (Rannazzisi) at 190-91.
 897
       See supra, ¶¶ 369-70.

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                   1.     Foreseeability of Diversion

           582.    The DEA testified that it agrees with the statements that “diversion is foreseeable

 if registrants fail to comply with federal law[,]” and that “failure to comply with federal law

 enables more diversion.”898

           583.    The DEA further testified that “DEA is of the opinion that increases in availability

 could have the unintended consequence of increasing diversion and abuse.”899

           584.    Mr. Rannazzisi, testified that “[y]our Suspicious Order Monitoring Program is your

 tool” to prevent diversion.900

           585.    Plaintiffs’ expert in the history of opiate use and abuse and drug policy, Dr.

 Courtwright, testified that the purpose of federal drug control laws “was to make sure that all

 narcotic transactions were confined to legitimate medical channels,” and that there was “no way

 you could possibly accomplish that without supervising the whole chain from importation all the

 way down to pharmacist and the physician.”901

           586.    Defendant McKesson Corporation testified that, “[u]sing common sense and basic

 logic, you could assume the more pills that are out there, the more potential for diversion there

 could be[,]” and agreed that “one of the foreseeable harms of engaging in unlawful conduct in the

 distribution of prescription opioids is diversion.”902




 898
       Prevoznik, 4/18/19 30(b)(6) Dep. at 642.
 899
       Strait, 5/31/19 30(b)(6) Dep. at 34-35.
 900
       6/7/21 Trial Tr. (Rannazzisi) at 180.
 901
       5/5/21 Trial Tr. (Courtwright) at 34.
 902
       Hartle, 7/31/18 30(b)(6) Dep. at 268, 364.

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           587.    McKesson’s former Vice President of Regulatory Affairs and Compliance, Mr.

 Hartle, testified in his personal capacity that it is “fairly common sense” that “without sustained

 sources of supply, major diversion schemes wither away.”).903

           588.    Defendant Cardinal Health’s former Vice President of Quality and Regulatory

 Affairs, Steve Reardon, testified that he agrees that “when we’re talking about suspicious orders,

 what we’re trying to do is prevent diversion.”904

           589.    Defendant ABDC’s Director of Diversion Control and Security, Mr. Hazewski,

 testified that “based on information from the DEA and other industry sources, Oxycodone was a

 high risk for potential diversion[,]” and also that “[i]t was generally discussed information in the

 industry” that “people would travel to places like Florida and bring pills back into other areas like

 West Virginia[.]”.905

           590.    Defendants’ pain management and prescription opioids risks and benefits expert,

 Dr. Gilligan, testified that “if there are a large number of medications prescribed in any area, there

 will be some of them that will be diverted, misused, abused.”906

                   2.      Foreseeability of Opioid Epidemic Harms from Diversion and
                           Oversupply

           591.    The DEA’s former Deputy Assistant Administrator for the Office of Diversion

 Control, Mr. Rannazzisi testified that when the closed system of controlled substances distribution

 is breached and diversion occurs, the result is:


 903
       Hartle, 8/1/18 Dep. at 84-85.
 904
       Reardon, 11/30/18 Dep. at 420-21.
 905
     Hazewski, 10/25/19 Dep. at 61-62, 71-72; see also 5/27/21 Trial Tr. (Rafalski) at 151-152
 (describing “people that would get on airplanes in Huntington and fly to Florida to go to the pain
 clinics to get pills and then come back”; “Allegiant flight that was – they called it the Pill
 Express”).
 906
       7/2/21 Trial Tr. (Gilligan) at 159.

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           The market being flooded, the illicit marketplace being flooded with opioids,
           benzodiazepines, mild stimulants, people becoming addicted, people overdosing,
           police officers required, being required to carry naloxone, which is not part of their
           duties up until a few years ago when we had to start carrying it because the
           overdoses were outrageous, and of course . . . losing loved ones.907

           592.    Plaintiffs’ expert in the history of opiate use and abuse and drug policy, Dr.

 Courtwright, testified as to his agreement that “the historical record contain[s] evidence from

 primary sources that supply was a substantial factor in giving rise to the prior opioid epidemics in

 the United States[,]” and elaborated that “the per capita consumption of medicinal opiates in the

 United States tripled between 1870 and 1890, which was right in the heart of that first epidemic.”908

           593.    Plaintiffs’ neuroscience, addiction, and pain treatment expert, Dr. Waller, testified

 that, from a biological and neuroscientific perspective, the increase in exposure from increased

 supply of opioids makes increased addiction harms foreseeable:

           [W]hat happens as the dopamine goes down after they take it – and, again,
           especially in people who are opioid naïve or don’t have other injuries or things like
           this, just taking an opioid does have those ramifications on the brain to varying
           degrees amongst individuals. But, at the same time, it is predictable in its nature .
           . . . And now, even though those were prescription and taken as prescribed, we now
           have someone that as we remove it, those behaviors of addiction become very
           apparent.909

           594.    Plaintiffs’ epidemiology and OUD expert, Dr. Keyes, shows that increased supply

 and exposure made increased addiction and other public health harms foreseeable through her

 testimony on the strength of the scientific consensus over this connection: “I think there’s

 consensus in my field that the strongest risk factor for Opioid Use Disorder is prescription opioid

 exposure.”;910 “My opinion is that there’s substantial consensus in my field in epidemiological


 907
       6/7/21 Trial Tr. (Rannazzisi) at 181.
 908
       5/5/21 Trial Tr. (Courtwright) at 28-29.
 909
       5/4/21 Trial Tr. (Waller) at 204-05.
 910
       6/11/21 Trial Tr. (Keyes) at 194.

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 literature to support a role for distribution of opioids and the creation of an opioid-rich environment

 in facilitation of the increase in prescription Opioid Use Disorder and the opioid crisis in the Cabell

 and Huntington community.”911

           595.    Defendant McKesson Corporation provided testimony that “[t]he volume of

 opioids in the market and diversion is related to opioid deaths, certainly[,]” and agreeing that the:

           public health dangers associated with the diversion and abuse of controlled
           prescription drugs have been well-recognized over the years by Congress, DEA,
           HDMA and its members, and public health authorities.912

                   3.      Foreseeability of Heroin and Fentanyl Abuse from Diversion
                           and Oversupply of Prescription Opioids

           596.    Plaintiffs’ neuroscience, addiction, and pain treatment expert, Dr. Waller, testified

 that prescription opioid and heroin abuse are closely related because of the drugs’ identical

 molecular structures, whereby the human brain does not differentiate between them:

           I don’t use a gateway. It’s no different. I mean, for some people it doesn’t – it’s
           no different for them because when they take oxycodone or hydrocodone, for them
           if they have that same change in the brain chemistry, they might as well have taken
           [heroin]. It doesn’t matter.913

           597.    Dr. Waller thus concluded that the “molecular structure and shape equals that you

 have the same structure, which gives you the same function, which gives you the same predictable

 outcome.”914

           598.    Plaintiffs’ epidemiology and OUD expert, Dr. Keyes, likewise demonstrates that

 this relationship is foreseeable through the strength of the consensus in her field and in medical

 literature generally on this point:


 911
       6/15/21 Trial Tr. (Keyes) at 21.
 912
       Hartle, 7/31/18 30(b)(6) Dep. at 294, 278.
 913
       5/4/21 Trial Tr. (Waller) at 71.
 914
       5/4/21 Trial Tr. (Waller) at 48.

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               •   “‘The tremendous expansion of long-acting prescription opioids led to . . .
                   the transition of many to illicit opioids including fentanyl and its analogs
                   which have subsequently driven exponential increases in overdose.’”915

               •   “I believe that the evidence in the medical literature is – overwhelmingly
                   supports the validity of this statement.”916

               •   “I believe my scientific writings would be consistent with the gateway
                   effect. There’s really no debate in the literature on that.”917

           599.    Plaintiffs’ epidemiology and opioid abatement expert, Dr. Alexander, testified that

 “prescription opioids and heroin and fentanyl are two sides of the same coin” because they “have

 the same effects on the body” and “produce the same type of physical dependency and the same

 risks of addiction.”918

           600.    Defendant McKesson Corporation’s former Vice President of Regulatory Affairs

 and Compliance, Mr. Hartle, testified that he has given presentations stating that “once people are

 addicted to opioids, narcotic opioids, their chances of them moving to heroin are dramatically

 increased.”919

           601.    Defendants’ pain management and prescription opioids risks and benefits expert,

 Dr. Gilligan, testified that “I think there’s a direct relationship that includes the misuse and abuse

 of prescription opioids, along with many other predisposing factors, that then does relate to

 initiation of heroin.”920




 915
     6/11/21 Trial Tr. (Keyes) at 171 (quoting Association for Schools of Public Health consensus
 statement).
 916
       6/11/21 Trial Tr. (Keyes) at 172.
 917
       6/14/21 Trial Tr. (Keyes) at 218.
 918
       6/28/21 Trial Tr. (Alexander) at 26-27.
 919
       Hartle, 8/1/18 Dep. at 480.
 920
       7/2/21 Trial Tr. (Gilligan) at 161-62.

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           602.   Defendants’ health economics expert, Dr. Murphy, testified in language strikingly

 similar to the testimony of Plaintiffs’ expert, Dr. Waller, that “I would say if you focus on abuse

 of prescription opioids and abuse of heroin, they’re probably closer to be[ing] substitutes. . . . And

 substitute would be like Coke or Pepsi.”921

           603.   The Court finds that Defendants could reasonably foresee, and in fact foresaw, that

 their diversion control failures as found herein would result in the opioid epidemic public health

 and safety harms afflicting Cabell and Huntington, including the epidemic’s evolution from one

 primarily of prescription opioid abuse to one intertwined with heroin and fentanyl abuse.

 IV.       Plaintiffs’ Abatement Plan Will Abate the Public Nuisance of the Opioid Epidemic in
           Cabell and Huntington.
           604.   The Court finds to a reasonable degree of certainty that Plaintiffs’ proposed

 Abatement Plan is necessary to abate the opioid epidemic harms in Cabell and Huntington caused

 by Defendants’ conduct, and that the Abatement Plan’s 15-year cost, measured in future value, is

 $2,544,446,548.

           A.     The Abatement Plan Redresses the Opioid Epidemic Harms Caused by
                  Defendants’ Conduct.

           605.   Plaintiffs offered expert testimony regarding abatement from Dr. G. Caleb

 Alexander, a Professor of Epidemiology and Medicine and practicing internist at Johns Hopkins.

 Dr. Alexander has authored or co-authored more than 325 scientific articles, editorials, and book

 chapters, including roughly 50 peer-reviewed publications about the opioid epidemic. He co-

 edited a Johns Hopkins report entitled “The Opioid Epidemic: From Evidence to Impact,” on

 comprehensive evidence-based solutions to the opioid epidemic.922 He has testified about the



 921
       7/8/21 Trial Tr. (Murphy) at 147.
 922
       6/28/21 Trial Tr. (Alexander) at 9-11.

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 opioid epidemic before the U.S. Senate, U.S. House of Representatives, Food and Drug

 Administration, and other bodies.923 Defendants did not challenge his qualifications and the Court

 accepted him as an expert in the field of epidemiology and opioid abatement interventions.924

           606.     Dr. Alexander testified that there is an opioid epidemic in Cabell and Huntington,

 identified what evidence-based programs would abate the epidemic, estimated the population

 needs for each abatement program, and identified the cost of certain of the abatement programs.925

 Dr. Alexander created a comprehensive “Abatement Plan,” consisting of dozens of programs

 which he concludes will abate the opioid epidemic in Cabell and Huntington, including reducing

 the incidence of OUD, overdoses, infectious diseases, and related harms to opioid users and the

 broader Community.926

           607.    Dr. Alexander’s analysis of Cabell and Huntington’s opioid epidemic and local

 abatement needs was extensively researched and reflects a consensus among national and local

 experts regarding what interventions are needed to reduce mortality and other harms related to

 opioids. He spoke with dozens of leaders in Cabell and Huntington, including the police and fire

 chiefs, academics, medical doctors, treatment providers, program administrators, and Mayor

 Williams, to understand the epidemic and the community’s abatement needs. He researched local,

 state, and national reports on abatement; peer-reviewed academic studies about the efficacy of

 abatement programs; and data from the West Virginia Department of Health and Human Services,

 the Centers for Disease Control and Prevention, the Substance Abuse and Mental Health Services




 923
       6/28/21 Trial Tr. (Alexander) at 16.
 924
       6/28/21 Trial Tr. (Alexander) at 18-19.
 925
       6/28/21 Trial Tr. (Alexander) at 19, 30.
 926
       6/28/21 Trial Tr. (Alexander) at 29.

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 Administration, and other sources about the epidemic and abatement. These are the same kinds of

 sources that epidemiologists use in other work.927

           608.     In creating the Abatement Plan, Dr. Alexander also studied existing programs in

 Cabell and Huntington for addressing OUD, overdoses, NAS, and other harms that have been

 implemented in response to the epidemic. He cited programs including PROACT, the addiction

 treatment program; Lily’s Place and a neonatal therapeutic unit for babies with NAS; MARC and

 MOMS for pregnant women with addiction; the Quick Response Team (“QRT”), which provides

 multidisciplinary outreach within 72 hours of overdose; the Drug Court and WEAR criminal-

 justice program; and harm reduction initiatives, including syringe exchange, naloxone, and

 fentanyl testing.928

           609.     Dr. Alexander’s testimony demonstrates that the opioid epidemic in Cabell and

 Huntington is a single, indivisible condition in which the different harms are integrally interrelated:

           It’s an opioid epidemic. I mean, prescription opioids and heroin and fentanyl are
           two sides of the same coin. They have the same effects on the body. They produce
           the same type of physical dependency and the same risks of addiction.

           So while the community in the early stages of the epidemic was predominantly
           flooded with prescription opioids and while now heroin and illicit fentanyl have
           taken on heightened concern, I would characterize the epidemic as an opioid
           epidemic, not on of one particular type of opioid or another.929

           610.   Dr. Alexander thus concluded that “there’s one epidemic, not two; an opioid

 epidemic, not a prescription epidemic and a fentanyl and heroin epidemic.”930

           611.   Based on Dr. Alexander’s reliable testimony, the Court finds that:



 927
       6/28/21 Trial Tr. (Alexander) at 21-23, 30-31.
 928
       6/28/21 Trial Tr. (Alexander) at 33-34.
 929
       6/28/21 Trial Tr. (Alexander) at 26-27.
 930
       6/28/21 Trial Tr. (Alexander) at 120-21.

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           a. There is “abundant evidence” of an ongoing opioid epidemic in Cabell and
              Huntington. The Community has had a “flood” of prescription opioids,
              “enough to provide each adult and child 400 tablets a year.” Fatal overdose
              rates, at their peak, were “off the charts,” and there were 137 overdose deaths
              in 2018. 7,900 people are estimated to have OUD, which constitutes 8 or 9
              percent of the population. Rates of emergency room visits are very high, rates
              of NAS are far above average, and the school system and child welfare system
              shoulder significant burdens.931

           b. Ongoing morbidity and mortality related to opioids show that the opioid
              epidemic is ongoing.932

           c. There is an intergenerational cycle of addiction in Cabell and Huntington.
              Having a parent or other household member with substance use disorder is a
              significant risk factor for a child to develop substance use disorder.933

           d. There is a single opioid epidemic, encompassing both prescription and illicit
              opioids, although in the early stages of the epidemic Cabell and Huntington was
              predominantly flooded with prescription opioids.934

           e. The opioid epidemic is an “existential threat” to Cabell and Huntington. It is
              necessary to abate the epidemic and for the long-term health and stability of
              Cabell and Huntington.935

           612.     Testimony of other expert and fact witnesses confirms that the harms arising from

 the opioid epidemic are ongoing and will continue if not abated.936         Dr. Smith testified that



 931
       6/28/21 Trial Tr. (Alexander) at 24-26.
 932
       6/28/21 Trial Tr. (Alexander) at 28.
 933
       6/28/21 Trial Tr. (Alexander) at 49.
 934
       6/28/21 Trial Tr. (Alexander) at 26-27.
 935
       6/28/21 Trial Tr. (Alexander) at 111.
 936
    6/17/21 Trial Tr. (Feinberg) at 109 (infections associated with IV and other drug use are serious
 part of the public health crisis of opioid epidemic); 5/27/21 Trial Tr. (Zerkle) at 184-85 (Crimes
 connected to opioid epidemic include shoplifting, burglary, theft, disorderly conduct, DUI);
 6/14/21 Trial Tr. (Keyes) at 12 (harms to children and families occur when opioid use is high);
 6/30/21 Trial Tr. (Williams) at 46 (as epidemic unfolded, City’s neighborhoods were crumbling);
 5/27/21 Trial Tr. (Zerkle) at 119-20 (addiction draining workforce in County, declining population
 and tax base; City of Huntington owns 350+ abandoned homes); 6/28/21 Trial Tr. (Alexander) at
 25 (opioid epidemic in Cabell and Huntington includes burdened child welfare system and strained
 school system).

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 prescription opioids continue to play an important role in drug overdose deaths in West Virginia.937

 Dr. Yingling testified that the opioid epidemic is a “generational problem.”938 Even Defendants’

 experts concede this. Dr. Gilligan stated that closing the path to opioid use disorder will require

 addressing over-prescription of legal opioids, reducing the availability of illicit opioids and getting

 patients with opiate use disorder into treatment.939

           613.    Cabell and Huntington are limited by existing human and economic resources and

 need additional resources to help abate the opioid epidemic.940

           614.    After testifying to the existence of an opioid epidemic in Cabell and Huntington as

 described above, Dr. Alexander testified about programs to abate the epidemic locally. Based on

 his reliable testimony, the Court finds that:

           a.      There is strong consensus among experts about what needs to be done to
                   address the opioid epidemic, and the efficacy of specific abatement
                   programs. These programs have a robust scientific evidence base.941

           b.      Plaintiffs’ Abatement Plan, recommended by Dr. Alexander, is “highly
                   consistent” with abatement recommendations contained in governmental
                   reports about the opioid epidemic, including a Trump Administration
                   report, a Johns Hopkins report that Dr. Alexander co-authored,

 937
       6/10/21 Trial Tr. (Smith) at 153.
 938
       6/16/21 Trial Tr. (Yingling) at 162-64.
 939
       7/2/21 Trial Tr. (Gilligan) at 179-180.
 940
     See 5/28/21 Trial Tr. (O’Connell) at 22-23 (the community sees the value of preventive
 measures, and they need more support to expand), 25-26 (community needs greater information
 and resources on effective NAS interventions), 28-29 (community needs greater support for round-
 the-clock outpatient treatment), 30 (community needs resources to expand prevention and early
 intervention beyond Huntington into rural parts of Cabell County), 31-32 (community needs
 resources to expand wellness services for law enforcement and treatment providers); 5/21/21 Trial
 Tr. (Werthammer) at 21 (with proper resources and healthcare infrastructure, Cabell and
 Huntington could make a dramatic impact on the opioid epidemic); 6/29/21 (Barrett) at 168 (what
 Huntington has done to date is limited by available resources); see also 5/26/21 Trial Tr. (Yingling)
 at 167 (Resiliency Plan represents the best the community can do with its existing human and
 economic resources).
 941
       6/28/21 Trial Tr. (Alexander) at 32, 71, 123.

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                  Huntington’s City of Solutions report, Cabell County’s Resiliency Plan, and
                  the Huntington Mayor’s Office of Drug Control Policy’s Strategic Plans.942


           c.     The Abatement Plan consists of programs which are likely to have the
                  greatest impact on mitigating the epidemic.943


           d.     Existing local programs in Cabell and Huntington are insufficient to address
                  the epidemic. Such programs are not as comprehensive as the Abatement
                  Plan, many programs are at or near capacity, funding for current programs
                  is unstable, and rates of fatal overdose and addiction continue to be very
                  high.944


           e.     There is a need to increase both the availability of addiction treatment
                  programs and take-up rates, and programs must be scaled up if the epidemic
                  is to be abated.945


           f.     The Abatement Plan is necessary to provide the level of services and
                  security needed to address the opioid epidemic.946


           g.     Implementing the Abatement Plan will prevent harms in the future which
                  would occur but for the Plan’s interventions.947


           g.     The harms resulting from the opioid epidemic are capable of being
                  abated.948




 942
       6/28/21 Trial Tr. (Alexander) at 31-32.
 943
       6/28/21 Trial Tr. (Alexander) at 31-32.
 944
    6/28/21 Trial Tr. (Alexander) at 34-36. Dr. Alexander testified that Cabell and Huntington is
 experiencing wait lists where treatment programs are at or near capacity and barriers because
 individuals that are struggling to maintain treatment also have other factors that contribute to or
 make it more difficult for them to participate in treatment. Id. at 54.
 945
       6/28/21 Trial Tr. (Alexander) at 54.
 946
       6/28/21 Trial Tr. (Alexander) at 110-11.
 947
       6/28/21 Trial Tr. (Alexander) at 110-11.
 948
    6/28/21 Trial Tr. (Alexander) at 32 (there is “clear evidence” that opioid epidemic in Cabell
 and Huntington can be abated).

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           i.      The Abatement Plan will be effective and reduce harms.949 Based on his
                   experience and research, Dr. Alexander estimates that rates of death and
                   OUD would decrease by 50% in 15 years if the Abatement Plan is
                   implemented, which would be a very meaningful reduction.950


           j.      Implementing the Abatement Plan is feasible and Cabell and Huntington
                   has the capacity to carry out the Abatement Plan, including an existing
                   treatment infrastructure to build on.951

           615.    Testimony from additional experts and fact witnesses corroborates Dr. Alexander’s

 testimony. A number of programs aimed at addressing the opioid epidemic locally have been

 successful. Cabell County’s syringe program is a “model” program and one year of data shows

 2,000 individuals served with almost 8,000 encounters.952 Mayor Williams has observed many

 people who have become successful in overcoming their addiction through treatment and resources

 offered by the community.953 Connie Priddy testified that the Quick Response Team reaches

 between 50-60% of individuals of suspected overdose patients, of which 30% go into treatment.954

 Jan Rader explained that Drug Court is a treatment court, where individuals can rebuild their lives

 and gain confidence.955

           616.    Witnesses testified that there are evidence-based solutions that have been proven to

 help abate the opioid epidemic, which can be put in place in Cabell and Huntington.956 Harm


 949
       6/28/21 Trial Tr. (Alexander) at 71.
 950
       6/28/21 Trial Tr. (Alexander) at 29, 36, 80, 97-99.
 951
    6/28/21 Trial Tr. (Alexander) at 92, 110-11, 113-14 (Huntington and Cabell County can fight
 the opioid epidemic if given the resources, coordination, and opportunity), 133, 141.
 952
       6/17/21 Trial Tr. (Feinberg) at 155-56.
 953
       6/30/21 Trial Tr. (Williams) at 74.
 954
       5/7/21 Trial Tr. (Priddy) at 15-16.
 955
       5/7/21 Trial Tr. (Rader) at 49-50.
 956
    See 5/4/21 Trial Tr. (Waller) at 207-212 (efficacy of provider education and training, opioid
 use prevention, expansion of medication treatment of OUD); 5/27/21 Trial Tr. (Zerkle) at 106-07

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 reduction programs have been found to facilitate further treatment services, since people using

 such programs are five times as likely to enter drug treatment and three times as likely to reduce

 their frequency of injection.957

           617.   Plaintiffs presented evidence that Hepatitis C and infectious diseases are caused by

 opioid use. Studies show a positive return on investment from community education and infectious

 disease screening.958 Plaintiffs also presented evidence of the effectiveness of early support for

 infants with prenatal opioid exposure, intervention services for pre-school children in opioid-

 effected families, specialized services to address children of adults with OUD, and support services




 (describing County’s expansion from one to five full-time school resource officers (SRO’s), police
 officers placed in schools for supervision and mentorship); id. at 188 (more recovery centers and
 beds, and mental health counseling would help with fixing the epidemic); 5/27/21 Trial Tr.
 (O’Connell) at 213-14 (describing the success of local early-intervention programs and QRT), 216
 (PROACT is currently seeing 500+ patients), 217 (Healthy Connections, coordinated services for
 pregnant, parenting families), 218 (describing coordinated therapy, developmental psychology,
 social work, communication disorders treatment), 224 (Project Hope provides support for families
 in community), 230-31 (Community coordination can ensure training of professionals to provide
 MAT), 232 (CORE prepares people in recovery for the workforce); 6/7/21 Trial Tr. (O’Connell)
 at 147-48 (PROACT provides treatment services not otherwise immediately available), 148-49
 (MARC dramatically increased treatment of infants with exposure), 149 (MOMS is necessary to
 provide maternal treatment), 149-50 (Lily’s Place is necessary to provide a community-based
 setting for exposed infants), 150 (other listed programs likewise met a specific need for populations
 not being served); 6/16/21 Trial Tr. (Yingling) at 161 (Project Hope provides a facility for mothers
 to stay with their newborns during long-term NAS recovery); 6/17/21 Trial Tr. (Holbrook) at 220
 (HPD combatted diversion through education, prevention, and enforcement), 221 (Neighborhood
 Institute allowed Huntington police to obtain, share information, better address epidemic
 challenges in city neighborhoods), 223-24 (HPD prevention efforts included public service
 announcements, school visits, a drug take-back program, and community education).
 957
       6/17/21 Trial Tr. (Feinberg) at 152-153, 157-58.
 958
    6/17/21 Trial Tr. (Feinberg) at 159 (“no question” that “there’s a public health crisis in Cabell
 County as it relates to bloodborne diseases resulting from opioid use”), 176 (opioid use in
 Appalachian region exacerbated the use of street drugs); 6/16/21 Trial Tr. (Yingling) at 156-57
 (Cabell County opioid epidemic morbidities include infections, Hep B, Hep C, HIV, maternal
 addiction, NAS, endocarditis, abscesses, spinal cord abscesses, hospital overflow, long-term care
 needs).

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 for adolescents developing or at risk of substance abuse.959 Plaintiffs also presented testimony

 about the need and importance of shortening the waiting period before entry into parent and child

 support services, family treatment programs, medication-assisted treatment (MAT)—including for

 pregnant women—and education and support for infants and children exposed to opioids.960

           618.    Witnesses also established that sufficient abatement resources to fund prevention,

 treatment, and recovery programs would have a dramatic impact on the opioid epidemic, but more

 is needed.961 Connie Priddy testified that more resources and help are needed to get individuals

 suffering from addiction into treatment; such resources include a QRT follow-up team, health and

 wellness events for community outreach, and transportation.962 The PROACT treatment facility




 959
     See 6/16/21 Trial Tr. (Young) at 39 (preschool children in opioid-affected families benefit from
 intervention services), 46-47 (infants with prenatal opioid exposure benefit from developmental
 assessments), 47-48 (children of adults with OUD need specialized services to address unique
 emotional challenges), 49 (support services for adolescents developing substance abuse are
 beneficial), 54 (literature shows effectiveness of supports for infants aged 1-2 years at preventing
 later developmental needs), 59-60 (opioid-exposed infants need interventions beyond the
 hospitalization period, i.e. early intervention and special education services), 62 (adverse
 developmental and educational outcomes for opioid-exposed infants worsen over time without
 intervention; studies show positive impact of interventions).
 960
    See 6/16/21 Trial Tr. (Young) at 35 (evidence shows that shortening the time before entry into
 parent and child support services improves family reunification outcomes), 50-53 (pregnant
 women with opioid addiction need access to MAT, education and support for infants with NAS),
 51-52 (West Virginia data shows a big gap between pregnant women needing and receiving
 support services), 53-54 (evidence shows effectiveness of family treatment program in residential
 care for mothers and infants).
 961
     See 5/5/21 Trial Tr. (Gupta) at 115-16 (only 31% of overdose deaths showed past Naloxone
 use; report recommends expanded access), 127-28 (only 7% of overdose decedents had received
 MAT), 131 (report recommends patient medical interventions, prevention, and greater prescription
 monitoring), 142 (report recommends further surveillance, healthcare system response, and
 community response); 5/21/21 Trial Tr. (Werthammer) at 21 (with proper resources, healthcare
 infrastructure in Cabell and Huntington could make a dramatic impact on the opioid epidemic).
 962
       5/7/21 Trial Tr. (Priddy) at 15.

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 is at capacity and needs to be expanded.963 Access to treatment via transportation is a community

 need and a barrier to care, as is limited hours (9 to 5) for outpatient treatment.964

           619.    Evidence established that funding sources for existing opioid-related programs in

 Cabell and Huntington are limited and unreliable.965 It is not reasonably certain that funding will

 be available to fully fund the Abatement Plan or even continue the existing programs. Programs

 and services required to abate the pervasive and long-term harm in Cabell and Huntington require

 consistent and reliable funding over time.966 Addiction treatment cannot be delivered in fits and

 starts; it requires constancy to be effective. As is, the City and County spend a disproportionate

 amount of time seeking grant funding.967 To support Cabell and Huntington’s recovery, the

 Abatement Plan’s “scaffolding” must be built over time, remain securely in place while the work

 is done, and then be taken down gradually.968




 963
       5/7/21 Trial Tr. (Rader) at 57-58.
 964
       5/28/21 Trial Tr. 20 (O’Connell) at 28-29.
 965
    See 6/7/21 Trial Tr. (O’Connell) at 144-47 (no Medicaid or insurance funding for the Compass
 program, harm reduction services, QRT, CORE); 6/16/21 Trial Tr. (Young) at 36 (existing grant
 funding is insufficient to sustain needed family support services), 39 (grant funding does not
 sustain needed child pre-school intervention services), 47 (federally-funded services for young
 children with prenatal opioid exposure often are waitlisted), 60 (early intervention and special
 education services for opioid-exposed infants are not fully funded by federal funds).
 966
     See 5/28/21 Trial Tr. (O’Connell) at 32-36 (current programs are grant funded, subject to
 termination), 36 (community needs long-term, sustainable, reliable funding to make its epidemic
 response efforts work); 5/27/21 Trial Tr. (Zerkle) at 111-12 (County has relied on grant funding
 to re-equip SWAT Team); at 118 (County applying for USDOH grant to fund police officer
 overtime pay); 5/6/21 Trial Tr. (Priddy) at 203 (County EMS applying for federal grants for Quick
 Response Team (QRT) funding); at 206 (QRT lacks funding for weekend shifts); at 213 (QRT
 needs reliable, sustainable funding);
 967
    See 5/6/21 Trial Tr. (Priddy) at 203; 5/27/21 Trial Tr. (Zerkle) at 111-12, 118; 5/28/21 Trial Tr.
 (O’Connell) at 32-36.
 968
       6/28/21 Trial Tr. (Alexander) at 99.

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           620.   Moreover, as explained in the Court’s Conclusions of Law, because Defendants

 created a public nuisance in Cabell and Huntington, they are liable for the full cost of abating the

 nuisance.969 Any funding of abatement programs in Cabell and Huntington by the City and

 County, the West Virginia and federal government, and other grants effectively shifts the financial

 burden of Defendants’ public nuisance to Plaintiffs and third parties, including taxpayers.

           621.   Defendants have alleged that the Abatement Plan would be a “windfall” for

 Plaintiffs; that the existence of some programs addressing the opioid epidemic means Cabell and

 Huntington has capacity to abate the epidemic on its own, using current resources; that nothing

 more is needed.970 On the contrary, the Court agrees with Plaintiffs that to the extent Plaintiffs

 and third parties—the West Virginia state government, Medicare and Medicaid, private insurers,

 and others—are paying to address the effects of the opioid epidemic in Cabell and Huntington,971

 those payments are a windfall to Defendants. Plaintiffs and third parties are subsidizing the cost

 of addressing harms caused by Defendants’ wrongdoing. Plaintiffs and third parties are reducing

 the scale of the epidemic that Defendants must abate.

           622.   Importantly, the City and County did not choose to be the target of this public

 nuisance, in the form of the local opioid epidemic. Abatement efforts at the local level must be

 viewed in that context, as efforts made under duress, with limited resources, to address an urgent

 and overwhelming epidemic.972



 969
       Conclusions of Law (“COL”), infra, Part VII(B)(4).
 970
       ECF 1441-1 (Memo of Law ISO Rule 52(c) Motion on Abatement) at 19-20.
 971
    See, e.g., 5/6/21 Trial Tr. (Priddy) at 203; 5/27/21 Trial Tr. (Zerkle) at 111-12, 118; 5/28/21
 Trial Tr. (O’Connell) at 32-36.
 972
     See, e.g., P-41527_00001 (2014 HPD Threat Assessment) (describing diversion and abuse of
 prescription drugs along with the pervasive drug culture and associated crime as the greatest threats
 to ever face the community)

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           623.   Plaintiffs also confirmed through testimony that the City and County have the

 institutional capacity to carry out the Abatement Plan. Some programs aimed at abating the opioid

 epidemic already exist there, whether offered through the City and County (like the CHHD harm-

 reduction program) or third parties (like private treatment centers).973 Large institutions like

 Marshall University and Marshall Health have capacity to implement programs.974                    The

 community has the laid a solid foundation for addressing the epidemic through collaboration with

 community partners.975 Mayor Williams testified that the community has collaborated with the

 Cabell and Huntington Health Department, Marshall University (on research and leadership),

 hospitals, the faith community, and emergency medical services (on real-time data).976 The

 Mayor’s Office of Drug Control Policy brought other groups together and created an opportunity

 for collaboration, creating a talented community network.977

           624.   The Court agrees with and hereby adopts Judge Polster’s recognition that “there is

 no realistic way the Court could order . . . that . . . Defendants abate the [opioid] crisis themselves”

 because “Defendants do not have the requisite infrastructure . . . .”978 Whereas the City and County

 have institutional capacity to implement the Abatement Plan, Defendants do not. Defendants do

 not currently offer any of the programs recommended in the Abatement Plan. They do not pay for

 any programs aimed at abating the opioid epidemic in Cabell and Huntington. As drug distribution



 973
    See 6/28/21 Trial Tr. (Alexander) at 92, 110-11, 113-14 (Huntington and Cabell County can
 fight the opioid epidemic if given the resources, coordination, and opportunity), 133, 141.
 974
       6/28/21 Trial Tr. (Alexander) at 113-14.
 975
       5/28/21 Trial Tr. (O’Connell) at 27.
 976
       6/30/21 Trial Tr. (Williams) at 64-65.
 977
       6/30/21 Trial Tr. (Williams) at 69-71.
 978
    In re Nat’l Prescr. Opiate Litig., No. 1:17-md-2804, 2019 WL 4043938, at *2 (N.D. Ohio Aug.
 26, 2019).

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 companies—as compared to governmental entities, healthcare providers, social-services

 providers, or academic institutions—Defendants are ill-equipped to offer any of the Abatement

 Plan’s programs.

           625.     Dr. Alexander recommends a 15-year duration for the Abatement Plan, from 2021

 to 2035, since an effective plan will take time to ramp up and be successful.979 The Court finds it

 reasonably certain that abatement of the opioid epidemic cannot be accomplished in a single year,

 and the 15-year Abatement Plan proposed by the Plaintiffs is reasonably necessary.980 The opioid

 epidemic is ongoing. Individuals with OUD will require ongoing services to address their

 addiction and to reintegrate them successfully, and other individuals using prescription opioids or

 exposed to illicit opioids in the community will develop addiction. The same is true, as Dr. Young

 and Dr. Alexander testified, of children at a higher risk of developing substance abuse disorders

 due to parental opioid use. As a result, addressing the epidemic will require addressing people

 who will develop OUD in the future.981

           626.   Plaintiffs’ Abatement Plan consists of four broad categories of abatement needs:

 Category 1, Prevention - Reducing Opioid Oversupply and Improving Safe Opioid Use; Category

 2, Treatment - Supporting Individuals Affected by the Epidemic; Category 3, Recovery -

 Enhancing Public Safety and Reintegration; and Category 4, Addressing Needs of Special

 Populations. Each category contains multiple subcategories and one or more individual programs




 979
       6/28/21 Trial Tr. (Alexander) at 99.
 980
    6/28/21 Trial Tr. (Alexander) at 99 (15-year duration represents balancing of time to ramp up,
 reachable from present).
 981
       6/28/21 Trial Tr. (Alexander) at 31.

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 within each subcategory. The Abatement Plan comprehensively but programmatically addresses

 the Community’s opioid epidemic, including overdoses, OUD, and other health problems.982

           627.    For each program, the Abatement Plan includes an estimate of relevant populations

 in need of given services, the frequency needed for each service, and medical-related costs for

 services based on reliable sources.983 The population measures in the Abatement Plan are

 dynamic, with most populations changing year over year as interventions take hold. For example,

 the population of people in treatment increases over time while the total OUD population decreases

 over time. Dr. Alexander draws on his own expertise and four academic studies, including with

 Markov models that forecast population changes.984

           628.    Category 1 of the Abatement plan, Prevention, contains six subcategories: Health

 Professional Education, Patient and Public Education, Safe Storage and Drug Disposal Programs,

 Community Prevention and Resiliency, Harm Reduction, and Surveillance, Evaluation, and

 Leadership.985 The programs include health professional education about opioid supply and

 treatment, focusing on the highest-volume prescribers; patient and public education regarding the

 limited efficacy and serious risks of prescription opioids; safe storage and drug disposal to reduce

 the risks created by excess supply and avoid diversion; community prevention and resiliency

 (including a community center); harm reduction to minimize the risk of overdose; and surveillance,

 education, and leadership to refine the plan over time.986 These programs focus on preventing




 982
       6/28/21 Trial Tr. (Alexander) at 129-45.
 983
       6/28/21 Trial Tr. (Alexander) at 72-76.
 984
       6/28/21 Trial Tr. (Alexander) at 21-22, 92, 101, 150, 177-80, 190-98.
 985
       6/29/21 Trial Tr. (Barrett) at 102-03, 106-11.
 986
       See 6/28/21 Trial Tr. (Alexander) at 36-38.

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 further cases of OUD and ensuring that people with OUD do not die. There is a “mountain of

 evidence” that these programs are effective.987

            629.   The Court notes that subcategory 1F of Dr. Alexander’s Abatement Plan

 recommends funding for “Surveillance, Evaluation, and Leadership,” including the collection of

 data.988     Dr. Alexander explained:

            [S]urveillance, evaluation, and leadership is important because there has to be a
            mission control to this plan. Surveillance and evaluation allow for iterative
            refinement and fine-tuning of the plan over time as the epidemic continues to
            evolve. And leadership is important because the governance of this overall plan
            will be vital. And I think the community has what it takes. . . .

            And the bottom line is that Cabell County and the City of Huntington are fortunate
            to have some data points that can be used to understand how varied interventions
            are performing and to refine . . . the investment of resources. So, the plan is -- is a
            plan that allows for flexibility because it's unclear what's around the corner. The
            epidemic has continued to change and evolve over time. And so, it's important not
            only that there's a governance, and my -- my plan includes opportunities for
            governance, but also that there's ongoing surveillance.989

            630.   Category 2 of the Abatement Plan, Treatment, contains five subcategories:

 Connecting Individuals to Care, Treating Opioid Use Disorder, Managing Complications

 Attributable to the Epidemic, Expanding the Healthcare Workforce, and Distributing Naloxone

 and Providing Training.990 The Plan creates the necessary treatment infrastructure, expands the

 treatment workforce, and connects individuals to care (including programs to decrease relapse and

 increase retention in treatment).991 This category includes treatment for OUD and resulting harms


 987
       6/28/21 Trial Tr. (Alexander) at 45-46.
 988
       6/28 Trial Tr. (Alexander) at 136-37.
 989
       6/28 Trial Tr. (Alexander) 37:4-38:19, 102:18-103:10.
 990
       6/28/21 Trial Tr. (Alexander) at 47-52.
 991
     Trial Tr. June 28, 2021 (Alexander) at 47-52 (The plan recommends four types of treatment:
 inpatient, residential health, intensive outpatient, and routine inpatient. The Plan encompasses
 treatment for opioid use disorder, connecting individuals to care, including Quick Response

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 such as infectious diseases. OUD treatment services consist of four categories: inpatient,

 residential rehabilitation, intensive outpatient, and routine outpatient. Some patients require more

 intensive treatment than others. Dr. Alexander’s estimate of the number of people needing

 treatment is based on Dr. Keyes’s estimate of Cabell and Huntington’s opioid-addicted

 population.992

           631.    The Defendants argue that Dr. Alexander’s abatement plan overstates treatment

 need for UUD treatment because another Plaintiff’s expert, Dr. Waller, testified that “the one-year

 success rate for OUD treatment is approximately 84%.”993 From this misrepresentation of Dr.

 Waller’s testimony, Defendants jump to the conclusion that a large majority of the treatment

 expenses included in the abatement plan are not recoverable for individuals who do not currently

 have OUD. Defendants are factually wrong.

           632.   Dr. Waller was asked about “the short-term remission rate after one year” and

 testified that among “people on the medication” (i.e., patients who remain in medication-assisted

 treatment), the rate reflected in the academic literature is 70%.994 Thus, Dr. Waller’s testimony

 referred to the “remission rate” among a subpopulation of individuals who receive medication-

 assisted treatment and remain in treatment for a full year; it did not refer to all individuals who


 Teams, managing the complications of addiction, workforce expansion and resiliency, and
 naloxone distribution and training to reverse overdoses).
 992
       6/28/21 Trial Tr. (Alexander) at 89-90.
 993
       Doc. 1451 at 16 (citing 5/4 Tr. (Waller) at 216:6–15).
 994
     5/4 Tr. (Waller) at 216. The 84% figure defendants rely on for their argument refers to the
 corresponding rate that Dr. Waller has achieved in his practice. However, there is no basis for
 applying that rate to the population of individuals to receive treatment under Dr. Alexander’s
 abatement plan. For example, there is no indication of the distribution of levels of care (outpatient,
 outpatient intensive, rehabilitation and residential, or inpatient), the number of patients surveyed,
 or whether the patients are representative of the patient population in Cabell County or constitute
 a random sample. See 6/28 Tr. (Alexander) at 93-94. (Dr. Alexander testifying about American
 Society of Addiction Medicine levels of care).

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 enter medication-assisted treatment during a year.995 This is an important distinction because, as

 Dr. Alexander testified when asked about “treatment relapse or drop out,” the occurrence of

 “relapse is an important feature of Opioid Use Disorder.”996 Likewise, Dr. Lynn O’Connell

 testified about retention rates at the PROACT program in Cabell County, stating, “[W]e know that

 abstaining and stopping opioid use and finding a life of what we define as long-term recovery often

 takes individuals many attempts.”997

           633.    Defendants also err by assuming without evidence that an individual who has been

 in treatment for one year and is in remission would no longer receive any form of treatment. Dr.

 Alexander testified that opioid addiction “is a lifelong disorder [a]nd people, especially people that

 have active addiction, need long-term treatment.”998 When asked to consider a hypothetical

 situation similar to the one Defendants advance in their brief, Dr. Alexander responded, “I mean,

 we’re back to the assumption because I'm not aware of recommendations that people only receive

 treatment for one year.”999 Relapse can also occur after someone has completed a course of

 treatment and is no longer receiving treatment.1000


 995
    Trial Tr. 5/4 (Waller) at 211(explaining the 70% figure as “if they're retained in treatment at
 one year, their chances of maintaining what we call short-term or long-term remission in
 addiction”).
 996
        Trial Tr. 6/28 (Alexander) at 50.
 997
        Trial Tr. 6/7 (O’Connell) at 57.
 998
     Trial Tr. 6/28 (Alexander) at 170; see also id. at 51(Dr. Alexander referring to the heightened
 risk of death among individuals who have discontinued treatment); Trial Tr. 6/7 (O’Connell) at 19
 (Dr. O’Connell testifying that “some individuals need to be on medication assisted treatment for a
 year; others, five years; others, it may be a lifetime”).
 999
     Trial Tr. 6/28 (Alexander) at 163; see also Trial Tr. 6/7 (O’Connell) at 58 (Dr. O’Connell
 testifying: “For medication assisted treatment, the standard is that an individual should receive
 treatment for no less than one year.”).
 1000
      Trial Tr. 6/17 (Feinberg) at 150 (Dr. Feinberg noting that “Opioid Use Disorder is a chronic
 relapsing brain disease”); Trial Tr. 6/28 (Alexander) at 152 (Dr. Alexander referring to “someone

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           634.   Moreover, Dr. Alexander’s testimony establishes that the population of people with

 opioid use disorder is not static.1001 Further, Dr. Alexander clearly rejected the assumption that

 underlies Defendants’ math:

           Q. . . . We’d have another group of 2,500 in remission after the third year, and
           another group in remission of 2,500 after the fourth year, right? If we assumed an
           80 percent remission –

           A. [by Dr. Alexander:] If you would assume that this was a static population, but
           we talked about the fact that this was a dynamic population.1002

           635.   Based on the evidence in the record, the Court finds it is reasonable to infer that of

 the approximately 3,000 people Dr. Alexander estimates can receive treatment for opioid use

 disorder at a given time, some are entering treatment for the first time, some are continuing a

 course of treatment from previous years, some previously entered treatment but did not complete

 a full course of treatment, and some had completed a full course of treatment but have relapsed.1003

           636.   Dr. Alexander calculated the number of “slots” needed for treatment, but he does

 not assume each person requires 365 days of treatment.1004




 who is living a happy, healthy life in recovery now in treatment from prescription Opioid Use
 Disorder who relapses”).
 1001
     Trial Tr. 6/28 (Alexander) at 150-151 (“Q. . . . But it’s not going to be a static population over
 time, correct?” “A. Yes. It’s a dynamic population. . . . [T]he individual people are not necessarily
 the same people.”).
 1002
        Trial Tr. 6/28 (Alexander) at 161 (emphasis added).
 1003
     As such, Defendants’ contention that one can calculate the number of unique people receiving
 OUD treatment in four years by multiplying the number of people who would receive opioid use
 disorder by 84% and then again by 4 is based on a series of assumptions that have no foundation
 in the evidence and which have been contradicted by testimony offered by Plaintiffs’ well-
 credentialed expert witnesses. Significantly, Defendants have not offered their own expert
 epidemiologist to estimate the number of individuals needing treatment in Cabell/Huntington,
 instead choosing to rely on unfounded, back-of-the-envelope math by defense counsel.
 1004
        6/28/21 Trial Tr. (Alexander) at 89-94, 146-49, 157-60.

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           637.    Dr. Alexander’s testimony establishes that OUD treatment will save many lives

 and help people return to healthy, productive lives. He testified as follows:

           a.      OUD is a highly treatable condition.1005

           b.      Studies show that treatment greatly reduces the risk of death among opioid-
                   addicted individuals from 5/100 person-years to 2/100 person-years.1006

           c.      Treatment makes good economic sense, with a good return on investment,
                   and it disrupts the intergenerational cycle of addition.1007

           d.      The occurrence of relapse among some treatment patients does not undercut
                   the effectiveness of OUD treatment.1008

           e.      Treatment is designed to minimize relapse, and a combination of
                   approaches will reduce relapse rates.1009

           f.      Expanding the distribution of naloxone treatment has been shown to be
                   successful in reversing overdoses in 96% of cases.1010

           638.    Medication for OUD is highly safe and effective, as Dr. Alexander testified:

           a.      The FDA has approved buprenorphine, methadone, and naltrexone as
                   medication-assisted treatment (“MAT”) for OUD.1011

           b.      Studies show that MAT can decrease mortality risk by as much as 50%.1012




 1005
     6/28/21 Trial Tr. (Alexander) at 47-48 (naloxone highly successful), 48-49 (“we have highly
 safe and effective medicines to treat opioid addiction”).
 1006
     6/28/21 Trial Tr. (Alexander) at 51-52 this difference far exceeds that created by many FDA-
 approved medicines).
 1007
      6/28/21 Trial Tr. (Alexander) at 49-50 (a parent with substance use disorder is a significant
 risk factor for a child developing similar problems).
 1008
        6/28/21 Trial Tr. (Alexander) at 49.
 1009
        6/28/21 Trial Tr. (Alexander) at 48-49, 52.
 1010
        6/28/21 Trial Tr. (Alexander) at 58-59.
 1011
        6/28/21 Trial Tr. (Alexander) at 53.
 1012
    6/28/21 Trial Tr. (Alexander) at 53; 5/4/21 Trial Tr. (Waller) at 210-11 (MAT “decreased the
 mortality rate significantly” in OUD patients).

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           c.      Individuals that are stably maintained on MAT do not have active addiction
                   and do not develop an alternative addiction.1013

           d.      The medication helps to address cravings for opioids driven by changes in
                   brain chemistry, cravings which otherwise keep people using opioids to feed
                   their addiction.1014


           e.      Medication for OUD can be combined with non-pharmacologic approaches
                   like peer coaches, 12-step programs, and vocational training. 1015

           639.    The Abatement Plan treatment costs per person are based on Medicaid

 reimbursement rates: an average daily cost of $63.77 for outpatient-initiated care, $69.01 for

 intensive outpatient care, $78.15 for residential care and $78.95 for inpatient care.1016 The

 treatment cost estimates account for people likely requiring less-intensive levels of care as they

 progress through treatment and recovery.1017

           640.    Dr. Alexander also testified that infectious diseases like hepatitis are related to

 opioid use and should be addressed.1018

           641.    Category 3 of the Abatement Plan, Recovery, contains five subcategories: Public

 Safety, Criminal Justice System, Vocational Training and Job Placement, Reengineering the

 Workplace, and Mental Health Counseling and Grief Support.1019 These abatement programs are

 intended to help individuals with OUD and the broader Cabell and Huntington area recover from


 1013
      5/4/21 Trial Tr. (Waller) at 210-11 (MAT did more than decrease mortality: “It actually
 decreased recidivism. It decreased poverty rates. It decreased sexual assault. It decreased HIV.
 It decreased Hepatitis C. It decreased CPS involvement.”).
 1014
     See 5/4/21 Trial Tr. (Waller) at 211 (“And they’re on the medication, but they have no
 behaviors associated with the treatment of this that comport with the diagnosis of addiction.”).
 1015
        6/28/21 Trial Tr. (Alexander) at 53-54.
 1016
        6/28/21 Trial Tr. (Alexander) at 95 (based on West Virginia reimbursement rates).
 1017
        6/28/21 Trial Tr. (Alexander) at 96.
 1018
        6/28/21 Trial Tr. (Alexander) at 29, 46.
 1019
        6/28/21 Trial Tr. (Alexander) at 29, 46.

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 the epidemic. The interventions as not limited to treating people with OUD. The programs include

 an overdose team, criminal justice programs to divert people into treatment, vocational training

 and job placement, programs to reengineer the workplace, and mental health counseling and grief

 support. The programs have been shown to be effective.1020 For example, 82% of Cabell drug

 court graduates did not re-offend in the next 12 months and law enforcement-assisted diversion

 successfully transitions over 50% of individuals to treatment.1021

           642.   Category 4 of the Abatement Plan, Addressing Needs of Special Populations, has

 five subcategories: Pregnant Women, New Mothers, and Infants; Adolescents and Young Adults;

 Families and Children; Homeless and Housing Insecure Individuals; and Individuals with Opioid

 Misuse.1022 The programs in this category address the needs of pregnant women, new mothers,

 the post-incarceration population, and children and families affected by the epidemic.1023 The

 programs include treatment for infants with NAS and mothers, adolescents with non-medical

 opioid use or whose families are impacted by OUD, programs for families and children given the

 impact on child welfare, secure housing for homeless people, and assistance for people with opioid

 misuse.

           643.   There is great need for programs to help children and ample evidence that these

 programs are effective.1024 For example:




 1020
        6/28/21 Trial Tr. (Alexander) at 60-61.
 1021
        6/28/21 Trial Tr. (Alexander) at 63-64.
 1022
        6/28/21 Trial Tr. (Alexander) at 63-64.
 1023
      6/28/21 Trial Tr. (Alexander) at 64, 69-70 ((immense body of evidence supports Plan’s
 interventions for special populations), 71 (Plan’s special populations interventions have proven
 successful in other jurisdictions)
 1024
        6/28/21 Trial Tr. (Alexander) at 66-70.

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           a.      In 2017 in West Virginia, 54 out of 1,000 children were affected by the
                   opioid epidemic compared to a national rate of 28 out of 1,000.1025

           b.      In Cabell County, up to half of the children in public schools are being
                   raised by someone other than their parent.1026

           c.      Screening programs have been shown to reduce drug use among at-risk and
                   medically-underserved mothers.1027

           644.    Defendants challenged Dr. Alexander’s methodology in preparing the Abatement

 Plan, but the Court finds that his methodology was appropriate and reliable, as follows:

           a.      Dr. Alexander’s Abatement Plan does not subtract out existing programs
                   related to the opioid epidemic in the Cabell and Huntington Community
                   because these funds are not certain to be available and do not cover the
                   scope of interventions required by the Abatement Plan.1028

           b.      The Abatement Plan does not look at costs incurred by the Community to
                   date, because the plan is forward-looking. The fact that Cabell and
                   Huntington has not, in the past, been able to fund the full range of services
                   required to abate the epidemic is further evidence of the need for relief, not
                   evidence that the services are unnecessary.

           c.      The Abatement Plan does not differentiate between treatment of harms
                   arising from prescription opioid use versus illicit opioid use, because there
                   is only one opioid epidemic.1029

           d.      Similarly, the Abatement Plan does not exclude costs arising from people
                   who have never used prescription opioids, because “there’s one epidemic,
                   not two; an opioid epidemic, not a prescription epidemic and a fentanyl and
                   heroin epidemic.” That subgroup represents a “small proportion of the
                   entire group of people that use opioids in the community.”1030


 1025
        6/28/21 Trial Tr. (Alexander) at 67-68.
 1026
        6/28/21 Trial Tr. (Alexander) at 67-68.
 1027
        6/28/21 Trial Tr. (Alexander) at 70-71.
 1028
     Moreover, as explained elsewhere, Defendants have not shown that to the extent any abatement
 costs in Cabell and Huntington are currently paid for by Plaintiffs or third parties, that the existing
 funding sources are sustainable and that these costs should be deducted from the cost of the
 Abatement Plan. See ECF 1470 (Pltfs’ Opp. to Rule 52(c) Motion on Abatement) at 36-37.
 1029
        6/28/21 Trial Tr. (Alexander) at 119-21; see also supra, Part I.C, III.A.3.c.
 1030
        6/28/21 Trial Tr. (Alexander) at 119-21.

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           e.      The Abatement Plan properly encompasses people that will develop OUD
                   in the future, because the epidemic is ongoing and at least people who are
                   using opioids now will develop OUD in the future. The effects of opioid
                   use, including developing OUD, can be protracted.1031

           645.    Dr. Alexander does not offer opinions on the funding sources for existing abatement

 programs, nor does he opine on who should pay for the Abatement Plan. Those limitations are

 consistent with his expertise, and not required for the Court’s determination that the Plan is both

 necessary and appropriate.1032

           646.    Importantly, Defendants did not present an abatement plan of their own, through

 expert testimony or otherwise. They attempted to chip away at Plaintiffs’ Abatement Plan, per

 above and through the testimony of Defense expert Robert Rufus,1033 but have not offered an

 alternative plan for addressing the serious and apparent harms to Cabell and Huntington related to

 the opioid epidemic. And, as Dr. Alexander testified, the Plan itself is conservative, relying, for

 instance, on providing lower cost, non-in-patient treatment for the majority of individuals in

 treatment.1034

           647.    The Court therefore finds that Plaintiffs’ proposed Abatement Plan is necessary to

 abate the opioid epidemic harms in Cabell and Huntington caused by Defendants’ conduct.

           B.      The Abatement Plan’s 15-Year Cost Measured in Present Value is
                   $1,802,428,070, and in Future Value is $2,544,446,548.

           648.    The Plaintiffs also presented testimony from forensic economist George Barrett,

 who calculated the cost of the Abatement Plan. Mr. Barrett calculates economic damages as an

 expert witness and has testified in over 250 cases throughout West Virginia and the surrounding


 1031
        6/28/21 Trial Tr. (Alexander) at 156.
 1032
        6/28/21 Trial Tr. (Alexander) at 96-97, 120-21, 126.
 1033
        Infra, ¶¶ 662-69.
 1034
        Trial Tr. June 28, 2021 (Alexander) at 165.

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 region.1035 Defendants did not challenge his qualifications and the Court accepted him as an expert

 in the field of forensic economics.1036

           649.    Mr. Barrett calculated the total cost of Plaintiffs’ Abatement Plan, including the

 cost of each category, subcategory, and specific program therein. He calculated the total annual

 cost for each component of the Abatement Plan on a yearly basis for the 15-year duration of the

 Abatement Plan, beginning in the year 2021 and concluding at the end of 2035.1037

           650.    Mr. Barrett used a methodology similar to his work in other cases. He evaluated

 three key pieces of information: the individual items identified in the Abatement Plan, the cost of

 each item, and the quantity or frequency of each item.1038 He applied the Abatement Plan as is,

 without modification to any of the programs or data on populations, frequency, and cost.1039

           651.    The programs in the Abatement Plan, the number of people receiving services

 pursuant to the Abatement Plan, and the frequency of those services were provided by Dr.

 Alexander.

           652.    The unit cost of each item in the Abatement Plan came from three experts: Mr.

 Barrett identified costs for wages, commercial rents, and certain local programs; Dr. Alexander



 1035
     Mr. Barrett is co-owner of Brookshire Barrett & Associates LLC, an economic consulting firm.
 He has testified at trial 48 times, in each case qualified as an expert. He has been hired 50-50 by
 plaintiffs and defendants in the last five years. He recently worked on a multi-billion-dollar class
 action and has worked on other large cases, including mountaintop mining. 6/29/21 Trial Tr.
 (Barrett) at 56-59, 63, 65, 198. Mr. Barrett received a B.A. in economics from West Virginia State
 University, with high honors, and an MBA in economics from Marshall University. Id. at 60-61.
 He has published articles in peer-reviewed journals, including a 2019 article on calculating
 economic damages in West Virginia. Id. at 63-64.
 1036
        6/29/21 Trial Tr. (Barrett) at 65-66, 200.
 1037
        6/29/21 Trial Tr. (Barrett) at 69-70, 83, 85.
 1038
        6/29/21 Trial Tr. (Barrett) at 66-68.
 1039
     Mr. Barrett also worked closely with Dr. Alexander’s team in preparing his cost calculations.
 6/29/21 Trial Tr. (Barrett) at 75-76, 80.

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 identified medical-related costs; and Dr. Young identified costs related to child welfare.1040 Where

 possible, Mr. Barrett obtained data from the local area, such as the cost of Huntington’s LEAD

 program.1041 He obtained wage and benefits data from the Bureau of Labor Statistics for the

 Huntington Metropolitan Statistical Area. Mr. Barrett’s data sources are reliable, relevant to

 Cabell and Huntington, and similar to those he uses in other expert reports, and his methodology

 is consistent with that used by other forensic economists.1042

           653.    Mr. Barrett calculated the cost of the Abatement Plan for 2021, then adjusted for

 inflation to determine costs for the years 2022 to 2035. Average inflation rates were calculated

 using 30 years of past inflation data for 11 different inflation rates, corresponding to different

 categories of goods and services.1043

           654.    Plaintiffs presented the Abatement Plan’s cost in both future value and present

 value. The present value is expressed in 2021 numbers, which are smaller than the future value.

 Present value would be relevant if the Court chose to award a lump sum to Plaintiffs.1044 Mr.

 Barrett applied an interest rate of 3.73% to discount the future value to present value, based on a

 30-year average of interest rates for two kinds of investments, six-month-maturing U.S. treasury

 bills and 10-year-maturing U.S. security treasury notes.1045




 1040
     6/29/21 Trial Tr. (Barrett) at 68-69. For example, data on the cost of OUD treatment came
 from Dr. Alexander, using Medicaid reimbursement rates, which are “very low compared to
 market rate.” Id. at 73-74. 201-02.
 1041
        6/29/21 Trial Tr. (Barrett) at 70-71, 93-97, 99-100.
 1042
        6/29/21 Trial Tr. (Barrett) at 74-75, 111.
 1043
        6/29/21 Trial Tr. (Barrett) at 68-70, 83-86.
 1044
        6/29/21 Trial Tr. (Barrett) at 111-14.
 1045
        6/29/21 Trial Tr. (Barrett) at 112.

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            655.   The Court found that Mr. Barrett is qualified as an expert in forensic economics1046

 and finds that Mr. Barrett’s methodology, data sources and calculations are reliable.

            656.   The Court finds that Defendants have failed to meet their burden of proof, as a

 matter of law and fact, to show that any collateral sources should be deducted from the cost of the

 Abatement Plan. There is no question on this record that the current funding is unstable,1047 and

 stability is necessary for epidemic response efforts to be effective.1048 Moreover, current funding

 is clearly insufficient to implement the Abatement Plan and abate the opioid epidemic.1049

            657.   The Court finds that through Mr. Barrett’s calculations and testimony, Plaintiffs

 have proven, to a reasonable degree of certainty, the total cost necessary to fund the Abatement

 Plan, as follows:

        •   The total cost of the Abatement Plan, for 2021 to 2035, in future value, is
            $2,544,446,548.

        •   The present value of the Abatement Plan, prorated from September 1, 2021 through
            2035, is $1,802,428,070.




 1046
        6/29/21 Trial Tr. (Barrett) at 66.
 1047
      6/16 Trial Tr. (Young) at 36 (existing grant funding is insufficient to sustain needed family
 support services); Trial Tr.6/28/21 (Alexander) at 34-36 (existing community programs would not
 suffice to abate the opioid epidemic, based on participant interviews, wait lists, programs at or near
 capacity, anticipated increased demand, unstable funding, continuing deaths, addiction); Trial Tr.
 7/12/21 (Colston) at 159 (testified that she has no idea what the future holds with respect to federal
 or state funding of Cabell and Huntington response programs).
 1048
      5/28 Tr. (O’Connell) at 36 (community needs long-term sustainable, reliable funding to make
 its epidemic response efforts work).
 1049
     Trial Tr. 6/28 (Alexander) at 113 (“There are many programs and they, frankly, have done a
 remarkable job with not very much, but if you examine the magnitude of the opioid epidemic, it's
 clear, and I believe that I have made it clear, that much more is needed.”); Trial Tr. 6/29/2021
 (Barrett) at 167-168 (“Being a local economist, I can’t imagine that Huntington has $1.7 billion
 dollars available to invest today to cover the costs of this redress model over the next 15 years.”).

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        •   The present value of the Abatement Plan, starting on January 1, 2021 through 2035,
            is approximately $1,890,000,000.1050

            658.   Through Mr. Barrett’s testimony, Plaintiffs detailed the cost of the Abatement Plan

 in three different ways: 1) the total cost of the Abatement Plan per year, from 2021 to 2035; 1051

 2) the total cost of the Abatement Plan, over its 15-year duration, for each subcategory (e.g. 1A,

 1B, etc.); 1052 and 3) the total cost of the Abatement Plan, over its 15-year duration, for each

 individual program in the Abatement Plan (e.g. 1A1, 1A2, etc.), providing a further level of

 detail.1053 With each method, the costs specified by Mr. Barrett total $2,544,446,548.

            659.   The total cost of the Abatement Plan per year, from 2021 to 2035, rounded to the

 nearest million, is as follows:

        •   2021 - $144 million
        •   2022 - $149 million
        •   2023 - $153 million
        •   2024 - $159 million
        •   2025 - $164 million
        •   2026 - $159 million
        •   2027 - $160 million
        •   2028 - $166 million
        •   2029 - $170 million
        •   2030 - $174 million
        •   2031 - $178 million
        •   2032 - $183 million
        •   2033 - $188 million
        •   2034 - $192 million
        •   2035 - $197 million1054



 1050
     6/29/21 Trial Tr. (Barrett) at 106, 115-16. Mr. Barrett calculated the costs to a reasonable
 degree of professional certainty. Id. Mr. Barrett also testified that his present value calculation
 resulted in a lower figure than that suggested by Defendants’ expert, Mr. Rufus. Id. at 114.
 1051
        6/29/21 Trial Tr. (Barrett) at 104-06.
 1052
        6/29/21 Trial Tr. (Barrett) at 102-03, 106-11.
 1053
        6/29/21 Trial Tr. (Barrett) at 129-41.
 1054
        6/29/21 Trial Tr. (Barrett) at 104-06.

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            660.   The cost for each subcategory of the Abatement Plan over the Plan’s 15-year period

 is as follows:

        •   Category 1A, Prevention – Health Professional Education - $5,437,224
        •   Category 1B, Prevention – Patient and Public Education - $538,834
        •   Category 1C, Prevention – Safe Storage and Drug Disposal Programs - $35,972
        •   Category 1D, Prevention – Community Prevention and Resiliency - $17,924,519
        •   Category 1E, Prevention – Harm Reduction - $5,544,455
        •   Category 1F, Prevention – Surveillance, Education, and Leadership - $3,275,608
        •   Category 2A, Treatment – Connecting Individuals to Care - $26,674,357
        •   Category 2B, Treatment – Treating Opioid Use Disorder - $1,705,896,182
        •   Category 2C, Treatment – Managing Complications - $301,682,032
        •   Category 2D, Treatment – Expanding the Healthcare Workforce - $6,185,398
        •   Category 2E, Treatment – Distributing Naloxone and Providing Training - $10,377,665
        •   Category 3A, Recovery – Public Safety - $11,623,562
        •   Category 3B, Recovery – Criminal Justice System - $42,051,138
        •   Category 3C, Recovery – Vocational Training and Job Placement - $41,912,512
        •   Category 3D, Recovery – Reengineering the Workplace – no designated costs
        •   Category 3E, Recovery – Mental Health Counseling and Grief Support - $3,651,622
        •   Category 4A, Addressing Needs for Special Populations – Pregnant Women, New
            Mothers, and Infants - $95,700,232
        •   Category 4B, Addressing Needs for Special Populations – Adolescents and Young Adults-
            $33,990,116
        •   Category 4C, Addressing Needs for Special Populations – Families and Children -
            $212,040,134
        •   Category 4D, Addressing Needs for Special Populations – Homeless and Housing Insecure
            Individuals - $3,941,041
        •   Category 4E, Addressing Needs for Special Populations –Individuals With Opioid Misuse
            – no specific costs for this category.1055

            661.   The cost of the Abatement Plan far surpasses the City and County’s ability to pay.

 The combined city and county budgets are only $87 million,1056 so given the $2,544,446,548 cost




 1055
        6/29/21 Trial Tr. (Barrett) at 102-03, 106-11.
 1056
     See 6/29/21 Trial Tr. (Barrett) at 205; see also 6/30/21 Trial Tr. (Williams) at 28 (Huntington
 has $55 million budget).

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 of the Abatement Plan, it would take roughly 29 years to pay for the plan if the budgets were

 devoted to nothing else.1057

           662.    Defendants’ expert Robert Rufus responded to Dr. Alexander and Mr. Barrett’s

 testimony, but Mr. Rufus’s testimony was of limited or no relevance to the Court, for several

 reasons.

           663.    First, he lacks equivalent expertise to Dr. Alexander and Mr. Barrett. Mr. Rufus is

 a certified public accountant, not an economist, epidemiologist, or public-health expert. Outside

 of this case, his work includes tax work, management consulting, and mergers and acquisitions.

 He was qualified as an expert in “public and forensic accounting” only.1058

           664.    Second, his testimony was narrow. Mr. Rufus did not create an alternative to the

 Abatement Plan. He did not criticize specific programs in the Abatement Plan, other than OUD

 treatment. He did not challenge the 15-year duration of the plan. He did not dispute Mr. Barrett’s

 methodology for calculating the Abatement Plan’s cost, nor challenge Mr. Barrett’s math.1059 Mr.

 Rufus provided no opinion on whether the Abatement Plan’s programs are necessary, nor the

 medical judgments underlying Dr. Alexander’s opinions, nor the capacity or effectiveness of

 existing abatement programs in Cabell and Huntington.1060




 1057
      As Mr. Barrett testified, “Being a local economist, I can't imagine that Huntington has $1.7
 billion dollars available to invest today to cover the costs of this [Abatement Plan] over the next
 15 years.” 6/29/21 Trial Tr. (Barrett) at 167-68.
 1058
        6/29/21 Trial Tr. (Barrett) at 8-10, 12.
 1059
        See generally 6/29/21 Trial Tr. (Barrett) at 167-68; 7/12/21 Trial Tr. (Rufus) at 8-10, 12.
 1060
        7/12 Trial Tr. (Rufus) at 8-10, 12.

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           665.    Mr. Rufus agreed that current spending on abatement in Cabell and Huntington is

 a fraction of what Plaintiffs are seeking in the Abatement Plan, and said it is “probably true” that

 current abatement spending is less than what is needed.1061

           666.    Mr. Rufus identified current abatement programs and spending by the City, County,

 and third parties. He identified grant funding but agreed that such funds are not guaranteed.1062

           667.    The Court finds that the funding sources identified by Mr. Rufus are collateral

 sources and should not be deducted from the cost of the Abatement Plan. The Court further finds

 that Defendants have not met their burden to show that such collateral sources should be deducted

 from the cost of the Abatement Plan.1063

           668.    At trial, for the first time, Mr. Rufus offered an alternate calculation of OUD

 treatment costs. Mr. Barrett calculated that the Abatement Plan’s treatment programs would cost

 $1,705,896,182 over the 15-year duration of the plan. Mr. Rufus argued that treatment costs should

 be $1,061,849,848 lower, i.e., roughly $644 million in total, based on his recalculation of patients’

 treatment period. Mr. Rufus agreed that “if the Judge agreed with your number, [Plaintiffs would]

 get $644 million [for treatment]. If the Judge agrees with Dr. Alexander and Mr. Barrett, it’s $1.7

 billion [for treatment], or the number could be anywhere in between?”1064

           669.    The Court finds that the calculation of treatment costs by Dr. Alexander and Mr.

 Barrett is more reliable than the recalculation by Mr. Rufus, who lacks expertise, and thus

 $1,705,896,182 is the accurate figure for the Abatement Plan’s treatment costs.




 1061
        7/12/21 Trial Tr. (Rufus) at 16-17, 51.
 1062
        7/12/21 Trial Tr. (Rufus) at 28 (“[B]ut grant money is not guaranteed. That’s a fact.”).
 1063
        7/12/21 Trial Tr. (Rufus) at 20-28.
 1064
        7/12/21 Trial Tr. (Rufus) at 52-55.

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                                                 ****

           670.   The Court its closes findings of fact with with Dr. Alexander’s conclusion regarding

 the Abatement Plan:

           This is not a moonshot. This is not something that is beyond the capability of this
           community. But it will take hard work, and it will take resources, and it will take
           coordination and planning such that I speak to in the materials that I've provided. I
           think if the -- Cabell County and the City of Huntington implement this plan, I
           think that they have every reason to look forward to many, many good years
           ahead and I believe that there's not a moment to lose. 1065




 1065
        6/28/21 Trial Tr. (Alexander) at 114:11-19.

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                                       CONCLUSIONS OF LAW

           Based upon its findings of fact, the Court adopts the following conclusions of law:

 I.        Jurisdiction and Venue.

           1.       The claims against Defendants other than AmerisourceBergen, Cardinal, and

 McKesson were severed prior to this case being remanded from MDL 2804.1066 Plaintiffs’ sole

 claim in this action is the abatement of a public nuisance.

           2.       This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332 as the

 Plaintiffs are both citizens of the State of West Virginia and all of the Defendants are citizens of

 states other than West Virginia and the amount in controversy exceeds $75,000 exclusive of

 interest and costs.

           3.       Venue is proper in this district under 28 U.S.C. § 1391 because a substantial part

 of the events or omissions giving rise to Plaintiffs' claims occurred in the Southern District of West

 Virginia.

 II.       Plaintiffs Have Standing and to Bring this Action Seeking to Abate a Public
           Nuisance.

           4.       The West Virginia Legislature has granted Plaintiffs express statutory authority to

 “abate or cause to be abated” a public nuisance.1067 The Supreme Court of Appeals long ago

 recognized the right of municipalities to seek enforcement of this statutory authority by bringing

 an abatement action in court where the question of whether the condition was a nuisance is a

 question of fact.1068



 1066
        Doc. 123.
 1067
        W.Va. Code § 8-12-5 (13), (23), and (44); W.Va. Code § 7-1-3kk.
 1068
     Sharon Steel Corp. v. City of Fairmont, 175 W.Va. 479, 488, 334 S.E.2d 616, 625 (1985) (prior
 to abating a condition that a municipality declares as a public nuisance, municipality must first
 “prosecut[e] the matter in a court”).

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              5.    The Defendants previously moved for summary judgment on the basis that the

 Plaintiffs lacked standing.1069 This Court rejected Defendants’ claim that West Virginia law

 granted municipal standing to abate a nuisance only when there was an allegation that the conduct

 was a nuisance per se or a nuisance under a specific municipal ordinance.1070 Instead, this Court

 found that a municipality has standing to invoke its general power to “abate or cause to be abated”

 a public nuisance and seek judicial redress to abate something alleged to be a common law public

 nuisance.1071 Plaintiffs’ claims at trial that Defendants’ distribution of opioids constituted an

 unreasonable interference and constitutes precisely the kind of common law public nuisance for

 which Plaintiffs are granted standing to abate under Sharon Steel, supra.1072

              6.    Alternatively, the Court found that Plaintiffs’ allegations that Defendants were

 engaged in illegal conduct in relation to their distribution of opioids, if proved, would constitute a

 nuisance per se which would confer standing.1073 Under the Restatement (Second) of Torts,1074



 1069
        Doc. 238.
 1070
        Id.
 1071
        Doc. 1248 at 11-14.
 1072
      See also Restatement (Second) of Torts § 821B(2)(a) (1979) (“Second Restatement”)
 (“significant interference with the public health, the public safety, the public peace, the public
 comfort or the public convenience may support a finding of public nuisance.”).
 1073
        Doc. 1248 at 18.
 1074
     The Court in Duff v. Morgantown Energy Associates (M.E.A.) equated its definition of public
 nuisance with the Second Restatement’s definition. 187 W.Va. 712, 716, n.6, 421 S.E.2d 253, 257,
 n. 6 (1992) (characterizing its definition as “consistent with” Restatement (Second) of Torts §
 821B (1979)); see also Rhodes v. E.I. du Pont de Nemours and Company, 657 F.Supp.2d 751, 768
 (S.D. W.Va. 2009) (West Virginia’s definition of nuisance is “consistent with the Restatement
 (Second) of Torts § 821B(1).”) (citing Duff, supra)); Sharon Steel Corp., 175 W. Va. at 483, 334
 S.E.2d at 620 (citing Second Restatement § 821B); see also State ex rel. Morrisey v.
 AmerisourceBergen Drug Corp., No. 12-C-141, 2014 WL 12814021, at *9 (W. Va. Cir. Ct. Dec.
 12, 2014); Barker v. Naik, No. 2:17-CV-04387, 2018 WL 3824376, at *3 (S.D.W. Va. Aug. 10,
 2018); see also Callihan v. Surnaik Holdings of WV, LLC, No. 2:17-CV-04386, 2018 WL
 6313012, at *5 (S.D.W. Va. Dec. 3, 2018).

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 illegal conduct constitutes an unreasonable interference sufficient to constitute a public

 nuisance.1075 Other authorities agree,1076 and it has long been the law in this State that engaging

 in any form of business in defiance of laws regulating or prohibiting business activities constitutes

 a nuisance per se.1077

           7.     Defendants emphasize that the distribution of drugs is a legal activity. However,

 here, “the relevant conduct is the alleged violations of law in connection with Defendants’

 distribution of pharmaceutical drugs, not the lawful business of pharmaceutical drug distribution

 in general.”1078

           8.     The Court incorporates its previously issued rulings and confirms that both

 Plaintiffs have standing to bring their claims to abate a public nuisance against the Defendants –

 either as a common-law nuisance or a nuisance per-se.1079




 1075
    Second Restatement § 821B(2)(c); Cincinnati v. Beretta U.S.A. Corp., 2002-Ohio-2480, ¶ 8,
 95 Ohio St. 3d 416, 418–19, 768 N.E.2d 1136, 1142 (Ohio 2002) (“Unreasonable interference”
 under section 821B includes “conduct that is contrary to a statute, ordinance, or regulation”).
 1076
     66 C.J.S. Nuisances § 4 (absolute or per se nuisance includes “an act involving culpable and
 unlawful conduct causing unintentional harm” (emphasis added)); 58 Am. Jur. 2d Nuisances § 1
 (“Nuisance is generally applied to that class of wrongs that arises from the unreasonable,
 unwarrantable, or unlawful use (emphasis added)); City of Cincinnati, 95 Ohio St. 3d at 419–21,
 768 N.E.2d at 1142–43 (With an absolute nuisance, the wrongful act is either intentional or
 unlawful and strict liability attaches notwithstanding the absence of fault because of the hazards
 involved). Even when the conduct is not expressly in violation of the law, it can still constitute an
 absolute nuisance or a nuisance per se “because of the hazards involved.” 66 C.J.S. Nuisances §
 4. The massive distribution of highly addictive controlled substances would certainly fall into this
 category.
 1077
        Princeton Power Co. v. Calloway, 99 W. Va. 157, 128 S.E. 89, 92 (1925).
 1078
        Doc. 1248 at 14.
 1079
        Doc. 1248-0 at p. 11 (common law nuisance) and p. 18 (nuisance per se).

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 III.      Plaintiffs’ Public Nuisance Claims Implicate Public Rights.

           9.     Under West Virginia law, a public nuisance is “an act or condition that unlawfully

 operates to hurt or inconvenience an indefinite number of persons” and “this definition is

 consistent with the Second Restatement, which defines a public nuisance as ‘an unreasonable

 interference with a right common to the general public.’”1080

           10.    The Second Restatement identifies, as one example of an unreasonable interference

 with public rights, conduct that “involves a significant interference with the public health, the

 public safety, the public peace, the public comfort or the public convenience.”1081

           11.    West Virginia case law confirms the role of public nuisance actions in addressing

 harms to the public health and safety.1082

           A.     Defendants’ Conduct Constitutes Interference with Public Rights.

           12.    The Court finds that Plaintiffs have proven that the opioid epidemic in Cabell and

 Huntington is a significant interference with rights common to the general public: the rights to the

 health and safety of the community at large. If the interest invaded “is an interest shared equally

 by members of the public, then the alleged nuisance is public in nature.”1083 The fact that an




 1080
        Duff, 187 W. Va. at 716, 421 S.E.2d at 257 and n.6 (quoting Second Restatement).
 1081
        Second Restatement, § 821B(2)(a) (1979).
 1082
     See, e.g., State ex rel. Smith v. Kermit Lumber & Pressure Treating Co., 200 W. Va. 221, 245,
 488 S.E.2d 901, 925 (1997) (“A public nuisance action usually seeks to have some harm which
 affects the public health and safety abated.”); see also Rhodes, 657 F.Supp.2d at 768 (citing Second
 Restatement, § 821B cmt. b for the point that “conduct interfering with the public health constitutes
 a public nuisance”).
 1083
        Rhodes, 636 F.3d at 96.

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 interference with a public right will invariably affect individual members of the public does not

 change the nature of the right.1084

              13.   The Court rejects Defendants’ claim that the rights implicated by the opioid

 epidemic are a collection of individual rights rather than rights common to the general public. In

 the MDL, Judge Polster has repeatedly rejected the same arguments by these and other

 defendants.1085 Noting the plaintiffs’ evidence of increased opioid-related overdoses, hospital

 admissions, foster-care placements, and arrests, Judge Polster held that “[a] factfinder could

 reasonably conclude that this evidence demonstrates an interference with public health and public

 safety rights.”1086 In so holding, Judge Polster applied Ohio law which, like the law in West

 Virginia, follows Section 821B of the Second Restatement.1087

              14.   Likewise, West Virginia state courts have repeatedly concluded that the opioid

 epidemic constitutes an interference with public rights based upon the epidemic’s impact on West

 Virginia communities.1088


 1084
     Id. (explaining that, where the defendant’s conduct “interfered with the general public’s access
 to clean drinking water,” “[t]he fact that the water eventually was pumped into private homes did
 not transform the right interfered with from a public right to a private right”).
 1085
     In re Nat’l Prescription Opiate Litig., 406 F. Supp. 3d 672, 674 (N.D. Ohio 2019) (“The Court
 has previously rejected arguments that: (i) Plaintiffs’ claims rely on an aggregation of individual
 rights, as opposed to rights commonly held by the public; and (ii) none of the allegedly interfered-
 with rights constitute public rights.”).
 1086
        Id.
 1087
     See id. (quoting City of Cincinnati v. Beretta U.S.A. Corp., 768 N.E.2d 1136, 1142 (Ohio 2002)
 (“‘A public nuisance is an unreasonable interference with a right common to the general public,’
 and unreasonable interference includes acts that ‘significantly interfere with public health, safety,
 peace, comfort or convenience’”) (quoting 4 Restatement of the Law 2d, Torts (1965), § 821B(1)-
 (2)).
 1088
     See Brooke Cty. Comm’n v. Purdue Pharma, L.P., No. 17-C-248, p. 13 (W. Va. Marshall Cty.
 Cir. Ct. Dec. 28, 2018) (“The Court further finds and concludes that Plaintiffs have adequately
 alleged that Defendants interfered with a public right.”), writ denied, State ex rel. Cardinal Health,
 Inc. v. Hummel, No. 19-0210 (W. Va. June 4, 2019); State ex rel. Morrisey v. AmerisourceBergen

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           15.    The Court finds that Defendants’ reliance on out-of-state authorities is

 unpersuasive.1089 As the Plaintiffs have pointed out, courts in twenty-six states have rejected the

 Defendants’ claim that no public rights are at issue in these opioid cases.1090 And, recent decisions

 accepting similar public nuisance claims in non-opioid contexts confirm that these kinds of public

 health harms can constitute an interference with a public right.1091 The weight of these decisions

 has pushed the question of whether an opioid epidemic constitutes an interference with public

 rights well past the tipping point – with at least one state court reversing its prior rejection of an

 opioid-based public nuisance claim.1092

           16.    The Court rejects the Defendants’ attempt to frame the harms of the opioid

 epidemic as only affecting individuals struggling with addiction or those who have overdosed. All

 members of the community are affected by the devastation.




 Drug Corp., No. 12-C-141, 2014 WL 12814021, at *10 (W. Va. Boone Cty. Cir. Ct. Dec. 12,
 2014), (concluding that “the State’s public nuisance claim sufficiently alleges the safety and health
 and morals of the people of West Virginia has been compromised due to Defendants’ alleged
 wrongful influx of addictive, controlled substances into West Virginia, thereby causing substantial
 injury to West Virginia citizens and taxpayers”), writ denied, State ex. rel. AmerisourceBergen
 Drug Corp. v. Thompson, No. 15-1026 (W. Va. Jan. 5, 2016); see also Monongalia County, et al.
 v. Purdue Pharma L.P., et al., Nos. 18-C-222-236 (adopting and applying the reasoning and rulings
 from Brooke County), writ denied, State ex rel. AmerisourceBergen Drug Corp. v. Moats, No. 19-
 1051 (W.Va. January 30, 2020).
 1089
    See Nuisance Motion for Summary Judgment at 11 (Doc. 1004) (citing State v. Lead Industries
 Association, 951 A.2d 428 (R.I. 2008) and City of Chicago v. Beretta U.S.A. Corp., 821 N.E.2d
 1099 (Ill. 2004)).
 1090
        See Doc. 1290-1 (Plaintiffs’ Appendix of Decisions).
 1091
     See, e.g., In re JUUL Labs, Inc., Mktg., Sales Practices, & Prod. Liab. Litig., No. 19-MD-
 02913-WHO, 2020 WL 6271173, *63 (N.D. Cal. Oct. 23, 2020) (claims by school boards that
 manufacturer of electronic cigarettes interfered with public health stated a claim for interference
 with public rights sufficient to support a claim for public nuisance under laws of Arizona, New
 York, Pennsylvania, Florida, and California).
 1092
    See Michigan ex rel. Kessel v. Cardinal Health, Inc., No. 19-016896-NZ, slip op. (Cir. Ct.
 Mar. 24, 2021), reversing on reconsideration slip. op. (Cir. Ct. Nov. 17, 2020).

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              17.    The Court has detailed above the horrific consequences to Plaintiffs’

 communities.1093 Over 8,000 people in Cabell County have opioid use disorder.1094 There have

 been over 1,000 opioid deaths.1095 Approximately 2,500 babies were born with NAS.1096 The

 epidemic has led to separation of families and children.1097 The epidemic has increased the spread

 of infectious disease, including HIV, Hepatitis B and C, and complications due to Endocarditis.1098

 The epidemic has resulted in incarcerations,1099 crime,1100 drug trafficking,1101 and a diversion of

 City and County resources from other governmental functions to the opioid epidemic.1102

              18.    The impact of the opioid epidemic on the Cabell Huntington Community at large

 will be long-lasting, as a generation of children carry its burdens for years, with corresponding

 impact on educators and caregivers.1103 Indeed, the harms from the epidemic are intergenerational

 addiction is passed on to subsequent generations.1104

              19.    The testimony and evidence presented demonstrates Plaintiffs are not seeking to

 vindicate private rights, nor are they arguing that the opioid epidemic interferes with a public right

 simply because it affects a large number of individuals (though it does). Plaintiffs have established


 1093
        See FOF, ¶¶ 4-104.
 1094
        FOF, ¶ 43.
 1095
        FOF, ¶ 53.
 1096
        FOF, ¶ 67.
 1097
        FOF, ¶¶ 61-68.
 1098
        FOF, ¶¶ 69-79.
 1099
        FOF, ¶¶ 80-87.
 1100
        Id.
 1101
        Id.
 1102
        Id.
 1103
        FOF ¶ 68.
 1104
        FOF ¶¶ 67, 521.

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 that the opioid epidemic harmed businesses and economic development in the community. Entire

 neighborhoods have been devastated with homes burnt out and abandoned.1105 The daily presence

 of people suffering from OUD in the community resulted in residents avoiding the Huntington

 businesses because of fear of encountering homeless addicts.1106 It has resulted in community

 members being regularly hindered in their ability to occupy, use, and enjoy public spaces.1107

           20.      The Court concludes that the opioid epidemic in Cabell County and the City of

 Huntington meets the Second Restatement’s definition of a public nuisance in that the epidemic is

 an unreasonable, significant, long-lasting, and continuing interference with the public health,

 public safety, public peace, public comfort, and public convenience of the County and City’s

 communities.

           B.       West Virginia Public Nuisance Law Is Not Limited to Interference with
                    Public Property or Resources.

           21.       The Court rejects the Defendants argument that West Virginia public nuisance law

 is limited to interference with public property or resources.

           22.      Under West Virginia law, “nuisance is a flexible area of the law that is adaptable

 to a wide variety of factual situations.”1108

           23.      Defendants cite no authority supporting their interpretation of Sharon Steel’s

 statement regarding flexibility as confined to a category of injury involving public property or

 resources.




 1105
        FOF ¶ 84.
 1106
        FOF ¶ 84.
 1107
        FOF ¶ 84-85.
 1108
        Sharon Steel Corp., 175 W. Va. at 483-84, 334 S.E.2d at 621.

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           24.    West Virginia cases have rejected this purported limitation. In Kermit Lumber, the

 Supreme Court of Appeals noted that “[t]he term ‘public nuisance’ does not have an exact

 definition[,]” but that, “[g]enerally, it has been described as ‘the doing of or the failure to do

 something that injuriously affects the safety, health, or morals of the public, or works some

 substantial annoyance, inconvenience, or injury to the public[.]’”1109

           25.    A number of other courts adjudicating opioid cases, based either on West Virginia

 law,1110 or the law of other states, have rejected this limitation on public nuisance claims.1111 The

 Court is persuaded that these decisions correctly articulate the substance of West Virginia law.




 1109
        Kermit Lumber, 200 W. Va. at 245 n.28 (quoting 58 Am.Jur.2d Nuisances § 35 (1989)).
 1110
     Morrisey, 2014 WL 12814021 at *9 (citing Kermit Lumber, 200 W. Va. at 245 n. 28 and
 holding that State of West Virginia’s claims against opioid distributors “fit squarely” within this
 definition of public nuisance); Brooke Cty. Comm’n at p. 13 (“a claim for public nuisance is not
 limited to property disputes and that West Virginia courts have applied the public nuisance
 doctrine in numerous contexts, including in opioids cases like this.”); see also Lemongello v. Will
 Co., No. CIV.A. 02-C-2952, 2003 WL 21488208, at *2 (W. Va. Cir. Ct. June 19, 2003) (holding,
 in case alleging that the defendants’ sale of handguns supplied an illegal handgun market, that
 “West Virginia law does not limit claims of public nuisance to those dealing with real property”).
 1111
      See People of the State of California, acting by and through Santa Clara County Counsel Orry
 P. Korb and Orange County District Attorney Tony Rackauckas v. Purdue Pharma L.P. et al, Case
 No. 30-2014-00725287-CU-BT-CXC, (Orange County Superior Court March 13, 2021)(denying
 motion for summary judgment on public nuisance); State of Ohio, ex rel. Dewine v. Purdue
 Pharma L.P., No. 17 CI 261, 2018 WL 4080052, at *4 (Ohio Ct. Com. Pl. Aug. 22, 2018) (holding
 that Ohio “adequately pled public nuisance” and interference with a public right); State of Vermont
 v. Purdue Pharma L.P., No. 757-9-18, slip op. at 4-6 (Vt. Sup. Ct. March 18, 2019) (rejecting
 Defendants’ arguments that the State failed to allege interference with any public right);
 Commonwealth of Kentucky ex rel. Beshear v. Cardinal Health LLC, No. 18-CI-00I013, slip op.
 at 24-28 (Ky. Cir. Ct. Sept. 12, 2019) (rejecting Cardinal’s arguments that the Commonwealth
 failed to adequately plead interference with a public right); and Morrisey 2014 WL 12814021 at
 *9 and Morrisey v. Cardinal Health, Inc., No. 12-C-140, slip op. (Cir. Ct. Apr. 17, 2015), writ
 denied State ex. rel. AmerisourceBergen Drug Corp. v. Thompson, No. 15-1026 (W.Va. Jan 5,
 2016).

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        C.      Plaintiffs’ Claims are Not Excluded from Nuisance Law Because They
                Arise from the Distribution of Products.

        26.     The Court predicts that the West Virginia Supreme Court of Appeals would reject

 Defendants’ argument that public nuisance claims cannot involve the distribution and subsequent

 use or misuse of a product. West Virginia trial courts have upheld public nuisance claims involving

 the distribution and subsequent use of products, including firearms and opioids.1112 These uniform

 trial court decisions, along with the repeated denials of review by the Supreme Court of Appeals,

 provide persuasive guidance as to how the Supreme Court of Appeals would rule on Defendants’

 arguments here.

        27.     There is no exception to public nuisance law for claims involving products when

 the use or distribution of those products creates an unreasonable interference with a public right.

 Defendants’ arguments to the contrary are “based upon an entirely mistaken emphasis upon what

 the defendant has done rather than the result which has followed.”1113


 1112
     See Lemongello, 2003 WL 21488208; Morrisey, 2014 WL 12814021; Brooke Cty. Comm’n,
 supra. Contrary to Defendants’ argument that West Virginia’s high court would reject such claims,
 the Supreme Court of Appeals has on multiple occasions denied review of trial court decisions
 upholding public nuisance claims based on the distribution of opioids. See State ex. rel.
 AmerisourceBergen Drug Corp. v. Thompson, No. 15-1026 (W. Va. Jan. 5, 2016); State ex rel.
 AmerisourceBergen Drug Corp. v. Hummel, No. 19-0210 (W. Va. June 4, 2019). In addition, the
 court in In re: Opioid Litigation, No. 19-C-19000 (Kanawha Cty. Cir. Ct. Oct. 9, 2019),
 considering similar arguments to dismiss claims based on harms from the opioid epidemic, adopted
 and applied the reasoning and rulings from Brooke County Commission, and the Supreme Court
 of Appeals again denied review. See State ex rel. AmerisourceBergen Drug Corp. v. Moats, No.
 19-1051 (W. Va. Jan. 30, 2020).
 1113
     Commonwealth v. Barnes & Tucker Co., 319 A.2d 871, 883 (Pa. 1974) (quoting William L.
 Prosser, Handbook of the Law of Torts § 88 at 595 (3d ed. 1964)). The term “nuisance” refers “to
 the interests invaded, to the damage or harm inflicted, and not to any particular kind of act or
 omission which has led to the invasion.” William L. Prosser, Handbook of the Law of Torts § 87
 (4th ed. 1971). And while Defendants argue that “most high courts across the country” have not
 applied public nuisance law to claims involving products, Nuisance MSJ at 5, multiple state
 supreme courts have upheld product-based nuisance claims in the context of handguns, see, e.g.,
 City of Cincinnati, 768 N.E.2d 1136; City of Gary ex rel. King v. Smith & Wesson Corp., 801

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        28.     In particular, relying on reasoning that is directly applicable here, courts have

 upheld public nuisance claims where the creation or maintenance of an illicit market for a product

 due to oversupply gives rise to a public nuisance.1114

        29.     The Defendants’ argument further fails as it relies heavily on a provision of the

 Third Restatement, not West Virginia law.1115 While West Virginia courts (including the Supreme

 Court of Appeals) have cited Section 821B of the Second Restatement with approval and noted its

 consistency with West Virginia law, no West Virginia court has adopted Section 8 of the Third

 Restatement. Defendants have not provided any examples of West Virginia state courts citing this

 section, or any other state courts for that matter.1116 No state’s highest court has adopted Section



 N.E.2d 1222, 1229-33 (Ind. 2003); People ex rel. Gallo v. Acuna, 929 P.2d 596 (Cal. 1997), while
 numerous other courts have recognized public nuisance claims involving products including lead
 paint, “flushable” wipes, gasoline additives, and opioids. See, e.g., People v. ConAgra Grocery
 Prods. Co., 227 Cal. Rptr. 3d 499, 546 (Cal. Ct. App. 2017) (lead paint); City of Wyoming v.
 Procter & Gamble Co., 210 F. Supp. 3d 1137, 1162 (D. Minn. 2016) (“flushable” wipes); State of
 Maryland v. Exxon Mobil Corp., 406 F. Supp. 3d 420 (D. Md. 2019) (MTBE); City of Boston v.
 Purdue Pharma, L.P., No. 1884CV02860, 2020 WL 977056 (Mass. Super. Ct. Jan. 31, 2020)
 (distribution of opioids); In re Opioid Litig., 2018 WL 3115102 (N.Y. Sup. Ct. June 18, 2018)
 (opioids); Gov’t of U.S. Virgin Islands v. Takata Corp., No. ST-16-CV-286, 2017 WL 3390594,
 at *40-44 (V.I. Super. Ct. June 19, 2017) (airbags).
 1114
      See Ileto v. Glock Inc., 349 F.3d 1191, 1214 (9th Cir. 2003) (recognizing public nuisance
 claims based on the defendants “purposefully over-saturating the legal gun market in order to take
 advantage of re-sales to distributors that they know or should know will in turn sell to illegal
 buyers”); City of New York v. Beretta U.S.A. Corp., 315 F. Supp. 2d 256, 276 (E.D.N.Y. 2004)
 (“Under New York law, a claim for public nuisance may lie against members of the gun industry
 whose marketing and sales practice lead to the diversion of large numbers of firearms into the
 illegal secondary gun market.”).
 1115
     See Nuisance MSJ (Doc 1004) at 6-7 (relying on § 8 of the Restatement (Third) of Torts: Liab.
 for Econ. Harm (comment g)).
 1116
      Generally, the Third Restatement has been viewed as a radical departure from the settled
 standards of tort law. See Restatement (Third) of Torts: Liab. for Econ. Harm, Introduction, Pg. 3
 (“This Restatement is, therefore, an almost total overhaul of Restatement Second as it concerns
 the liability of commercial sellers of products.”). Unlike its predecessor, the Third Restatement
 has not been widely adopted by the states. See, e.g., Delaney v. Deere and Co., 999 P.2d 930, 946
 (Kan. 2000) (stating that the (Third) Restatement “goes beyond the law” and is “contrary to the

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 8, and this Court is reluctant to presume that West Virginia would do so if presented with the

 question.

           30.    In any event, by its express terms, Section 8 of the Third Restatement does not

 apply to the Plaintiffs’ abatement claim here. The provision applies only to claims for economic

 loss by a private party who has suffered an injury “distinct in kind from those suffered by members

 of the affected community in general.”1117 The comment to Section 8 makes clear that the provision

 is not intended to apply to public nuisance actions brought by public officials.1118

           31.    Here, the Supreme Court of Appeals’ explanation that West Virginia’s definition

 of public nuisance is consistent with Section 821B of the Second Restatement, together with its

 repeated denial of review of trial court rulings upholding public nuisance claims involving the

 distribution and subsequent use of products, offer clear guidance on the state law. West Virginia

 law provides a broad and flexible definition of public nuisance—one that fully encompasses

 Plaintiffs’ claims here.




 law in Kansas”); Tincher v. Omega Flex, Inc., 104 A.3d 328, 415 (Pa. 2014) (declining to adopt a
 product liability portion of the Third Restatement and discussing other courts across the country
 that have done the same); Potter v. Chicago Pneumatic Tool Co., 694 A.2d 1319, 1331 (Conn.
 1997) (observing that a provision of the Draft Restatement (Third) “has been a source of substantial
 controversy among commentators” and stating that rule promulgated in the Draft Restatement
 (Third) was inconsistent with the court’s “independent review of the prevailing common law”).
 1117
        Restatement (Third) of Torts: Liab. for Econ. Harm, § 8.
 1118
     Id., § 8 cmt. a (“In addition to the common-law claims recognized here, public officials may
 bring civil or criminal actions against a defendant who creates a public nuisance. . .. The definition
 of ‘public nuisance’ for those purposes is widely a matter of statute and tends to be considerably
 broader than the common-law definition recognized by this Section as a basis for a private suit.”).

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 IV.       Defendants’ Conduct Constituted an Unreasonable Interference with a Public
           Right.

           32.     West Virginia has adopted the definition of “public nuisance” set forth in § 821B

 of the Second Restatement:1119 “A public nuisance is an unreasonable interference with a right

 common to the general public.”1120 Thus, in West Virginia, the touchstone of public nuisance

 liability is unreasonableness.1121

           33.     The Second Restatement offers the following guidance:

           Circumstances that may sustain a holding that an interference with a public right is
           unreasonable include the following:


                   (i)      Whether the conduct involves a significant interference with
                   the public health, the public safety, the public peace, the public
                   comfort or the public convenience, or
                   (ii)     whether the conduct is proscribed by a statute, ordinance or
                   administrative regulation, or
                   (iii)    whether the conduct is of a continuing nature or has
                   produced a permanent or long-lasting effect, and, as the actor knows
                   or has reason to know, has a significant effect upon the public
                   right.1122




 1119
        COL, supra, ¶ 6, n. 9.
 1120
        Second Restatement, § 821B(1) (1979).
 1121
     See, e.g., Duff, 421 S.E.2d at 262 (reasonableness of conduct determines whether conduct
 constitutes a nuisance); West v. National Mines Corp., 168 W.Va. 578, 587, 285 S.E.2d 670, 677
 (W. Va. 1981), reh'g on appeal, 336 S.E.2d 190 (W. Va. 1985) (activity must be reasonable to
 avoid liability for nuisance).
 1122
        Second Restatement, § 821B(2).

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         34.     This Court has previously recognized that “unreasonableness” is the applicable

 standard.1123 As set forth in detail in the findings above, the evidence at trial established that

 Plaintiffs have met this burden.1124

         35.     The Court emphasizes that the conduct in question is the distribution of dangerously

 addictive narcotics with a high risk of diversion. Distributors like Defendants are uniquely able to

 act to prevent diversion because they know the quantity of opioids they are shipping to their

 customers within a particular region and can observe patterns of excessive or unusual ordering

 indicative of diversion at the pharmacies they supply. Nonetheless, Defendants acted unreasonably

 in failing to control the supply of opioids into Cabell and Huntington and failing to take reasonable

 steps to prevent diversion of these dangerous drugs.

         36.     Defendants acted unreasonably when they distributed an unusually excessive

 quantity of opioids into Cabell and Huntington taking account the size of the population of the area

 into which these drugs were shipped and the scourge of addiction that was emerging.


 1123
     See April 29, 2021 Memorandum Opinion and Order, Dkt. 1294 at 6 (finding “Defendants
 have not established that there is a ‘fault’ element (in the way they describe it [intent, recklessness,
 or negligence]) of a public nuisance claim under West Virginia law.”); id. (“The court agrees with
 plaintiffs that because defendants’ motion does not establish the reasonableness of defendants’
 conduct, the motion should be denied.”).
 1124
      Even assuming arguendo that the Defendants are correct that an element of “fault” is required
 to prove the unreasonableness of their conduct, Dkt. 1294 at 6, the Court concludes that Plaintiffs
 have met the requirement as Defendants’ conduct was intentional. In denying the Defendants’
 motions for summary judgment pertaining to fault, this Court held that “even assuming that there
 is a culpability (“fault”) element in the public nuisance context, the motion should still be denied
 because there are disputed issues of material fact about whether defendants’ conduct was
 intentional.” Dkt. 1294 at 6. As the Court previously held, Plaintiffs are not required to prove
 mens rea – or intent to create the opioid crisis or the resulting harms – only that their actions were
 intentional. Dkt. 1294 at 5-6. Here, as set forth below, the Plaintiffs proved that Defendants’
 conduct was an unreasonable interference based on its intentional selling and shipment of high
 volumes of opioids into Cabell and Huntington, shipping suspicious orders without conducting
 due diligence, failing to implement the due diligence programs, distributing unreasonable
 quantities of opioids, failing to upgrade ineffective due diligence programs, and violating the CSA
 and the WVCSA.

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           37.    Defendants also acted unreasonably in operating their SOMs programs.

           38.    Finally, Defendants acted unreasonably with respect to the distribution of opioids

 when they failed to comply with the requirements of the CSA.

           A.     The Volume of Pills Shipped to Cabell and Huntington and
                  Surrounding Areas Proves Unreasonable Conduct.

           39.    The Court concludes that Defendants’ distribution of an extraordinarily

 disproportionate quantity of opioids into Cabell and Huntington was unreasonable. Despite

 Defendants’ diversion control teams’ knowledge of the opioid crisis, opioid addiction, and the

 relationship between pain pills and heroin, each of the Defendants distributed increasingly large

 amounts of opioids into Cabell and Huntington and the surrounding areas creating long lasting

 consequences that continue to interfere with the public rights identified above. As this conduct

 produced a long-lasting effect that Defendants knew or hadreason to know had a significant effect

 upon the public right, it constitutes unreasonable conduct under the Second Restatement test.1125

           40.    For example, ABDC distributed a total of 36 million dosage units of hydrocodone

 and oxycodone to pharmacies in Cabell and Huntington. Between June of 2002 and December of

 2018, the equivalent of 360 doses for every man, woman, and child in the community, an amount

 that was, in and of itself, unreasonable and could not be explained by changes in the standard of

 care for treating pain.1126

           41.    In January 2006, ABDC’s hydrocodone shipments to West Virginia doubled the

 national per pharmacy average.1127 From 2005 to 2016, ABDC shipped 248.16 million dosage




 1125
        Second Restatement, § 821B(2)(iii).
 1126
        FOF, ¶ 174.
 1127
        FOF, ¶ 175

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 units of oxycontin and hydrocodone to West Virginia.1128 From 2007 through 2018, there were

 77,398 transactions by ABDC with pharmacies in Cabell and Huntington.1129

              42.   Cardinal distributed over 37 million dosage units of hydrocodone and oxycodone

 to pharmacies in Cabell and Huntington, between January 1996 and May 2018, the equivalent of

 370 doses for every man, woman, and child in the community, an amount that was, in and of itself,

 unreasonable and could not be explained by changes in the standard of care for treating pain.1130

 Between 2006 and 2014, Cardinal’s monthly average shipments of opioids were well in excess of

 national averages.1131

              43.   While McKesson distributed 7.725 million dosage units of hydrocodone and

 oxycodone to pharmacies in Cabell and Huntington, between January 2004 and May 2018.1132

 While this number was smaller than Cardinal and ABDC, shipments to the few pharmacies it did

 serve were clearly excessive in that they were well in excess of average monthly shipments

 nationally, West Virginia, and Cabell County.1133

              44.   For example, Custom Script Pharmacy, discussed above, is located in Barboursville

 in Cabell County. Barboursville had a 2010 population of 3,964.1134 In the four-year period

 McKesson serviced Custom Script (2010 to 2013), it shipped to Custom Script 441,000 million

 doses of oxycodone and hydrocodone (based on ARCOS)—over 111 doses for every man, woman,




 1128
        Id.
 1129
        Id.
 1130
        FOF, ¶ 246.
 1131
        FOF, ¶ 247.
 1132
        P-44711_00027 (McCann 1006).
 1133
        P-43225_00013, P-44711_00044.
 1134
        FOF, ¶ 342.

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 and child. The four-year total masks the fact that Custom Script’s orders from McKesson

 precipitously declined in 2012 and 2013.1135 In 2011 alone, Custom Script purchased

 approximately 159,720 dosage units of oxycodone from McKesson, a monthly average of over

 13,000 pills, and from 2006 to 2014, McKesson’s average dosage units of oxycontin shipped to its

 Cabell and Huntington pharmacies was 4,467.1136 For 2011, the average monthly dosage units of

 oxycontin shipped to Custom Scripts was over two times its average for all West Virginia

 pharmacies.1137

              45.   McKesson’s Rite Aid sales in Cabell Huntington were also excessive when

 compared to its average sales in the county and state.1138 The Rite Aid sales are even more

 problematic when one considers that during this time Rite Aid was also self-distributing opioids

 to its stores. From 2006 to 2014, McKesson shipped a total of 3,239,480 oxycodone and

 hydrocodone pills to the four Rite Aid pharmacies it serviced.1139 Those totals were in addition to

 the 5,545,020 dosage units Rite Aid distributed to itself for those pharmacies resulting in 8,784,500

 dosage units to these four stores.1140

              46.   Similarly, the vast volume of opioids ABDC and Cardinal supplied to certain

 pharmacies in Huntington and Cabell County and surrounding areas should have put them on

 notice that they were not supplying a legitimate market for the drugs.




 1135
        See 44747_008.
 1136
        FOF, ¶ 347; See 43225_0013.
 1137
        See 44747_008.
 1138
        FOF, ¶ 340.
 1139
        FOF, ¶ 339.
 1140
        Id.

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           47.    For instance, Drug Emporium #1, discussed above, is located in Barboursville in

 Cabell County. Barboursville had a 2010 population of 3,964.1141 ABDC shipped Drug

 Emporium #1 over 3.9 million doses of oxycodone and hydrocodone from 2006 through 2014

 (based on ARCOS)—about 1,000 doses for every man, woman, and child.1142 Huntington had a

 census population of 49,138 in 2010.1143 From January 2006 through February 2012, ABDC

 shipped SafeScript 3,888,340 doses of oxycodone and hydrocodone, or nearly 80 doses per

 person.1144

           48.    Between January 2006 and December 2014, Cardinal sold and shipped 2,013,500

 dosage units of oxycodone to the Medicine Shoppe in Cabell-Huntington – about 41 doses for

 every man, woman, and child in the city – from a single pharmacy.1145 These totals are almost

 three times Cardinal’s national and West Virginia averages and more than double its Cabell and

 Huntington average, representing over 150,000 oxycodone dosage units per year that Cardinal

 shipped into Cabell and Huntington.1146

           49.    The vast volume of opioids Defendants supplied to pharmacies in Huntington and

 Cabell County should have put Defendants on notice that they were not supplying a legitimate

 market for the drugs. Yet, though Mr. Rannazzisi testified – and common sense dictates – that

 distributors should consider the volume of opioids they sell to a customer or area relative to its




 1141
        ECF No. 1433-7.
 1142
        See 44711_00048 & ECF No. 1433-7 at p. 28.
 1143
        ECF No. 1433-7.
 1144
        P-44711_00044, P-43225_00001-6 & ECF No. 1433-7 at p. 28.
 1145
        P-43225_00007.
 1146
        FOF, ¶ 319; see also ¶¶ 535.

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 population, Defendants neither weighed these factors, nor even totaled their shipments of opioids

 into a jurisdiction, in assessing whether orders were suspicious or diversion might be occurring.1147

           50.     These figures actually undercount the volume of opioids that reached Huntington

 and Cabell County. As detailed by James Rafalski, an additional wave of opioids was making

 their way into West Virginia from Florida and other states via a route often referred to as the “Oxy

 Express” or “Blue Highway.”1148 Defendants’ own documents acknowledge this migration.1149

 Furthermore, Defendants’ excessive shipments to pharmacies in nearby counties, with populations

 a fraction of Cabell County also fueled the opioid crisis.1150

           51.     The Court concludes that Defendants knew or should have known of the significant

 effects resulting from their conduct. The addictive nature of opioid products and the history of

 their regulation allows the Court to conclude that Defendants had constructive knowledge that

 distribution of excessive quantities of opioids and failing to guard against diversion would lead to

 the opioid epidemic harms found above.1151 Furthermore, based on the findings above, the Court




 1147
     6/8 Trial Tr. (Rannazzisi) at 186 (“what we asked them to do is look at your suspicious – your
 pharmacy population, your customer population, identify anomalies within that population,
 ordering patterns, and then do your due diligence and see why those anomalies exist”); 5/17 Trial
 Tr. (Mays) at 203, 205 (between 2007 and 2014 the diversion control program did not rely on
 populations); Prevoznik, 5/17/19 Depo at 974 (DEA had said that knowledge of a geographic
 area’s problem with controlled substance abuse is a factor that should be taken into account by
 registrants); see also 5/26/21 Trial Tr. (Rafalski) at 112 (orders the Defendants knew or should
 have known were suspicious were likely to be diverted into the illicit market).
 1148
     5/27 Trial Tr. (Rafalski) at 151-152 (“people that would get on airplanes in Huntington and fly
 to Florida to go to the pain clinics to get pills and then come back”; “Allegiant flight that was –
 they called it the Pill Express”).
 1149
        See, e.g., FOF, ¶¶ 170, 367, 437, 438.
 1150
        FOF, ¶¶ 334-337; 402-41.
 1151
        FOF, ¶¶ 216, 444, 585, 592; FOF, Part III(B); see also COL, infra, Part ¶ V(B)(2).

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 concludes that there is ample evidence Defendants had actual knowledge of the effects of their

 conduct.1152

           52.     Defendants contend that the Plaintiffs have failed to provide evidence as to the

 “right” amount of prescription opioids that they should have shipped to customers in Cabell and

 Huntington. But the “right amount” is irrelevant when the amount actually shipped was so clearly

 excessive in proportion to the local population. The “right amount” is also irrelevant when

 Defendants had actual knowledge that the enormous quantities of opioids they were shipping into

 Cabell and Huntington were being supplemented with more opioids that had been diverted from

 surrounding counties in West Virginia and Florida. Whatever the “right amount” of opioids for

 Cabell and Huntington was, the quantities that Defendants shipped far exceeded it, and were

 unreasonable.

           B.      The Deficiencies in Defendants’ Diversion Control Programs Establishes
                   Unreasonable Conduct.
           53.     As discussed in detail above, key deficiencies marred each of Defendants’ diversion

 control programs. And each diversion control program was carried out nationally, through

 centralized compliance staff. The Court concludes that the deficiencies in the creation, operation,

 and implementation of programs for detecting “suspicious orders” constituted unreasonable

 conduct.

           54.     All three Defendants’ programs for detecting “suspicious orders” of prescription

 opioids were not designed to, and could not, detect a significant percentage of orders that were

 unusual in volume, pattern, or frequency to be indicative of diversion.1153 Defendants each

 depended on monthly, volume-based thresholds for pharmacy customers as triggers for identifying


 1152
        See, e.g., FOF, Part II.A(2).
 1153
        FOF, ¶¶ 128, 384 (ABDC); (Cardinal); 290-342 (McKesson)

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 potentially suspicious orders.1154 And, by the time Defendants put these thresholds in place, opioid

 sales and, thus, customer purchasing baselines had already been inflated by nearly a decade of

 diversion and excessive sales. Therefore, they were set too high, and offered no meaningful brake

 on suspicious orders.

           55.    Each of the three Defendants also failed to perform due diligence on opioid orders

 they knew were suspicious to determine if diversion was likely, shipped orders of prescription

 opioids they knew were suspicious without first ascertaining that those orders were not likely to

 be diverted, and continued shipping opioids to pharmacies that they knew showed indicia of

 diversion.1155

           56.    Each of the Defendants failed to properly implement the suspicious order

 monitoring (SOMs) program that they did have.1156 All three Defendants knew that their SOMs

 programs were inadequate and knew the devastating effects of the failure to maintain controls

 against diversion but failed to make changes to address the inadequacies.1157

           57.    Mr. Rafalski testified that Defendants’ systemic failures to maintain effective

 controls were a substantial factor in the diversion of prescription opioids into Cabell-

 Huntington.1158 He further testified that the orders Defendants knew or should have known were

 suspicious were likely to be diverted into Cabell-Huntington.




 1154
        FOF, ¶¶ 141-158 (ABDC); 203, 220 (Cardinal); 257-313 (McKesson).
 1155
    FOF, ¶¶ 140-158 (ABDC); 223-241 (Cardinal); 267, 280, 292, 307-338, 341, 343,
 (McKesson).
 1156
        FOF, ¶¶ 105-126 (ABDC); 169-199 (Cardinal); 290-342 (McKesson).
 1157
        FOF, ¶¶ 159-169 (ABDC); 192-222, 241 (Cardinal); 366-368 (McKesson).
 1158
        FOF, ¶ 404.

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           58.    The Court concludes that the deficiencies in all three Defendants’ diversion

 control programs establishes unreasonable conduct for the purposes of Plaintiffs’ public nuisance

 claim.

           C.     Defendants’ Conduct was Unreasonable Because it Violated the CSA
                  and the WVCSA.

           59.    Finally, the Court concludes that each of the Defendants violated the CSA and the

 WVCSA. This conclusion provides a final basis for determining that all three Defendants’ conduct

 was unreasonable.

           60.    The CSA requires distributors like Defendants to design and operate a system to

 identify suspicious orders of controlled substances (the “identification duty”); to report to the DEA

 suspicious orders when discovered (the “reporting duty”); and to decline to ship an order identified

 as suspicious unless and until, through due diligence, the registrant is able to determine that the

 order is not likely to be diverted into illegal channels (the “no-shipping duty”).1159 The CSA defines

 suspicious orders to include “orders of unusual size, orders deviating substantially from a normal

 pattern, and orders of unusual frequency.”1160

           61.    The WVCSA has corresponding duties. The West Virginia Controlled Substances

 Act (“WVCSA”) is intended to be consistent with the federal CSA to the fullest extent

 practicable.1161 The WVCSA, adopted in 1971, is derived from the Uniform Controlled Substances



 1159
     See 21 C.F.R. § 1301.74; In re Nat'l Prescription Opiate Litig., 1:17-md-02804-DAP, 2019
 WL 3917575 (N.D. Ohio Aug. 19, 2019); Masters Pharmaceutical, Inc. v. Drug Enforcement
 Administration, 861 F.3d 206, 212-213 (D.C. Cir. 2017); see also Southwood Pharmaceuticals,
 Inc.; Revocation of Registration, 72 FR 36487-01, 36500, 2007 WL 1886484 (DEA July 3, 2007).
 1160
        21 C.F.R. § 1301.74(b).
 1161
     See W.Va. Code § 60A–6–603 [1971] (the UCSA “shall be so applied and construed as to
 effectuate its general purpose to make uniform the law with respect to the subject of this [Act]
 among those states which enact it.”). The West Virginia Board of Pharmacy has adopted, by

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 Act of 1970 (“UCSA”).1162 The UCSA, in turn, is similar to its federal counterpart, the CSA, and

 “was drafted to achieve uniformity between the laws of the several States and those of the Federal

 government.1163

           62.     The WVCSA provides that one of the qualifications for controlled substances

 licensure is that an applicant must operate “in compliance with all federal legal requirements

 applicable to wholesale drug distribution.”1164 Under the WVCSA, an applicant for a license to

 manufacture or distribute controlled substances is required to demonstrate that it provides

 "effective controls and procedures to guard against theft and diversion of controlled

 substances."1165

           63.     The Defendants contest the existence of the no-shipping duty, which does not

 expressly appear in the regulations.1166 As the MDL Court explained, this last duty arises directly

 from the requirement to maintain effective controls against diversion set forth in 21 C.F.R.

 § 1301.71(a):

           [G]iven the overriding duty of a registrant to maintain effective controls against
           diversion, the Court is hard-pressed to think of a more basic requirement than not
           to ship a dubious order bearing indicia that the drugs could be diverted to illegal
           channels. How can a registrant freely ship suspicious orders and still comply with
           its duty to maintain controls against diversion? It cannot. It has a duty not to ship
           the order unless due diligence reasonably dispels the suspicion.1167


 reference, the requirements of the federal regulations, 21 CFR Parts 1300-1321, and 21 U.S.C.
 801. W. Va. C.S.R. § 15-2-2, superseded by W. Va. C.S.R. § 15-2-3 (Apr. 1, 2020).
 1162
        State v. Young, 185 W. Va. 327, 335, 406 S.E.2d 758, 766 (1991).
 1163
        Id. Uniform Controlled Substances Act of 1970 prefatory note, vol. 9, part II, U.L.A. 2 (1988).
 1164
        W. Va. Code § 60A-8-7(c)(1)(I).
 1165
        W. Va. C.S.R. § 15-2-4.2.1, superseded by W. Va. C.S.R. § 15-2-5.1.1 (Apr. 1, 2020).
 1166
     The Defendants also contend that the DEA historically approved SOMs which permitted the
 shipping of suspicious orders. These arguments are factually inaccurate. FOF, ¶¶ 139.
 1167
     Opinion and Order Regarding Plaintiffs’ Summary Judgment Motions Addressing the
 Controlled Substances Act, Dkt # 2483 at pp. 18-19.

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        63. On September 30, 2020, Judge Breyer, the federal district judge presiding over the

 case remanded from the MDL to the Northern District of California, adopted Judge Polster’s

 conclusion on this point.1168 More recently, Judge White, the federal district judge presiding over

 the case remanded from the MDL to the Eastern District of Oklahoma, adopted Judge Polster’s

 conclusion that “there is not only a duty to report suspicious orders once detected, but also a duty

 to either not fulfill those orders or to investigate them to determine that they are not likely to be

 diverted to illegal channels.1169 This Court joins these jurists and finds that the CSA (and the

 WVCSA) and their implementing regulations impose the no-shipping duty on Defendants. There

 can be no effective controls against diversion if a registrant is permitted to ship opioid orders it

 knows or should know the indicia of likely diversion.

        64.     The evidence presented at trial establishes that ABDC, Cardinal, and McKesson

 clearly violated the CSA and WVCSA. The volume of opioids shipped by the Defendants,1170 the

 lack of controls to identify and stop suspicious orders,1171 and their intentional disregard of what


 1168
     See City and County of San Francisco v. Purdue Pharma L.P., No. 3:18-CV-07591-CRB, 2020
 WL 5816488, at *4 (N.D. Cal. Sept. 30, 2020). Significantly, Judge Breyer held that the rulings of
 the MDL court were not binding on him but were “highly persuasive authority to the extent that
 these decisions are consistent with California and Ninth Circuit authority.” 2020 WL 5816488, at
 *2. He specifically found Judge Polster’s ruling with respect to the duties of distributors under the
 CSA to be “persuasive.” Id.
 1169
    See The Cherokee Nation v. McKesson, et al, No. CIV-18-056-RAW, Doc. # 288 at 9-10 (E.D.
 OK March 29, 2021).
 1170
    See FOF, ¶¶ 174-187 (ABDC); FOF ¶¶ 189, 246-254 (Cardinal); FOF, ¶¶ 255, 338-360
 (McKesson).
 1171
      Defendants’ programs for detecting “suspicious orders” of prescription opioids were not
 designed to, and could not, detect a significant percentage of orders that were sufficiently unusual
 in volume, pattern, or frequency to be indicative of diversion; Defendants failed to perform due
 diligence on opioid orders it knew were suspicious to determine if diversion was likely, shipped
 orders of prescription opioids it knew were suspicious without first ascertaining that those orders
 were not likely to be diverted, and continued shipping opioids to pharmacies that it knew showed

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 few procedures they had to protect the public1172 each clearly establish statutory and regulatory

 violations. These violations of the CSA, WVCSA, and their relevant regulations are sufficient to

 allow the Court to conclude that Defendants acted unreasonably.

        65.     These violations of the law are sufficient to allow the Court to conclude that

 Defendants acted unreasonably. Defendants, however, Defendants argue that violations of the

 federal CSA or WVSCA cannot provide the basis for Plaintiffs’ public nuisance claims as neither

 contain private rights of action. The Court rejects this argument.

        66.     Conduct that is unlawful is a basis for finding that an interference with a public

 right is unreasonable, and thus that a defendant may be found liable for creating or maintaining a

 nuisance.1173 Public nuisance liability may also be based on unlawful conduct, regardless of mens




 indicia of diversion; and failed to implement their SOMs programs that were in place); see FOF,
 ¶¶ 131-158; 171-187 (ABDC); FOF, ¶¶ 167-231 (Cardinal); FOF, ¶¶ 266-365 (McKesson).
 1172
      FOF, ¶¶ 164-166 (In its June 22, 2007 Settlement Agreement with the DEA, the covered
 conduct included ABDC’s alleged failure to maintain adequate controls against diversion at the
 Orlando facility and all other facilities controlled by ABDC, and the alleged failure to detect and
 report suspicious orders as required by 21, C.F.R., 1301.74(b)); FOF, ¶¶ 200, 210 (In its September
 2008 Settlement Agreement with the DEA, in which Cardinal paid a $34 million civil penalty, the
 covered conduct included Cardinal’s alleged failure to maintain effective controls against
 diversion, on or prior to September 30, 2008, at all distribution facilities, including the Wheeling,
 WV distribution center servicing Cabell County and Huntington, WV); FOF, ¶¶261-264, 274, 312,
 320-321, 342, 356, 361, 363. (In January 2017, McKesson entered into a $150 million settlement
 agreement with DEA for violations of the CSA associated with virtually all of its distribution
 centers, including the Washington Courthouse, OH distribution center that shipped opioids to
 Cabell County. McKesson agreed to a suspension of its license to distribute controlled substances
 from that distribution center (and others) for two years. As part of the 2017 settlement agreement,
 McKesson accepted responsibility for not identifying and reporting suspicious orders as required
 by the CSA and its previous settlement agreement in 2008 with DEA. McKesson has admitted that
 the systematic failure to report thousands of suspicious orders was “at the core” of the $150 million
 fine.)
 1173
      See, e.g., Duff, 421 S.E.2d at 262 (reasonableness of conduct determines whether conduct
 constitutes a nuisance); West v. National Mines Corp., 168 W.Va. 578, 585-586, 285 S.E.2d 670,
 676 (W. Va. 1981), reh'g on appeal, 336 S.E.2d 190 (W. Va. 1985) (activity must be reasonable
 to avoid liability for nuisance).

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 rea.1174 Indeed, such conduct is considered an “absolute” nuisance or a “nuisance per se.”1175 That

 the unlawfulness of Defendants’ conduct is relevant to whether that conduct constitutes or has

 created an unreasonable interference with a public right does not mean that Plaintiffs are seeking

 to enforce the CSA.

           67.    Indeed, it would make no sense for the Restatement to prescribe that a nuisance

 action may be predicated on the unlawfulness of the defendant’s conduct if the only plaintiffs that

 could seek relief from the nuisance were those otherwise entitled to enforce the underlying statute.

 Nuisance actions are not so limited. Rather, as the Restatement makes clear, a public official or

 public agency representing a political subdivision may always bring an action to abate a

 nuisance.1176 Indeed, West Virginia specifically empowers Plaintiffs to sue to abate a nuisance.1177

 This right to seek abatement is not limited based on the particular means of demonstrating that the

 interference with a public right is unreasonable. The additional element urged by Defendants, that

 the plaintiff must also have the right to enforce the statute that rendered the defendant’s conduct

 unreasonable by virtue of its unlawfulness, appears nowhere in the Restatement or in West Virginia

 law. It has simply been manufactured by Defendants.




 1174
      See, e.g., Second Restatement § 821B(2)(ii) (noting that circumstances “that may sustain a
 holding that an interference with a public right is unreasonable[,]” include “whether the conduct
 is proscribed by a statute, ordinance, or administrative regulation”);1174 West, 285 S.E.2d at 676
 (nuisance may arise from acts that are unlawful); Morrisey, 2014 WL 12814021, at *9
 (“unreasonable interference” includes, inter alia, conduct that is contrary to a statute, ordinance,
 or regulation). West Virginia courts have rejected the argument that conduct must be unlawful in
 order to constitute a nuisance. Lemongello, 2003 WL 21488208 at *2.
 1175
     Doc. 1248 at 8 (“[A]n act involving culpable and unlawful conduct causing unintentional
 harm” constitutes an “absolute nuisance,” which is generally synonymous with a nuisance per se.
 See 66 C.J.S. Nuisances § 3.”).
 1176
        RESTATEMENT § 821C; see also id. at cmt. j.
 1177
        See W.VA. CODE § 7-1-3kk; W.VA. CONST. art. 6, sec. 39a; W.VA. CODE § 8-12-2(8), (9-11).

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        68.     Defendants rely on a single case involving indirect enforcement of statutes that do

 not provide for a private right of action, but that case is not on point and does not support their

 argument.1178 Plaintiffs are not suing Defendants, directly or indirectly, for violating the CSA.

 They are suing Defendants for having created a public nuisance. While the illegality of

 Defendants’ conduct is a factor in whether they can be liable for that nuisance, it is the nuisance

 itself, and not the CSA violation, that gives rise to Plaintiffs’ claims. Plaintiffs are no more

 enforcing the CSA than a RICO plaintiff is enforcing the underlying criminal statutes that

 constitute RICO predicate acts.

                                                ****

        69.     Based on all of the foregoing, the Court concludes that Plaintiffs have proven the

 interference with public rights by each of the Defendants in this case was unreasonable. Indeed,

 all three of the criteria of Section 821B(2) of the Second Restatement are met here. Plaintiffs have

 established (i) a significant interference with the public health, the public safety, the public peace,


 1178
      See ABDC Br. at 39 (citing Astra USA, Inc. v. Santa Clara Cty., Cal., 563 U.S. 110, 118
 (2011)). Astra involved the Public Health Services Act, which created price ceilings for drugs
 sold to certain health-care facilities, but provided no private right of action for those facilities to
 enforce the ceilings. Id. at 113. Drug manufacturers were, however, required, to sign a price
 “agreement” with the Secretary of Health and Human Services; the “agreement” included no
 negotiable terms and simply recited and recognized the manufacturers’ responsibilities under the
 Act, including the price ceilings. Id. The Supreme Court in Astra rejected the health-care facilities’
 claim that they were third-party beneficiaries of the “agreements” and could sue for breach of
 contract to enforce those agreements. Id. at 113-14. The contractual claim rejected in Astra is
 wholly distinct from Plaintiffs’ claims here. The Court in Astra refused to grant the plaintiffs third-
 party beneficiary status because doing so would have conflicted with a statutory scheme that gave
 enforcement power exclusively to the federal government and not to private parties. Id. at 121.
 This case is a public nuisance claim brought by governmental entities and neither federal nor state
 law preempts these claims. See In re Nat’l Prescription Opiate Litig., 440 F.Supp.3d 773, 808
 (N.D. Ohio 2020) (rejecting the Distributor Defendants’ contention that “they are not subject to
 nuisance liability because their business activities are authorized and extensively regulated by state
 and federal law”); Dkt. 1285 at 7 (finding Defendants’ state-law field preemption argument
 unavailing). The other cases cited by ABDC on this issue stand only for the anodyne proposition,
 not in dispute here, that private rights of action under federal statutes must be created by Congress.

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 the public comfort, or the public convenience, (ii) violations of statutes and regulations, and (iii),

 conduct that has produced a long-lasting effect that Defendants knew or should have known had a

 significant effect upon the public right.1179

 V.        The Defendants’ Conduct Caused the Opioid Epidemic and the Resulting Public
           Nuisance in Cabell and Huntington.

           70.    West Virginia law requires a plaintiff to establish the element of causation in order

 to recover. Causation requires proof of two elements: (1) that the harm was the result of

 defendants’ culpable conduct (cause in fact) and (2) the culpable conduct constitutes legal (or

 proximate) cause of the loss.1180

           71.    Ultimately, the determination of causation is a question of fact.1181 In a bench trial,

 the Court is the finder of fact. Here, the Court concludes that the Plaintiffs have established that

 Defendants’ unreasonable conduct was a cause in fact and a legal or proximate cause of the opioid

 epidemic harms in Plaintiffs’ communities.

           A.     Defendants were a Cause in Fact of the Opioid Epidemic in Cabell County and
                  the City of Huntington.

           72.    With respect to the first prong of the causation test, the factual findings above make

 it clear that Defendants were a contributing cause (indeed a substantial contributing cause) to the

 creation of an opioid epidemic in Cabell County and the City of Huntington. The Court’s factual

 findings now lead to the legal conclusion that Defendants were “a cause” or a “contributing cause”




 1179
        Second Restatement § 821B(2).
 1180
     Calvert v. Scharf, 217 W. Va. 684, 690, 619 S.E.2d 197, 203 (2005) (plaintiff is required to
 prove that “negligence resulted in and was the proximate cause of loss to the plaintiff” (citations
 and internal quotations omitted)).
 1181
    See Qura v. D.R. McClain & Son, 97 F.3d 1448 (4th Cir. 1996); see also Aikens v. Debow, 208
 W.Va. 486, 490, 541 S.E.2d 576, 580 (W.Va. 2001) (same).

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 of the opioid epidemic and its resulting harms, and as such, were a cause in fact of the opioid

 epidemic. 1182

         73.      With respect to the causation in fact requirement, all that a plaintiff is required to

 show proximate cause is that the action of a tortfeasor “contributes in any degree to the injury.”1183

 The Plaintiffs’ “burden of proof is to show that a [defendant’s] breach of a particular duty was a

 proximate cause of the plaintiff’s injury, not the sole proximate cause.”1184

         74.      Under established causation principles, “[i]f a particular act might be expected to

 cause a particular result and, if that result has in fact followed, the conclusion may be justified that

 the causal relation exists.”1185 This is especially so where, as here, a plaintiff shows a statutory or

 regulatory violation.1186 Put differently, it is sufficient for a plaintiff to present “evidence that he

 suffered the sort of injury that would be the expected consequence of the defendant’s wrongful

 conduct.”1187


 1182
    Perry v. Melton, 171 W. Va. 397, 400, 299 S.E.2d 8, 11 (1982); Everly v. Columbia Gas, 171
 W. Va. 534, 536, 301 S.E.2d 165, 167 (1982).
 1183
     Wehner v. Weinstein, 191 W. Va. 149, 155, 444 S.E.2d 27, 33 (1994); see also Perry, 171 W.
 Va. at 400 (“negligence must be a proximate or contributing cause before liability is established”)
 (emphasis added)).
 1184
     Stephens v. Rakes, 235 W. Va. 555, 565, 775 S.E.2d 107, 117 (2015) (emphasis added); Everly
 v. Columbia Gas of W. Virginia, Inc., 171 W. Va. at 536, 301 S.E.2d at 167 (1982) (same).
 1185
     Second Restatement, § 433B, comment b (1965); see also Huskey v. Ethicon, Civil Action No.
 2:12-cv-05201, 2015 WL 4944339, at *6 (S.D.W. Va. Aug. 19, 2015), aff’d, 848 F.3d 151 (4th
 Cir. 2017) (same).
 1186
     See, e.g., Gillingham v. Stephenson, 209 W. Va. 741, 749, 551 S.E.2d 663, 671 (2001) (“‘The
 violation of the statute is rightly considered the proximate cause of any injury which is a natural,
 probable, and anticipated consequence of the nonobservance.’”) (quoting Noman v. Virginia
 Pocahontas Coal Co., Syl. pt. 2, 68 W. Va. 405, 69 S.E. 857 (1910)).
 1187
       BCS Servs., Inc. v. Heartwood 88, 637 F.3d 750, 758 (7th Cir. 2011) (J. Posner). This is
 particularly true where, as here, a plaintiff shows a statutory violation: “The violation of the statute
 is rightly considered the proximate cause of any injury which is a natural, probable, and anticipated
 consequence of the nonobservance.” Gillingham v. Stephenson, 209 W. Va. at 748–49, 551 S.E.2d

                                                   231
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           75.    First, Defendants’ failure to maintain adequate and effective controls against

 diversion was a substantial contributing cause of the diversion of prescription opioid pills shipped

 to Cabell County, the City of Huntington, and the surrounding region.1188 Moreover, here the

 expected result of the failure to maintain adequate and effective controls against diversion is the

 exact result that occurred in Plaintiffs’ communities,1189 which independently justifies the Court’s

 conclusion “that the causal relation exists.”1190 Furthermore, Defendants’ failure to maintain

 effective controls outside of Cabell and Huntington contributed to diversion in Cabell and

 Huntington and the resulting harms.1191

           76.    Second, the oversupply of opioids substantially contributed to the opioid epidemic

 and the harms resulting from it.     This conclusion was largely undisputed at trial.    Plaintiffs’

 experts,1192 DEA witnesses,1193 and Defendants’ officers1194 all provided testimony supporting

 this conclusion. Indeed, the testimony from Defendants’ substance use disorder care systems

 expert that “oversupply of prescription opioids is not the causal factor of the opioid epidemic, but




 at 671 (2001) (quotation omitted). Judge Polster has found similarly in denying summary judgment
 on proximate causation. See Opinion and Order regarding Defendants’ Summary Judgment
 Motions on Causation, In re: Nat’l Prescription Opiate Litig., No. 1:17-md-02804, Dkt. 2561,
 2019 WL 4178617 at 2-3 (N.D. Ohio Sept. 3, 2019).
 1188
        FOF, ¶ 410.
 1189
        FOF, ¶¶ 411-419.
 1190
        Second Restatement, § 433B, comment b (1965); Huskey v. Ethicon, 2015 WL 4944339, at
 *6.
 1191
        FOF, ¶¶ 425-438.
 1192
        FOF, ¶¶ 442-444.
 1193
        FOF, ¶ 440.
 1194
        FOF, ¶¶ 445.

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 is only a causal factor”1195 easily fits withing the bounds of West Virginia law on causation.1196

 Similarly, the evidence is overwhelming that diversion was a substantial factor in causing the

 community harms resulting from the opioid epidemic – overdose deaths, opioid use disorder,

 heroin/fentanyl use, infectious diseases, and disruption to children and families.1197

              77.   Third, while Defendants contend that they believed that they were shipping to

 legitimate pharmacies to fill legitimate prescriptions, the evidence at trial established that

 Defendants’ systematic failures to maintain adequate and effective controls against diversion

 substantially contributed to shipments of tens of millions of opioid pills to Cabell County, the City

 of Huntington, and the surrounding region that were not prescribed in accordance with the standard

 of care.1198 Instead, it is likely that these shipments were diverted to illicit, non-medical use,

 contributing substantially to the resulting opioid epidemic harms in Cabell and Huntington.1199

              78.   In making this argument, the Defendants ignore West Virginia law which

 recognizes the likelihood that certain harms will have more than one cause-in-fact.1200 In this

 setting, a plaintiff’s burden is to show that a particular defendant’s conduct “was a proximate cause




 1195
        FOF, ¶ 446.
 1196
     Stephens v. Rakes, 235 W. Va. at 565, 775 S.E.2d at 117 (unnecessary for plaintiff to prove
 defendant’s conduct was the sole cause).
 1197
        FOF, ¶¶ 1-79.
 1198
        FOF, ¶ 524.
 1199
        Id.
 1200
     See Wehner, 191 W. Va. at 155, 444 S.E.2d at 33 (recognizing doctrine of “concurrent
 negligence”).

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 of the plaintiff’s injury, not the sole proximate cause,”1201 and the plaintiff satisfies this burden by

 showing that the defendant’s conduct “contributes in any degree to the injury.”1202

           79.    Plaintiffs satisfied this burden. As set forth above, the evidence shows that

 Defendants’ diversion control failures resulted in them shipping tens of millions of opioid dosage

 units to and near Cabell and Huntington that could not have been prescribed for medically

 legitimate purposes, even under the then-prevailing standard of care for pain treatment.

           80.    The large volume of pills sent to some of Defendants’ pharmacy customers without

 conducting due diligence was used to fill prescriptions written by physicians who were disciplined

 for improper prescribing practices. 1203 One of these physicians represented between 50% and 70%

 of the prescriptions filled by the individual pharmacies served by the Defendants.1204 Two

 physicians whose prescribing led to licensure revocation were responsible for 24 million-plus

 opioid dosage units they prescribed in Cabell County before losing their licenses.1205

           81.    The Court can also conclude that the extreme quantities of pills shipped to

 customers in Cabell County and surrounding areas led to diversion and the resulting harms. These

 extreme quantities of opioid pills well over Defendants’ county, state, and national shipment

 averages are unexplained by any due diligence,1206 and indeed, the quantities alone show “no

 conceivable medical need.”1207 Fact and expert testimony from Plaintiffs’ and Defendants’



 1201
     Stephens, 235 W. Va. at 565, 775 S.E.2d at 117 (internal quotation marks and citations
 omitted).
 1202
        Wehner, 191 W. Va. at 155, 444 S.E.2d at 33.
 1203
        FOF, ¶¶ 345-346, 526-531.
 1204
        FOF, ¶¶ 510, 513.
 1205
        FOF, ¶ 520.
 1206
        FOF, ¶¶ 441,457, 472, 473.
 1207
        FOF, ¶ 574.

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 witnesses supports the conclusion that oversupply leads to diversion and the resulting harms from

 the opioid epidemic.1208

           82.    The Court concludes that Defendants’ failure to stop shipments to these pharmacies

 and physicians engaging in unscrupulous conduct is a substantial factor in the diversion of opioids

 in Cabell and Huntington and likely led to the creation of “large pockets of addicts” and “cause[d]

 enormous harm.”1209

           83.    Finally, even if the Defendants are correct and the immense volume of opioids they

 shipped to Cabell and Huntington was due solely or primarily to increased good faith prescribing,

 Defendants still would be liable because their diversion control failures still would be a concurrent

 cause of the opioid oversupply and public nuisance harms.

           84.    Defendants have a legal duty not to ship orders they have or should have identified

 as suspicious unless the order is cleared.1210 As set forth above, Plaintiffs’ diversion control

 investigations and SOMS expert, Mr. Rafalski, determined using Defendants’ own metrics and

 those used by other distributors and/or approved by the D.C. Circuit in Masters that Defendants

 shipped orders totaling at least 31,153,000 dosage units of oxycodone and hydrocodone into Cabell

 and Huntington that should have been flagged and blocked pending or absent investigation.1211 He



 1208
        FOF ¶¶ 441, 446, 457, 591-601.
 1209
        FOF, ¶ 521.
 1210
     See Masters Pharm., Inc., 861 F.3d at 212-13 (“Once a distributor has reported a suspicious
 order, it must make one of two choices: decline to ship the order, or conduct some ‘due diligence’
 and—if it is able to determine that the order is not likely to be diverted into illegal channels—ship
 the order (the Shipping Requirement).”); id. at 221-22 (“As noted above, the Shipping requirement
 mandates that pharmaceutical companies exercise ‘due diligence’ before shipping any suspicious
 order.”); see also In re Nat’l Prescr. Opiate Litig., 2019 WL 3917575 at *9 (“In sum, the Court
 concludes that the CSA statutory and regulatory duties to maintain effective controls against
 diversion includes a duty not to ship suspicious orders.”).
 1211
        FOF, ¶ 369.

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 further found that there was insufficient evidence in Defendants’ customer files to dispel the

 suspicions raised by these orders and permit their shipment,1212 and Defendants have not shown

 otherwise.

           85.     Since Defendants were under a legal duty not to ship these orders absent due

 diligence, these shipments are a concurrent and actionable cause of the diversion, oversupply, and

 nuisance harms in Cabell and Huntington. This is precisely what the court held in City and County

 of San Francisco where the same distributor defendants argued for dismissal on the grounds that

 their conduct could not be the legal cause of opioid epidemic harms because “Manufacturers’

 marketing campaign ‘created the new standard of care’ causing an increase in prescriptions that

 Distributors had ‘no ability (and no duty) to second-guess.’”1213 The San Francisco Court rejected

 this argument, holding instead that distributors could be liable based on principles of concurrent

 liability: “the City has not alleged that Manufacturers’ false marketing caused the Distributors’

 failure to maintain effective controls, nor vice versa. Rather, both parties’ conduct allegedly

 caused the City’s injuries.”1214 The same conclusion applies here under the well-established West

 Virginia law.1215

           B.      Defendants Were a Proximate Cause of the Opioid Epidemic Harms in Cabell
                   County and the City of Huntington.

           86.     The Court concludes that each Defendant is a legal or proximate cause of the opioid

 epidemic harms in Cabell and Huntington. Under West Virginia law, a defendant’s conduct that


 1212
        FOF, ¶ 369, 371.
 1213
        City and County of San Francisco, 2020 WL 5816488 at *45.
 1214
     Id. As such, what the undone due diligence would have shown is irrelevant. Since Defendants
 had a legal duty to stop flagged orders and only ship them if investigation cleared them, which
 they did not do, this failure caused the harms regardless of what any investigations might have
 shown because those investigations were not done, and the shipments therefore could not be made.
 1215
        See COL, ¶ 76 (discussing a plaintiffs’ burden when concurrent liability exists).

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 contributes to (i.e., is a factual cause of) the plaintiff’s harm also is deemed a legal or proximate

 cause if the harm that occurred was reasonably foreseeable to the defendant. The Supreme Court

 of Appeals recently summarized the standard for determining proximate cause:

           [Proximate cause] is that cause which in actual sequence, unbroken by any
           independent cause, produced the wrong complained of, without which the wrong
           would not have occurred. An intervening cause, however, may jump in, break that
           chain of causation, and so constitute the new, effective cause of the injury. We have
           held that an intervening cause, in order to relieve a person charged with negligence
           in connection with an injury, must be a negligent act, or omission, which constitutes
           a new effective cause and operates independently of any other act, making it and it
           only, the proximate cause of the injury. But not every intervening event wipes out
           another's preceding negligence. In fact, a tortfeasor whose negligence is a substantial
           factor in bringing about injuries is not relieved from liability by the intervening acts
           of third persons if those acts were reasonably foreseeable by the original tortfeasor
           at the time of his negligent conduct.1216

           87.    The fact that a third party’s intervening acts were intentional or even criminal is not

 dispositive, as liability may be imposed if defendants’ affirmative actions or omissions have

 unreasonably created or increased the risk of injury from the criminal activity of a third party.1217

 Thus, the inquiry where allegedly intervening criminal acts occur is whether the defendant’s

 “wrongful acts co-operate with, augment, or accelerate those forces to the injury of another.”1218

 A defendant bears the burden of proving that intervening acts are a superseding cause.1219 The

 defendant must show that the intervening conduct “constitutes a new and effective cause and

 operates independently of any other act, making it and it only, the proximate cause of the




 1216
     Wal-Mart Stores E., L.P. v. Ankrom, 244 W. Va. 437, 854 S.E.2d 257, 270 (2020) (citations
 and internal quotations omitted).
 1217
     Estate of Hough ex rel. Lemaster v. Estate of Hough ex rel. Berkely Cty. Sheriff, 205 W. Va.
 537, 545 (1999).
 1218
        In re Flood Litig., 216 W. Va. 534, 549, 607 S.E.2d 863, 878 (2004).
 1219
        Sydenstricker v. Mohan, 217 W. Va. 552, 559, 618 S.E.2d 561, 568 (2005).

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 injury.”1220 Finally, “[t]he rule employed with respect to limitations on liability, whatever label is

 used, in public nuisance actions must be less restrictive than in individual tort actions.’ As such,

 in public nuisance claims, ‘where the welfare and safety of an entire community is at stake, the

 cause need not be so proximate as in individual negligence cases.’”1221

                  1.      Defendants Cannot Prevail on Legal Causation by Using
                          “Directness” Concepts Imported from Federal Statutes to
                          Rewrite West Virginia’s Long-Established and Recently
                          Reaffirmed Foreseeability Standard.

           88.    Defendants argue that reasonable foreseeability is not the standard for legal

 causation in West Virginia. The Court concludes that this argument is simply incorrect.

           89.    First, the case Defendants rely on, Aikens v. Debow, reaffirms that foreseeability is

 the touchstone for legal causation.1222 The “remoteness” language Defendants quote is from a

 passage describing federal law.1223 Indeed, the Supreme Court of Appeals in Aikens went on to

 hold under West Virginia law that a plaintiff sustaining purely economic damages may recover in

 tort in circumstances showing that “the tortfeasor had a duty to the particular plaintiff and that the

 injury complained of was clearly foreseeable to the tortfeasor.”1224




 1220
        Wehner, 191 W. Va. at 155.
 1221
     Brooke County Commission v. Purdue Pharma L.P. et al., No. 17-C-248 at 14 (W.Va. Cir. Ct.
 Dec. 28, 2018) (emphasis added) ) (quoting NAACP v. AcuSport, Inc., 271 F. Supp. 2d 435, 497
 (E.D.N.Y. 2003)); see also In re Nat’l Prescr. Opiate Litig., 2019 WL 2468267, at *32 (N.D. Ohio
 April 1, 2019) (Ruiz, M.J., Report and Recommendation) (same) (quoting NAACP), adopted in
 relevant part, 2019 WL 3737023, at *9-11 (N.D. Ohio June 13, 2019) (Polster, J.)).
 1222
        208 W. Va. 486, 492, 541 S.E.2d 576, 582 (2000).
 1223
      See Aikens, 208 W. Va. at 492, 541 S.E.2d at 582 (“The Supreme Court reasoned that the
 doctrine of remoteness is a component of proximate cause, which in turn embraces the concept
 that ‘the judicial remedy cannot encompass every conceivable harm that can be traced to alleged
 wrongdoing.’”) (quoting Associated Gen. Contractors of Calif., Inc. v. Calif. State Council of
 Carpenters, 459 U.S. 519, 536 (1983) (antitrust case)).
 1224
        Id. at 499, 541 S.E.2d at 589 (emphasis added).

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           90.        Second, Defendants’ reliance on other federal case law to try to rewrite West

 Virginia law is equally unavailing. Defendants argue that “[t]o avoid judgment on proximate

 causation grounds, Plaintiffs must have evidence of a ‘direct relation between the injury asserted

 and the injurious conduct alleged.’”1225 This argument fails because the case relied upon, Holmes,

 supra, addresses federal, not West Virginia law.1226 The Court in San Francisco recognized the

 difference. When faced with the federal RICO claims, the Court dismissed claims based on opioid

 marketing and promotion where “the City’s harm extends well beyond the first step.”1227 It applied

 a different standard and refused to dismiss state law based public nuisance claims on proximate

 causation grounds where, “Manufacturers’ alleged false promotion could foreseeably result in

 increased opioid addiction, abuse, and overdoses, Distributors’ alleged failure to maintain

 effective controls against diversion could foreseeably result in the same harms.”1228 A similar

 conclusion applies here – West Virginia’s foreseeability standard governs.

           91.        Finally, Defendants’ reliance on two decisions of this Court – Employer Teamsters

 v. Bristol Myers Squibb Co.,1229 and City of Charleston v. Joint Comm’n,1230 -- also fails.

           92.        In Employer Teamsters, the Court addressed implied warranty and unjust

 enrichment claims by a health insurer for economic losses caused by the defendant’s deceptive

 marketing of a prescription drug taken by some of the plaintiffs’ insureds.1231 The Court applied




 1225
        Doc. 1469 at 48 (citing Holmes v. Sec. Inv‘r Prot. Corp., 503 U.S. 258, 268 and 271-72 (1992).
 1226
        See 503 U.S. at 265-68 (addressing federal RICO causation standard).
 1227
        San Francisco v. Purdue Pharma, 491 F. Supp. 3d 610 at 657 (N.D. Cal. 2020).
 1228
        Id. at 683 (emphasis added).
 1229
        969 F. Supp. 2d 463 (S.D. W. Va. 2013).
 1230
        473 F. Supp. 3d 596 (S.D. W. Va. 2020).
 1231
        Id. at 466.

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 the Holmes “direct relation” standard of legal causation, in dismissing these contract-based claims,

 but did so without addressing (or having occasion to address) the foreseeability standard of legal

 causation for non-contractual tort claims under West Virginia law.1232

           93.        In City of Charleston, the Court addressed negligence and unjust enrichment claims

 by the city against the Joint Commission on Accreditation of Health Care Organizations (“JCAH”)

 for its conduct influencing the medical standard of care for pain treatment towards greater opioid

 prescribing.1233 In dismissing the claims, the Court held that there was no special relationship or

 privity of contract between the parties to prevent application of the economic loss rule as a bar to

 claims for purely economic damages.1234 After recognizing this ground for dismissal, the Court

 proceeded to discuss the separate question of duty and held that the city’s claim involved harms

 from the opioid epidemic that were not foreseeable to the Joint Commission as a trade

 association.1235

           94.        Notably, City of Charleston distinguished the claim against JCAH from the claim

 against these Defendants citing the MDL Court’s prior decision.1236 The Court found that the

 JCAH as a trade association was differently situated from opioid manufacturers and distributors,

 which operate under diversion-control duties that make public health and safety harms like those

 at issue there and here foreseeable.1237



 1232
        Id. at 475.
 1233
        473 F. Supp. 3d at 608.
 1234
        Id. at 619.
 1235
        Id. at 622.
 1236
     Id. at 620 (In re Nat’l Prescr. Opiate Litig.: County of Summit, Ohio v. Purdue Pharma L.P.,
 No. 1:17-md-2804, 2018 WL 6628898 (N.D. Ohio Dec. 19, 2018)).
 1237
     Id. at 621 (“Unlike the manufacturer and distributor defendants in Summit County, defendants
 here had no control or responsibility over the manufacturing or distributing of opioids.”).

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           95.    Since Employer Teamsters addressed contract-based claims, not tort claims, and

 City of Charleston expressly distinguished claims against distributors with respect to duty and

 foreseeability, neither supports overturning well-established West Virginia law applying

 reasonable foreseeability as the standard for assessing legal causation. Indeed, the Supreme Court

 of Appeals recently, and subsequent to the decisions in both Employer Teamsters and City of

 Charleston, reaffirmed that “‘a tortfeasor whose negligence is a substantial factor in bringing about

 injuries is not relieved from liability by the intervening acts of third persons if those acts were

 reasonably foreseeable by the original tortfeasor at the time of his negligent conduct.’”1238

           96.    The Court declines to extend these decisions and rejects Defendants’ invitation to

 apply the Holmes’ remoteness test in this case involving West Virginia public nuisance law.1239

                  2.     Proximate Cause is Established in this Case as the Opioid
                         Epidemic Harms Were Reasonably Foreseeable to Defendants.

           97.    The Court concludes that the opioid epidemic public health and safety harms

 afflicting Cabell County and the City of Huntington were reasonably foreseeable to, and foreseen

 by, Defendants when they engaged in the diversion control failure set forth above.

           98.    This foreseeability is demonstrated in the Controlled Substances Act itself, which

 sets forth Congress’s finding that the “illegal importation, manufacture, distribution, and

 possession and improper use of controlled substances have a substantial and detrimental effect on

 the health and general welfare of the American people.”1240 And, the Supreme Court also has



 1238
    Syl Pt. 9, Wal-Mart Stores East, L.P. v. Ankrom, 244 W.Va. 437, 854 S.E.2d 257 (quoting
 Anderson v. Moulder, supra).
 1239
     Even if it were a close question, the Court would decline to apply Holmes to a public nuisance
 claim implicating health and safety as proximate cause standards are not as strict in the context of
 a public nuisance case. Brooke County Commission v. Purdue Pharma L.P. et al., supra at 14.
 1240
        21 U.S.C. § 801(2).

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 recognized that, in enacting the CSA, “Congress was particularly concerned with the diversion of

 drugs from legitimate to illegitimate channels.”1241 In Direct Sales Co. v. U.S., the Supreme Court

 recognized in addressing the CSA’s predecessor statute, the Harrison Act, that “[t]he difference

 between sugar, cans, and other articles of normal trade, on the one hand, and narcotic drugs,

 machine guns and such restricted commodities, on the other, aris[es] from the latters’ inherent

 capacity for harm and from the very fact that they are restricted.”1242

           99.    Defendants’ duty to maintain effective controls and procedures to guard against

 theft and diversion of controlled substances, arise out of this inherent capacity to cause public

 health and safety harms. This is precisely why other courts addressing public nuisance claims

 against opioid distributors and manufacturers based upon breaches of CSA duties have held that

 the foreseeability element of proximate causation is evident in the duty and breach themselves. As

 Judge Breyer explained in City and County of San Francisco, supra:

           The very existence of the duties to maintain effective controls supports the nation
           that opioid use is foreseeable. “A lack of reasonable care in the handling,
           distribution, and administration of controlled substances can foreseeably harm the
           individuals who take them. That’s why they’re ‘controlled’ in the first place—
           overuse or misuse can lead to addictions and long-term health problems.1243




 1241
     U.S. v. Moore, 423 U.S. 122, 135 (1975) (citing H.R. Rep. No. 91-1444, p. 6; S. Rep. No. 91-
 613, pp. 4; 116 Cong. Rec. 996 (1970)); see also Gonzalez v. Raich, 545 U.S. 1, 12-13 (2005)
 (“Congress was particularly concerned with the need to prevent the diversion of drugs from
 legitimate to illicit channels.”) (citing Moore).
 1242
        319 U.S. 703, 711 (1943).
 1243
     491 F. Supp. 3d at 680 (quoting Dent v. NFL, 902 F.3d 1109, 1119 (9th Cir. 2018)); see also
 In re Nat’l Prescr. Opiate Litig., No. 1:17-md-2804, 2019 WL 4178617, at *4 (N.D. Ohio Sept. 3,
 2019) (“Because Plaintiffs have presented evidence that shows they suffered the sort of injury that
 would be an expected consequence of the alleged wrongful conduct, Plaintiffs have done enough
 to withstand summary judgment on this issue.”).

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        100.    Whether the harms were self-evident or not, Plaintiffs also have produced

 substantial evidence showing that the opioid epidemic’s public health and safety harms were

 reasonably foreseeable to and foreseen by Defendants.

        101.    First, as noted above, the Court has found that substantial evidence from the DEA,

 Plaintiffs’ experts, and Defendants themselves demonstrates that Defendants’ failures to maintain

 effective controls against diversion and the resulting oversupply would foreseeably result in the

 occurrence of diversion.1244

        102.    Second, the Court found that there likewise is widespread agreement among the

 DEA, Plaintiffs’ experts, and Defendants that diversion and oversupply of prescription opioids

 made the public health and safety harms that are afflicting Cabell and Huntington foreseeable.1245

        103.    Finally, Defendants place great focus on the fact that some harms from the opioid

 epidemic result from illegal use of heroin and fentanyl. The emphasis on illegality is not echoed

 in West Virginia law:

        Petitioner essentially argues that criminal acts are per se intervening causes. . . .
        Once again, however, petitioner relies on a generality . . . with little regard for the
        exception [that] . . . a tortfeasor whose negligence is a substantial factor in bringing
        about injuries is not relieved from liability if the intervening acts were reasonably
        foreseeable.’”1246

 Here, the Court has found that there is widespread agreement among Plaintiffs’ and Defendants’

 expert witnesses on facts showing that the development of heroin and fentanyl addiction harms



 1244
     FOF, ¶¶ 564-572 (noting testimony of Rannazzisi (DEA), Courtwright (Plaintiffs’ expert),
 Hartle (McKesson’s Rule 30(b)(6) witness), Reardon (Cardinal), Hazewski (ABDC), and Gilligan
 (Defendants’ expert)).
 1245
    FOF, ¶¶ 573-77 (noting testimony of Rannazzisi, Courtwright, Waller (Plaintiffs’ expert),
 Keyes (Plaintiffs’ expert), and Hartle).
 1246
    Marcus v. Staubs, 230 W. Va. 127, 139, 736 S.E.2d 360, 372 (2012) (quoting Anderson v.
 Moulder, 183 W. Va. 77, 394 S.E.2d 61 (1990)).

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 was another foreseeable consequence of the diversion and oversupply of prescription opioid pills

 into communities like Cabell and Huntington.1247

           104.   West Virginia state courts handling similar opioid litigation claims have rejected

 the arguments made by the Defendants.1248 In the MDL, Judge Polster rejected Defendants’

 arguments concerning a too-attenuated causal chain, observing that “the relationship between

 Plaintiffs’ injury and Defendants’ alleged conduct . . . is not too remote to support a finding of

 proximate cause here.”1249 Most recently, as noted above the Northern District of California in City

 and County of San Francisco rejected similar causation arguments.1250 The vast majority of courts

 addressing opioid litigation around the county are in accord.1251




 1247
     FOF, ¶¶ 578-585 (noting testimony of Waller, Keyes, Alexander (Plaintiffs’ expert), Hartle,
 Gilligan (Defendants’ expert), and Murphy (Defendants’ expert)).
 1248
      In SER Morrisey v. AmerisourceBergen Drug Corp., 2014 WL 12814021 (W.Va Boone Cty.
 Cir. Ct. Dec. 12, 2014) at 11-12, West Virginia brought claims against opioid distributors for
 nearly the exact conduct and harms alleged here. Analyzing West Virginia law, the court found
 that any alleged intervening acts were foreseeable to Defendants, and therefore insufficient to cut
 off the chain of liability as a matter of law. Similarly, in Brooke County, the West Virginia Circuit
 Court rejected distributor defendants proximate cause arguments, finding that: “Defendants’
 conduct was not too remote from the opioid epidemic—even considering that third party conduct
 may have also contributed to the opioid epidemic—and that the acts of third parties (even
 criminals) were foreseeable and did not create a new effective cause or operative independently.”
 See Brooke Cty. Comm’n v. Purdue Pharma, L.P., No. 17-C-248, p. 12 (W. Va. Marshall Cty. Cir.
 Ct. Dec. 28, 2018).
 1249
        1:17-md-02804, Dkt. 1203, at 9-10.
 1250
   City and County of San Francisco, et al. v. Purdue Pharma L.P., et al., 3:18-cv-07591, 2020
 WL 5816488, at *69-80 (N. D. Cal. Sept. 30, 2020)
 1251
     See, e.g, Commonwealth v. Purdue Pharma, L.P., 2019 WL 6497887 (Mass. Super. Nov. 6,
 2019); City of Chicago v. Purdue Pharma, L.P., 211 F. Supp. 3d 1058 (N.D. Ill. 2016); Grewal v.
 Purdue Pharma L.P., 2018 WL 4829660 (N.J.Super.Ch. Oct. 2, 2018); Com. v. Endo Health
 Solutions Inc., 2018 WL 3635765 (Ky. Cir. Ct. July 10, 2018); State v. Purdue Pharma L.P., 2019
 WL 2331282 (Tenn. Cir. Ct. Feb. 22, 2019); State v. Purdue Pharma L.P., 2018 WL 4468439
 (Alaska Super. July 12, 2018); State, ex rel. Dewine v. Purdue Pharma L.P., 2018 WL 4080052
 (Ohio Com.Pl. Aug. 22, 2018); State v. Purdue Pharma Inc., 2018 WL 4566129 (N.H. Super. Sep.
 18, 2018).

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           105.   The Court concludes that Defendants could reasonably foresee, and in fact foresaw,

 that their diversion control failures as found herein would result in the opioid epidemic public

 health and safety harms afflicting Cabell County and the City of Huntington, including the

 epidemic’s evolution from one primarily of prescription opioid abuse to one intertwined with

 heroin and fentanyl abuse. As such, as foreseeability is the touchstone for determining proximate

 cause,1252 the Court concludes that Defendants have failed to meet their burden of showing that

 intervening causes break the causal chain and relieve them from liability.1253

 VI.       Plaintiffs’ Claims Are Not Barred by the Statute of Limitations

           A.     There is No Statute of Limitations for Claims Sounding in Equity.

           106.   In West Virginia, there is no statute of limitations for a claim sounding in equity.1254

 Plaintiffs are seeking equitable relief. This Court has previously rejected the Defendants’ argument

 that the prospective remedy of abatement sought by Plaintiffs cannot include a monetary award to

 fund an abatement plan.1255

           107.   Defendants have conceded that “the statute of limitations does not bar the

 government from enjoining a continuing nuisance,”1256 but they have failed to explain why this

 same theory does not apply to other equitable remedies. Plaintiffs are not seeking future damages




 1252
     State ex rel. Morrisey v. AmerisourceBergen Drug Corp., 2014 WL 12814021, at *2 (W.Va.
 Boone Cty. Cir.Ct. Dec. 12, 2014); see also Wal-Mart Stores East, L.P. v. Ankrom, 244 W. Va.
 437, 854 S.E.2d at 270.
 1253
     Cf. Sydenstricker, 217 W. Va. at 559, 618 S.E.2d at 568 (defendant bears the burden of proving
 that intervening acts break the causal chain).
 1254
     Dunn v. Rockwell, Syl. pt. 6, 255 W.Va. 43, 689 S.E.2d 255 (2009). Dunn reemphasized
 decades of precedent and reaffirmed its prior holdings: “Our law is clear that there is no statute of
 limitation for claims seeking equitable relief.” Id. at 266; see also n.9 (citing cases).
 1255
        Doc. 1285 at 6.
 1256
        Doc. 241 at 23.

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 or “reimbursement for public expenditures.”1257          As Defendants point out, Plaintiffs have

 “expressly abandoned any claim for past and future economic losses.”1258 Instead, Plaintiffs have

 made it clear that they are seeking abatement which is equitable in nature and provides a

 prospective remedy that allows plaintiffs to recover the costs of rectifying the nuisance.

           108.      Funding future treatment and education to eradicate the epidemic Defendants

 wrought is not a damage claim because such funding is not compensation for an injury to Plaintiffs;

 rather it is the cost that must be incurred to reverse the conditions causing an interference with the

 public’s right to health and safety. Future damages, a legal remedy, seeks to compensate Plaintiffs

 for the cost of injuries that will continue into the future—such as, for example, lost tax revenue—

 whereas abatement, an equitable remedy, addresses the costs of actions to prevent or lessen such

 future harms, in this case actions that will reduce or eliminate the ongoing opioid crisis in

 Plaintiffs’ communities. Abatement expenditures represent what would need to be spent, whether

 by Plaintiffs or other entities, to remediate the nuisance. The fact that there may be common

 elements between certain types of future damages and an abatement plan does not transform

 abatement into damages, any more than baseball becomes football when their seasons overlap in

 September.

           109.      This Court finds that based on the clear holding in Dunn, there is no statute of

 limitations for Plaintiffs’ claims which seek equitable relief.




 1257
        Id. at 24.
 1258
        Id. at 1 (internal quotations omitted).

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              B.      Even if Plaintiffs’ Claim is Considered Legal, There is No Statute of
                      Limitations for an Unabated Temporary Nuisance.

              110.    Under West Virginia law, the statute of limitations does not run on an unabated

 public nuisance.1259

              111.    In Kermit Lumber, the Court noted that nuisance cases in West Virginia were

 characterized as either permanent or temporary for the purposes of analyzing whether an action is

 time-barred.1260 A permanent nuisance is a “type of nuisance where by one act a permanent injury

 is done being at once necessarily productive of all the damage which can ever result from it.”1261

 By contrast, temporary nuisances involve “continuing or repeated injury.”1262 The statute of

 limitations for a permanent nuisance begins to run immediately, while, when the nuisance is

 classified as temporary, “suits may be maintained as damage goes on.”1263 In Kermit Lumber, the

 Supreme Court found that the public nuisance the DEP alleged was an unabated and temporary

 one for which the statute of limitations would not run unless and until abatement occurred.1264

 Kermit Lumber governs here and is dispositive.

              112.    The first step in the Kermit Lumber analysis is to determine whether the nuisance

 alleged is one that is temporary or permanent.1265 In making this determination here, it is important

 to recognize that this is a governmental action seeking to abate a public nuisance. A “public




 1259
     State ex rel. Smith v. Kermit Lumber & Pressure Treating Co., Syl. pt. 11, 200 W.Va. 221,
 488 S.E.2d 901 (1997).
 1260
        Id. at 922-24.
 1261
        Id. at 922–23 (quoting 58 Am.Jur.2d Nuisances § 27 (1989)).
 1262
        Id. at 923.
 1263
        Id.
 1264
        Id. at 925.
 1265
        Id. at 923.

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 nuisance is by nature continuous or recurring.”1266 That is because “[a] public nuisance action

 usually seeks to have some harm which affects the public health and safety abated.”1267

              113.    Defendants do not contend that the harms to the public health and safety here are

 either abated or can never be abated. Thus, the nature of the public nuisance here is

 indistinguishable from the unremediated hazardous waste in Kermit Lumber. Like hazardous

 waste, the impact of the opioid epidemic continues to spread.1268 And like the hazardous waste in

 Kermit Lumber, the opioid epidemic can be remediated. The “ability to abate” test is recognized

 by the Supreme Court as a means to determine whether a nuisance is temporary or permanent.1269

              114.    The Court finds that the ability to abate test is met here, and the public nuisance is

 a temporary one.1270

              115.    With a public nuisance that is temporary (and thus abatable), the statute of

 limitations does not begin to run until the nuisance is abated. Thus, when “a public nuisance action

 is brought in order to remediate” harms to public health, public safety, and the environment, the

 statute of limitations does not begin to run, “until the harm or endangerment to the public health,

 safety and the environment is abated.”1271

              116.    Ignoring Kermit Lumber, Defendants focus on their nuisance-causing conduct

 rather than the continued existence of the public health crisis that resulted from that conduct.1272




 1266
        Id. at 925.
 1267
        Id.
 1268
        See FOF, Part I.
 1269
        Id. at 923, n.26.
 1270
        FOF, ¶ 614(g) (“The harms resulting from the opioid epidemic are capable of being abated”).
 1271
        Kermit Lumber, 488 S.E.2d at 925, at Syl. Pt. 11.
 1272
        Doc. 241 at 18-21.

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 This analysis misses the mark when the action involves an unabated public nuisance, where

 “whether a nuisance will be classified as continuing or permanent depends not on the offending

 party's interest in continuing the nuisance, but on the type of harm suffered.”1273

           117.   The cases cited by Defendants were cases bought by private parties sounding in

 private nuisance,1274 or other non-nuisance theories,1275 precisely the sort of cases Kermit Lumber

 found distinguishable and “less than helpful” because they focus on private damages rather than

 the public interest in abating harm to the public’s interest in health and safety.1276

           118.   Defendants’ argument that their conduct in the distribution of opioids over the years

 was distinct and separate so that it could not constitute a continuing injury was explicitly rejected




 1273
        200 W.Va. at 243, 488 S.E.2d at 923 (quotation omitted; emphasis in original).
 1274
     Rhodes v. E.I. du Pont de Nemours & Co., 657 F. Supp. 2d 751 (S.D. W. Va. 2009); Taylor v.
 Culloden Pub. Serv. Dist., 214 W.Va. 639, 591 S.E.2d 197 (2003).
 1275
     Roberts v. W. Virginia Am. Water Co., 221 W.Va. 373, 655 S.E.2d 119 (2007) (individual
 negligence action); Handley v. Town of Shinnston, 169 W. Va. 617, 289 S.E.2d 201 (1982) (same);
 Graham v. Beverage, 211 W.Va. 466, 473, n. 13 & 474, 566 S.E.2d 603, 610 n. 13 & 611 (2002)
 (individual negligence and malicious interference claim).
 1276
     Defendants cite only one case that mentions Kermit Lumber is Taylor v. Culloden Pub. Serv.
 Dist., which involved a private, rather than a public, nuisance. 214 W.Va. 639, 591 S.E.2d 197
 (2003). Taylor illustrates that the analysis for such a private nuisance case differs from that in a
 public nuisance action. The Taylor Court determined that the damage claims in Taylor were a
 continuing tort involving “distinct instances of injury result[ing] from the nuisance , as opposed to
 a singular injury.” Id. at 647, 205. From that, the Court concluded that the two-year statute of
 limitations in subsection 12(a) does not run in a private nuisance action seeking damages for a
 temporary nuisance “until the date of the last injurious act or when the acts constituting the
 nuisance have been abated or discontinued.” Id. at syl. pt. 6. Taylor recognized the Kermit Lumber
 rule for an unabated public nuisance, that the one-year statute of limitations does not begin to run
 until the “harm or endangerment to the public health, safety and the environment is abated.” Id.
 (quoting Kermit Lumber). Taylor declined to consider whether plaintiffs should have been
 permitted to amend their complaint to assert a public nuisance claim, holding “there is no need for
 Appellants to seek the benefit” of the Kermit Lumber rule, given its conclusion that the statute of
 limitations did not present a bar. Id. (emphasis added).

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 by Judge Polster in the MDL.1277 More importantly, however, Defendants’ focus on their conduct

 as the statute of limitations trigger in a public nuisance action seeking abatement was explicitly

 rejected in Kermit Lumber.1278 The Court did not even address whether Kermit Lumber’s conduct

 was continuous. Instead, in the very next sentence following the sentence quoted by Defendants

 concerning the “general rule”, the Court rejected that “general rule” as “unworkable in the context

 of a public nuisance action” where the aim is to correct a condition “which is endangering the

 ‘public health, safety and the environment.’”1279

           119.   This Court has previously rejected Defendants’ argument that Plaintiffs are seeking

 the legal remedy of money damages rather than the equitable remedy of abatement.1280 Moreover,

 the Defendants’ argument is irrelevant to the Kermit Lumber analysis as evidenced by the fact that

 the State in Kermit Lumber was actually seeking “compensatory and punitive damages.”1281 By

 establishing that public nuisance is both abatable and unabated, Plaintiffs meet Kermit Lumber’s

 definition of a temporary and continuing nuisance for which the statute of limitations had not yet

 began to run.




 1277
      In re: National Prescription Opiate Litigation, MDL 2804, 2019 WL 4194296 at 13, (N.D.
 Ohio Sep. 4, 2019) (finding “persuasive” MDL Plaintiffs’ response that Defendants’ conduct
 involved “a decades-long marketing and distribution scheme that continues unabated, satisfying
 the tolling requirement that alleged acts cannot be said to occur on any particular day, but [rather]
 over a series of days or years” and recognizing that “Courts have allowed the statute of limitations
 to be tolled when there is a longstanding and demonstrable policy of the forbidden activity.”
 (citations and internal quotations omitted)).
 1278
        200 W.Va. at 245, n. 29; 488 S.E.2d at 925, n.29.
 1279
        Id. (emphasis added).
 1280
     Doc. 1284 at 6-7. The Court reaffirms that ruling for the reasons set forth in Part VII(B)(1),
 infra.
 1281
        488 S.E.2d at 921.

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           120.   In the MDL, Judge Polster came to the same conclusion and held that no statute of

 limitations applies to an unabated public nuisance under Ohio law.1282

           121.    Interpreting West Virginia law, both Judge Hummel, in Marshall County, and the

 West Virginia Mass Litigation Panel have applied the holdings in Kermit Lumber and found that

 no statute of limitations applied to public entities’ public nuisance abatement claims.1283 The

 Supreme Court unanimously denied writs seeking to challenge both of these decisions.1284

 Notably, in Kermit Lumber, the Supreme Court was not troubled that the State first learned of the

 contamination (and Kermit Lumber’s actions) in 1987 but did not file its lawsuit until 1995.1285

           122.   Finally, the Court rejects Cardinal’s argument raised during trial for the first

 time,1286 that Plaintiffs’ abatement remedy is barred by the statute of limitations. This argument

 falls on the same grounds as noted previously – whether based on Dunn v. Rockwell or Kermit




 1282
     In re: National Prescription Opiate Litigation, 2019 WL 4194296 at 2 (“A well-settled rule in
 Ohio is that no length of time can legalize a public nuisance and that therefore the statute of
 limitations does not run against an action to abate such a nuisance.”) (quoting 72 Ohio Jur. 3d
 Nuisances § 22).
 1283
     See Brooke County Commission, et. al. v. Purdue Pharma L.P., et. al., Nos. 17-C-248 at *6
 (W.Va. Cir. Ct. Marshall County Dec. 28, 2018) (Dkt. 1077-4); Monongalia County, et al. v.
 Purdue Pharma L.P., et al., Nos. 18-C-222-236 (Dkt. 288.5) (adopting and applying the reasoning
 and rulings from Brooke County).
 1284
     See State ex rel. Cardinal Health v. Hummel, No. 19-0204 (W.Va. June 4, 2019) (Dkt. 1077.5);
 State ex rel. AmerisourceBergen Drug Corp. v. Moats, No. 19-1051 (W.Va. January 30, 2020)
 (Dkt. 1077.9). Additionally, in this very case, Special Master Wilkes also denied Defendants’
 motion to compel Plaintiffs to respond to discovery to identify the date and manner in which Cabell
 County first learned prescription opioids were being abused or diverted within its geographic
 boundaries. Doc. 248, Discovery Ruling 1 at *2-3. In doing so, he found that “West Virginia law
 provides the statute of limitations on nuisance actions does not begin to run until the nuisance is
 abated.” Id. (citing Kermit Lumber, supra); see also id. at *2-3 (“[W]hat Cabell County has
 disclosed is satisfactory, in light of the fact that as a matter of law the statute of limitations doesn’t
 begin to run until the nuisance is abated.” Id. (emphasis added)).
 1285
        200 W.Va. at 225-226; 488 S.E.2d at 905-06.
 1286
        Doc. 1453 at 75.

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 Lumber – there simply is no running statute of limitations on an equitable claim to abate an

 unabated nuisance.

           123.      In an attempt to avoid Kermit Lumber, Cardinal attempts to reframe the nuisance –

 arguing that the nuisance is their act of distributing pills.1287 The premise of this argument – that

 the focus should be on conduct not condition -- is also refuted below. With respect to any statute

 of limitations argument under Kermit Lumber, it is undisputed that here, “the harm or

 endangerment to the public health, safety and the environment is [un]abated,” such that the statute

 of limitations remains tolled. 1288

           124.      This Court finds that the harms created by the public nuisance caused by the

 Defendants remain unabated, therefore, the Court concludes that the statute of limitations in this

 equitable action to abate a public nuisance has not yet begun to run regardless of whether Dunn or

 Kermit Lumber governs.

 VII.      Remedy

           A.        Adoption of the Abatement Plan.

           125.      The West Virginia Supreme Court of Appeals long has held that an injunction to

 abate a public nuisance may take the form of either a restraining injunction to prevent a prospective

 nuisance or, far more commonly, an affirmative injunction to effectuate remediation of an existing

 or continuing nuisance.1289



 1287
        Id. at 76.
 1288
        200 W.Va. at 245-246; 488 S.E.2d at 925-926.
 1289
     See Duff v. Morgantown Energy Assocs., 187 W. Va. 712, 716, 421 S.E.2d 253, 257 (1992)
 (“courts generally grant injunctions to abate existing nuisances”); see also Kermit Lumber, 200
 W.Va. at 245, 488 S.E.2d at 925 (“A public nuisance action usually seeks to have some harm
 which affects the public health and safety abated. Thus, until such harm is abated, the public
 nuisance is continuing . . ..”); Weston v. Ralston, 48 W. Va. 170, 194, 36 S.E. 446, 456 (1900)

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           126.    The prospective costs for addiction treatment and services Plaintiffs seek are akin

 to the environmental cleanup costs sought and found recoverable to abate the public nuisance in

 Kermit Lumber.1290 This is what the State Court Mass Litigation Panel has held in opioid

 litigation.1291

           127.    This Court previously recognized that it has the equitable power under West

 Virginia law to order the funding of an abatement plan “as the functional equivalent of an

 injunction” when an injunction requiring the Defendants to abate the nuisance is not feasible.1292

           128.    The Plaintiffs seek an award solely for the implementation of the Abatement Plan.

 The Court previously rejected Defendants’ argument that abatement funding would always be

 impermissible under West Virginia Law.1293 The Court agrees with Plaintiffs that under West

 Virginia Law it has the authority to fund a remediation plan as a form of abatement.

           129.    Plaintiffs provided sufficient evidence they have an infrastructure and institutional

 capacity to carry out its proposed abatement plan.




 (“Courts of equity interfere to restrain and prevent public nuisances threatened or in progress, as
 well as to abate those already existing.”) (internal quotation marks and citation omitted).
 1290
        200 W.Va. at 245; 488 S.E.2d at 925.
 1291
     See In re Opioid Litig., Civil Action No. 19-C-9000 (W. Va. Cir. Ct. of Kanawha Cty. July 29,
 2020) (Order re Plaintiffs’ Motion to Strike Defendants’ Notices of Non-Party Fault) (Doc. No.
 813-1 at 9) (“[T]he cost of providing opioid education programs or treatment centers might be part
 of the equitable relief to abate Plaintiffs’ alleged public nuisance – the opioid crisis . . ..”).
 1292
      Doc. 1285 at 6-7; see also In re Nat’l Prescr. Opiate Litig., No. 1:17-md-2804, 2019 WL
 4043938, at *2 (N.D. Ohio Aug. 26, 2019) (“If Defendants are eventually found liable for creating
 the opioid crisis, there is no realistic way the Court could order . . . that . . . Defendants abate the
 crisis themselves (Defendants do not have the requisite infrastructure) . . ..”).
 1293
        Doc 1285 at 7.

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           130.   Other courts have confirmed that abatement is appropriate where, as here, the

 plaintiff has demonstrated that the interference with public rights “is so unreasonable that it must

 be stopped.”1294

           131.   Relevant West Virginia law requires Plaintiffs to establish entitlement to abatement

 to a “reasonable certainty” or “beyond all ground of fair questioning.”1295 This Court concludes

 that Plaintiffs have met that burden here, and the appropriate remedy in this case is an order

 requiring the Defendants to fund an abatement plan.

           132.   As set forth above, the Plaintiffs’ experts Dr. Alexander, Dr. Waller and Dr. Keyes

 testified there are evidence-based solutions that can be put in place that have been proven to help

 abate the Opioid Epidemic.1296 Those solutions have been detailed in the Abatement Plan of Dr.

 Alexander.1297

           133.   The testimony of the Plaintiffs’ experts supports a finding that the Abatement Plan

 will abate the nuisance, save substantial numbers of lives in Cabell County and the City of

 Huntington, save substantial numbers of people from becoming addicted to opioids in the future,




 1294
     Second Restatement § 821B cmt. i (“In an action for injunction [abatement], the question is
 whether the activity itself is so unreasonable that it must be stopped. It may be reasonable to
 continue an important activity if payment is made for the harm it is causing, but unreasonable to
 continue without paying.”); see also Sullivan v. Chief Justice for Admin. & Mgmt. of the Trial Ct.,
 858 N.E.2d 699, 715 (Mass. 2006) (same) (quoting Restatement).
 1295
     Duff v. Morgantown Energy Ass’n, 187 W. Va. 712, 421 S.E.2d 253, 258 n.9 (1992) (“The
 plaintiff seeking the injunction to abate the prospective nuisance bears the burden of proving that
 the proposed conduct will constitute a nuisance beyond all ground of fair questioning. There is no
 dispute among the parties in this case that older West Virginia cases follow the standard that an
 activity will be enjoined prospectively if it is reasonably certain that such activity will constitute a
 nuisance.”); see also City of Huntington v. AmerisourceBergen Drug Corp., 2021 WL 1235025,
 at *3 (S.D. W. Va. March 31, 2021) (quoting Duff, first sentence).
 1296
        FOF, ¶ 606-608, 616.
 1297
        FOF, ¶ 606-608.

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 and eliminate the negative impact this nuisance has had on Cabell County and the City of

 Huntington.1298

           134.   The Court finds it reasonably certain that Plaintiffs’ Abatement Plan set forth above

 is necessary to abate the public nuisance and orders the funding of the full fifteen-year plan.

           135.   The Court finds it appropriate and necessary to award the full fifteen-year cost of

 the plan so that the plan may be efficiently and cost-effectively administered; however, the Court

 concludes that it is appropriate to consider the time value of money and award $1,802,428,070 as

 the present value of the future costs of the program.1299

           136.   Therefore, the Court directs the Plaintiffs to establish a trust to receive and conserve

 the funds awarded in this action and limit expenditure of the funds, after payment of attorney fees

 and litigation expenses, to the implementation of the Redress Model of Dr. Alexander’s Abatement

 Plan. The Plaintiffs are directed to provide to the Court its proposed governance structure for

 approval by this Court. It is the Court’s intention that the trust will be governed by trustees who

 are approved and supervised by the Court. The governing documents of the trust will be subject to

 Court approval and the operation of the trust will be subject to court-supervision.1300


 1298
        FOF, ¶ 614.
 1299
        FOF, ¶ 657.
 1300
     Defendants contend that if the abatement fund disburses money to any State controlled entity,
 it would result in a double windfall for the state as a result of the Defendants’ settlements with the
 Defendants. Doc. 1485 at 14-15. This Court has previously rejected Defendants’ attempts to bar
 Plaintiffs’ claims based on those settlements with the State. Doc. 1291. The now Court bases its
 rulings on the following: Defendants cannot establish that the Plaintiffs and the WVAG were in
 privity with each other; the doctrine of virtual representation is inapplicable; Plaintiffs’ claims for
 abatement of a public nuisance by a city and a county are not the same claims as the damages
 claims previously raised by the State and the WVAG; and Plaintiffs’ claims were not released by
 the WVAG because the plain language of the releases release only the claims of the State and the
 WVAG, the only claims the State and the WVAG had the power to bring or release. See also Doc.
 242. In any event, selection of entities to implement the Abatement Plan is premature prior to the
 creation of the fund and its governing structure.

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           B.     Defendants’ Challenges to the Abatement Plan have no Merit.

           137.   Defendants have raised a number of objections to the Abatement Plan. The Court

 concludes that none of these objections bar the abatement relief ordered by the Court herein. For

 the reasons set forth below, the objections are overruled.

                  1.     Plaintiffs’ Abatement Plan Sounds in Equity and Cannot be
                         Characterized as Damages.

           138.   The Court, sitting in equity, finds and concludes that the appropriate remedy to

 address the opioid crisis in Cabell and Huntington is the abatement of the nuisance by

 implementing the Plaintiffs’ Abatement Plan.

           139.   The Court rejects Defendants’ argument that Plaintiffs’ Abatement Plan constitutes

 damages and is therefore an improper equitable remedy.1301 Plaintiffs’ Abatement Plan is limited

 to rectifying the going forward harms resulting from the opioid epidemic, that is, the conditions

 that constitute the public nuisance Defendants’ have caused. As such, it meets the applicable test

 for an equitable abatement plan as a remedy for a public nuisance.

           140.   Defendants correctly cite the applicable legal principle: “Unlike damages, which

 are intended to “compensate the harmed party for harms already caused by the nuisance,” the

 “abatement remedy is intended to compensate the plaintiff for the costs of rectifying the nuisance,

 going forward.”1302

           141.   Here, every element of Plaintiffs’ Abatement Plan meets Defendants’ test in that

 they all constitute “compensat[ion to] the plaintiff[s] for the costs of rectifying the nuisance, going




 1301
        Doc. 1451 at 8-13; Doc. 1453 at 49-56.
 1302
     Doc. 1451at p.13 (quoting In re Natl. Prescription Opiate Litig., 2019 WL 4043938, at *1
 (N.D. Ohio August 26, 2019) (emphasis added).

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 forward.”1303 Defendants identify no element of the abatement plan that is not linked to rectifying

 the opioid epidemic public nuisance, nor do they offer any plan to redress the serious, ongoing

 epidemic in Cabell and Huntington.

           142.    Like the abatement fund ordered in People v. ConAgra Grocery Products Co.,1304

 the remedy here clearly constitutes abatement:

           Here, plaintiff sought the equitable remedy of abatement for the nuisance because
           the hazard created by defendants was continuing to cause harm to children, and that
           harm could be prevented only by removing the hazard. Plaintiff did not seek to
           recover for any prior accrued harm nor did it seek compensation of any kind. The
           deposits that the trial court required defendants to make into the abatement account
           would be utilized not to recompense anyone for accrued harm but solely to pay for
           the prospective removal of the hazards defendants had created.1305

 The opioid epidemic here is a hazard created by Defendants; it continues to cause harm; and the

 Abatement Plan is designed to remove the hazard that is causing the harms. Plaintiffs do not seek

 to recover for any prior accrued harms, nor compensation of any kind for future harms, such as

 lost revenue or property values. Unlike a damage award where the Plaintiffs are free to expend

 the recovery any way they choose, an equitable fund for abatement of the opioid epidemic can

 only be utilized to pay for the prospective elimination of the epidemic.

           143.    Defendants argue that no West Virginia Court has required the funding of an

 abatement plan to reduce the effects of a public nuisance. The West Virginia Mass Litigation

 Panel (“MLP”), however, characterized similar claims as equitable in the state court opioid

 litigation.1306 As Judge Polster noted, these same Defendants’ arguments “appear to confuse the


 1303
        Id. at p.13.
 1304
        17 Cal. App. 5th 51, 227 Cal. Rptr. 3d 499 (2017)
 1305
        17 Cal. App. 5th at 133, 227 Cal. Rptr. 3d at 569.
 1306
     See In re Opioid Litig., No. 19-C-9000 (W. Va. Cir. Ct., Kanawha Cty. July 29, 2020) at 5, ¶¶
 5-6 (“[T]he Panel concludes that the Apportionment Statutes (both the 2005 Act and the 2015 Act)

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 forward-looking, equitable remedy of abatement and the rearward-looking remedy of

 damages.”1307 Other Courts addressing opioid epidemic abatement claims have ruled similarly,1308

 as have other courts hearing public nuisance cases sounding in equity.1309




 do not apply to Plaintiffs’ equitable claims of public nuisance . . .. The statutes apply only to
 claims for damages and do not refer to abatement or other equitable relief.”); id. at 9, ¶¶ 13-14
 (“Damages, whether future or past, are focused on compensation for an injury or loss to make the
 injured party whole. Abatement is to rectify the nuisance itself. . . . The Court concludes and
 holds that [nuisance abatement] costs are in the nature of equitable relief, not past damages.”),
 The Supreme Court of Appeals of West Virginia addressed the MLP’s orders in a writ proceeding.
 State ex rel. AmerisourceBergen Drug Corp. v. Moats, No. 20-0694, 2021 WL 2390204, at *8 (W.
 Va. June 11, 2021). The Court specifically noted that “other courts have recognized that an
 injunction may entail the payment of money by a defendant.” Id. at *7. Many of the plaintiffs in
 ABDC, supra, however, had pending claims for damages. Therefore, the Court granted the writ
 to the extent that the Panel’s orders required legal claims to be tried after the bench trial. Id. at
 *10. Notably, the Court upheld the equitable nature of the State’s public nuisance claim and did
 not grant the writ with respect to the State. Id. at * 8, n.55. Like the Plaintiffs here, the State in
 ABDC had waived and was not seeking damages in its public nuisance. Id. at *4 (noting State’s
 argument that 2015 Non-Party Fault Act did not apply to State’s claims seeking abatement of
 public nuisance).
 1307
        In re Nat'l Prescription Opiate Litig., No. 1:17-MD-2804, 2019 WL 4043938, at *1.
 1308
     SER Mike Hunter v. Purdue Pharma L.P., et al., Case No. CJ-2017-816 (Aug. 26, 2019) at
 awarding abatement remedy that included addiction treatment); State of Washington v. McKesson,
 No. 19-2-06975-9 SEA (King County, Wash July 6, 2021) (holding in opioid case where Dr.
 Alexander is expert witness proposing similar abatement plan that “Abatement is an equitable
 remedy, even when the relief sought in abatement is monetary.” (citing ConAgra, supra)).
 1309
     ConAgra, 17 Cal. App. 5th at 132 (“The abatement funds was not a ‘thinly disguised’ damages
 award. The distinction between an abatement order and a damages award is stark. . . . An
 equitable remedy’s sole purpose is to eliminate the hazard that is causing prospective harm to the
 plaintiff.”); In re Lead Paint Litig., 924 A.2d 484, 499 (N.J. 2007) (“[T]he public entity, as the
 modern representative of the sovereign in public nuisance litigation, has only the right to abate.
 Although, historically that has included the right to visit upon the owner of the land from which
 the public nuisance emanates, the obligations, including the costs, of the abatement, there is no
 right . . . for the public entity to seek to collect money damages in general.” (internal citations
 omitted) (emphasis added).

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           144.   Cardinal separately argues, as a matter of federal law, that any money awarded must

 be incidental to a prohibitory injunction.1310 While abatement often takes the form of an

 injunction, that is because an injunction requiring the defendant to undertake such remediation is

 feasible; here, however, “defendants ‘do not have the requisite infrastructure,’” and, thus “it is

 unclear why the court could not order funding as the functional equivalent.”1311 Judge Polster

 summarized the rationale behind the abatement fund requested by Plaintiffs:

           If Defendants are eventually found liable for creating the opioid crisis, there is no
           realistic way the Court could order either that: (1) Defendants abate the crisis
           themselves (Defendants do not have the requisite infrastructure), or (2) Plaintiffs
           abate the crisis and then order Defendants to pay Plaintiffs the costs incurred in
           doing so (Plaintiffs do not have the financial resources). Thus, the Court must, if
           Defendants are found liable, have some mechanism to predict and fairly award
           prospective future costs to abate the crisis.1312

 On the other hand, the Court has found that Plaintiffs have the infrastructure to implement a court

 supervised abatement plan,1313 and the Abatement Plan includes the provision for “Surveillance,

 Evaluation, and Leadership.” 1314


 1310
      Defendants argue that, for this proposition, federal law sets forth this Court’s equitable
 jurisdiction. Doc. No. 1451 at 14. Caselaw on this issue rarely makes the distinction between state
 and federal equity jurisprudence – with courts at both levels looking back to England for guidance.
 As such, the Court concludes that the cited state decisions are persuasive authority.
 1311
     Doc. 1285 at p.6 (footnotes omitted) (quoting In re Nat’l Prescription Opiate Litig., 2019 WL
 4043938, at *2). Here, Defendants have not argued that they have the requisite infrastructure, and
 the Court has expressly found as a matter of fact that Defendants do not. FOF, ¶ 606.
 1312
        In re Nat’l Prescription Opiate Litig., 2019 WL 4043938, at *2.
 1313
        FOF, ¶¶ 614(j).
 1314
      Mr. Barrett calculated that this intervention (category 1F “Surveillance, Evaluation, and
 Leadership”) will cost $5.2 million over the 15-year duration of the Abatement Plan. 6/29 Trial
 Tr. (Barrett) at 107, 110. The subcategory includes costs for an executive director, data analysts,
 and a staff assistant. Id. at 132-33. Dr. Alexander explained the importance of this category of
 the Abatement Plan:
           [S]urveillance, evaluation, and leadership is important because there has to be a
           mission control to this plan. Surveillance and evaluation allow for iterative

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        145.    The Court concludes that the abatement fund sought by Plaintiffs is consistent with

 both the purposes behind abatement and the broad equitable power of the Court.1315

        146.    Finally, Cardinal argues that there are no examples of a federal court ordering the

 creation of an equitable fund pursuant to its equitable powers. To the contrary, courts across the

 country have found that a federal court order creating a court-supervised fund, most commonly in

 the context of medical monitoring cases, is a proper exercise of equitable jurisdiction rather than

 a claim for damages. The Court in Day v. NLO, Inc., explained the distinction:

                [A] court may also establish an elaborate medical monitoring program of its
        own, managed by court-appointed court-supervised trustees, pursuant to which a
        plaintiff is monitored by particular physicians and the medical data produced is
        utilized for group studies. In this situation, a defendant, of course, would finance
        the program as well as being required by the Court to address issues as they develop
        during the program administration. Under these circumstances, the relief
        constitutes injunctive relief . . ..1316




        refinement and fine-tuning of the plan over time as the epidemic continues to
        evolve.
 6/28 Trial Tr. (Alexander) at 136-37.
 1315
     Moreover, nuisances are not limited to conduct and conditions that interfere with a public right
 also constitute a public nuisance, see infra, Part VII(B)(3), thus, the requirement that prohibitory
 injunction issue where conduct has already stopped but condition caused by the continues would
 render it impossible to abate the harms caused by the conduct. No case law supports this extreme
 result.
 1316
    144 F.R.D. 330, 335-36 (S.D. Ohio 1992) (emphasis added); see also In re NLO, Inc., 5 F.3d
 154, 159 (6th Cir. 1993) (denying writ in Day) (cases relied upon by the district court “generally
 support the proposition that such relief is injunctive in nature”).

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 There are many other examples.1317 These holdings are not limited to medical monitoring

 cases.1318

           147.   Cardinal’s response is that the court supervision contemplated by these cases means

 that “the Court (itself or through trustees or monitors) would have to decide (i) which programs

 should be funded (ii) in what amounts (iii) for how long and (iv) with what requirements for

 reporting and accountability.”1319 With respect to the first three, the Court is already largely


 1317
     Yslava v. Hughes Aircraft Co., 845 F. Supp. 705, 713 (D. Ariz. 1993) (“Here, plaintiffs do not
 merely seek money from Hughes. Plaintiffs seek to implement a court-supervised program
 requiring ongoing, elaborate medical monitoring. Accordingly, plaintiffs' relief qualifies as
 injunctive relief. . ..”); Cook v. Rockwell Int'l Corp., 778 F. Supp. 512, 515 (D. Colo. 1991)
 (“Rockwell argues that dismissal is appropriate because a medical monitoring claim is not
 cognizable as “injunctive relief.” I conclude that dismissal of this claim is not appropriate.”); Barth
 v. Firestone Tire & Rubber Co., 661 F. Supp. 193, 204 (N.D. Cal. 1987) (finding equitable claim
 for establishment and maintenance of a monitoring program which will pool and share knowledge
 about the results of the alleged exposure and will provide for diagnosis and preventive medical
 advice); Donovan v. Philip Morris USA, Inc., 268 F.R.D. 1, 23 (D. Mass. 2010); In re Copley
 Pharm., Inc., 161 F.R.D. 456, 469 (D. Wyo. 1995) (“During the course of the trial, the Court will
 also consider evidence relevant to the Plaintiffs' request for the equitable remedy of medical
 monitoring. . . [B]ecause of the equitable nature of medical monitoring, this issue should not be
 submitted to the jury.”). There are also many examples of state courts so holding. See, e.g., Ayers
 v. Jackson Township, 106 N.J. 557, 525 A.2d 287, 314 (1987) (“[T]he use of a court-supervised
 fund to administer medical-surveillance payments in mass exposure cases ... is a highly appropriate
 exercise of the Court's equitable powers.”); Burns v. Jaquays Min. Corp., 156 Ariz. 375, 752 P.2d
 28, 34 (App.Ct.1987) (holding that court-supervised medical surveillance fund is exercise of
 court's equitable powers).
 1318
      Corvello v. New England Gas Co., 532 F. Supp. 2d 396, 398–99 (D.R.I. 2008) (refusing to
 dismiss claim for injunctive relief where plaintiffs brought public nuisance claims seeking
 compensatory damages and an injunction requiring defendant to “pay money into a fund sufficient
 to clean and remediate the contamination”); United States v. Price, 688 F.2d 204, 212 (3d Cir.
 1982) (“A request for funds for a diagnostic study of the public health threat posed by the
 continuing contamination and its abatement is not, in any sense, a traditional form of damages.”).
 Cardinal tries to limit Price to relief available under federal statutes, see Doc. 1453-1 at 54-56,
 while asserting that there is a general rule against equitable relief in the form of payment of money.
 Id. (citing Jaffee v. U.S., 592 F.2d 712, 715 (3d Cir. 1979). Jaffee, however, involved claims not
 by a government plaintiff seeking to abate a public nuisance, but private plaintiffs seeking to defray
 their costs for future personal injury treatment, which the court held is “a traditional form of
 damages in tort compensation for medical expenses to be incurred in the future.” 592 F.2d 715.
 1319
        Doc. 1487 at 27.

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 undertaking that analysis as part of this trial. Details regarding implementation of the Abatement

 Plan (including reporting) can be addressed in subsequent proceedings as the infrastructure of the

 fund is developed and submitted to the Court for approval.1320

           148.    The Abatement Plan here seeks the abatement of the public nuisance (the opioid

 epidemic), not compensation for past harms. The structure of the Abatement Plan falls squarely

 within the cases cited above. Plaintiffs seek a Court-supervised fund to implement the Abatement

 Plan. The Abatement Plan is remedial and specifically directed at abating the opioid epidemic

 (rather than compensating for past or projected injuries). Unlike a damage award which can be

 used for any purpose, the use of the proposed fund is restricted to implementing the Abatement

 Plan. Simply put, the remedy falls within equity – it is not “a repackaged claim for damages.”1321

                   2.     Plaintiffs’ Abatement Claims are Not Barred by the “Adequate
                          Remedy at Law” Doctrine.

           149.    Cardinal claims that Plaintiffs have an adequate remedy at law that, as a matter of

 federal jurisdictional law, bars their abatement claim in equity.1322 Cardinal’s argument relies on

 inapposite case law involving claims by private parties. The standard is applied differently in the

 context of governmental actions – especially ones like this involving public health and safety.

 Moreover, the “legal remedies” argued by Cardinal to be adequate are insufficient to constitute an

 adequate remedy at law.




 1320
     Cf. Perrine v. E.I. du Pont de Nemours & Co., 225 W. Va. 482, 505, 694 S.E.2d 815, 838
 (2010) (in implementing medical monitoring program, circuit court entered five orders pertaining
 to post-judgment matters following evidentiary hearing which resolved issues concerning the
 scope, duration and cost of medical monitoring plan).
 1321
        Rederford v. U.S. Airways, Inc., 589 F.3d 30, 37 (1st Cir. 2009).
 1322
        See Doc. 1453 at 40-49.

                                                   262
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           150.    As the Fourth Circuit has made clear in Env't Def. Fund, Inc. v. Lamphier, claims

 for equitable relief by governmental plaintiffs are held to a different standard than claims brought

 by private parties.1323 This is particularly true “[w]here the plaintiff is a sovereign and where the

 activity may endanger the public health.” In such cases, the emphasis shifts from traditional

 equitable concerns “to concern for the general public interest.”1324 Thus, a governmental plaintiff

 is “not bound to conform with the requirements of private litigation,” such as “show[ing]

 irreparable injury and that it [lacks] an adequate remedy at law,” when it acts to effectuate

 statutory policies; instead, the requirement is only that the relief be “in the public interest.”1325

 And, Lamphier specifically held that “this rationale applies equally to state enforcement of federal

 and state health laws.”1326

           151.    Thus, under Lamphier, all that is required is a showing that the Abatement Plan is

 “in the public interest,” without regard to whether there is any purportedly adequate legal remedy.

 Here, there is no reasonable argument that the abatement plan is not in the public interest and

 Defendants do not contend otherwise.




 1323
     714 F.2d 331, 337 (4th Cir. 1983) (“the law of injunctions differs with respect to governmental
 plaintiffs (or private attorneys general) as opposed to private individuals”).
 1324
        Id. at 337-38 (quoting Shafer v. United States, 229 F.2d 124, 128 (4th Cir.1956)).
 1325
      Id. at 338 (quoting Shafer, supra); see also United States v. Shelton Wholesale, Inc., 34 F.
 Supp. 2d 1147, 1166–67 (W.D. Mo. 1999) (“When the Government seeks an injunction pursuant
 to statute to protect the public health, the requirements applicable to private litigants in equity do
 not apply. The Government need not show irreparable harm, or inadequate remedy at law.”
 (citations omitted)), aff'd, 277 F.3d 998 (8th Cir. 2002); United States v. Articles of Drug, 633 F.
 Supp. 316, 326 (D. Neb. 1986) (“[T]he government is not bound to prove the absence of
 an adequate remedy at law where a statute authorizes an injunction.”), aff'd in part, rev'd in part
 on other grounds, 825 F.2d 1238 (8th Cir. 1987).
 1326
        Id. (emphasis added).

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           152.   Cardinal’s out-of-circuit precedent does not change this analysis. Cardinal relies

 heavily on Sonner v. Premier Nutrition Corp.,1327 an outlier decision of the Ninth Circuit. While

 Cardinal suggests that the Fourth Circuit agrees,1328 the agreement by our circuit noted by the

 Sonner Court was with the proposition that “state law cannot circumscribe a federal court's

 equitable powers even when state law affords the rule of decision.”1329 Plaintiffs are not seeking

 to circumscribe a federal court’s equitable powers to what state law allows; rather, Plaintiffs seek

 equitable relief allowed by state law.

           153.   Sonner, which involved a private class action, does not cite or address Lamphier’s

 holdings regarding the requirements for an equitable relief sought by a governmental entity.

 Similarly, the district courts applying Sonner to dismiss claims for equitable relief highlighted by

 Cardinal all involve claims by private entities, and all the cited decisions were from California

 district courts in the Ninth Circuit.1330 Lamphier, as a decision of the Fourth Circuit, is binding

 here and mandates rejection of Cardinal’s claim.1331



 1327
        971 F.3d 834 (9th Cir. 2020).
 1328
    Doc. 1446-1 at 43 (citing Sonner, 971 F.3d at 843 (citing SSMC, Inc. v. N.V. Steffen, 102 F.3d
 704, 708 (4th Cir. 1996)).
 1329
        SSMC, 102 F.3d at 708 (quoting Guaranty Trust Co. v. York, 326 U.S. 99, 106 (1945).
 1330
        See Doc. 1446-1 at 43 n.139.
 1331
      Cardinal argues that Lamphier is limited to cases where the government seeking action is
 sovereign. Doc. 1487 at 21. Notably, Lamphier’s holding expressly applied to the private parties
 acting as “private attorney generals.” 714 F.2d at 337–38. While the Plaintiffs here are political
 subdivision and not sovereigns, they are acting under the authority of state statutes authorizing
 abatement. W.Va. Code § 8-12-5 (13), (23), (44); W.Va. Code § 7-1-3kk. Cardinal offers no
 explanation why Lamphier’s holding should apply to private parties and not actual governmental
 entities such as Plaintiffs. Second, Lamphier’s rule that traditional equitable requirement are
 inapplicable in governmental actions to protect the public health has second basis – statutory
 authorization. 714 F.2d at 338. Like the statutes in Lamphier, Plaintiffs are effectuating the policy
 of W.Va. Code § 8-12-5 (13), (23), (44) and W.Va. Code § 7-1-3kk which expressly authorize
 abatement actions, and the only requirement is that the government act out of “concern for the
 general public interest.” Lamphier, supra.

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           154.   In any event, the request for abatement here satisfies the requirement that legal

 remedies be inadequate. The long-established standard for determining whether a remedy at law

 is adequate is as follows: “Before equitable relief is foreclosed, the legal remedy must be as

 complete, practical, and efficient as the equitable remedy available.”1332 Thus, even if Sonner’s

 analysis governs, the damage claims identified by Cardinal do not constitute adequate remedies at

 law.

           155.   Here, Plaintiffs are bringing an equitable public nuisance claim where the remedy

 sought is abatement of the public nuisance. This claim vindicates the government’s interest in

 securing public rights – such as protection against interference with “the public health, the public

 safety, the public peace, the public comfort or the public convenience.”1333 When a public agency

 has authority to represent a political subdivision in bringing the public nuisance claim, the body

 can, as here, maintain a proceeding to enjoin or abate a public nuisance.1334 The second type of

 claim is a claim for damages. As Judge Polster explains, the two claims are fundamentally

 different:

                   In a traditional public nuisance case, a municipal entity who is harmed by
           the maintenance of a nuisance will give notice to and ask the offending party
           to abate the nuisance. If the offending party is unable or unwilling to abate, the
           harmed party can, when appropriate, abate the nuisance themselves or ask the court

 1332
      Dobbs, Law of Remedies (3d ed.) § 2.5 & n.201(1) (citing Terrace v. Thompson, 263 U.S.
 197, 214, 44 S. Ct. 15, 17, 68 L. Ed. 255 (1923) (“the legal remedy must be as complete, practical
 and efficient as that which equity could afford”); see also 30A C.J.S. Equity § 23 (The existence
 of a remedy at law does not deprive equity of jurisdiction unless that remedy is clear, full, adequate,
 and complete. . . . Thus, equity will assume jurisdiction if one's remedy at law is not as complete
 as, or would be more difficult than, the remedy in equity, or is less effective, or is less complete or
 satisfactory.”) (footnotes omitted)); Stolt-Nielsen, S.A. v. United States, 442 F.3d 177, 187 (3d Cir.
 2006), as amended (May 16, 2006) (same).
 1333
        Second Restatement, § 821B(2)(A).
 1334
     Id. at § 821C(2)(B); id at cmt c (“A public official who is authorized to represent the state or
 an appropriate subdivision in an action to abate or enjoin a public nuisance may of course maintain
 the action.”).

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           for the right to do so, and then seek compensation for the costs of abating the
           nuisance. This compensation is equitable in nature. The goal is not to compensate
           the harmed party for harms already caused by the nuisance. This would be an award
           of damages. Instead, an abatement remedy is intended to compensate the plaintiff
           for the costs of rectifying the nuisance, going forward.1335

           156.   The Court concludes that the fact that Plaintiffs once sought damages (and even if

 such claims remained) does not change the nature of the abatement remedy. The Abatement Plan

 sought by Plaintiffs is forward looking and does not seek recovery of any past expenditures.

 Instead, Plaintiffs seek an abatement order calling for the creation of a trust fund that will “rectify

 the nuisance going forward.”

           157.   Finally, Cardinal focuses on the Abatement Plan expenditures for substance abuse

 treatment and equates them to the recovery of future medical expenses in a tort action. Courts, in

 the context of resolving medical monitoring claims, have long distinguished the recovery by

 individuals for future medical expenses from the creation of an equitable fund for purposes of

 determining whether a legal remedy was adequate. For example, the Court in Barth v. Firestone

 Tire & Rubber Co., concluded that “no remedy at law exists that would permit a court to fashion

 an underlying remedy such as the medical monitoring fund sought here” where plaintiffs sought

 the establishment and maintenance of a monitoring program which will pool and share knowledge

 about the results of the alleged exposure and will provide for diagnosis and preventive medical

 advice.1336 The court noted that “plaintiffs still may seek other forms of remedy at law, but the

 monitoring program sought here is not a remedy available at law.”1337



 1335
        In re Nat'l Prescription Opiate Litig., 2019 WL 4043938, at *1.
 1336
        661 F. Supp. 193, 205 (N.D. Cal. 1987).
 1337
     Id.; see also O'Connor v. Boeing N. Am., Inc., 184 F.R.D. 311, 337–38 (C.D. Cal. 1998)
 (“Recovering the cost of future medical monitoring on an individual basis, however, will not
 provide Plaintiffs with the relief they seek, as Plaintiffs' program is designed not only to detect

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        158.    The Court finds that the Abatement Plan here is analogous to these medical

 monitoring funds. As noted above, the Abatement Plan seeks the creation of a Court-supervised

 fund that does more than pay for treatment for individuals. The Plan creates the necessary

 treatment infrastructure, expands the treatment workforce, and connects individuals to care

 (including programs to decrease relapse and increase retention in treatment). And unlike a claim

 for damages, the money in trust fund Plaintiffs seek is restricted to implementing the Abatement

 Plan to abate the opioid epidemic.

        159.    Simply paying for the cost to respond to more people who are overdosing, or more

 infants born withdrawing is clearly an inadequate remedy for this epidemic. First, a damage award

 cannot be limited to implementing the Abatement Plan.1338 Damage awards are especially

 inadequate for a governmental entity seeking to prevent harm to its residents. As in Barth v.

 Firestone Tire & Rubber Co., supra, as no remedy at law exists that would permit a court to fashion

 an underlying remedy like the Abatement Plan as part of a damage award, damage claims at law

 are not adequate remedies. Thus, any damage claim is inadequate to abate the opioid epidemic

 and is not a remedy that is “complete, practical, and efficient” substitute for the Plaintiffs’ claims

 seeking implementation of the entire Abatement Plan through the establishment of a Court-

 supervised fund.




 signs of latent disease, but also to share information regarding the identification and development
 of latent diseases among class members.” (emphasis in original)).
 1338
     Cf. Bower v. Westinghouse Elec. Corp., 206 W. Va. 133, 143, 522 S.E.2d 424, 434 (1999)
 (noting the distinction between medical monitoring granted through the establishment of a court-
 administered fund and lump-sum damage awards).


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                  3.        The Remedy of Abatement Extends to the Elimination of the
                            Opioid Epidemic and is Not Limited to Eliminating Defendants’
                            Contributing Conduct.

           160.    Defendants argue that the remedy of abatement is limited to an injunction stopping

 conduct.1339 This argument premised on the incorrect notion that a nuisance may only be defined

 based upon conduct.1340 The Court concludes that this premise is incorrect as a matter of law, as

 West Virginia common law has long recognized that a condition that substantially interferes with

 public rights constitutes a public nuisance. Moreover, case law establishes the right of a public

 entity to seek, as abatement, the remediation of the conditions caused by the nuisance as abatement.

           161.   West Virginian decisions consistently hold that conditions that interfere with a

 public right constitute a public nuisance. In 1955, the Supreme Court of Appeals held in Martin

 v. Williams that “[a] condition is a nuisance when it clearly appears that enjoyment of property is

 materially lessened, and physical comfort of persons in their homes is materially interfered with

 thereby.”1341 Modern decisions have recognized Martin’s holding.1342 And, other cases make it

 clear that either an act or condition can constitute a nuisance.1343

           162.   Defendants improperly conflate what is necessary to establish liability for a public

 nuisance with the resulting condition which – after liability is proven – is the proper focus for the




 1339
        Doc. 1441-1 at 9.
 1340
        Doc. 1441-1 at 9.
 1341
        141 W.Va. 595, 610–611, 93 S.E.2d 835, 844 (1956) (citations omitted).
 1342
     Burch v. Nedpower Mount Storm, LLC, 220 W. Va. 443, 450–51, 647 S.E.2d 879, 886–87
 (2007); Hendricks v. Stalnaker, 181 W. Va. 31, 33, 380 S.E.2d 198, 200 (1989).
 1343
     Hark v. Mountain Fork Lumber Co., 127 W. Va. 586, 595, 34 S.E.2d 348, 354 (1945) (“A
 public nuisance is an act or condition that unlawfully operates to hurt or inconvenience an
 indefinite number of persons.”); Hendricks, 181 W. Va. at 31, 380 S.E.2d at 200 (“This definition
 of nuisance includes acts or conditions that affect either the general public or a limited number of
 persons.”); Sharon Steel Corp., 175 W. Va. at 483, 334 S.E.2d at 620–21 (quoting Hark).

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 remedy of abatement. While Defendants’ conduct is unquestionably a necessary element in

 determining their liability in a public nuisance abatement action,1344 it does not follow that the

 remedy of abatement is limited solely to stopping the conduct when harms to public health and

 safety would otherwise remain. Thus, the Court concludes that abatement is not limited to

 eliminating defendants’ wrongful conduct.

           163.    Courts have “broad equitable authority to abate [a] nuisance.”1345 This is hornbook

 law.1346 Indeed, the Supreme Court of Appeals held in CashCall, Inc. v. Morrisey, that courts

 “have broad powers to fashion equitable relief,” and “a court's equitable powers assume an even

 broader, more flexible character when the public interest is involved.”1347 The CashCall Court

 quoted the U.S. Supreme Court’s caution on limiting equitable jurisdiction:

           Unless a statute in so many words, or by a necessary and inescapable inference,
           restricts the court's jurisdiction in equity, the full scope of that jurisdiction is to be
           recognized and applied.1348

           The Court rejects Defendants’ limitation of the broad remedy of abatement to an injunction

 halting their conduct as clearly contrary to these equitable principles.




 1344
        COL, Part IV.
 1345
     Ypsilanti Charter Twp. v. Kircher, 281 Mich. App. 251, 275–76, 761 N.W.2d 761, 777 (2008);
 see also Thanos v. D.C., 109 A.3d 1084, 1093–94 (D.C. 2014) (“the broad authority to
 fashion equitable relief for the purposes of enjoining, abating, and preventing the continuation or
 recurrence of [the] nuisance”); Northfield Twp. v. Kircher, No. 212260, 2000 WL 33409146, at *1
 (Mich. Ct. App. Aug. 11, 2000) (“Trial courts have broad discretion in fashioning appropriate
 remedies to abate public nuisances.” (citations and internal quotations omitted)).
 1346
     58 Am. Jur. 2d Nuisances § 288 (“An action to abate a public nuisance is one of an equitable
 nature. Equity has always had the authority to abate a public nuisance. The purpose of giving
 equity jurisdiction in public nuisance actions is to offer remedies more complete than those
 available at law.”).
 1347
        No. 12-1274, 2014 WL 2404300, at *19 (Mem.) (W. Va. May 30, 2014).
 1348
        Id. (quoting Porter v. Warner Holding Co., 328 U.S. 395, 66 S.Ct. 1086 (1946)).

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              164.   The Defendants concede that in environmental cases, “[t]he object of a public

 nuisance action is to abate or stop the harm to the public health, safety, and the environment,”

 where abatement consists of removing the remaining pollution from the environment.1349 For this

 proposition, Defendants rely on Kermit Lumber, where the defendant’s arsenic pollution migrated

 offsite, threating the health and safety of the public. Tellingly, the Kermit Lumber Court did not

 limit the State’s abatement to stopping Defendants’ operations, a remedy that would have been

 meaningless as the defendant there had ceased operations at the site.1350 Instead, as Defendants

 acknowledge, the State sought remediation and cleanup of the arsenic.1351 And, while the State

 also sought damages in Kermit Lumber, it sought damages in addition to abatement.1352

              165.   Defendants argue that the Kermit Lumber Court did not extend abatement to

 medical treatment – a remedy that was not requested by the State in Kermit Lumber. Even if the

 absence of express approval of a remedy not sought has any precedential value, the nuisance here

 – the opioid epidemic – is materially different from the environmental contamination in Kermit

 Lumber. Treatment of addiction is necessary here because addiction itself results in many other

 of the conditions that constitute interference with public rights: crime, communicable diseases,

 destruction of neighborhoods, burdens on social systems, etc. Defendants’ interpretation of Kermit

 Lumber also is simply inconsistent with that Court’s focus on the importance of abating the

 continuing harms of the unabated nuisance.1353




 1349
        Doc. 1451 at p.12 (quoting Kermit Lumber, supra).
 1350
        Kermit Lumber, 200 W. Va. at 226, n. 4, 488 S.E.2d at 906, n. 4.
 1351
        Doc. 1451 at p.12, n.22.
 1352
        Id.
 1353
        See Kermit Lumber, supra.

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           166.   Finally, Defendants contend that funding treatment and other elements of the

 Abatement Plan, which will be performed by entities other the Plaintiffs, is improper. This Court

 has already rejected this argument.1354 Funding treatment by third-parties here would be the same

 as funding remediation of environment contamination by third party remediation experts.

           167.   Thus, an “abatement order is an equitable remedy,” and its “sole purpose is to

 eliminate the hazard that is causing prospective harm to the plaintiff.”1355 Here, the Abatement

 Plan proposes to alleviate the opioid epidemic which is the hazard causing the prospective harms

 identified above.

                  4.      Because Defendants Are Responsible for the Abatement of the
                          Opioid Epidemic in Cabell and Huntington, the Scope of the
                          Abatement Plan is both Necessary and Appropriate.

           168.   In addition to their structural challenge to the requested Court-supervised fund to

 implement the Abatement Plan, Defendants challenge the scope of the Abatement Plan. The Court

 rejects these challenges. The premise for these arguments – that Defendants’ liability is for

 something other than abatement of the opioid epidemic in Cabell and Huntington – is false, and

 the remedies set forth in the Abatement Plan are all designed to accomplish that goal.




 1354
     Doc. 1285 at 6-7 (“If the facts prove that an injunction requiring remediation would not be
 feasible, it is unclear why the court could not order funding as the functional equivalent.”).
 1355
        ConAgra, 17 Cal. App. 5th at 132, 227 Cal. Rptr. 3d at 569.

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                          a.     Because Defendants are Jointly and Severally Liable for
                                 the Opioid Epidemic in Cabell and Huntington, the
                                 Abatement Plan is Appropriately Directed at Abating
                                 the Entire Epidemic.

           169.    First, the Court concludes that Defendants are jointly and severally liable to abate

 the opioid epidemic harms in Cabell and Huntington. West Virginia’s common law rule is that

 joint tortfeasors presumptively are jointly and severally liable to satisfy a judgment.1356 Long ago,

 the Supreme Court of Appeals recognized that defendants who were concurrently liable in creating

 a nuisance were subject to joint liability.1357 Moreover, joint liability for abatement of a public

 nuisance is subject to a different and more liberal standard in equity.1358

           170.   While recently, the West Virginia Legislature has limited the application of the

 common law rule of joint and several liability,1359 those enactments apply only to causes of action

 seeking damages.1360 The current 2015 Act does not apply to Plaintiffs’ public nuisance claim

 seeking only equitable abatement relief. This Court recognized the inapplicability of these statutes




 1356
        Sitzes v. Anchor Motor Freight, Inc., 169 W. Va. 698, 289 S.E.2d 679, 684 (1982).
 1357
        Baker v. City of Wheeling, 117 W. Va. 362, 185 S.E. 842, 844 (1936).
 1358
     McMechen v. Hitchman-Glendale Consol. Coal Co., 88 W. Va. 633, 107 S.E. 480, 482 (1921)
 (“Although brought into existence or maintained by the separate acts of a number of persons, a
 nuisance, considered in all of its aspects and elements, may be an entire thing. Limited in its
 functions to a mere matter of compensation for damages, a court of law could not, under all
 circumstances, treat it as an entirety, but a court of equity can do so, because of its more extensive
 remedial powers.”).
 1359
     See W. Va. Code § 55-7-13c(a) (2015) (“2015 Act”); see also W. Va. Code § 55-7-24 (2005)
 (repealed 2015).
 1360
        W. Va. Code § 55-7-13c(a).

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 in granting Plaintiffs’ motion to strike Defendants’ notices of non-party fault served pursuant to

 the 2015 Act.1361 Thus, common law joint and several liability applies in this case.1362

           171.   Since joint and several liability applies, and Plaintiffs have established that

 Defendants are “a factor in causing some aspect of [their] harm,”1363 the Plaintiffs have made a

 “prima facie showing,” and Defendants then have the burden of showing the harm “is capable of




 1361
      See Order issued March 31, 2021 (ECF No. 1247) at 1 (“Plaintiffs’ Motion to Strike
 Defendants’ Notices of Non-Party Fault (ECF No. 224) is Granted”); see also Doc. No. 1083-3,
 writ denied, State ex rel. AmerisourceBergen Drug Corp. v. Hon. Alan D. Moats, ___ W. Va. ___,
 859 S.E.2d 374, 378-79 (W. Va. June 11, 2021) (“We conclude that the Panel did not clearly err
 when it found that the 2015 amendments do not apply to the public nuisance claims.”). As Justice
 Hutchinson recognized, this Court’s order is consistent with the long-standing maxim that
 “[s]tatutes in derogation of the common law are strictly construed.” Id. at *19 (Hutchinson, J.,
 concurring) (quoting yl. pt. 1, Kellar v. James, 63 W.Va. 139, 59 S.E. 939 (1907) and citing syl.
 pt. 3, Bank of Weston v. Thomas, 75 W.Va. 321, 83 S.E. 985 (1914); syl. pt. 5, Phillips v. Larry's
 Drive-In Pharmacy, Inc., 220 W. Va. 484, 647 S.E.2d 920 (2007).
 1362
      See, Doc. No. 1083-3. During trial Defendants argued that “‘[t]wo or more tort-feasors acting
 independently, without concert, collusion, or pursuit of a common design, in the perpetration of
 like wrongful acts at the same time, working like injury to the same subject, are not jointly liable
 for injury subsequently resulting to any person from combination of the consequences of such
 wrongful acts by the operation of natural causes.’” Doc. 1485 at 20 (quoting syl. pt. 1, Farley v.
 Crystal Coal & Coke Co., 85 W. Va. 595, 595, 102 S.E. 265, 265 (1920)). Farley was an action
 for damages, and the subsequent decision in McMechen, cited Farley as the reason to a different
 and more liberal standard in equity applies. 107 S.E. at 482. Similarly, West, 168 W. Va. at 589,
 285 S.E.2d at 678, the Court found independent contractor liability in the case of a nuisance. Id.
 at syl. pt. 2. As such the Court did not have occasion to address the availability of injunctive relief
 under McMechen. Finally, this doctrine is inconsistent with modern caselaw imposing liability to
 1363
        COL, ¶¶ 72-73.

                                                  273
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 apportionment.”1364 Thus, Defendants bear the burden of demonstrating that both the Plaintiffs’

 harm and the applicable remedy are divisible.1365

           172.   A public nuisance by its nature is a condition that typically is indivisible and for

 which liability cannot be apportioned. The West Virginia Supreme Court of Appeals recognized

 over a century ago that, “[a]lthough brought into existence or maintained by the separate acts of a

 number of persons, a nuisance, considered in all of its aspects and elements, may be an entire

 thing.”1366 This is especially so where, as here, a court is determining the application of an

 equitable remedy such as abatement.1367 Defendants therefore must demonstrate that the nuisance

 harms caused by each potentially responsible party are clearly separable, or else their liability is

 joint and several.

           173.   Thus, the Court concludes that Defendants’ arguments that Plaintiffs’ abatement

 plan should be rejected because it is not tied to Defendants’ conduct fail on this basis. Similarly,

 the claims that the Abatement Plan is not tailored to the wrong in this case because the Abatement

 Plan treats addicts who did not first become addicted as a result of Defendants’ conduct also


 1364
     Blankenship v. General Motors Corp., 185 W. Va. 350, 406 S.E.2d 781, 786 (1991) (emphasis
 in original); see also Johnson by Johnson v. General Motors Corp., 190 W. Va. 236, 438 S.E.2d
 28, 34 (1993) (“‘If the alleged defect is proven by Plaintiffs by a preponderance of the evidence to
 have been a factor in causing Plaintiffs’ injuries, then the manufacturer can limit its liability by
 showing that Plaintiffs’ injuries are capable of apportionment between the initial collision and any
 injury enhanced by the alleged defect.’”) (quoting jury instruction).
 1365
     See, e.g., Johnson, 190 W. Va. 236, 438 S.E.2d at 33 (“However, if the jury is unable to
 apportion the damages, then the injury is indivisible and . . . the tortfeasors will then be jointly and
 severally liable.”); Grant Thornton, LLP v. FDIC, 694 F. Supp. 2d 506, 525 (S.D. W. Va. 2010)
 (Faber, J.) (“‘Unless sufficient evidence permits the factfinder to determine that damages are
 divisible, they are indivisible.’”) (quoting Restatement (Third) of Torts § 26, cmt. g), rev’d on
 other grounds, 435 Fed. Appx. 188 (4th Cir. June 17, 2011).
 1366
        McMechen, 88 W. Va. 633, 107 S.E. at 482.
 1367
     See id. (“Limited in its functions to a mere matter of compensation for damages, a court of law
 could not, under all circumstances, treat [the nuisance] as an entirety, but a court of equity can do
 so, because of its more extensive remedial powers.”).

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 fail.1368     Defendants complain that Plaintiffs have left the Court to speculate regarding what

 portions of the Abatement Plan is related to Defendants’ unreasonable conduct.1369 However, the

 burden is on Defendants to show that the loss can be allocated and to show a reasonable basis for

 the allocation. Defendants have not provided any basis for doing so.

             174.   The Court has already concluded that Defendants are a proximate cause of the

 opioid epidemic in Cabell and Huntington1370 and that it is reasonably certain that all of the

 elements of the Abatement Plan are necessary to abate the harms of the Opioid Epidemic.1371 The

 only argument Defendants make for apportionment was a single sentence in the final page of their

 final brief: “At a minimum, the harms flowing from prescription opioid abuse, on the one hand,

 and the use of illicit non-prescription opioids, on the other hand, are plainly distinct injuries that

 cannot be viewed as arising from “one” nuisance for purposes of tort law.” Factually, this

 argument is inconsistent with the Court’s findings regarding causation of the opioid epidemic harm

 of illegal heroin and fentanyl use.1372 More importantly here, Defendants have not presented any

 reasoned argument for how to apportion liability between these supposedly “distinct” injuries.

 While Defendants correctly point out that “’the magnitude of each indivisible component part’ of

 a Plaintiffs’ harm ‘cannot be determined with precision’ does not mean that the injury is not




 1368
     See Doc. 1451 at 14-15. This argument also fails because the existence of the opioid epidemic
 proximately caused by Defendants is a contagion in the community that is a cause of new
 addictions -- regardless of whether the new addicts became addicted to pills or other opioids. Trial
 Tr. June 28, 2021 (Alexander) (“My plan is to abate the opioid epidemic in the community and I
 don’t think that that can be done without – I think there’s one epidemic, not two; an opioid
 epidemic, not a prescription epidemic and a fentanyl and heroin epidemic.”).
 1369
        Doc. 1453 at 68-69.
 1370
        COL, ¶¶ 86, et sec.
 1371
        COL, ¶ 134.
 1372
        FOF, Part VII(A)(3)(c); COL, ¶¶ 103, 105.

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 susceptible to apportionment, because only a ‘reasonable basis’ is required,” 1373 Defendants have

 not supplied a record or argument that would permit the Court do any more than guess. An

 allocation based on guess is not a reasonable basis.1374

           175.   Here, Defendants do not contest that they bear the burden of showing that (i) the

 harms caused by the public nuisance are divisible and can clearly or reasonably be apportioned

 and (ii) that a reasonable basis for apportionment exists. Consequently, Defendants are jointly and

 severally responsible for the abatement of the opioid epidemic in Cabell County.

                         b.     The Abatement Plan will not Result in a Windfall.

           176.   The Court also rejects Defendants claim that the Abatement Plan will result in a

 windfall. As an initial matter, a windfall to Plaintiffs would be an impossibility. As noted above

 the Abatement Plan ordered herein is a court supervised trust under the continuing jurisdiction of

 the Court where the trust documents and this order establishing the fund would limit expenditures

 to implementing elimination of the opioid epidemic in Cabell and Huntington as set forth in the

 Abatement Plan. Because neither Cabell nor Huntington would receive the funds, there could

 never be a windfall. Moreover, as the Court has found, the Abatement Plan itself is

 conservative.1375

           177.   Defendants claim that the Abatement Plan fails to consider the amount of unmet

 need. Similarly, Defendants argue that that the majority of the programs under the Abatement




 1373
     Doc. 1485 at 17 (quoting Grant Thornton, LLP v. FDIC, 694 F. Supp. 2d 506, 525 (S.D. W.
 Va. 2010) (Faber, J.), reversed on other grounds, 435 F. App’x 188, 525 (4th Cir. 2011)).
 1374
     Notably, in Grant Thornton, the losses were financial, required apportionment between only
 two parties, involved distinct periods of time, and Court had the benefit of a damage expert on the
 issue on allocation. See 694 F. Supp. 2d at 522.
 1375
        FOF, ¶ 621.

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 Plan have not traditionally been provided by Plaintiffs and that the Plaintiffs do not intend to

 provide those programs and services. None of these considerations will lead to a windfall.

           178.   With respect to current funding, the Court has found that current funding is

 unstable,1376 and that stability is necessary for epidemic response efforts to be effective.1377

 Moreover, current funding is clearly insufficient to implement the Abatement Plan and abate the

 opioid epidemic. 1378

           179.   In addition to there being no guarantee, the current funding, largely consisting of

 grants, which are generally considered a collateral source.1379 The same is true for Medicare,

 Medicaid, and private insurance.1380 While Defendants contest the applicability of the collateral

 source rule to this action in equity, the Court concludes that Defendants should not receive a

 windfall by letting private insurers, taxpayers, and those private entities who fund grants continue

 to bear the burden of attempting to fund the remediation of the opioid epidemic which Defendants

 caused.1381 And, as noted above, there can be no windfall to the Plaintiffs here because the use of

 the funds will be limited to the Abatement Plan. The issue here is not whether Plaintiffs can recover

 for expenses paid by third parties, the issue is who should bear the burden of abating the ongoing




 1376
        FOF, ¶ 614(d).
 1377
        FOF, ¶ 614(f).
 1378
        FOF, ¶ 614(a).
 1379
     Kenney v. Liston, 233 W. Va. 620, 632, 760 S.E.2d 434, 446 (2014) (services rendered
 gratuitously or paid for by another are collateral sources).
 1380
     Kenney, 760 S.E.2d at 629-630, fn. 41, fn. 42 (Medicare, Medicaid, and private insurance are
 collateral sources under West Virginia law). Of course, none of Defendants’ “windfall” analysis
 considers subrogation claims by these payors.
 1381
     The Court made a pretrial ruling conditionally admitting the evidence of these third-party
 payments. The Court reserved ruling on the question of whether “the collateral source rule does
 or does not apply as a substantive rule of damages in this case.” Doc. 1281-0, p. 7, n. 3.

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 nuisance. Under these circumstances, the equities counsel against allowing Defendants to receive

 a windfall.

                           c.    The Abatement Plan does Not Require Defendants to
                                 Remediate the Wrongs of Others.

           180.    Cardinal challenges a number of remedies in the Abatement Plan as improperly

 requiring remediation based on the wrongs of others.1382 But it does not address whether these

 alleged wrongs are foreseeably related to the harms it caused. Cardinal does not deny that these

 supposed wrongs of others are part and parcel of the opioid epidemic – indeed, with respect to

 physicians and medical boards, Defendants made them the focus of their defense.1383

 Consequently, the Court concludes that Cardinal’s liability for these elements is a consequence of

 joint liability and concurrent causation and, as such, the Defendants cannot escape their

 responsibility on this basis.1384

           181.   The Court concludes that the challenge to certain categories of the Abatement Plan

 as remote fairs no better. Defendants do not even attempt to argue that the need for any of these

 programs was not foreseeable –the touchstone for determining legal cause.1385 Nor could they.

 For example, the Court concludes that it is foreseeable that if you generate a need for substance

 abuse treatment, additional medical professionals need to be trained to provide those services.

           182.   Finally, the Court concludes that many of the rest of the challenged programs are

 directed at consequences of the opioid epidemic that must be addressed if the epidemic is to be




 1382
        Doc. 1453 at 56-64.
 1383
        Doc. 1453 at 23.
 1384
        See COL, Part V(B).
 1385
        Doc. 1469 at 47-50.

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 abated. School children in households with families with opioid use disorder, drug checking

 services, harm reduction services such as needle exchanges, and testing for HIV and HCV all fall

 into this category.1386 The Court concludes that these are all necessary elements of the plan to

 abate the opioid epidemic in Cabell and Huntington.

                            d.     Plaintiffs’ Expert Testimony Establishes            Their
                                   Entitlement to Future OUD Treatment Costs.
           183.       Defendants argue that Dr. Alexander’s abatement plan overstates treatment need

 because another Plaintiff’s expert, Dr. Waller who testified that “the one-year success rate for

 OUD treatment is approximately 84%”1387 Defendants’ misstate the testimony of Dr. Waller and

 Dr. Alexander.1388




 1386
     Cardinal tries to distort Professor Alexander’s recognition of the epidemic-relatedness of these
 public health harms and their treatment services by stating that “Cardinal is not responsible for
 ‘the history of trauma’ faced by ‘women who are commercial sex workers’ or the stresses of
 adolescence.” Doc. 1453 at 67 (quoting 6/28/21 Trial Tr. (Alexander) at 62.). Professor
 Alexander’s testimony was describing an existing Cabell and Huntington court program he
 examined when developing his Redress Model. See 6/28/21 Trial Tr. (Alexander) at 33-34 (“[T]he
 WEAR program is a separate tract within the Drug Court for women who are commercial sex
 workers and who have a history of trauma.”). Professor Alexander’s Redress Model does not
 single out commercial sex workers for unique services but does recognize that many pregnant
 women and new mothers with OUD have likewise experienced significant traumas, including
 sexual assault and domestic violence.
 1387
        FOF, ¶ 630.
 1388
        FOF, ¶¶ 630-34.

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        184.    Even if Defendants’ argument had a legitimate factual premise, it legally misses the

 point. As a result of the epidemic, people will become addicted to and overdose on opioids. There

 will be new cases that are required to be abated, whether or not they are the direct result of

 Defendants’ conduct. They will be a part of the opioid epidemic. Defendants will remain a

 proximate cause of the epidemic. In addition, trial evidence establishes that the existence of the

 opioid epidemic independently causes new addicts.1389 Finally, to the extent Defendants cannot

 be relieved of liability for this part of the opioid epidemic in Cabell and Huntington, because, as

 noted above, they failed to meet their burden to convince the Court what portion of this harm is

 proper to allocate elsewhere.1390

                                               ****

        185.    The Court enters final judgment for the Plaintiffs and against Defendants

 AmerisourceBergen Drug Corporation, Cardinal Health, Inc., and McKesson Corporation as set

 forth herein. Defendants’ responsibility to fund the Abatement Plan is joint and several.

        186.    To the extent any argument or objection set forth by Defendants in any motion,

 filing or pleading, is not specifically addressed by the Court’s Findings of Fact and Conclusions

 of Law, such argument and/or objection made by Defendants is hereby denied and overruled.

        187.    The Court retains jurisdiction over the parties to supervise the implementation of

 the Abatement Plan.

        188.    The Court will enter such further orders pertaining to the implementation of the

 Abatement Plan in due course as necessary.

 It is so ORDERED.


 1389
     Trial Tr. 6/28 (Alexander) at 152 (Dr. Alexander explained that you can have people who
 newly develop OUD in the future for all sorts of reasons and who join the population, and you
 could also have people who drop out of the population); Id. at 154 (Recognizing that “there is one

                                                280
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        `                                             Respectfully submitted,

 THE CITY OF HUNTINGTON                               CABELL COUNTY COMMISSION

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 opioid epidemic…there’s a lot of dynamic of different directions that people may develop harms
 and experience harms and, you know, move towards recovery and then backslide, but it’s one
 opioid epidemic. And so, my plan addresses that.”).
 1390
     See COL, Part VII(B)(4)(i). The cases cited by Defendants are inapposite, as the experts failed
 to segregate conduct for which Defendants were liable from conduct for which no one was
 culpable. See, e.g., Hagale Indus., Inc. v. Land's End, Inc., No. 00-3474-CV-S-4, 2002 WL
 34365830, at *5 (W.D. Mo. Dec. 2, 2002) (“Mr. Roberts' and most of Mr. Stickley's calculations
 are inadmissible because they failed to classify which costs were incurred because of Lands' End's
 alleged conduct and which costs were unavoidable.”). Here, because Defendants are a proximate
 cause of the epidemic, they are responsible for the entire epidemic because they have not met their
 burden to separate and allocate parts of the harm to others).

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                                   CERTIFICATE OF SERVICE

         I certify that on August 26, 2021, a copy of the foregoing was filed electronically. Notice

 of this filing will be sent to all parties by operation of the Court’s electronic filing system.

 Parties may access this filing through the Court’s system.



                                                 s/ Anthony J. Majestro
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